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               SCHEDULE A
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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

   SONOS, INC.,                        )
                                       )
                     Plaintiff,        )
                                               Civil Action No. 14-1330-RGA
                                       )
                     v.                )       JURY TRIAL DEMANDED
                                       )
   D&M HOLDINGS INC. d/b/a THE         )
   D+M GROUP, D&M HOLDINGS U.S.        )
   INC., and DENON ELECTRONICS         )
   (USA), LLC,                         )
                                       )
                     Defendants.       )


                    JOINT STATEMENT OF UNDISPUTED FACTS




                                           1
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         Plaintiff Sonos, Inc. (“Sonos”) and Defendants D&M Holdings Inc. d/b/a The D+M

  Group, D&M Holdings U.S. Inc., and Denon Electronics (USA), LLC (collectively, “D&M”)

  respectfully submit this Joint Statement of Undisputed Facts.

  I.     THE PARTIES

         1.      Plaintiff Sonos, Inc. is a Delaware corporation with its principal place of business

  at 614 Chapala St., Santa Barbara, California 93101.

         2.      Sonos’s current line of products includes the “PLAY:1,” “PLAY:3,” and

  “PLAY:5” speaker products, the “CONNECT” pre-amplifier product, and the

  “CONNECT:AMP” amplifier, all of which are controlled by the Sonos app available for iOS,

  Android, PC, or Mac. Sonos also offers “PLAYBAR,” “PLAYBASE,” and “SUB” speaker

  products for wireless home theater.

         3.      Defendant D&M Holdings Inc. d/b/a The D+M Group is a Japanese corporation

  with its principal place of business at 2-1 Nisshin-cho, Kawasaki-ku, Kawasaki-shi, Kanagawa

  210-8569, Japan.

         4.      Defendant D&M Holdings U.S. Inc. is a Delaware corporation with its principal

  place of business at 100 Corporate Drive, Mahwah, NJ 07430.

         5.      Defendant Denon Electronics (USA), LLC is a Delaware limited liability

  company with its principal place of business at 100 Corporate Drive, Mahwah, NJ 07430.

  Denon Electronics (USA), LLC is a wholly-owned subsidiary of D&M Holdings U.S. Inc.

  II.    JURISDICTION AND VENUE

         6.      This is a civil action for patent infringement arising under the patent laws of the

  United States, Title 35, United States Code, and this Court has subject matter jurisdiction over

  this action pursuant to 35 U.S.C. §§ 271, et seq., and 28 U.S.C. §§ 1331 and 1338.




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          7.    Defendants D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S.

  Inc., and Denon Electronics (USA), LLC do not contest personal jurisdiction in this Court.

          8.    Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. §

  1400(b).

  III.    ASSERTED SONOS PATENTS

          9.    The bellwether trial involves Sonos’s claims accusing D&M of infringing certain

  asserted claims of U.S. Pat. Nos. 7,571,014 (“‘014 Patent”), 8,588,949 (“‘949 Patent”), and

  9,195,258 (“‘258 Patent”) (collectively, the “Asserted Sonos Patents”). The ‘258 Patent may be

  referred to as the “Sync Patent,” and the ‘014 and ‘949 Patents may be referred to as the “Group

  Volume Patents.”

          A.    The ‘258 Patent

          10.   The ‘258 Patent is entitled “System and Method for Synchronizing Operations

  Among a Plurality of Independently Clocked Digital Data Processing Devices.”

          11.   The ‘258 Patent was issued by the USPTO on November 24, 2015.

          12.   Every Asserted Claim of the ‘258 Patent is entitled to a priority date of April 1,

  2004.

          13.   Sonos is the owner by assignment of the ‘258 Patent.

          14.   D&M had actual knowledge of the ‘258 Patent by no later than November 26,

  2015.

          B.    The ‘014 Patent

          15.   The ‘014 Patent is entitled “Method and Apparatus for Controlling Multimedia

  Players in a Multi-Zone system.”

          16.   The ‘014 Patent was issued by the USPTO on August 4, 2009.




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          17.    Every Asserted Claim of the ‘014 Patent is entitled to a priority date of June 5,

  2004.

          18.    Sonos is the owner by assignment of the ‘014 Patent.

          19.    D&M had actual knowledge of the ‘014 Patent by no later than January 2012.

          C.     The ‘949 Patent

          20.    The ‘949 Patent is entitled “Method and Apparatus for Adjusting Volume Levels

  in a Multi-Zone System.”

          21.    The ‘949 Patent was originally issued by the USPTO on November 19, 2013.

          22.    An ex parte reexamination of the ‘949 Patent was instituted on January 29, 2015.

          23.    During the ex parte reexamination of the ‘949 Patent, amendments were made to

  certain claims of the ‘949 Patent.

          24.    A reexamination certificate for the ‘949 Patent was issued by the USPTO on

  November 5, 2015. The amended claims of the ‘949 Patent are set forth in the reexamination

  certificate. Further, the reexamination certificate for the ‘949 Patent states that (a) claims 1, 3, 4,

  6, 7 8, 10, 11, 13, 14, 15, and 17-20 are determined to be patentable as amended and (b) claims 2,

  5, 9, 12, and 16, which depend on an amended claim, are determined to be patentable.

          25.    Sonos is the owner by assignment of the ‘949 Patent.

  IV.     OVERVIEW OF ACCUSED PRODUCTS

          26.    In June 2014, D&M officially launched a new line of wireless multi-room home

  audio products under the name “HEOS by Denon.”

          27.    D&M’s line of HEOS audio devices (or “HEOS devices” for short) includes, inter

  alia, the “HEOS 1,” HEOS 3,” “HEOS 5,” and “HEOS 7” speaker products, the “HEOS LINK”




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  pre-amplifier product, the “HEOS AMP” amplifier product, the “HEOS Drive” multi-room

  amplifier product, and the “HEOS HomeCinema” TV sound system product.

            28.   D&M also provides a HEOS controller app for the HEOS system, which is

  available for iOS, Android, and Kindle.

            29.   D&M’s HEOS devices and HEOS controller app can be set up by a user to work

  together as part of D&M’s HEOS wireless multi-room audio system (or the “HEOS system” for

  short).

            30.   D&M first began offering to sell and selling its HEOS device models in the

  United States on the following dates:

                          HEOS Device Model             Release Date
                              HEOS 1                     May 2015
                              HEOS 3                    March 2014
                              HEOS 5                    March 2014
                              HEOS 7                    March 2014
                          HEOS HomeCinema                June 2015
                             HEOS Link                  August 2014
                             HEOS Amp                   August 2014
                             HEOS Drive                  June 2015

            31.   D&M first began importing its HEOS device models into the United States at

  least as early as the dates set forth in Paragraph 33.

            32.   D&M offers to sell and sells HEOS devices with firmware pre-installed, but

  which firmware may be updated.

            33.   D&M imports HEOS devices with firmware pre-installed, but which firmware

  may be updated.

            34.   D&M ships HEOS devices with firmware pre-installed, but which firmware may

  be updated.

            35.   The release date for each version of HEOS firmware is as follows:




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                                  Firmware
                                                         Release Date
                                   Version
                                      U0                June 2014
                                      U1             September 2014
                                     U1.1            November 2014
                                      U2             December 2014
                                     U2.1              March 2015
                                      U3                May 2015
                                      U4                July 2015
                                     U4.1             August 2015
                                      U5             December 2015
                                     U5.1             January 2016
                                      U6              January 2016
                                      U7               April 2016
                                      U8                July 2016
                                      U9             September 2016
                                     U9.1             October 2016
                                     U10             November 2016
                                     U11               April 2017
                                     U12                May 2017

         36.     A third party can optionally receive firmware updates from D&M for HEOS

  devices in the United States.

         37.     In December of 2014, D&M modified the group volume control functionality in

  the HEOS controller through the U2 software update.

         38.     In April 2016, D&M began offering for sale and selling a second generation of

  each model of HEOS device, which are referred to as HEOS “HS2” players.

         39.     The second generation of HEOS devices are downward compatible to the first

  generation of HEOS devices. For example, a user can choose to control both generations of

  HEOS devices using the same HEOS controller app

         40.     D&M has been offering to sell and selling each model of HEOS device within the

  United States since the dates set forth in Paragraph 33 above.

         41.     D&M has been importing each model of HEOS device within the United States

  since the dates set forth in Paragraph 33 above.


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         42.        D&M from time-to-time develops updates to the HEOS controller app.

         43.        The release date for each version of the HEOS controller app is as follows:

                                      App
                                                         Release Date
                                     Version
                                       U0                June 2014
                                       U1             September 2014
                                      U1.1            November 2014
                                       U2             December 2014
                                      U2.1              March 2015
                                       U3                May 2015
                                       U4                July 2015
                                      U4.1             August 2015
                                       U5             December 2015
                                      U5.1             January 2016
                                       U6              January 2016
                                       U7               April 2016
                                       U8                July 2016
                                       U9             September 2016
                                      U9.1             October 2016
                                      U10             November 2016
                                      U11               April 2017
                                      U12                May 2017

         44.        In order to run the HEOS controller app, a third-party device needs to have at

  least one processor.

         45.        In order to run the HEOS controller app, a third-party device needs to have

  computer readable memory.

         46.        The HEOS controller app is designed to run on a third-party device that has a

  display screen.

         47.        The HEOS controller app is designed to run on a third-party device that has a

  network interface.

         48.        D&M has provided User Guides and Installation Guides for each model of HEOS

  device through its website and periodically updates these User Guides and Installation Guides.




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  IV.    FUNCTIONALITY OF ACCUSED HEOS PRODUCTS

         49.    The HEOS controller apps can be used to identify HEOS devices that are within

  the same LAN as the HEOS controller apps.

         50.    Each model of HEOS device is programmed with the capability to obtain audio

  available from a source outside of a LAN, such as an Internet audio source.

         51.    Each model of HEOS device (other than the subwoofer device of the HEOS

  HomeCinema) is programmed with the capability to receive audio data and transmit audio data

  to other HEOS devices within the same LAN.

         52.    The HEOS iOS, Android, and Kindle Controller applications provide a user

  interface for the HS1 and HS2 versions of the HEOS products.

         53.    The HEOS iOS, Android, and Kindle Controller applications, in certain

  configurations, display individual volume controls for the HS1 and HS2 versions of certain

  HEOS products. In such cases, the volume controls may be adjusted by a user, which, in some

  circumstances, results in a corresponding volume adjustment.

         54.    The HEOS iOS, Android, and Kindle applications can be used to create a group of

  any two of the HS1 and HS2 versions of the HEOS 3, HEOS 5, and HEOS 7 devices connected

  to the same local area network among themselves and the application.

  V.     THE ALLEGED PRIOR ART

         55.    Microsoft Corporation introduced the Universal Plug and Play Standard (UPnP)

  initiative at the Consumer Electronics Show in January of 1999.

         56.    The UPnP initiative was originally supported by companies such as Microsoft,

  Intel, Hewlett-Packard, Compaq, Dell, and many others. To guide the creation of the standards,

  a cross-industry group, the UPnP Forum, was also created.




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          57.    The book entitled “UPnP Design by Example: A Software Developer’s Guide to

   Universal Plug and Play” was published in the United States no later than April 2003.

          58.    The “UPnP Design by Example” book had an accompanying CD-ROM that

   included Intel UPnP Media Renderer, UPnP Media Server, and UPnP Controller software.

          59.    Escient was ultimately acquired by D&M in 2003.

          60.    U.S. Patent No. 6,469,633 to Wachter (the “Wachter Patent”) was filed on

   January 5, 1998 and issued on October 22, 2002.

          61.    The Wachter Patent was assigned to Escient Technologies, LLC. The Wachter

   Patent was also assigned to Escient Inc. The Wachter Patent was later assigned to D&M.

          62.    U.S. Patent Application Publication No. US2002/0124097 to Isely (“Isely”) was

   filed on December 29, 2000 and published on September 5, 2002.

          63.    Isely was previously-assigned to Home Director Technologies, Inc. which is a

   wholly-owned subsidiary of Home Director, Inc.

          64.    U.S. Patent Application Publication No. US20020072816A1 to Shdema

   (“Shdema”) was filed on December 7, 2002 and published on June 13, 2002.




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              SCHEDULE B1
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

   SONOS, INC.,                       )
                                      )
                     Plaintiff,       )
                                              Civil Action No. 14-1330-RGA
                                      )
                     v.               )       JURY TRIAL DEMANDED
                                      )
   D&M HOLDINGS INC. d/b/a THE        )
   D+M GROUP, D&M HOLDINGS U.S.       )
   INC., and DENON ELECTRONICS        )
   (USA), LLC,                        )
                                      )
                     Defendants.      )


    SONOS’S STATEMENT OF ISSUES OF FACT THAT REMAIN TO BE LITIGATED




                                          1
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          Plaintiff Sonos, Inc. (“Sonos”) respectfully submits this Statement of Issues of Fact that

   Remain to be Litigated, which is based on Sonos’s current understanding of the defenses of

   Defendants D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and Denon

   Electronics (USA), LLC (collectively, “D&M”) and the proceedings in this action to date.

          To the extent that Sonos’s Statement of Issues of Law to be Litigated set forth in

   Schedule C1 contains issues of fact, those issues are incorporated herein by reference.

   Likewise, should the Court determine that any issue identified below is more appropriately

   considered an issue of law, Sonos incorporates such issues by reference into Schedule C1. By

   including a fact herein, Sonos does not assume the burden of proof or production with regard to

   that fact. Sonos reserves the right to revise this statement in light of the Court’s rulings.


                ISSUES ON WHICH SONOS BEARS THE BURDEN OF PROOF

   I.     DIRECT INFRINGEMENT

          Below are the issues of fact related to whether D&M has directly infringed the Asserted

   Claims of the Asserted Sonos Patents. For the Court’s convenience, the following table shows

   the current list of Asserted Claims and Accused HEOS Instrumentalities1 for each Asserted

   Sonos Patent:




   1
     Sonos’s infringement theories set forth herein apply equally to both the first generation of
   HEOS players (i.e., the “HS1” version of HEOS players) and the second generation of HEOS
   players (i.e., the “HS2” version of HEOS players). Thus, any reference to a given model of
   HEOS player herein is intended to cover both generations of that HEOS player model (e.g., a
   reference to the HEOS 1 player model covers both the HS1 and HS2 versions of the HEOS 1
   player model). Likewise, Sonos’s infringement theories set forth herein apply equally to the
   HEOS controller app for iOS, Android, and Kindle. Thus, any reference to the HEOS controller
   app is intended to cover the HEOS iOS app, the HEOS Android app, and the HEOS Kindle app.


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         Patent      Asserted Claims                   Accused HEOS Instrumentalities
                                          HEOS 1, HEOS 3, HEOS 5, HEOS 7, HEOS
                                          HomeCinema, HEOS Link, HEOS Amp, and HEOS Drive
       9,195,258     11, 17, 18, 21, 24
                                          players installed with any version of the HEOS firmware
                                          (collectively, the “Accused HEOS Players”)
                                          Devices installed with any version of the HEOS controller
       7,571,014        21, 25, 38
                                          app prior to Version “U2”
                                          Devices installed with any version of the HEOS controller
       8,588,949           1, 16
                                          app

          A.       The ‘258 Patent

          1.    Whether D&M has directly infringed Asserted Claims 17, 18, 21, and 24 of the ‘258

   Patent by making, using, offering to sell, selling, and/or importing Accused HEOS Players

   within the United States.

                a. Whether the Accused HEOS Players infringe every limitation of Asserted
                   Claims 17, 18, 21, and 24 of the ‘258 Patent, either literally or under the
                   Doctrine of Equivalents.

          2.    Whether D&M has directly infringed Asserted Claims 17, 18, 21, and 24 of the ‘258

   Patent by virtue of the fact that Accused HEOS Players have automatically downloaded and

   installed updated versions of the HEOS firmware, which also constitutes “making” the invention

   claimed in Asserted Claims 17, 18, 21, and 24 of the ‘258 Patent.

                a. Whether the Accused HEOS Players infringe every limitation of Asserted
                   Claims 17, 18, 21, and 24 of the ‘258 Patent, either literally or under the
                   Doctrine of Equivalents.

          3.    Whether D&M has directly infringed Asserted Claim 11 of the ‘258 Patent by

   making, offering to sell, and/or using, within the United States, any HEOS system including at

   least two Accused HEOS Players and at least two devices installed with any version of the

   HEOS controller app that are within the same local area network (LAN).

               a. Whether Accused HEOS Players are zone players programmed with the capability
                  recited in Asserted Claim 11 of the ‘258 Patent, either literally or under the
                  Doctrine of Equivalents.




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               b. Whether a device installed with any version of the HEOS controller app is a
                  controller programmed with the capability recited in Asserted Claim 11 of the
                  ‘258 Patent, either literally or under the Doctrine of Equivalents.

          B.      The ‘014 Patent

          4.    Whether D&M has directly infringed Asserted Claims 25 and 38 of the ‘014 Patent

   by installing any version of the HEOS controller app prior to Version “U2” onto a device (and

   thus “making” the claimed invention) within the United States and/or by using devices installed

   with any version of the HEOS controller app prior to Version “U2” within the United States.

               a. Whether a device installed with any version of the HEOS controller app prior to
                  Version “U2” infringes every limitation of Asserted Claims 25 and 38 of the ‘014
                  Patent, either literally or under the Doctrine of Equivalents.

          5.    Whether D&M has directly infringed Asserted Claim 21 of the ‘014 Patent by using,

   within the United States, any HEOS system including a device installed with any version of the

   HEOS controller app prior to Version “U2” and at least two Accused HEOS Players in a manner

   that caused every limitation of these Asserted Claims to be performed, either literally or under

   the Doctrine of Equivalents.

          C.      The ‘949 Patent

          6.    Whether D&M has directly infringed Asserted Claim 1 of the ‘949 Patent by

   installing any version of the HEOS controller app prior to Version “U2” onto a device (and thus

   “making” the claimed invention) within the United States and/or by using devices installed with

   any version of the HEOS controller app within the United States.

               a. Whether a device installed with any version of the HEOS controller app infringes
                  every limitation of Asserted Claim 1 of the ‘949 Patent, either literally or under
                  the Doctrine of Equivalents.

          7.    Whether D&M has directly infringed Asserted Claim 16 of the ‘949 Patent by using,

   within the United States, any device installed with any version of the HEOS controller app in a




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   manner that caused the device to perform every limitation of this Asserted Claim, either literally

   or under the Doctrine of Equivalents.

   II.    INDIRECT INFRINGEMENT

          Below are the issues of fact related to whether D&M has induced infringement of the

   Asserted Claims of the Asserted Patents.

          A.      The ‘258 Patent

          8.    Whether D&M has induced infringement of Asserted Claims 17, 18, 21, and 24 of

   the ‘258 Patent under 35 U.S.C. § 271(b) by actively inducing others to install HEOS firmware

   updates into Accused HEOS Players (and thus “make” the claimed invention) within the United

   States and/or to use Accused HEOS Players within the United States.

               a. Whether the Accused HEOS Players infringe every limitation of Asserted Claims
                  17, 18, 21, and 24 of the ‘258 Patent, either literally or under the Doctrine of
                  Equivalents.

               b. Whether D&M acted with a specific intent to induce others to infringe the ‘258
                  Patent.

          9.    Whether D&M has induced infringement of Asserted Claim 11 of the ‘258 Patent

   under 35 U.S.C. § 271(b) by actively inducing others to make and/or use, within the United

   States, a HEOS system including at least two Accused HEOS Players and at least two devices

   installed with any version of the HEOS controller app that are within the same LAN.

               a. Whether the Accused HEOS Players are zone players programmed with the
                  capability recited in Asserted Claim 11 of the ‘258 Patent, either literally or under
                  the Doctrine of Equivalents.

               b. Whether a device installed with any version of the HEOS controller app is a
                  controller programmed with the capability recited in Asserted Claim 11 of the
                  ‘258 Patent, either literally or under the Doctrine of Equivalents.

               c. Whether D&M acted with a specific intent to induce others to infringe the ‘258
                  Patent.




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          B.      The ‘014 Patent

          10. Whether D&M has induced infringement of Asserted Claims 25 and 38 of the ‘014

   Patent under 35 U.S.C. § 271(b) by actively inducing others to install any version of the HEOS

   controller app prior to Version “U2” onto a device (and thus “make” the claimed invention)

   within the United States and/or to use devices installed with any version of the HEOS controller

   app prior to Version “U2” within the United States.

               a. Whether a device installed with any version of the HEOS controller app prior to
                  Version “U2” infringes every limitation of Asserted Claims 25 and 38 of the ‘014
                  Patent, either literally or under the Doctrine of Equivalents.

               b. Whether D&M acted with a specific intent to induce others to infringe the ‘014
                  Patent.

          11. Whether D&M has induced infringement of Asserted Claim 21 of the ‘014 Patent

   under 35 U.S.C. § 271(b) by actively inducing others to use, within the United States, any HEOS

   system including a device installed with any version of the HEOS controller app prior to Version

   “U2” and at least two Accused HEOS Players in a manner that caused every limitation of these

   Asserted Claims to be performed, either literally or under the Doctrine of Equivalents.

               a. Whether at least one third party has used, within the United States, a HEOS
                  system including a device installed with any version of the HEOS controller app
                  prior to Version “U2” and at least two Accused HEOS Players in a manner that
                  caused every limitation of these Asserted Claims to be performed, either literally
                  or under the Doctrine of Equivalents.

               b. Whether D&M acted with a specific intent to induce others to infringe the ‘014
                  Patent.

          C.      The ‘949 Patent

          12. Whether D&M has induced infringement of Asserted Claim 1 of the ‘949 Patent

   under 35 U.S.C. § 271(b) by actively inducing others to others to install any version of the HEOS

   controller app onto a device (and thus “make” the claimed invention) within the United States




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   and/or to use devices installed with any version of the HEOS controller app within the United

   States.

                  a. Whether a device installed with any version of the HEOS controller app infringes
                     every limitation of Asserted Claim 1 of the ‘949 Patent, either literally or under
                     the Doctrine of Equivalents.

                  b. Whether D&M acted with a specific intent to induce others to infringe the ‘949
                     Patent.

             13. Whether D&M has induced infringement of Asserted Claim 16 of the ‘949 Patent

   under 35 U.S.C. § 271(b) by actively inducing others to use, within the United States, any device

   installed with any version of the HEOS controller app in a manner that caused the device to

   perform every limitation of this Asserted Claim, either literally or under the Doctrine of

   Equivalents.

                  a. Whether at least one third party has used, within the United States, any device
                     installed with any version of the HEOS controller app in a manner that caused the
                     device to perform every limitation of this Asserted Claim, either literally or under
                     the Doctrine of Equivalents.

                  b. Whether D&M acted with a specific intent to induce others to infringe the ‘949
                     Patent.

   III.      CONTRIBUTORY INFRINGEMENT

             Below are the issues of fact related to whether D&M has contributorily infringed the

   Asserted Claims of the Asserted Patents.

             A.      The ‘258 Patent

             14. Whether D&M has contributorily infringed Asserted Claims 17, 18, 21, and 24 of

   the ‘258 Patent under 35 U.S.C. § 271(c) by supplying HEOS firmware updates for the Accused

   HEOS Players in the United States.

                  a. Whether the Accused HEOS Players infringe every limitation of Asserted Claims
                     17, 18, 21, and 24 of the ‘258 Patent, either literally or under the Doctrine of
                     Equivalents.




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              b. Whether the accused software components have no substantial noninfringing use.

              c. Whether D&M knew that the accused software components were being used in an
                 infringement of the ‘258 Patent or was at least willfully blind to this fact.

          15. Whether D&M has contributorily infringed Asserted Claim 11 of the ‘258 Patent

   under 35 U.S.C. § 271(c) by supplying HEOS firmware updates for the Accused HEOS Players

   in the United States.

              a. Whether the Accused HEOS Players are zone players programmed with the
                 capability recited in Asserted Claim 11 of the ‘258 Patent, either literally or under
                 the Doctrine of Equivalents.

              b. Whether a device installed with any version of the HEOS controller app is a
                 controller programmed with the capability recited in Asserted Claim 11 of the
                 ‘258 Patent, either literally or under the Doctrine of Equivalents.

              c. Whether the accused software components have no substantial noninfringing use.

              d. Whether D&M knew that the accused software components were being used in an
                 infringement of the ‘258 Patent or was at least willfully blind to this fact.

   B.     The ‘014 Patent

          16. Whether D&M has contributorily infringed Asserted Claims 25 and 38 of the ‘014

   Patent under 35 U.S.C. § 271(c) by supplying versions of the HEOS controller app prior to

   Version “U2” in the United States.

              a. Whether a device installed with any version of the HEOS controller app prior to
                 Version “U2” infringes every limitation of Asserted Claims 25 and 38 of the ‘014
                 Patent, either literally or under the Doctrine of Equivalents.

              b. Whether the accused software components have no substantial noninfringing use.

              c. Whether D&M knew that the accused software components were being used in an
                 infringement of the ‘014 Patent or was at least willfully blind to this fact.




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          17. Whether D&M has contributorily infringed Asserted Claim 21 of the ‘014 Patent

   under 35 U.S.C. § 271(c) by supplying versions of the HEOS controller app prior to Version

   “U2” in the United States.

              a. Whether at least one third party has used, within the United States, any HEOS
                 system including a device installed with any version of the HEOS controller app
                 prior to Version “U2” and at least two Accused HEOS Players in a manner that
                 caused every limitation of these Asserted Claims to be performed, either literally
                 or under the Doctrine of Equivalents.

              b. Whether the accused software components have no substantial noninfringing use.

              c. Whether D&M knew that the accused software components were being used in an
                 infringement of the ‘014 Patent or was at least willfully blind to this fact.

   C.     The ‘949 Patent

          18. Whether D&M has contributorily infringed Asserted Claim 1 of the ‘949 Patent

   under 35 U.S.C. § 271(c) by supplying the HEOS controller app in the United States.

              a. Whether a device installed with any version of the HEOS controller app infringes
                 every limitation of Asserted Claim 1 of the ‘949 Patent, either literally or under
                 the Doctrine of Equivalents.

              b. Whether the accused software components have no substantial noninfringing use.

              c. Whether D&M knew that the accused software components were being used in an
                 infringement of the ‘949 Patent or was at least willfully blind to this fact.

          19. Whether D&M has contributorily infringed Asserted Claim 16 of the ‘949 Patent

   under 35 U.S.C. § 271(c) by supplying the HEOS controller app in the United States.

              a. Whether at least one third party has used, within the United States, any device
                 installed with any version of the HEOS controller app in a manner that caused the
                 device to perform every limitation of this Asserted Claim, either literally or under
                 the Doctrine of Equivalents.

              b. Whether the accused software components have no substantial noninfringing use.

              c. Whether D&M knew that the accused software components were being used in an
                 infringement of the ‘949 Patent or was at least willfully blind to this fact.




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   IV.      WILLFULLNESS

            20. Whether D&M’s infringement of any Asserted Claim was willful.

   V.       RELIEF AND DAMAGES

            21. Whether Sonos is entitled to a judgment that D&M directly infringed each Asserted

   Claim.

            22. Whether Sonos is entitled to a judgment that D&M induced infringement of each

   Asserted Claim.

            23. Whether Sonos is entitled to a judgment that D&M contributorily infringed each

   Asserted Claim.

            24. Whether Sonos is entitled to a judgment that any infringement by D&M was willful.

            25. Whether Sonos is entitled to a permanent injunction enjoining D&M, their officers,

   agents, servants, employees and attorneys, and other persons in active concert or participation

   with D&M, and their parents, subsidiaries, divisions, successors and assigns, from further

   infringement of the Asserted Claims.

            26.   Whether Sonos is entitled to a judgment awarding lost profits for D&M’s

   infringement of the Asserted Claims, and if so, the amount of such lost profits.

            27. Whether Sonos is entitled to a judgment awarding reasonable royalties for D&M’s

   infringement of the Asserted Claims, and if so, the amount of such reasonable royalties.

            28. Whether Sonos is entitled to a judgment awarding enhanced damages for D&M’s

   willful infringement of the Asserted Claims, and if so, the amount of such enhanced damages.

            29. Whether Sonos is entitled to a judgment awarding pre-judgment and post-judgment

   interest.

            30. Whether Sonos is entitled to a judgment awarding attorneys’ fees and/or costs.




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                  ISSUES ON WHICH D&M BEARS THE BURDEN OF PROOF

   I.     NON-INFRINGING ALTERNATIVES

          31. Whether D&M can prove that non-infringing alternatives exist to practicing claims

   11, 17, 18, 21, and 24 of the ‘258 Patent.

          32.     Whether D&M can prove that non-infringing alternatives exist to practicing

   claims 21, 25, and 38 of the ‘014 Patent.

          33.     Whether D&M can prove that non-infringing alternatives exist to practicing

   claims 1 and 16 of the ‘949 Patent.

   II.    INVALIDITY OF THE ASSERTED PATENTS

          34.     Below are the issues of fact related to whether the Asserted Patents are invalid

   under 35 U.S.C. §§ 102, 103 and 112.2

          A.      The ‘258 Patent

          35.     Whether D&M can prove, by clear and convincing evidence, that any Asserted

   Claim of the ‘258 Patent is invalid under 35 U.S.C. § 102 as being anticipated by any of D&M’s

   asserted prior art references.




   2
     Sonos objects to the invalidity contentions set forth in D&M’s pretrial exhibits for several
   reasons. First, D&M’s expansive list of asserted prior art references goes well beyond the limits
   set forth by the Court. Second, D&M’s contentions that the Asserted Claims are “invalid under
   35 U.S.C. §§ 102, 103, alone or in combination, in view of” D&M’s asserted prior art references
   is vague, ambiguous, misleading, and confusing. Third, D&M’s inclusion of invalidity
   allegations under § 102 go beyond the scope of D&M’s final invalidity contentions and its expert
   reports, and in many instances, violate the legal standards regarding what constitutes a single
   reference for purposes of § 102. Fourth, D&M’s contentions that the Asserted Claims are
   “invalid under 35 U.S.C. § 112” – without providing any specificity regarding the grounds for
   D&M’s § 112 challenges – are vague, ambiguous, misleading, and confusing. For at least these
   reasons, Sonos respectfully submits that D&M should be required to provided an updated
   statement of invalidity contentions that remedies these deficiencies. Further, Sonos expressly
   reserves its right to update its statement of the issues of fact related to D&M’s invalidity defenses
   once D&M provides its updated statement of invalidity contentions.


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          36.     Whether D&M can prove, by clear and convincing evidence, that any Asserted

   Claim of the ‘258 Patent is invalid under 35 U.S.C. § 103 as being rendered obvious by any of

   D&M’s asserted prior art references, either alone or in combination.

          37.     Even if D&M could establish a prima facie case of obviousness with respect to

   any Asserted Claim of the ‘258 Patent, whether there are secondary considerations of non-

   obviousness that overcome this prima facie case of obviousness.

          38.     Whether D&M can prove, by clear and convincing evidence, that any of the

   Asserted Claims of the ‘258 Patent is invalid under 35 U.S.C. § 112.

          B.      The ‘014 Patent

          39.     Whether D&M can prove, by clear and convincing evidence, that any Asserted

   Claim of the ‘014 Patent is invalid under 35 U.S.C. § 102 as being anticipated by any of D&M’s

   asserted prior art references.

          40.     Whether D&M can prove, by clear and convincing evidence, that any Asserted

   Claim of the ‘014 Patent is invalid under 35 U.S.C. § 103 as being rendered obvious by any of

   D&M’s asserted prior art references, either alone or in combination.

          41.     Even if D&M could establish a prima facie case of obviousness with respect to

   any Asserted Claim of the ‘014 Patent, whether there are secondary considerations of non-

   obviousness that overcome this prima facie case of obviousness.

          42.     Whether D&M can prove, by clear and convincing evidence, that any of the

   Asserted Claims of the ‘014 Patent is invalid under 35 U.S.C. § 112.




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          C.      The ‘949 Patent

          43.     Whether D&M can prove, by clear and convincing evidence, that any Asserted

   Claim of the ‘949 Patent is invalid under 35 U.S.C. § 102 as being anticipated by any of D&M’s

   asserted prior art references.

          44.     Whether D&M can prove, by clear and convincing evidence, that any Asserted

   Claim of the ‘949 Patent is invalid under 35 U.S.C. § 103 as being rendered obvious by any of

   D&M’s asserted prior art references, either alone or in combination.

          45.     Even if D&M could establish a prima facie case of obviousness with respect to

   any Asserted Claim of the ‘949 Patent, whether there are secondary considerations of non-

   obviousness that overcome this prima facie case of obviousness.

          46.     Whether D&M can prove, by clear and convincing evidence, that any of the

   Asserted Claims of the ‘949 Patent is invalid under 35 U.S.C. § 112.

   III.   ABSOLUTE INTERVENING RIGHTS

          47.     Whether D&M can prove, by a preponderance of evidence, that the claims of the

   ‘949 Patent were substantively changed during reexamination.

          48.     Whether D&M can prove, by a preponderance of evidence, that absolute

   intervening rights apply to the Asserted Claims of the ‘949 Patent.




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                     SCHEDULE B2
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

    SONOS, INC.                                    §
                                                   §
                                                   §
                           Plaintiff,              §
                                                   §        Civil Action No. 14-1330-RGA
    v.                                             §
                                                   §        JURY TRIAL DEMANDED
    D&M HOLDINGS INC. d/b/a THE                    §
    D+M GROUP, D&M HOLDINGS U.S.                   §
    INC., and DENON ELECTRONICS                    §
    (USA), LLC,                                    §
                                                   §
                           Defendants.             §

         DEFENDANTS’ STATEMENT OF ISSUES OF FACT THAT REMAIN TO BE
                                LITIGATED

          Defendants D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and

   Denon Electronics (USA), LLC (collectively, “Defendants”) submit this Statement of Issues of

   Fact that Remain to be Litigated, which is based on Defendants’ current understanding of the

   claims asserted by Plaintiff Sonos, Inc. (“Sonos”) and the proceedings in this action to date.

          To the extent that Defendants’ Statement of Issues of Law to be Litigated set forth in

   Schedule C2 contains issues of fact, those issues are incorporated herein by reference. Likewise,

   should the Court determine that any issue identified below is more appropriately considered an

   issue of law, Defendants incorporate such issues by reference into Schedule C2. By including a

   fact herein, Defendants do not assume the burden of proof or production with regard to that fact.

   Defendants reserve the right to revise this statement in light of the Court’s rulings or any

   amendments, modifications, or extensions to Sonos’s positions.




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                  ISSUES ON WHICH DEFENDANTS BEAR THE BURDEN OF PROOF

   I.        NON-INFRINGING ALTERNATIVES1

             1.      Whether non-infringing alternatives exist to practicing claims 11, 17, 18, 21, and

   24 of the ‘258 Patent.

             2.      Whether non-infringing alternatives exist to practicing claims 21, 25, and 38 of the

   ‘014 Patent.

             3.      Whether non-infringing alternatives exist to practicing claims 1 and 16 of the ‘949

   Patent.

   II.       INVALIDITY OF THE ASSERTED PATENTS

             Below are the issues of fact related to whether the Asserted Patents are invalid under 35

   U.S.C. §§ 102, 103 and 112.

             A.      The ‘258 Patent

             4.      Whether claim 11 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of the UPnP Design by Example book, including the Intel UPnP Media

   Renderer, UPnP Media Server, UPnP Media Controller and Intel Device Spy software that was

   included in a CD with that book, and the documents specifically identified and incorporated by

   reference into that book (including UPnP Design by Example; Intel UPnP Software Suite

   (Renderer, Server, Controller, Device Spy); “RenderingControl:1 Service Template Version 1.01

   For UPnP, Version 1.0, June 25, 2002” (SONDM000115187-249); “AVTransport:1 Service

   Template Version 1.01 For UPnP, Version 1.0, June 25, 2002” (SONDM000114882-947);

   “Connection Manager: 1 Service Template Version 1.01 For UPnP, Version 1.0” June 25, 2002


   1
    As described in Defendants’ Issues of Law to be Litigated, Sonos bears the burden of proof for
   the purposes of obtaining lost profits that there is an absence of non-infringing alternatives.
   Regardless of whether Sonos can meet its burden, Defendants intend to prove the existence of non-
   infringing alternatives.
                                                      2
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   (SONDM000114948-72); Windows Universal Plug and Play (UPnP) Client Support

   (D+M_0402007-24); Universal Plug and Play AV Architecture:1 For UPnP, Version 1.0, June 25,

   2002 (D+M_0298151-172); “MediaRenderer:1 Device Template Version 1.01 For UPnP, Version

   1.0, June 25, 2002” (SONDM000115163-74); “MediaServer:1 Device Template Version 1.01 For

   UPnP, Version 1.0, June 25, 2002” (SONDM000115175-86); “ContentDirectory:1 Service

   Template Version 1.01 For UPnP, Version 1.0, June 25, 2002” (SONDM000114973-5061);

   Universal Plug and Play Device Architecture,” Version 1.0, June 8, 2000 (SONDM000164289-

   0342); RTP (RFC 1889); IEEE 1394; NTP (RFC-1305); (RFC 2616); Microsoft, Universal Plug

   and Play (UPnP) Client Support, August 2001 (“Microsoft UPnP”) (D+M_0402007-24))

   (collectively, “UPnP”).

          5.     Whether claim 11 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of the Home Director System as evidenced by U.S. Patent Application

   Publication No. US2002/0124097 to Isely and D+M_0402137-140 (collectively, “Home

   Director”).

          6.     Whether claim 11 of the ’258 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP and/or Home Director.

          7.     Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 11 of the ’258 Patent.

          8.     Whether claim 11 of the ’258 Patent is invalid under 35 U.S.C. § 112.

          9.     Whether claim 17 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of UPnP.

          10.    Whether claim 17 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of Home Director.



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          11.    Whether claim 17 of the ’258 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP and/or Home Director.

          12.    Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 17 of the ’258 Patent.

          13.    Whether claim 17 of the ’258 Patent is invalid under 35 U.S.C. § 112.

          14.    Whether claim 18 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of UPnP.

          15.    Whether claim 18 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of Home Director.

          16.    Whether claim 18 of the ’258 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP and/or Home Director.

          17.    Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 18 of the ’258 Patent.

          18.    Whether claim 18 of the ’258 Patent is invalid under 35 U.S.C. § 112.

          19.    Whether claim 21 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of UPnP.

          20.    Whether claim 21 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of Home Director.

          21.    Whether claim 21 of the ’258 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP and/or Home Director.

          22.    Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 21 of the ’258 Patent.

          23.    Whether claim 21 of the ’258 Patent is invalid under 35 U.S.C. § 112.



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          24.    Whether claim 24 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of UPnP.

          25.    Whether claim 24 of the ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of Home Director.

          26.    Whether claim 24 of the ’258 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP and/or Home Director.

          27.    Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 24 of the ’258 Patent.

          28.    Whether claim 24 of the ’258 Patent is invalid under 35 U.S.C. § 112.

          B.     The ‘014 Patent

          29.    Whether claim 21 of the ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of UPnP.

          30.    Whether claim 21 of the ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of the D&M System which comprises of the Escient Fireball System

   (as evidenced by The Fireball Digital Music Manager E-40 AND E-120 Installation and User

   Guide, January 2003 (D+M_0297671-906); The FireBall remote control guide, December 23,

   2003 (D+M_0296627-645); Meet the Fireball, August 26, 2003 (D+M_0298092-3); FireBall

   Digital Music Player MP-100, Installation and User’s Guide, January 2003 (D+M_0318272-432))

   in combination with Denon AVRs (as evidenced by “DVD and Music Manager DVDM-100

   Installation and User’s Guide” October 2003 (D+M_0323045-229); “AVR-5800 Operating

   Instructions” August 2000 (D+M_0295690-756); “AVR-1604/684 Operating Instructions” June

   2003 (D+M_0000326-453)) and in further combination with U.S. Patent 6,469,633 to Wachter

   (collectively, the “D&M System”).



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          31.    Whether claim 21 of the ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of U.S. Patent Application Publication No. US20020072816A1 to

   Shdema (“Shdema”).

          32.    Whether claim 21 of the ’014 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP, the D&M System and/or Shdema.

          33.    Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 21 of the ’014 Patent.

          34.    Whether claim 21 of the ’014 Patent is invalid under 35 U.S.C. § 112.

          35.    Whether claim 25 of the ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of UPnP.

          36.    Whether claim 25 of the ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of the D&M System.

          37.    Whether claim 25 of the ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of Shdema.

          38.    Whether claim 25 of the ’014 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP, the D&M System and/or Shdema.

          39.    Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 25 of the ’014 Patent.

          40.    Whether claim 25 of the ’014 Patent is invalid under 35 U.S.C. § 112.

          41.    Whether claim 38 of the ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of UPnP.

          42.    Whether claim 38 of the ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of the D&M System.



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          43.    Whether claim 38 of the ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of Shdema.

          44.    Whether claim 38 of the ’014 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP, the D&M System and/or Shdema.

          45.    Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 38 of the ’014 Patent.

          46.    Whether claim 38 of the ’014 Patent is invalid under 35 U.S.C. § 112.

          C.     The ‘949 Patent

          47.    Whether the ’949 Patent is entitled to a priority date earlier than February 21, 2008.

          48.    Whether claim 1 of the ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of UPnP.

          49.    Whether claim 1 of the ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of the D&M System.

          50.    Whether claim 1 of the ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of Shdema.

          51.    Whether claim 1 of the ’949 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP, the D&M System and/or Shdema.

          52.    Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 1 of the ’949 Patent.

          53.    Whether claim 1 of the ’949 Patent is invalid under 35 U.S.C. § 112.

          54.    Whether claim 16 of the ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of UPnP.

          55.    Whether claim 16 of the ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of the D&M System.
                                                   7
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          56.     Whether claim 16 of the ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone

   or in combination, in view of Shdema.

          57.     Whether claim 16 of the ’949 Patent is invalid under 35 U.S.C. § 103 in view of a

   combination of UPnP, the D&M System and/or Shdema.

          58.     Whether there is evidence of any secondary considerations of nonobviousness

   which salvage an otherwise invalid claim 16 of the ’949 Patent.

          59.     Whether claim 16 of the ’949 Patent is invalid under 35 U.S.C. § 112.

   III.   ADDITIONAL AFFIRMATIVE DEFENSES

          Below are the issues of fact related to Defendants’ additional affirmative defenses.

          A.      The ‘949 Patent

          60.     Whether Sonos’s claims for relief for the ’949 Patent are limited and/or barred by

   the doctrine of absolute intervening rights.2

                  a.      Whether the claims of the ’949 Patent were amended during
                          reexamination.3

                  b.      Whether the amendments to the ’949 Patent claims were substantive.4




   2
     Although Defendants have identified the issue of absolute intervening rights as an issue of fact
   related to Defendants’ affirmative defenses, there are no pending issues of fact which require the
   jury’s attention. Instead, the issue of absolute intervening rights is a matter of law for the Court to
   decide for the reasons set forth below. Nevertheless, out of an abundance of caution, Defendants
   have identified these issues in this statement to avoid any claims of waiver or incompleteness.
   3
     There is no dispute that claims 1 and 16 of the ’949 Patent were amending during reexamination.
   See D.I. 428 at 8 (“Language was added to both claims 1 and 16 (through claim 15) during
   reexamination.”). As such, there is no further need for the jury to consider this issue.
   4
     The Court has determined – and the Parties are in agreement – that the issue of whether
   amendments were substantive is a matter of law to be determined by the Court. See Hrg. Tr. p. 8,
   ll. 4-25, October 30, 2017. As such, there is no need for the jury to consider this issue either.
                                                     8
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              SCHEDULE C1
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

   SONOS, INC.,                       )
                                      )
                     Plaintiff,       )
                                              Civil Action No. 14-1330-RGA
                                      )
                     v.               )       JURY TRIAL DEMANDED
                                      )
   D&M HOLDINGS INC. d/b/a THE        )
   D+M GROUP, D&M HOLDINGS U.S.       )
   INC., and DENON ELECTRONICS        )
   (USA), LLC,                        )
                                      )
                     Defendants.      )


     SONOS’S STATEMENT OF ISSUES OF LAW THAT REMAIN TO BE LITIGATED




                                          1
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          Plaintiff Sonos, Inc. (“Sonos”) respectfully submits this Statement of Issues of Law that

   Remain to be Litigated, which is based on Sonos’s current understanding of the defenses of

   Defendants D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and Denon

   Electronics (USA), LLC (collectively, “D&M”) and the proceedings in this action to date.

          To the extent that Sonos’s Statement of Issues of Fact to be Litigated set forth in

   Schedule B1 contains issues of law, those issues are incorporated herein by reference. Likewise,

   should the Court determine that any issue identified below is more appropriately considered an

   issue of fact, Sonos incorporates such issues by reference into Schedule B1. By including a fact

   herein, Sonos does not assume the burden of proof or production with regard to that fact. Sonos

   reserves the right to revise this statement in light of the Court’s rulings.




                                                      2
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                  ISSUES ON WHICH SONOS BEARS THE BURDEN OF PROOF

   I.        DIRECT INFRINGEMENT

             1.    The jury must decide whether Sonos can prove by a preponderance of evidence

   that D&M has directly infringed each of the Asserted Claims of the Asserted Sonos Patents,

   either literally or under the Doctrine of Equivalents, by making, using, offering to sell, selling,

   and/or importing the Accused HEOS Instrumentalities.

             2.    Under 35 U.S.C. § 271(a), an accused infringer is liable for direct infringement if,

   without authorization from the patentee, the accused infringer “makes, uses, offers to sell, or

   sells any patented invention, within the United States or imports into the United States any

   patented invention during the term of the patent therefor, infringes the patent.” 35 U.S.C. §

   271(a).

             3.    The patentee has the burden to prove direct infringement, either literally or under

   the Doctrine of Equivalents, by a preponderance of evidence. See, e.g., Advanced

   Cardiovascular Sys., Inc. v. Scimed Life Sys., Inc., 261 F.3d 1329, 1336 (Fed. Cir. 2001);

   Warner-Lambert Co. v. Teva Pharms. USA, Inc., 418 F.3d 1326, 1341 n.5, 1342 (Fed. Cir.

   2005).

             4.    A determination of direct infringement under 35 U.S.C. § 271(a) requires a

   two-step analysis. First, the Court construes the claims at issue to define their scope and

   meaning as a matter of law. See, e.g., Cybor Corp. v. FAS Techs., Inc., 138 F.3d 1448, 1456

   (Fed. Cir. 1998) (en banc), abrogated on other grounds, Teva Pharms. USA, Inc. v. Sandoz, Inc.,

   --- U.S. ----, 135 S. Ct. 831 (2015); Markman v. Westview Instruments, Inc., 52 F.3d 967, 979

   (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996). Second, the evidence is examined to

   determine whether the claims as construed by the Court are infringed by the accused




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   instrumentalities, which is a question of fact to be decided by the jury. See, e.g., Broadcom

   Corp. v. Qualcomm Inc., 543 F.3d 683, 696 (Fed. Cir. 2008); Warner-Lambert, 418 F.3d at

   1340; Kegel Co. v. AMF Bowling, Inc., 127 F.3d 1420, 1425 (Fed. Cir. 1997).

          5.      “[I]ntent is not an element of direct infringement. . . . Infringement is, and should

   remain, a strict liability offense.” Hilton Davis Chem. Co. v. Warner- Jenkinson Co., 62 F.3d

   1512, 1527 (Fed. Cir. 1995) (en banc), rev’d on other grounds by Warner-Jenkinson Co. v.

   Hilton Davis Chem. Co., 520 U.S. 17 (1997).

          6.      Moreover, an accused product that allegedly adds unclaimed features, performs

   additional functions, or carries out claimed functions in a more efficient manner does not negate

   or avoid infringement. See, e.g., Dow Chem. Co. v. Sumitomo Chem. Co., 257 F.3d 1364, 1380

   (Fed. Cir. 2001); Amstar Corp. v. Envirotech Corp., 730 F.2d 1476, 1482 (Fed. Cir. 1984).

          A.      Literal Infringement

          7.      For there to be literal infringement of a device or system claim1, every limitation

   of the claim must be present in an accused device or system exactly as recited in the claim. See,

   e.g., Microsoft Corp. v. GeoTag, Inc., 817 F.3d 1305, 1313 (Fed. Cir. 2016); Netword, LLC v.

   Centraal Corp., 242 F.3d 1347, 1353 (Fed. Cir. 2001). “If even one claim limitation is missing

   or not met, there is no literal infringement.” MicroStrategy Inc. v. Business Objects, S.A., 429

   F.3d 1344, 1352 (Fed. Cir. 2005).

          8.      For there to be literal infringement of a claim directed to a device or system that is

   configured or programmed to perform recited functions, an accused device or system only needs

   to possess the functional capability to perform the recited functions. See, e.g., Silicon Graphics,

   Inc. v. AT! Technologies, Inc., 607 F.3d 784, 794 (Fed. Cir. 2010); Finjan, Inc. v. Secure

   1
    As used herein, the term “device claim” is intended to cover both apparatus claims and
   computer-readable medium (CRM) claims.


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   Computing Corp., 626 F.3d 1197, 1204-05 (Fed. Cir. 2010); Revolution Eyewear, Inc. v. Aspex

   Eyewear, Inc., 563 F.3d 1358, 1369-70 (Fed. Cir. 2009); Microprocessor Enhancement Corp. v.

   Texas Instrum. Inc., 520 F.3d 1367, 1375 (Fed. Cir. 2008); Intel Corp. v. U.S. Int 'l Trade Comm

   'n, 946 F.2d 821, 832 (Fed. Cir. 1991); D.I. 406 at 2-3 (“If the accused products ship with

   firmware pre-installed that enables the end user to utilize the functions described in the asserted

   claims, then that is all that is necessary for the sale or importation of the product to constitute

   infringement.”); M2M Sols. LLC v. Motorola Sols., Inc., No. 12-33-RGA, 2016 WL 70814, at *4

   (D. Del. Jan. 6, 2016); Riverbed Tech., Inc. v. Silver Peak Sys., Inc., No. 11-484-RGA, 2013 WL

   3830416, at *1-2 (D. Del. July 23, 2013). Infringement of such a claim does not require the

   accused device or system to actually perform the recited functions, nor does it require the

   accused device or system to be set up or activated. See, e.g., Finjan, 626 F.3d at 1204-05.

          9.      When applying this legal standard to claims reciting computing devices in

   functional terms, an accused computing device infringes as long as its software already contains

   program code that enables the accused device to perform the recited functions, without the need

   to modify the underlying code. See, e.g., Finjan, 626 F.3d at 1204-05; Fantasy Sports Props. v.

   Sportsline.com, Inc., 287 F.3d 1108, 1118 (Fed. Cir. 2002); M2M, 2016 WL 70814, at *7. The

   fact that such program code may need to be “activated” is irrelevant to infringement, because it

   “does not detract from or somehow nullify the existence of the claimed structure in the accused

   software.” Finjan, 626 F.3d at 1205. Thus, a computing device with software that contains

   program code for performing the recited functions literally infringes as sold. Id.

          10.     For there to be literal infringement of a method claim, “the enumerated steps of

   [the] claim must . . . all be practiced as recited in the claim for a process to infringe.” Ricoh Co.




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   v. Quanta Computer Inc., 550 F.3d 1325, 1333 (Fed. Cir. 2008) (citing Dippin' Dots, Inc. v.

   Mosey, 476 F.3d 1337, 1343 (Fed.Cir.2007)).

          11.     A patentee may prove infringement by “‘any method of analysis that is probative

   of the fact of infringement,’ and circumstantial evidence may be sufficient.” Martek Biosciences

   Corp. v. Nutrinova, Inc., 579 F.3d 1363, 1372 (Fed. Cir. 2009); see also Liquid Dynamics Corp.

   v. Vaughan Co., 449 F.3d 1209, 1219 (Fed. Cir. 2006) (“There is no requirement that direct

   evidence be introduced, nor is a jury’s preference for circumstantial evidence over direct

   evidence unreasonable per se.”).

          12.     Thus, for each Asserted Claim that Sonos contends to be literally infringed, the

   jury must decide whether Sonos can prove by a preponderance of evidence that every limitation

   of the claim is literally present in the Accused Instrumentalities.

          B.      Infringement Under Doctrine of Equivalents

          13.     An accused device or process that does not literally infringe may still infringe

   under the Doctrine of Equivalents “if there is ‘equivalence’ between the elements of the accused

   product or process and the claimed elements of the patented invention.” Warner-Jenkinson Co. v.

   Hilton Davis Chem. Co., 520 U.S. 17, 21 (1997) (citing Graver Tank & Mfg. Co. v. Linde Air

   Prods. Co., 339 U.S. 605, 609 (1950)); see also Zygo Corp. v. Wyko Corp., 79 F.3d 1563, 1568

   (Fed. Cir. 1996) (“Infringement under the doctrine of equivalents may be found where those

   limitations of a claim not found exactly in the accused device are met equivalently.”). Thus,

   under the Doctrine of Equivalents, a patentee must prove by a preponderance of the evidence that

   “the accused device contains an equivalent for each limitation not literally satisfied.” Catalina

   Mktg. Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 812 (Fed. Cir. 2002).




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           14.      To prove such equivalence, a patentee generally must “show[] that the difference

   between the claimed invention and the accused product [is] insubstantial.” Stumbo v. Eastman

   Outdoors, Inc., 508 F.3d 1358, 1364 (Fed. Cir. 2007). “One way of doing so is by showing on a

   limitation by limitation basis that the accused product performs substantially the same function

   in substantially the same way with substantially the same result as each limitation of the patented

   product.” Id. Further, when evaluating whether a feature of an accused device or process is

   equivalent to a limitation of a claim, one useful factor to consider is whether one of ordinary skill

   in the art would have known the feature to be interchangeable with the claim limitation. See

   Ring & Pinion Serv. Inc. v. ARB Corp., 743 F.3d 831, 834 (Fed. Cir. 2014) (collecting cases).

           15.      Thus, for each Asserted Claim that Sonos contends to be infringed under the

   Doctrine of Equivalents, the jury must decide whether Sonos can prove by a preponderance of

   evidence that the Accused Instrumentalities contain an equivalent for each limitation of the claim

   that is not literally satisfied.

   II.     INDIRECT INFRINGEMENT

           A.       Induced Infringement

           16.      The jury must decide whether Sonos can prove by a preponderance of evidence

   that D&M has induced infringement of the Asserted Claims under 35 U.S.C. § 271(b) by actively

   inducing third-party users and/or distributors of the Accused Instrumentalities to take acts that

   result in direct infringement of the Asserted Claims.

           17.      In general, an accused infringer “induces infringement under § 271(b) by actively

   and knowingly aiding and abetting another's direct infringement.” C.R. Bard, Inc. v. Advanced

   Cardiovascular Systems, Inc., 911 F.2d 670, 675 (Fed. Cir. 1990). To prove inducement of

   infringement, a patentee must show by a preponderance of evidence that (1) a third party




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   engaged in acts that resulted in direct infringement and (2) the accused infringer acted with a

   specific intent to induce the direct infringement by the third party. See, e.g., Broadcom Corp. v.

   Qualcomm Inc., 543 F.3d 683, 697-700 (Fed. Cir. 2008); DSU Medical Corp. v. JMS Co., Ltd.,

   471 F.3d 1293, 1304-06 (Fed. Cir. 2006). Both prongs of this standard are questions of fact to be

   decided by the jury. See, e.g., Broadcom Corp. v. Qualcomm Inc., 543 F.3d 683, 700 (Fed. Cir.

   2008); Insituform Techs., Inc. v. CAT Contracting, Inc., 385 F.3d 1360, 1378 (Fed. Cir. 2004)

   (“Intent is a factual determination particularly within the province of the trier of fact and may be

   inferred from all of the circumstances.”).

          18.      Under the first prong of this standard, a finding of induced infringement “can rest

   on as little as one instance” of direct infringement by a third party. Lucent Techs., Inc. v.

   Gateway, Inc., 580 F.3d 1301, 1317 (Fed. Cir. 2009). In addition, a third party’s direct

   infringement can be established either by direct evidence or by circumstantial evidence. See,

   e.g., Toshiba Corp. v. Imation Corp., 681 F.3d 1358, 1365 (Fed. Cir. 2012). As examples, a

   third party’s direct infringement can be established by:

          •     Evidence showing that an accused infringer instructs users to use a product in an
                infringing manner. See, e.g., Convolve, Inc. v. Compaq Computer Corp., 527 F.
                App'x 910, 929 (Fed. Cir. 2013); Toshiba, 681 F.3d at 1365; Lucent, 580 F.3d at
                1317-19.

          •     Evidence showing that an accused infringer designs a product having a “normal and
                intended use” that “involves an infringing use.” Cornell Univ. v. Hewlett-Packard
                Co., 654 F. Supp. 2d 119, 127 (N.D. N.Y. 2009) (citing Chiuminatta Concrete
                Concepts, Inc. v. Cardinal Indus., Inc., 145 F.3d 1303, 1307, 1311-1312 (Fed. Cir.
                1998)); see also Lucent, 580 F.3d at 1317-19, 21-23.

          •     Evidence showing that a defendant infringed while testing the accused product’s
                intended operation in combination with evidence showing that a significant number
                of accused products were provided to third parties. See, e.g., Koninklijke Philips N.V.
                v. Zoll Med. Corp., 656 F. App’x 504, 522 (Fed. Cir. 2016).




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          19.     Moreover, in line with the direct infringement standards set forth above, a

   patentee need not show that the specific functions recited in device claims have actually been

   used in order to prove a third party’s direct infringement of such claims. Fantasy Sports, 287

   F.3d at 1118 (find that an accused device having program instructions for performing the recited

   functions infringes claims directed to devices having functional capability regardless of whether

   those functions are “activated or utilized in any way”); Revolution, 563 F.3d at 1369-70 (finding

   it “irrelevant” to infringement that an accused product was “not actually used” in the claimed

   configuration of an apparatus claim); M2M Sols., 2016 WL 70814, at *12-14 (finding that the

   patentee need not show “evidence of any third party having operated the devices in an infringing

   matter” to establish direct infringement of apparatus claims).

          20.     Rather, a device that possesses the functional capability to perform the recited

   functions of a device claim infringes that claim regardless of whether the recited functions are

   actually performed, and thus any use of the accused device by a third-party user is a direct

   infringement under 35 U.S.C. § 271(a). See, e.g., M2M, 2016 WL 70814, at *12-14. Likewise,

   any time that a third-party user installs software on such a device that includes program code for

   performing the recited functions of a device claim, the user “makes” a device that infringes the

   device claim, which is direct infringement under 35 U.S.C. § 271(a). Id.; see also Centillion

   Data Sys., LLC v. Qwest Commc’ns Int'l, Inc., 631 F.3d 1279, 1288 (Fed. Cir. 2011) (finding that

   a customer “makes” a claimed system under 35 U.S.C. § 271(a) by providing the personal

   computer and “installing the client software”).

          21.     Turning to the second prong of this standard, a patentee can satisfy the “intent”

   requirement of induced infringement by proving that (a) the accused infringer took affirmative

   acts to cause, urge, encourage, or aid the third party’s acts, and (b) the accused infringer knew




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   that the induced acts of the third party would result in direct infringement or was at least

   willfully blind to that fact—which necessarily requires proof that the accused infringer knew of,

   or was at least willfully blind to, the existence of the patent being infringed. See, e.g., Power

   Integrations, Inc. v. Fairchild Semiconductor International, Inc., 843 F.3d 1315, 1332 (Fed. Cir.

   2016); Suprema, Inc. v. International Trade Com'n, 626 Fed.Appx. 273, 280-282 (Fed. Cir.

   2015); Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 764-771 (2011); Broadcom, 543

   F.3d at 697-700; DSU Medical, 471 F.3d at 1304-06.

          22.     Establishing that an accused infringer willfully blinded itself to the infringing

   nature of a third party’s acts requires a showing that (1) the accused infringer subjectively

   believed there was a high probability that a patent was being infringed by the third party and (2)

   the accused infringer took deliberate actions to avoid learning of this fact. Global-Tech, 563 U.S.

   at 769-71; see also Suprema, 626 Fed.Appx. at 280-282.

          23.     As with the direct infringement requirement, the intent requirement can be

   established either by direct evidence or by circumstantial evidence, and “the requisite intent to

   induce infringement may be inferred from all of the circumstances.” See, e.g., Broadcom, 543

   F.3d at 699 (internal quotation omitted); see Ricoh Co. v. Quanta Computer Inc., 550 F.3d 1325,

   1341 (Fed. Cir. 2008) (finding that “liability for active inducement may be found where evidence

   goes beyond a product’s characteristics or the knowledge that it may be put to infringing uses,

   and shows statements or actions directed to promoting infringement”) (internal quotation

   omitted). These circumstances may take various forms.

          24.     As one example, “[e]vidence of active steps taken to induce infringement, such as

   advertising an infringing use, can support a finding of an intention for the product to be using in

   an infringing manner.” Lucent, 580 F.3d at 1322. As another example, “providing instruction on




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   how to engage in an infringing use shows an affirmative intent that the product be used to

   infringe.” Ricoh, 550 F.3d at 1338 (internal quotation omitted). As yet another example, “a

   failure to remove or diminish infringing features of a distributed product is relevant to a party’s

   intent that those features be used for direct infringement.” Ricoh, 550 F.3d at 1338.2

          25.     Moreover, the Federal Circuit has found that the specific intent to induce

   infringement “may be inferred from circumstantial evidence where [an accused infringer] has

   both knowledge of the patent and specific intent to cause the acts constituting infringement.” Id.

   at 1342-43. For example, a “specific intent to cause infringement” can be inferred from “[an

   accused infringer’s knowledge of the patent and control over the design or manufacturing of the

   product used for direct infringement.” Id.

          26.     Notably, an accused infringer’s belief that a patent is invalid also cannot negate a

   showing of intent to induce infringement. See Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct.

   1920, 1926-30 (2015).

          B.      Contributory Infringement

          27.     The jury must decide whether Sonos can prove by a preponderance of evidence

   that D&M has contributorily infringed the Asserted Claims under 35 U.S.C. § 271(c) by

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     See also, e.g., Broadcom, 543 F.3d at 701 (finding substantial evidence to support jury verdict
   of induced infringement where, after the lawsuit was filed, defendant continued developing and
   supporting the accused products and failed to make changes to the products or instruct customers
   on how to avoid infringement); CreAgri, Inc. v. Pinnaclife Inc., No. 11-06635, 2013 WL
   3958379, at *4 (N.D. Cal. July 29, 2013) (denying motion to dismiss induced infringement claim
   where, after learning that the patent had issued, defendant “made the choices to: (1) continue to
   advertise its [accused product]; (2) participate in the study with the University of Iowa; and (3)
   leave its YouTube video on the internet.”) (emphasis original); Fujitsu Ltd. v. Belkin Int'l, Inc.,
   No. 10-3972, 2012 WL 4497966, at *40-41 (N.D. Cal. Sept. 28, 2012) (denying summary
   judgment of no indirect infringement where the accused infringer “distributed marketing
   materials and user manuals affirmatively instructing users to combine accused external devices
   with allegedly infringing cards and made no effort to delete these instructions after being
   contacted by [the patentee]”).




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   supplying software components in the United States to be installed and/or used by third-party

   users of the Accused Instrumentalities with knowledge that installation and/or use of the

   software components would result in direct infringement.

          28.     To prove contributory infringement of a patent, a patentee must show by a

   preponderance of evidence that (1) an accused infringer sold, offered to sell, or imported in the

   United States a material component of an infringing product that is not a staple article or

   commodity of commerce suitable for substantial noninfringing use, (2) a third party used the

   component in an infringing manner, and (3) the accused infringer knew that the component was

   especially made or adapted for use in the infringing manner or was at least willfully blind to this

   fact. See 35 U.S.C. § 271(c); Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1326 (Fed. Cir. 2010);

   i4i Ltd. Partnership v. Microsoft Corp., 598 F.3d 831, 850–51 (Fed. Cir. 2010); Philips

   Electronics N.A. Corp. v. Remote Solution Co., Ltd., 411 F.Supp.2d 479, 482-83 (D. Del. 2006).

   Each prong of this standard is a question of fact to be decided by the jury. See, e.g., Koninklijke

   Philips N.V. v. Zoll Med. Corp., 656 F. App’x 504, 522-25 (Fed. Cir. 2016); Cross Med.

   Products, Inc. v. Medtronic Sofamor Danek, Inc., 424 F.3d 1293, 1314 (Fed. Cir. 2005).

          29.     Under the first prong of this standard, a component has no “substantial

   noninfringing use” if the component has no meaningful use other than to infringe the claims of a

   patent. See, e.g., Golden Blount, Inc. v. Robert H. Peterson Co., 438 F.3d 1354, 1363 (Fed. Cir.

   2006). When applying this standard to a separate and distinct component that is embedded into a

   larger package, the analysis must remain focused only on whether the specific component – and

   not the entire package – is capable of substantial noninfringing uses. See Koninklijke, 656 F.

   App’x at 524 (compiling cases); see also, e.g., i4i Ltd., 598 F.3d at 849 (Fed. Cir. 2010); Lucent,




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   580 F.3d at 1320-21; Ricoh, 550 F.3d at 1339; Skyhook Wireless, Inc. v. Google, Inc., No. 10-

   11571, 2015 WL 10012985, *11-12 (D. Mass. Feb. 18, 2015).

          30.     Moreover, a use of the component that is not practical, not worthwhile, far-

   fetched, illusory, or hypothetical does not quality as “substantial noninfringing use” under 35

   U.S.C. § 271(c). See, e.g., i4i Ltd., 598 F.3d at 851; Mentor H/S, Inc. v. Medical Device

   Alliance, Inc., 244 F.3d 1365, 1379 (Fed. Cir. 2001).

          31.     Turning to the second prong of this standard, as with induced infringement, a

   finding of contributory infringement can be based on as little as one instance of direct

   infringement by a third party and can be established by either direct or circumstantial evidence.

   See, e.g., i4i Ltd., 598 F.3d at 850; Linear Tech. Corp. v. Impala Linear Corp., 379 F.3d 1311,

   1327-28 (Fed. Cir. 2004).

          32.     Moreover, in line with the direct infringement standards set forth above, a

   patentee need not show that the specific functions recited in device claims have actually been

   used in order to prove a third party’s direct infringement of such claims. Fantasy Sports, 287

   F.3d at 1118; Revolution, 563 F.3d at 1369-70; M2M Sols., 2016 WL 70814, at *12-14. Rather,

   a device that possesses the functional capability to perform the recited functions of a device

   claim infringes that claim regardless of whether the recited functions are actually performed, and

   thus any use of the accused device by a third-party user is a direct infringement under 35 U.S.C.

   § 271(a). See, e.g., M2M, 2016 WL 70814, at *12-14. Likewise, any time that a third-party user

   installs software on such a device that includes program code for performing the recited

   functions of a device claim, the user “makes” a device that infringes the device claim, which is

   direct infringement under 35 U.S.C. § 271(a). Id.; see also Centillion 631 F.3d at 1288.




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          33.     Lastly, as with induced infringement, the third prong of this standard requires

   proof that the accused infringer knew the component was being used in an infringing manner or

   was at least willfully blind to that fact—which necessarily requires proof that the accused

   infringer knew of, or was at least willfully blind to, the existence of the patent being infringed.

   Commil, 135 S. Ct. at 1926; Global-Tech, 563 U.S. at 761-71; Philips Electronics N.A. Corp. v.

   Remote Solution Co., Ltd., 411 F.Supp.2d 479, 482 n.4 (D. Del. 2006) (“Even if actual, as

   opposed to constructive, knowledge were required, an instruction permitting Philips to argue that

   the Defendants must have known the truth would be appropriate, since willful blindness is a

   species of actual knowledge. . . . Thus, even an instruction that required Defendants to have had

   actual knowledge that infringement was occurring must include a situation where Defendants

   had particular information and turned a blind eye to it.”). However, unlike for induced

   infringement, the standard for contributory infringement does not require proof of intent to cause

   infringement, because such intent is presumed when a component is not capable of any

   substantial noninfringing use. See, e.g., Ricoh, 550 F.3d at 1338.

   III.   WILLFULNESS

          34.     The jury must decide whether Sonos can prove by a preponderance of evidence

   that D&M’s infringement was willful.

          35.     The Supreme Court recently found that there is “no precise rule or formula” for

   determining whether an accused infringer’s infringement was willful. Halo Electronics, Inc. v.

   Pulse Electronics, Inc., 136 S. Ct. 1923, 1932 (2016). However, in general, an accused infringer

   is liable for willful infringement of a patent if the accused infringer knew or should have known

   of the patent and nevertheless engaged in conduct that infringed the patent without regard for the

   consequences. See id. at 1931-1934. For instance, “proof that [an accused infringer] acted




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   despite a risk of infringement that was ‘either known or so obvious that it should have been

   known to the accused infringer’” is sufficient to establish willful infringement. WesternGeco

   L.L.C. v. ION Geophysical Corp., 837 F.3d 1358, 1362-64 (Fed. Cir. 2016) (citing Halo, 136 S.

   Ct. at 1930).

          36.      In general, the accused infringer’s state of mind is to be evaluated at the time of

   the accused infringer’s challenged conduct. See, e.g., Halo, 136 S. Ct. at 1933; Apple Inc. v.

   Samsung Electronics Co., Ltd., No. 12-630, 2017 WL 2720220, at *10 (N.D. Cal. June 23,

   2017). As such, pre-suit or post-suit conduct can independently serve as a basis for willful

   infringement. See, e.g., Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1295 (Fed.

   Cir. 2017); Zimmer Surgical, Inc. v. Stryker Corp., No. 16-679-RGA, 2017 WL 3736750, at *2

   (D. Del. Aug. 30, 2017) (“[A]llegations of post-filing conduct can support a finding of

   willfulness.”); Apple Inc. v. Samsung Electronics Co., Ltd., No. 12-630, 2017 WL 2720220, at

   *11 (N.D. Cal. June 23, 2017) (“Samsung’s post-filing conduct alone can serve as the basis of a

   jury’s willfulness finding and an award of enhanced damages.”); DermaFocus LLC v. Ulthera,

   Inc., 201 F.Supp.3d 465, 473 (D. Del. 2016).

          37.      Likewise, that an accused infringer’s challenged conduct began prior to the

   issuance of a patent is no defense to willful infringement if the accused infringer continues to

   infringe post issuance. See, e.g., Gasser Chair Co., Inc. v. Infanti Chair Mfg. Corp., 60 F.3d

   770, 776 (Fed. Cir. 1995) (“Whether Infanti was justified in producing the chairs prior to the

   issuance of Gasser’s patent is irrelevant to whether it was justified in doing so after being made

   aware of it.”); Minnesota Min. & Mfg. Co. v. Johnson & Johnson Orthopaedics, Inc., 976 F.2d

   1559, 1581 (Fed. Cir. 1992) (“[A]lthough willfulness is generally based on conduct that occurred

   after a patent issued, pre-patent conduct may also be used to support a finding of willfulness.”);




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   Pacific Furniture Mfg. Co. v. Preview Furniture Corp., 800 F.2d 1111, 1114 n.9 (Fed. Cir. 1986)

   (“The fact that Preview may have started its infringement before the patents issued (or before

   appellants were aware of the patents) does not bar an award of increased damages or attorney

   fees.”); Kaufman Co. v. Lantech, Inc., 807 F.2d 970, 978-979 (Fed. Cir. 1986); Idenix Pharms.

   LLC v. Gilead Sciences, Inc., No. 13-1987, 2016 WL 7380530, at *1 (D. Del. Dec. 4, 2016)

   (“Nor is the Court persuaded that the law absolutely precludes pre-patent conduct from being

   probative of willfulness”); Andover Healthcare, Inc. v. 3M Co., No. 13-843, 2016 WL 6246360,

   at *6 (D. Del. Oct. 18, 2016); Chimie v. PPG Indus., Inc., 218 F.R.D. 416, 422 (D. Del. 2003)

   (“Where there is particularly egregious behavior showing a party intent on misappropriating a

   competitor’s proprietary technology, courts have been willing to consider that behavior as

   evidence of willfulness, even if some of the offending acts occurred before a patent issued.”).

          38.     For example, evidence of pre-issuance copying of patented features coupled with

   evidence of post-issuance continued sale of products embodying those copied features can

   support willful infringement. See, e.g., Stryker Corp. v. Davol Inc., 234 F.3d 1252, 1259 (Fed.

   Cir. 2000); L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117, 1127 (Fed. Cir. 1993)

   (“[C]ontinu[ing] the accused activities after patent issuance” can support a finding of willfulness

   because “[t]he law imposes an affirmative duty of due care to avoid infringement of the known

   patent rights of another.”); Kaufman Co. v. Lantech, Inc., 807 F.2d 970, 978-979 (Fed. Cir.

   1986); Apple Inc. v. Samsung Electronics Co., Ltd., No. 12-630, 2017 WL 2720220, at *12 (N.D.

   Cal. June 23, 2017) (“The continued sale of a copied product supports an inference that

   Samsung's infringement was willful.”); Sargent Mfg. Co. v. Cal-Royal Prod., Inc., No. 08-408,

   2012 WL 603268, at *11 (D. Conn. Feb. 24, 2012) (“Cal–Royal has admitted that after Sargent

   filed the current lawsuit . . . , Cal–Royal created a new design of its easily reversible mortise lock




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   to avoid infringement, and yet continued to sell the allegedly infringing design until at least

   2009. This fact alone would allow a reasonably jury to find that Cal–Royal's willfully infringed

   Sargent's ‘870 patent in the post-filing period.”); cf K-TEC, Inc. v. Vita-Mix Corp., 696 F.3d

   1364, 1378 (Fed. Cir. 2012). (“In addition, as recounted above, K–TEC presented evidence that,

   in designing the XP product, Vita–Mix started with the MP container—a direct copy of K–

   TEC’s five-sided jar—and made only a trivial change. Specifically, K–TEC offered evidence

   that, rather than adopting one of numerous noninfringing designs, Vita–Mix opted for a design

   that allowed Vita–Mix to produce a container that performed in the same way as the MP

   container and employ a design that its customers would not be able to distinguish from the MP

   container. Indeed, Vita–Mix maintained the same product numbers for both the MP and XP

   containers.”).

          39.       As another example, evidence suggesting that (i) the accused infringer knew of

   the value of an invention, (ii) the accused infringer knew that the inventor intended to obtain a

   patent on the invention, and (iii) there was similarity between the accused infringer’s product and

   the invention can support willful infringement. See, e.g., Tomita Techs. USA, LLC v. Nintendo

   Co., Ltd., No. 11-4256, 2012 WL 2524770, at *10 (S.D. N.Y. June 26, 2012).

          40.       Willful infringement is a question of fact to be decided by the jury, and the

   patentee has the burden of proving willful infringement by a preponderance of evidence. WBIP,

   LLC v. Kohler Co., 829 F.3d 1317, 1341 (Fed. Cir. 2016); Halo, 136 S. Ct. at 1934. Willful

   infringement can be established either by direct evidence or by circumstantial evidence. See,

   e.g., Georgetown Rail Equip. Co. v. Holland L.P., No. 2016-2297, 2017 WL 3499240, at *11

   (Fed. Cir. Aug. 1, 2017); Tristrata Tech., Inc. v. ICN Pharm., Inc., 313 F. Supp. 2d 405, 411-12

   (D. Del. 2004); cf. Water Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 668 (Fed. Cir. 1988)




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   (“While proof of intent is necessary, direct evidence is not required; rather, circumstantial

   evidence may suffice.”).

   IV.    REMEDIES

          A.      Injunction

          41.     If it is determined that D&M infringes one or more of the Asserted Claims of the

   Asserted Sonos Patents, the Court will have to decide whether to issue an injunction against

   D&M.

          42.     Under 35 U.S.C. § 283, the Court “may grant injunctions in accordance with the

   principles of equity to prevent the violation of any right secured by patent, on such terms as the

   court deems reasonable.” 35 U.S.C. § 283. “The decision to grant or deny permanent injunctive

   relief is an act of equitable discretion by the district court.” eBay Inc. v. MercExchange, L.L.C.,

   547 U.S. 388, 391 (2006).

          43.     To obtain an injunction under § 283, “[a] plaintiff must demonstrate: (1) that it

   has suffered an irreparable injury; (2) that remedies available at law, such as monetary damages,

   are inadequate to compensate for that injury; (3) that, considering the balance of hardships

   between the plaintiff and defendant, a remedy in equity is warranted; and (4) that the public

   interest would not be disserved by a permanent injunction.” eBay, 547 U.S. at 391

          44.     “Where two companies are in competition against one another, the patentee

   suffers the harm - often irreparable - of being forced to compete against products that incorporate

   and infringe its own patented inventions.” Douglas Dynamics, LLC v. Buyers Prods. Co., 717

   F.3d 1336, 1345 (Fed. Cir. 2013). “The patentee’s unwillingness to license the patented

   technology also weighs in favor of a finding of irreparable harm.” Evonik Degussa GmbH v.

   Materia, Inc., Civ. No. 09-636 (NLH/JS), 2017 WL 3434156, at *1 (D. Del. Aug. 9, 2017)




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   (citing Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 702 F.3d 1351, 1363-64 (Fed.

   Cir. 2012)).

          45.     The nature of the competitive relationship between [the parties], as well as the

   patentee’s unwillingness to license the patented technology, also weigh in favor of a conclusion

   that the patentee has no adequate remedy at law. See Acumed LLC v. Stryker Corp., 551 F.3d

   1323, 1327-28 (Fed. Cir. 2008); ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d

   1312, 1337 (Fed. Cir. 2012) (“As the district court correctly observed, the issues of irreparable

   harm and adequacy of remedies at law are inextricably intertwined.”); Evonik, 2017 WL

   3434156 at *2. “Additionally, ‘a patent holder’s . . . engagement in lengthy litigation to protect

   [the] business decision,’ [not to license the patented technology] as occurred here, also weighs in

   favor of finding the remedy at law inadequate.” Sanofi-Aventis Deutschland Gmbh v. Glenmark

   Pharms. Inc., USA, 821 F. Supp. 2d 681, 694 (D.N.J. 2011) (quoting Federal Judicial Center’s

   Patent Case Management Judicial Guide Table 9.1).

          46.     Balancing the hardships between the parties “assesses the relative effect of

   granting or denying an injunction on the parties.” Apple Inc. v. Samsung Elecs. Co., 809 F.3d

   633, 645 (Fed. Cir. 2015). Factors that may be considered “include[ ] the parties’ sizes,

   products, and revenue sources.” i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831, 862 (Fed. Cir.

   2010). “A party cannot escape an injunction simply because it is smaller than the patentee or

   because its primary product is an infringing one.” Robert Bosch LLC v. Pylon Mfg. Corp., 659

   F.3d 1142, 1156 (Fed. Cir. 2011); Evonik, 2017 WL 3434156 at *3. Furthermore, the balance of

   the hardships does not favor the defendant when “[a]ny harms Defendants may suffer as a result

   of an injunction ‘were almost entirely preventable and were the result of its own calculated




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   risk.’” Sanofi-Aventis Deutschland GmbH, 821 F. Supp. 2d at 695 (quoting Sanofi-Synthelabo v.

   Apotex, 470 F.3d 1368, 1383 (Fed. Cir. 2006))

          47.     “[T]he public interest nearly always weighs in favor of protecting property rights

   in the absence of countervailing factors, especially when the patentee practices his inventions.

   ‘The encouragement of investment-based risk is the fundamental purpose of the patent grant, and

   is based directly on the right to exclude.’” Apple, 809 F.3d at 647 (quoting Sanofi-Synthelabo v.

   Apotex, Inc., 470 F.3d 1368, 1383 (Fed. Cir. 2006)); see also Sanofi-Aventis Deutschland GmbH,

   821 F. Supp. 2d at 696 (“If generic pharmaceutical companies were free to disregard patent

   rights and simply piggy back off the innovations of others, then the incentives the patent system

   is designed to promote, namely those that encourage continued investment in costly drug

   development, would disappear.”).

          B.      Damages

          48.     If it is determined that D&M infringes one or more of the Asserted Claims of the

   Asserted Sonos Patents, the jury will be asked to determine the amount of damages that should

   be awarded to Sonos.

          49.     35 U.S.C § 284 states in relevant part:

          Upon finding for the claimant the court shall award the claimant damages
          adequate to compensate for the infringement, but in no event less than a
          reasonable royalty for the use made of the invention by the infringer . . . .

          ...

          The court may receive expert testimony as an aid to the determination of damages
          or of what royalty would be reasonable under the circumstances.

          50.     The purpose of compensatory damages is to make the patent owner “whole” or

   “fully compensate” him for the infringement, such that the patent owner is restored to the

   financial position he would have been in had the infringement not occurred. Lucent




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   Technologies, Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009), cert. denied, 130 S.

   Ct. 3324 (2010); Rite- Hite Corp. v. Kelley Co., Inc., 56 F.3d 1538, 1545 (Fed. Cir. 1995) (en

   banc), cert. denied, 516 U.S. 867 (1995) (“[T]he Supreme Court has interpreted [Section 284] to

   mean that ‘adequate’ damages should approximate those damages that will fully compensate the

   patentee for infringement.”) (emphasis in original).

          51.     Depending on the circumstances of the case, compensatory damages may take the

   form of (1) lost profits, (2) an established royalty, or (3) a reasonable royalty. SmithKline

   Diagnostics, Inc. v. Helena Labs. Corp., 926 F.2d 1161, 1167 & n.5 (Fed. Cir. 1991); Hanson v.

   Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1078 (Fed. Cir. 1983). As a general matter, a

   “patentee may seek to recover actual damages, usually, the amount of profits actually lost, or if

   unable to prove actual damages, the patentee is entitled to a reasonable royalty.” Smithkline, 926

   F.2d at 1164. A reasonable royalty may take the form of a lump sum royalty, “where the

   patentee receives an upfront payment,” or a running royalty, “where the patentee collects

   ongoing per-unit or percentage payments.” Wordtech Sys. Inc. v. Integrated Networks Solutions,

   Inc., 609 F.3d 1308, 1319 (Fed. Cir. 2010).

          52.     To recover lost profits, “a patent owner must prove a causal relation between the

   infringement and its loss of profits.” Crystal Semiconductor Corp. v. TriTech Microelecs. Int’l,

   Inc., 246 F.3d 1336, 1353 (Fed. Cir. 2001) (internal quotation marks and citation omitted). “In

   other words, the burden rests on the patentee to show a reasonable probability that but for the

   infringing activity, the patentee would have made the infringer’s sales.” Id. (internal quotation

   marks and citation omitted). “When a patentee proves it would have made additional sales but

   for a defendant’s infringement, the patentee is entitled to be made whole for the profits it proves

   it lost.” Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1284 (Fed. Cir. 2017).




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          53.     “There is no particular required method to prove but for causation” in patent

   cases. Id. “One useful, but non-exclusive method to establish the patentee’s entitlement to lost

   profits is the Panduit test first articulated by the Sixth Circuit” in Panduit Corp. v. Stahlin

   Brothers Fibre Works, Inc., 575 F.2d 1152 (6th Cir. 1978). Mentor Graphics, 851 F.3d at 1284

   (internal quotation marks and citation omitted). Under the Panduit test, a patentee is entitled to

   lost profits if it can establish: (1) “demand for the patented product”; (2) “absence of acceptable

   noninfringing substitutes”; (3) “manufacturing and marketing capability to exploit the demand”;

   and (4) “the amount of profit [the patentee] would have made.” 575 F.2d at 1156.

          54.     “The first factor—demand for the patented product—considers demand for the

   product as a whole.” Mentor Graphics, 851 F.3d at 1285 (citing DePuy Spine, Inc. v. Medtronic

   Sofamor Danek, Inc., 567 F.3d 1314, 1330-31 (Fed. Cir. 2009)). “This factor does not require

   any allocation of consumer demand among the various limitations recited in a patent claim.”

   DePuy, 567 F.3d at 1330.

          55.     “The second factor—the absence of non-infringing alternatives —considers

   demand for particular limitations or features of the claimed invention.” Mentor Graphics, 851

   F.3d at 1285 (citing DePuy, 567 F.3d at 1331).

          56.     “[I]f purchasers are motivated to purchase because of particular features available

   only from the patented product, products without such features—even if otherwise competing in

   the marketplace—would not be acceptable noninfringing substitutes.” Standard Havens Prods.,

   Inc. v. Gencor Indus., Inc., 953 F.2d 1360, 1373 (Fed. Cir. 1991). Similarly, “products lacking

   the advantages of the patented invention ‘can hardly be termed a substitute acceptable to the

   customer who wants those advantages.’” Presidio, 702 F.3d at 1361 (quoting TWM Mfg. Co. v.

   Dura Corp., 789 F.2d 895, 901-02 (Fed. Cir. 1986)); see also Radio Steel & Mfg. Co. v. MTD




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   Prods., Inc., 788 F.2d 1554, 1556 (Fed. Cir. 1986) (affirming district court’s finding of no

   acceptable, noninfringing alternatives where “[t]he various [proposed alternative] wheelbarrows

   to which [infringer] refers incorporate only some, but not all, of the elements of the patent.”).

   This is especially true where the “proposed non-infringing substitutes are not adequate

   substitutes in the same market” and/or the market is moving away from the proposed non-

   infringing substitute to the infringing design. Presidio, 702 F.3d at 1361.

          57.     “The patent holder does not need to negate all possibilities that a purchaser might

   have bought a different product or might have foregone the purchase altogether” in order to

   satisfy the second Panduit factor. State Indus., Inc. v. Mor-Flo Indus., Inc., 883 F.2d 1573, 1577

   (Fed. Cir. 1989) (quoting Paper Converting Mach. Co. v. Magna–Graphics Corp., 745 F.2d 11,

   21 (Fed. Cir. 1984)) (emphasis in original); see also Izumi Prods. Co. v. Koninklijke Philips

   Elecs. N.V., 315 F.Supp.2d 589, 613 (D. Del. 2004) (“A patentee need not negate every

   possibility that a purchaser might have bought a product other than its own.”).

          58.     As an alternative to demonstrating the absence of acceptable, noninfringing

   alternatives under the second Panduit element, a patentee can use a market share approach where

   the patentee recovers lost profits on the percentage of infringing sales equal to its market share.

   See, e.g., BIC Leisure Prods., Inc. v. Windsurfing Intern., Inc., 1 F.3d 1214, 1219 (Fed. Cir.

   1993) (“This court has held that a patent owner may satisfy the second Panduit element by

   substituting proof of its market share for proof of the absence of acceptable substitutes. This

   market share approach allows a patentee to recover lost profits, despite the presence of

   acceptable, noninfringing substitutes, because it nevertheless can prove with reasonable

   probability sales it would have made ‘but for’ the infringement.”) (internal citation omitted);

   Oscar Mayer Foods Corp. v. ConAgra, Inc., Nos. 94-1247, 94-1248, 1994 WL 712488 at *8




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   (Fed. Cir. Dec. 22, 1994) (“[T]his court has previously approved proof of market share as a

   substitute for proving the absence of acceptable, noninfringing alternatives.”); Mor-Flo, 883 F.2d

   at 1577-78 (When a market share approach is applied “the presence or absence of acceptable

   noninfringing alternatives does not matter. The question then becomes whether an established

   market share combined with the other Panduit factors is sufficient to show [patentee’s] loss to a

   reasonable probability.”); Cryovac Inc. v. Pechiney Plastic Packaging, Inc., 430 F.Supp.2d 346,

   362 (D. Del. 2006) (“[D]amages for lost profits may be awarded, even where there are non-

   infringing alternatives, based on a patentee’s previous share of the market. Thus, even if [a

   competitor] did produce a product that was a non-infringing alternative, it is possible for [the

   patentee] to be awarded lost profits damages based on the market share it held prior to [the

   infringer’s] entrance into the market.”); Izumi, 315 F.Supp.2d at 614 (“[A]warding lost profits

   based on market share is proper if the patentee shows an established market share in lieu of the

   absence of acceptable noninfringing alternatives and, at the same time, meets the three other

   Panduit factors.”); Procter & Gamble Co. v. Paragon Trade Brands, Inc., 989 F.Supp. 547, 601

   (D. Del. 1997) (“[A] patent owner may satisfy the second prong of the Panduit test by proving

   its share of the market in lieu of proof of the absence of acceptable substitutes. Under this

   approach, a patentee recovers lost profits on the percentage of infringing sales equal to its market

   share.”) (citations omitted); see also Mentor Graphics, 851 F.3d at 1286 n.5; Ericsson, Inc. v.

   Harris Corp., 352 F.3d 1369, 1377 (Fed. Cir. 2003); Crystal Semiconductor Corp., 246 F.3d at

   1353-55; TruePosition Inc. v. Andrew Corp., 568 F.Supp.2d 500, 524 n.31 (D. Del. 2008); C.R.

   Bard, Inc. v. Boston Sci. Corp., C.A. No. 95-215-JJF, 1998 WL 34181945, at *2 (D. Del. Nov.

   30, 1998).




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          59.     “For sales in which the patentee cannot prove the elements necessary to establish

   entitlement to lost profits, the statute guarantees the patentee a reasonable royalty for those

   sales.” Mentor Graphics, 851 F.3d at 1286. The common approach to determining a reasonable

   royalty is to consider the outcome of a hypothetical arms-length negotiation between a willing

   licensor and licensee just before infringement began. Lucent Technologies, Inc., 580 F.3d at

   1324-25. In other words, the reasonable royalty is “the royalty upon which the parties would

   have agreed had they successfully negotiated an agreement” at that time. Id. “[P]arties in a

   hypothetical negotiation are presumed to have perfect knowledge of all facts and circumstances,

   some of which were unknown during the actual patent negotiations and acquisition.” Intellectual

   Ventures I LLC v. Check Point Software, et al., C.A. Nos. 10-1067-LPS, 12-1581-LPS, at *11

   (D. Del. Mar. 31, 2014) (Mem. Op.) (citing Mobile Oil Corp. v. Amoco Chemicals Corp., 915 F.

   Supp. 1333, 1353 (D. Del. 1994)). In applying the construct of the hypothetical negotiation, the

   fact-finder must assume that the patents-in-suit are valid, enforceable, and infringed. See Lucent

   Technologies, Inc., 580 F.3d at 1324-25.

          60.     As a general matter, the reasonable royalty analysis considers the relevant facts

   and circumstances concerning the parties as of the time of the hypothetical negotiation, but the

   analysis is flexible – the fact-finder may also look to “events and facts that occurred thereafter

   and that could not have been known or predicted by the hypothesized negotiators” under the so

   called “Book of Wisdom.” See Fromson v. Western Litho Plate and Supply Co., 853 F.2d 1568,

   1575-76 (Fed. Cir. 1988), overruled on other grounds by, Knorr Bremse System Fuer

   Nutzfahrzeuge GmbH v. Dana Corp., 383 F.3d 1337 (Fed. Cir. 2004). Indeed, “the Supreme

   Court recognized that factual developments occurring after the date of the hypothetical

   negotiation can inform the damages calculation.” Lucent Technologies, Inc., 580 F.3d at 1333




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   (citing Sinclair Refining Co. v. Jenkins Petroleum Process Co., 289 U.S. 689, 698, 53 S.Ct. 736,

   (1933)). And Federal Circuit “case law affirms the availability of post-infringement evidence as

   probative in certain circumstances.” Id. “[P]arties in a hypothetical negotiation are presumed to

   have perfect knowledge of all facts and circumstances, some of which were unknown during the

   actual patent negotiations and acquisition.” Intellectual Ventures I LLC v. Check Point Software,

   C.A. Nos. 10-1067-LPS, 12-1581-LPS, D.I. 579 at *11 (D. Del. Mar. 31, 2014) (citing Mobil Oil

   Corp., 915 F. Supp. at 1353).

          61.     Courts consider a variety of factors in determining the reasonable royalty that the

   parties would have agreed to in the “hypothetical negotiation,” outlined in Georgia-Pacific Corp.

   v. United States Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970). These include:

          “1. The royalties received by the patentee for the licensing of the patent in suit,
          proving or tending to prove an established royalty.

          2. The rates paid by the licensee for the use of other patents comparable to the
          patent in suit.

          3. The nature and scope of the license, as exclusive or non-exclusive; or as
          restricted or non-restricted in terms of territory or with respect to whom the
          manufactured product may be sold.

          4. The licensor’s established policy and marketing program to maintain his patent
          monopoly by not licensing others to use the invention or by granting licenses
          under special conditions designed to preserve that monopoly.

          5. The commercial relationship between the licensor and licensee, such as,
          whether they are competitors in the same territory in the same line of business; or
          whether they are inventor and promotor.

          6. The effect of selling the patented specialty in promoting sales of other products
          of the licensee; the existing value of the invention to the licensor as a generator of
          sales of his non-patented items; and the extent of such derivative or convoyed
          sales.

          7. The duration of the patent and the term of the license.




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          8. The established profitability of the product made under the patent; its
          commercial success; and its current popularity.

          9. The utility and advantages of the patent property over the old modes or devices,
          if any, that had been used for working out similar results.

          10. The nature of the patented invention; the character of the commercial
          embodiment of it as owned and produced by the licensor; and the benefits to those
          who have used the invention.

          11. The extent to which the infringer has made use of the invention; and any
          evidence probative of the value of that use.

          12. The portion of the profit or of the selling price that may be customary in the
          particular business or in comparable businesses to allow for the use of the
          invention or analogous inventions.

          13. The portion of the realizable profit that should be credited to the invention as
          distinguished from non-patented elements, the manufacturing process, business
          risks, or significant features or improvements added by the infringer.

          14. The opinion testimony of qualified experts.

          15. The amount that a licensor (such as the patentee) and a licensee (such as the
          infringer) would have agreed upon (at the time the infringement began) if both
          had been reasonably and voluntarily trying to reach an agreement; that is, the
          amount which a prudent licensee—who desired, as a business proposition, to
          obtain a license to manufacture and sell a particular article embodying the
          patented invention—would have been willing to pay as a royalty and yet be able
          to make a reasonable profit and which amount would have been acceptable by a
          prudent patentee who was willing to grant a license.”

   Georgia-Pacific, 318 F. Supp. at 1120.

          62.     While the Federal Circuit has approved the use of the Georgia-Pacific factors in

   numerous decisions and district courts have repeatedly applied the analysis, the factors are not

   exclusive, and some or all of the factors may be relevant to a particular case, depending on the

   facts of the case. See, e.g., Minks v. Polaris Industries, Inc., 546 F.3d 1364, 1372 (Fed. Cir.

   2008); Dow Chemical Co. v. Mee Industries, Inc., 341 F.3d 1370, 1382 (Fed. Cir. 2003); Rite-




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   Hite Corp., 56 F.3d at 1555; Energy Transp. Gp., Inc. v. Sonic Innovations, Inc., C.A. No. 05-

   422 (GMS), 2011 WL 2222066, at *21 n.29 (D. Del. June 7, 2011).

          63.     As described in Georgia-Pacific, there is no mathematical formula to determining

   reasonable royalties:

          [A] multiplicity of inter-penetrating factors bear[s] upon the amount of a
          reasonable royalty. But there is no formula by which these factors can be rated
          precisely in the order of their relative importance or by which their economic
          significance can be automatically transduced into their pecuniary equivalent. . . .
          In discharging its responsibility as fact finder, the Court has attempted to exercise
          a discriminating judgment reflecting its ultimate appraisal of all pertinent factors
          in the context of the credible evidence.

   Georgia-Pacific, 318 F. Supp. at 1120-21 (S.D.N.Y. 1970). “Any reasonable royalty analysis

   ‘necessarily involves an element of approximation and uncertainty.’” Lucent Technologies Inc.,

   580 F.3d at 1325 (citing Unisplay, S.A. v. Am. Elec. Sign Co., 69 F.3d 512, 517 (Fed. Cir. 1995)).

          64.     Similarly, in Summit 6, the Federal Circuit held “[t]his court has recognized that

   estimating a reasonable royalty is not an exact science. The record may support a range of

   reasonable royalties, rather than a single value. Likewise, there may be more than one reliable

   method for estimating a reasonable royalty.” Summit 6, LLC v. Samsung Elecs. Co., 802 F.3d

   1283, 1296 (Fed. Cir. 2015). “All approaches have certain strengths and weaknesses, and,

   depending upon the facts, one or all may produce admissible testimony in a particular case.

   Because each case presents unique circumstances and facts, it is common for parties to choose

   different, reliable approaches in a single case and, when they do, the relative strengths and

   weaknesses of each approach may be exposed at trial or attacked during cross-examination. That

   one approach may better account for one aspect of a royalty estimation does not make other

   approaches inadmissible.” Id.




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          65.     Fundamentally, a reasonable royalty must be tied to the particular facts of the

   case, including the claimed invention and the accused products. Virnetx, Inc. v. Cisco Sys., Inc.,

   767 F.3d 1308, 1333 (Fed. Cir. 2014); Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1318

   (Fed. Cir. 2011) (“[A reasonable royalty] must be tied to the relevant facts and circumstances of

   the particular case at issue and the hypothetical negotiations that would have taken place in light

   of those facts and circumstances at the relevant time.”).

          66.     As part of the analysis under Georgia-Pacific factors 1 and 2, the fact-finder may

   consider licenses for the use of the patent(s) in suit, or licenses for the use of “other patents

   comparable to the patent[(s)] in suit.” See Georgia-Pacific, 318 F. Supp. At 1120; ActiveVideo,

   694 F.3d at 1333 (rejecting infringer’s argument that a license was not sufficiently comparable

   because it “did not involve the patents-in-suit and did not cover any of the technologies in the

   case”). The amount of weight given to any particular license depends on the degree of

   comparability with the terms of the hypothetical license. See ResQNet.com, Inc. v. Lansa Inc.,

   594 F.3d 860, 869-70 (Fed. Cir. 2010); Lucent Technologies, Inc., 1325-26. However, the

   Federal Circuit has stated that “we have never required identity of circumstances” for a license to

   be sufficiently comparable to the hypothetical license at issue in suit. VirnetX, 767 F.3d at 1330;

   see also Ericsson, Inc. v. D-Link Sys., 773 F.3d 1201, 1227 (Fed. Cir. 2014) (“Prior licenses . . .

   are almost never perfectly analogous to the infringement action” and “allegedly comparable

   licenses may cover more patents than are at issue in the action, include cross-licensing terms,

   cover foreign intellectual property rights, or, as here, be calculated as some percentage of the

   value of a multi-component product.”).

          67.     To calculate a reasonable royalty award, a royalty base to which the royalty rate

   will be applied must be selected. See Ericsson, 773 F.3d at 1226. “[W]here multi-component




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   products are involved, the governing rule is that the ultimate combination of royalty base and

   royalty rate must reflect the value attributable to the infringing features of the product, and no

   more.” Id. However, even when multi-component products are at issue, the entire market value

   rule (“EMVR”) “allows for recovery of damages based on the value of an entire apparatus

   containing several features, even though only one feature is patented.” Fonar Corp. v. Gen.

   Elec., 107 F.3d 1543, 1552 (Fed. Cir. 1997) (quoting Paper Converting Mach. Co., 745 F.2d at

   22. In such a scenario, a patentee may use the EMVR to assess damages “where the patented

   feature creates the ‘basis for customer demand’ or ‘substantially create[s] the value of the

   component parts.’” SynQor, Inc. v. Artesyn Techs., Inc., 709 F.3d 1365, 1383 (Fed. Cir. 2013)

   (quoting Uniloc, 632 at 1318).

          68.     Although a patented feature must drive demand for the EMVR to apply, the

   patented feature does not have to be the sole (or only) driver of demand for the accused product.

   Intellectual Ventures I LLC v. Symantec Corp., C.A. No. 10–1067–LPS, 2016 WL 937220, at *4

   (D. Del. Mar. 10, 2016) (rejecting argument that patentee could not use EMVR because the

   patented feature was not the only driver of demand and noting that “[e]ven [the infringer]

   concedes that of the numerous Federal Circuit cases on which it relies, none unambiguously state

   that, in order for EMVR to apply, it is necessary that only one component drive demand for a

   multi-component product.”). Moreover, the EMVR can be applied in a case involving multiple

   asserted patents covering different patented features. Funai Elec. Co., Ltd. v. Daewoo Elecs.

   Corp., 616 F.3d 1357, 1375-76 (Fed. Cir. 2010) (affirming a damages award based on EMVR

   where evidence was presented showing “general industry demand” for different patented features

   of three different asserted patents).




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           69.    The types of evidence that a patentee may rely on to demonstrate that a patented

   feature creates the customer demand required to satisfy the EMVR include (i) a patentee’s and/or

   an infringer’s technical or marketing materials that emphasize or highlight/advertise the patented

   feature, (ii) a patentee’s and/or an infringer’s technical or marketing materials showing that the

   patented feature improves the performance of, and/or provides benefits to, the

   patented/infringing product, (iii) the patented feature was a prerequisite for the infringer’s

   decision to launch the infringing product, and/or (iv) evidence showing that the patented feature

   contributed to an increase in sales of the infringing product. See, e.g., Bose Corp. v. JBL, Inc.,

   274 F.3d 1354, 1361 (Fed. Cir. 2001); Fonar, 107 F.3d at 1552-53; Izumi, 315 F.Supp.2d at 614;

   see also NuVasive Inc. v. Globus Medical Inc., C.A. No. 10-849-LPS, D.I. 234 at *98:8-17

   (D.Del. June 26, 2014).

           70.    Courts have also found that asserted patent claims covering the entire accused

   product is a factor in favor of granting a patentee damages based on the value of the entire

   accused product. See, e.g., Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Varian

   Med. Sys., Inc., 561 F. App’x. 934, 947 (Fed. Cir. 2014) (finding that apportionment was not

   required “because claim 38 did not just claim [the allegedly novel] beam generators as an

   ‘accessory used in conjunction with the RPM System,’” “it claims an apparatus where the beam

   generator and the RPM System operate via a gating signal where one actuates the other”);

           71.    “[T]he amount of a prevailing party’s damages is a finding of fact on which the

   plaintiff bears the burden of proof by a preponderance of the evidence.” SmithKline, 926 F.2d at

   1164.




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          C.      Enhanced Damages

          72.     If it is determined that D&M infringes one or more of the Asserted Claims of the

   Asserted Sonos Patents, the Court will have to decide whether to enhance the damage award.

          73.     Under 35 U.S.C. § 284, the “court may increase the damages up to three times the

   amount found or assessed.” 35 U.S.C. § 284. “That language contains no explicit limit or

   condition, and we have emphasized that the word ‘may’ clearly connotes discretion.” Halo

   Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1931 (2016) (internal citations omitted).

          74.     The Federal Circuit has set forth several factors that the Court may consider in

   determining whether to award enhanced damages:

          (1) whether the infringer deliberately copied the ideas or design of another;

          (2) whether the infringer, when he knew of the other’s patent protection,
          investigated the scope of the patent and formed a good-faith belief that it was
          invalid or that it was not infringed;

          (3) the infringer’s behavior as a party to the litigation;

          (4) defendant’s size and financial condition;

          (5) closeness of the case;

          (6) duration of defendant’s misconduct;

          (7) remedial action by the defendant;

          (8) defendant’s motivation for harm; and

          (9) whether defendant attempted to conceal its misconduct.

   Liquid Dynamics Corp. v. Vaughan Co., 449 F.3d 1209, 1225 (Fed. Cir. 2006) (citing Read

   Corp. v. Portec. Inc., 970 F.2d 816, 826–27 (Fed. Cir. 1992), superseded on other grounds as

   recognized in Hoechst Celanese Corp. v. BP Chems. Ltd., 78 F.3d 1575, 1578 (Fed. Cir. 1996));

   see also Apple Inc. v. Samsung Electronics Co., Ltd., Case No. 12-CV-00630-LHK, 2017 WL




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   2720220, at *14 (2017) (“After Halo’s elimination of ‘rigid formulas,’ trial courts now look to

   the Read factors as ‘useful guideposts’ even though they ‘are no longer the sole set of criteria’

   that can be considered.”) (quoting Finjan, Inc. v. Blue Coat Sys., Inc., 2016 WL 3880774, at *16

   (N.D. Cal. July 18, 2016)).

          75.     A patentee may obtain enhanced damages under 35 U.S.C. § 284 where it

   establishes that the defendant’s infringement was “willful.” Halo, 136 S. Ct. at 1931; In re

   Seagate Tech., LLC, 497 F.3d 1360, 1368 (Fed. Cir. 2007). However, willfulness is not required

   for enhanced damages. Halo, 136 S. Ct. at 1931-33 (“Section 284 allows district courts to

   punish the full range of culpable behavior. Yet none of this is to say that enhanced damages

   must follow a finding of egregious misconduct. As with any exercise of discretion, courts should

   continue to take into account the particular circumstances of each case in deciding whether to

   award damages, and in what amount.”); Finjan, Inc. v. Blue Coat Systems, Inc., 2016 WL

   3880774, *16 (N.D. Cal. 2016) (“‘The sort of conduct warranting enhanced damages has been

   variously described in our cases as willful, wanton, malicious, bad-faith, deliberate, consciously

   wrongful, flagrant, or—indeed—characteristic of a pirate.’ In other words, while willfulness

   may support a finding of enhancement, Halo does not hold that willfulness is necessary for

   enhanced damages.”). Moreover, “[t]he subjective willfulness of a patent infringer, intentional

   or knowing, may warrant enhanced damages, without regard to whether his infringement was

   objectively reckless.” Halo, 136 S. Ct. at 1933.

          76.     “[P]atent-infringement litigation has always been governed by a preponderance of

   the evidence standard. Enhanced damages are no exception.” Halo, 136 S. Ct. at 1931 (internal

   quotation marks and citation omitted).




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          D.      Attorney Fees

          77.     If it is determined that D&M infringes one or more of the Asserted Claims of the

   Asserted Sonos Patents, the Court will have to decide whether to award attorney fees.

          78.     Under 35 U.S.C. § 285, “[t]he court in exceptional cases may award reasonable

   attorney fees to the prevailing party.” 35 U.S.C. § 285. “This text is patently clear. It imposes

   one and only one constraint on district courts’ discretion to award attorney’s fees in patent

   litigation: The power is reserved for ‘exceptional’ cases.” Octane Fitness, LLC v. ICON Health

   & Fitness, Inc., 134 S. Ct. 1749, 1755-56, 188 L. Ed. 2d 816 (2014). “[A]n ‘exceptional’ case is

   simply one that stands out from others with respect to the substantive strength of a party’s

   litigating position (considering both the governing law and the facts of the case) or the

   unreasonable manner in which the case was litigated.” Id. at 1756. District courts may

   determine whether a case is ‘exceptional’ in the case-by-case exercise of their discretion,

   considering the totality of the circumstances. Id.

          79.     Attorney fees may be awarded for willful infringement, misconduct during

   litigation, vexatious or unjustified litigation, conduct that violates Fed.R.Civ.P. 11, or like

   infractions. Octane, 134 S. Ct. at 1756. However, attorney fees are not limited independently

   sanctionable conduct. Id. at 1756-57. Moreover, a “district court may award fees in the rare

   case in which a party’s unreasonable conduct—while not necessarily independently

   sanctionable—is nonetheless so ‘exceptional’ as to justify an award of fees.” Id. at 1757. “[A]

   case presenting either subjective bad faith or exceptionally meritless claims may sufficiently set

   itself apart from mine-run cases to warrant a fee award.” Id.

          80.     A prevailing party must establish its entitlement to fees under Section 285 by a

   preponderance of the evidence. Id. at 1758.




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          E.      Pre-Judgment and Post-Judgment Interest

          81.     “Prejudgment interest shall ordinarily be awarded absent some justification for

   withholding such an award.” Nickson Indus., Inc. v. Rol Mfg. Co., Ltd., 847 F.2d 795, 800 (Fed.

   Cir. 1988) (citing General Motors Corp. v. Devex Corp., 461 U.S. 648, 657 (1983)).

   “[P]rejudgment interest should be awarded from the date of infringement to the date of

   judgment.” Id. (citing General Motors, 461 U.S. at 656). 28 U.S.C. § 1961(a) states that

   “interest shall be allowed on any money judgment in a civil case recovered in a district court.”

   “Post-judgment interest is awarded on monetary judgments recovered in all civil cases,”

   including ones for patent infringement. Transmatic, Inc. v. Gulton Indus., Inc., 180 F.3d 1343,

   1347 (Fed. Cir. 1999). Post-judgment interest is governed by regional circuit law. Id. at 1348.

   Interest begins to accrue on the date of the entry of judgment. Loughman v. Consol-

   Pennsylvania Coal Co., 6 F.3d 88, 97 (3d Cir. 1993).

          82.     Courts in this district routinely award post-judgment interest in patent

   infringement cases. See nCUBE Corp. v. SeaChange Int’l, Inc., 313 F. Supp. 2d 361, 392 (D.

   Del. 2004), aff’d, 436 F.3d 1317 (Fed. Cir. 2006) (awarding post-judgment interest to patentee

   for defendant’s willful infringement); TruePosition Inc. v. Andrew Corp., 611 F. Supp. 2d 400,

   414 (D. Del. 2009), aff’d, 389 F. App’x 1000 (Fed. Cir. 2010) (awarding post-judgment interest

   for patent infringement).




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                  ISSUES ON WHICH D&M BEARS THE BURDEN OF PROOF

   I.      INVALIDITY

           83.     The jury must decide whether D&M can prove by clear and convincing evidence

   that each of the Asserted Claims of the Asserted Patents are invalid.

           84.     All patents are presumed valid. 35 U.S.C. § 282; Novo Nordisk A/S v. Caraco

   Pharm. Labs., Ltd., 719 F.3d 1346, 1352 (Fed. Cir. 2013) (“It is black-letter law that a patent is

   presumed valid.”). D&M bears the burden of proving its invalidity defenses by clear and

   convincing evidence. Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 131 S. Ct. 2238, 2242

   (2011); State Contracting & Eng’g Corp. v. Condotte Am., Inc., 346 F.3d 1057, 1067 (Fed. Cir.

   2003). D&M bears this burden throughout the entirety of the litigation. Novo Nordisk, 719 F.3d

   at 1352 (“[B]ecause the presumption of validity remains intact . . . throughout the litigation, the

   burden of persuasion never shifts to the patentee . . . .”).

           85.     “[T]he burden of persuasion is and remains always upon the party asserting

   invalidity.” Am. Hoist & Derrick Co. v. Sowa & Sons, Inc., 725 F.2d 1350, 1358 (Fed. Cir.

   1984) (citation and emphasis omitted). “It is not necessary that the court hold a patent valid; it is

   only necessary that it hold that the patent challenger has failed to carry its burden.” Ajinomoto

   Co. v. Archer- Daniels-Midland Co., No. 95-218-SLR, 1996 U.S. Dist. LEXIS 15988, at *20 (D.

   Del. Oct. 21, 1996) (citing Jones v. Hardy, 727 F.2d 1524, 1529 n.3 (Fed. Cir. 1984)), aff’d, 228

   F.3d 1338 (Fed. Cir. 2000). “[W]here the challenger fails to identify any persuasive evidence of

   invalidity, the very existence of the patent satisfies the patentee’s burden on the validity issue.”

   Canon Computer Sys., Inc. v. Nu-Kote Int’l, Inc., 134 F.3d 1085, 1088 (Fed. Cir. 1998).




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          A.      What Constitutes Prior Art

          86.     Pre-AIA 35 U.S.C. §§ 102(a), (b), (e), (f), and (g)(2) define the scope of prior art

   for the purposes of anticipation and obviousness in this case. Pre-AIA § 102 states:

          A person shall be entitled to a patent unless –

          (a)     the invention was known or used by others in this country, or patented or
                  described in a printed publication in this or a foreign country, before the
                  invention thereof by the applicant for a patent, or

          (b)     the invention was patented or described in a printed publication in this or a
                  foreign country or in public use or on sale in this country, more than one
                  year prior to the date of application for patent in the United States, or

                                                  ****
          (e)     the invention was described in – (1) an application for patent, published
                  under section 122(b), by another filed in the United States before the
                  invention by the applicant for patent or (2) a patent granted on an
                  application for patent by another filed in the United States before the
                  invention by the applicant for patent, except that an international
                  application filed under the treaty defined in section 351(a) shall have the
                  effects for the purposes of this subsection of an application filed in the
                  United States only if the international application designated the United
                  States and was published under Article 21(2) of such treaty in the English
                  language; or

          (f)     he did not himself invent the subject matter sought to be patented, or

          (g)(2) before such person’s invention thereof, the invention was made in this
                 country by another inventor who had not abandoned, suppressed, or
                 concealed it. In determining priority of invention under this subsection,
                 there shall be considered not only the respective dates of conception and
                 reduction to practice of the invention, but also the reasonable diligence of
                 one who was first to conceive and last to reduce to practice, from a time
                 prior to conception by the other.

   35 U.S.C. § 102.

          87.     D&M has the burden under the Federal Rules of Evidence to show that the

   documents or products it intends to assert as prior art are authentic, are not inadmissible hearsay,

   and were publicly available or on sale before the relevant patent priority dates to qualify as prior




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   art under 35 U.S.C. § 102; Fed. R. Evid. 901 and 803; 35 U.S.C. § 102. To establish that a

   document is prior art, it is D&M’s burden to present sufficient evidence to establish that the

   document was publicly known or published by “a satisfactory showing that such document has

   been disseminated or otherwise made available to the extent that persons interested and

   ordinarily skilled in the subject matter or art exercising reasonable diligence, can locate it.”

   Kyocera Wireless Corp. v. ITC, 545 F.3d 1340, 1350 (Fed. Cir. 2008).

                  i.      Public Use

          88.     Under § 102(a), an invention is not new if “the invention was known or used by

   others in this country . . . before the invention thereof by the applicant for a patent.” 35 U.S.C. §

   102(a). Further, under § 102(b), an invention is not new if “the invention was . . . in public use .

   . . in this country, more than one year prior to the date of the application for patent in the United

   States.” 35 U.S.C. § 102(b).

          89.     An invention is in public use if it is used publicly by the inventor or by a person

   who is not under any limitation, restriction, or obligation of secrecy. In re Smith, 714 F.2d 1127,

   1134 (Fed. Cir. 1983). The absence of an express confidentiality agreement is not determinative.

   Moleculon Research Corp. v. CBS, Inc., 793 F.2d 1261, 1266 (Fed. Cir. 1986). An expectation

   or understanding of confidentiality is sufficient. American Seating Co. v. USSC Group, Inc., 514

   F.3d 1262, 1268 (Fed. Cir. 2008); Bernhardt, L.L.C. v. Collezione Europa USA, Inc., 386 F.3d

   1371, 1380-81 (Fed. Cir. 2004). For example, a disclosure to those with “a professional ethical

   obligation to treat the material as confidential” is not a public use. Xerox Corp. v. 3Com Corp.,

   26 F. Supp. 2d 492, 496 (W.D.N.Y. 1998). Public knowledge is not “public use” under § 102(b).

   TP Labs., Inc. v, Prof’l Positioners, Inc., 724 F.2d 965, 970 (Fed. Cir. 1984).




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          90.     A secret commercial use by a third-party company is not a public use. Trading

   Techs. Int’l, Inc. v. eSpeed, Inc., 595 F.3d 1340, 1361-62 (Fed. Cir. 2010); W.L. Gore & Assocs.,

   Inc. v. Garlock, Inc., 721 F.2d 1540, 1550 (Fed. Cir. 1983), cert. denied, 469 U.S. 851 (1984).

   Thus, “when an asserted prior use is not that of the applicant, § 102(b) is not a bar when that

   prior use or knowledge is not available to the public.” Woodland Trust v. Flowertree Nursery,

   Inc., 148 F.3d 1368, 1371 (Fed. Cir. 1998).

          91.     Experimental use is not “public use” under § 102. Lough v. Brunswick Corp., 86

   F.3d 1113, 1120 (Fed. Cir. 1996). A use is experimental if it represents a bona fide effort to

   perfect the invention or to ascertain whether it will answer for its intended purpose. LaBounty

   Mfg. v. United States Int’l Trade Comm’n, 958 F.2d 1066, 1071 (Fed. Cir. 1992). In addition,

   the mere shipment of a product is insufficient to show “use” (or “sale”) under § 102. Minn. Min.

   & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294, 1307 (Fed. Cir. 2002).

          92.     Oral testimony that an invention was in public use more than one year before the

   filing of a patent must be sufficiently corroborated under a “rule of reason” standard. Lacks

   Indus., Inc. v. McKechnie Vehicle Components USA, Inc., 322 F.3d 1335, 1349 (Fed. Cir. 2003);

   Woodland Trust, 148 F.3d at 1371. Oral testimony by interested parties must be corroborated by

   documentary evidence. Lacks, 322 F.3d at 1350.

                  ii.     On Sale

          93.     Under § 102(b), an invention is also not new if “the invention was . . . on sale in

   this country, more than one year prior to the date of the application for patent in the United

   States.” 35 U.S.C. § 102(b). A two-prong test governs the application of the on-sale bar: “First,

   the product must be the subject of a commercial offer for sale . . . Second, the invention must be

   ready for patenting.” Pfaff v. Wells Elecs., Inc., 525 U.S. 55, 67 (1998).




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          94.     With respect to the first prong, an offer for sale under § 102(b) requires a

   commercial offer for sale under applicable contract law, i.e., an offer for sale that the customer

   could make into a binding contract by simple acceptance (assuming consideration). Linear Tech.

   Corp. v. Micrel, Inc., 275 F.3d 1040, 1048 (Fed. Cir. 2002); Group One Ltd. v. Hallmark Cards,

   Inc., 254 F.3d 1041, 1048 (Fed. Cir. 2001).

          95.     With respect to the second prong, an invention is “ready for patenting” when it

   has been reduced to practice or when the inventor has prepared drawings or other descriptions of

   the invention that are sufficiently specific to enable persons skilled in the art to practice the

   invention. Pfaff, 525 U.S. at 61-63.

          96.     The “on sale” bar does not generally apply where both manufacture and delivery

   occur in a foreign country. Gandy v. Main Belting Co., 143 U.S. 587, 593 (1892). “For a prior

   sale to be invalidating under § 102(b), it must occur in the United States.” Baxa Corp. v. McGaw

   Inc., 996 F. Supp. 1044, 1053 (D. Colo. 1997) (citing Gandy, 143 U.S. at 592-93).

          97.     Third-party secret commercial activity, more than one year before the patent

   application of another, is not a Section 102(b) bar. Woodland Trust v. Flowertree Nursery, Inc.,

   148 F.3d 1368, 1371 (Fed. Cir. 1998); W.L. Gore & Assocs. v. Garlock, Inc., 721 F.2d 1540,

   1550 (Fed. Cir. 1983). The “on sale” bar is measured by the time the public came into

   possession of the invention. Continental Can Co. USA, Inc. v. Continental PET Tech., Inc., 948

   F.2d 1264, 1270 (Fed. Cir. 1991).

          98.     Sales that are primarily for experimentation rather than commercial gain do not

   trigger the “on sale” bar. Monon Corp. v. Stoughton Trailers, Inc., 239 F.3d 1253, 1258 (Fed.

   Cir. 2001). In determining whether a transaction is primarily for experimentation, courts

   consider the following factors: (1) the necessity for public testing, (2) the amount of control over




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   the experiment retained by the inventor, (3) the nature of the invention, (4) the length of the test

   period, (5) whether payment was made, (6) whether there was a secrecy obligation, (7) whether

   records of the experiment were kept, (8) who conducted the experiment, (9) the degree of

   commercial exploitation during testing, (10) whether the invention reasonably requires

   evaluation under actual conditions of use, (11) whether testing was systematically performed,

   (12) whether the inventor continually monitored the invention during testing, and (13) the nature

   of contacts made with potential customers. Allen Eng’g Corp. v. Bartell Indus., Inc., 299 F.3d

   1336, 1352-53 (Fed. Cir. 2002).

          99.     Oral testimony that an invention was on sale more than one year before the filing

   of a patent must be sufficiently corroborated under a “rule of reason” standard. Lacks Indus.,

   Inc. v. McKechnie Vehicle Components USA, Inc., 322 F.3d 1335, 1349 (Fed. Cir. 2003);

   Woodland Trust, 148 F.3d at 1371. Oral testimony by interested parties must be corroborated by

   documentary evidence. Lacks, 322 F.3d at 1350.

                  iii.    Prior Invention

          100.    To qualify as prior art under pre-AIA 35 U.S.C. § 102(g)(2), a party must prove

   that “before such person’s invention thereof, the invention was made in this country by another

   inventor who had not abandoned, suppressed, or concealed it.” 35 U.S.C. § 102(g)(2) (emphasis

   added). In determining priority of invention, “there shall be considered not only the respective

   dates of conception and reduction to practice of the invention, but also the reasonable diligence

   of one who was first to conceive and last to reduce to practice, from a time prior to conceive and

   last to reduce to practice, from a time prior to conception by the other.” Id.

          101.    “While conception is the ‘formation, in the mind of the inventor, of a definite and

   permanent idea of a complete and operative invention,’ reduction to practice ‘requires that the




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   claimed invention work for its intended purpose.’” Solvay S.A. v. Honeywell Int’l Inc., 742 F.3d

   998, 1000 (Fed. Cir. 2014) (quoting Solvay S.A. v. Honeywell Int’l, Inc., 622 F.3d 1367, 1376

   (Fed. Cir. 2010)). “Although the inventors may reside in a foreign country and conceive the

   invention abroad, a reduction to practice made outside the United States is beyond the scope of §

   102(g)(2) prior art.” Id. Either the inventor, or someone acting on the inventor’s behalf, must

   have reduced the invention to practice in the United States to gain the benefit of section

   102(g)(2). Id.

          102.      To establish that the invention was “made in this country by another,” the party

   must show that another inventor either (i) reduced the invention to practice in the U.S. before the

   date of invention of the challenged patent, or (ii) conceived of the invention in the U.S. before

   the date of invention of the challenged patent and exercised reasonable diligence in reducing the

   invention to practice after the date of invention of the challenged patent. See Amkor Tech., Inc.

   v. Int'l Trade Comm’n, 692 F.3d 1250, 1258 (Fed. Cir. 2012); L-3 Commc’ns Corp. v. Sony

   Corp., C.A. No. 10-734-RGA, 2013 WL 5942521, at *1 (D. Del. Oct. 16, 2013).

          103.      A conception must encompass all limitations of the claimed invention, and “is

   complete only when the idea is so clearly defined in the inventor’s mind that only ordinary skill

   would be necessary to reduce the invention to practice, without extensive research or

   experimentation.” Singh v. Brake, 222 F.3d 1362, 1367 (Fed. Cir. 2000). But, an inventor need

   not know that his invention will work for conception to be complete; the discovery that an

   invention actually works is part of its reduction to practice. Burroughs Wellcome Co. v. Barr

   Lab., Inc., 40 F.3d 1223, 1228 (Fed. Cir. 1994).

          104.      When a party seeks to prove conception via the oral testimony of a putative

   inventor, that party must proffer evidence corroborating that testimony. Singh, 222 F.3d at 1367.




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   There is no particular formula that an inventor must follow in providing corroboration of his

   testimony of conception. Id. Rather, whether a putative inventor’s testimony has been

   sufficiently corroborated is determined by a “rule of reason” analysis, in which “an evaluation of

   all pertinent evidence must be made so that a sound determination of the credibility of the

   inventor’s story may be reached.” Id. The following factors may have a bearing on the

   inventor’s credibility and on whether the inventor’s testimony has been adequately corroborated

   in a rule of reason analysis: (1) delay between the event and the trial, (2) interest of corroborating

   witnesses, (3) contradiction or impeachment, (4) corroboration, (5) the corroborating witnesses’

   familiarity with details of alleged prior structure, (6) improbability of prior use considering state

   of the art, (7) impact of the invention on the industry, and (8) relationship between witness and

   alleged prior user. Price v. Symsek, 988 F.2d 1187, 1195 n. 3 (Fed. Cir. 1993). The rule of

   reason, however, does not dispense with the requirement for some evidence of independent

   corroboration. Coleman v. Dines, 754 F.2d 353, 360 (Fed. Cir. 1985).

           105.    Reduction to practice can be shown by actual reduction to practice or constructive

   reduction to practice. To show actual reduction to practice, an inventor must demonstrate that

   the invention is suitable for its intended purpose. Scott v. Finney, 34 F.3d 1058, 1061 (Fed. Cir.

   1994). Depending on the character of the invention and the problem it solves, this showing may

   require test results. Id. at 1062.

           106.    Corroborating evidence of actual reduction to practice “may consist of testimony

   of a witness, other than an inventor, to the actual reduction to practice or it may consist of

   evidence of surrounding facts and circumstances independent of information received from the

   inventor.” Hahn v. Wong, 892 F.2d 1028, 1032-33 (Fed. Cir. 1989). In order to establish an

   actual reduction to practice, the testimony of the inventor must be corroborated by independent




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   evidence. Knorr v. Pearson, 671 F.2d 1368, 1373 (C.C.P.A. 1982). But “[t]he law does not

   impose an impossible standard of ‘independence’ on corroborative evidence by requiring that

   every point of a reduction to practice be corroborated by evidence having a source totally

   independent of the inventor.” Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1171 (Fed. Cir.

   2006). The standard of proof required to corroborate a reduction to practice is a more stringent

   standard than that required to corroborate a conception. Singh, 222 F.3d at 1369-70.

          107.    Under § 102(g)(2), an invalidating prior invention by another inventor must be

   made in this country. The conception date of an invention of foreign origin is the date the

   invention was first disclosed in the United States, and the reduction to practice is the date the

   invention was first embodied in a tangible form in the United States or successfully performed in

   the United States. Scott v. Koyama, 281 F.3d 1243, 1247 (Fed. Cir. 2002).

          108.    In the U.S., priority of invention goes to the first party to reduce to practice,

   unless the other party can show that it was the first to conceive the invention and that it exercised

   reasonable diligence in reducing that invention to practice. Mahurkar v. C.R. Bard, Inc., 79 F.3d

   1572, 1577 (Fed. Cir. 1996). Where a party is first to conceive but second to reduce to practice,

   that party must demonstrate reasonable diligence toward reduction to practice from a date just

   prior to the other party’s conception to its own reduction to practice. Id. at 1578. The critical

   period during which diligence is required must be accounted for by either affirmative acts or

   acceptable excuses. The work relied upon to show reasonable diligence must be directly related

   to the reduction to practice of the invention in issue. Naber v. Cricchi, 567 F.2d 382, 384

   (C.C.P.A. 1977). There need not necessarily be evidence of activity on every single day if a

   satisfactory explanation of diligence is evidenced. Monsanto Co. v. Mycogen Plant Sci., Inc.,

   261 F.3d 1356, 1369 (Fed. Cir. 2001).




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          109.    Under § 102(g)(2), to constitute abandonment, the inventor must intend a

   dedication to the public. Kendall v. Winsor, 62 U.S. 322, 331 (1858). The case law

   distinguishes between two types of suppression or concealment. The first is implicated in a

   situation in which an inventor actively suppresses or conceals his invention from the public.

   Apotex USA, Inc., v. Merck & Co., Inc., 254 F.3d 1031, 1038 (Fed. Cir. 2001) (citing Fujikawa v.

   Wattanasin, 93 F.3d 1559, 1567 (Fed. Cir. 1996)). The second involves a legal inference of an

   intent to suppress or conceal based upon an unreasonable delay in filing a patent application or

   otherwise bringing the knowledge of the invention to the public. Id. The Federal Circuit has not

   set strict time limits regarding the minimum and maximum periods necessary to establish an

   inference of suppression or concealment. Fujikawa, 93 F.3d at 1568 (citing Correge v. Murphy,

   705 F.2d 1326, 1330 (Fed. Cir. 1983)). Rather, the court has recognized that “it is not the time

   elapsed that is the controlling factor but the total conduct of the first inventor.” Id. (citing Young

   v. Dworkin, 489 F.2d 1277, 1285 (C.C.P.A. 1974) (Rich, J., concurring)).

          110.    A prior art United States patent reference “is not prior art under § 102(g), but

   under § 102(e),” and the effective date of the alleged prior art patent reference is the “filing date

   in the United States, as stated in § 102(e), not the date of conception or actual reduction to

   practice of the invention claimed or the subject matter disclosed in the reference patent”:

          When patents are not in interference, the effective date of a reference United
          States patent as prior art is its filing date in the United States, as stated in §
          102(e), not the date of conception or actual reduction to practice of the invention
          claimed or the subject matter disclosed in the reference patent. . . . Both sides
          appear to have confused interference practice under § 102(g) with prior art status
          under § 102(e). . . . The Mouat [U.S. Patent] reference, as the district court held,
          does not describe or claim the identical invention to Mason. It is not prior art
          under § 102(g), but under § 102(e). . . . Under 35 U.S.C. § 102(e) the entire
          disclosure of Mouat’s specification is effective as a reference, but only as of
          Mouat’s filing date.




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   Sun Studs, Inc. v. ATA Equipment Leasing, Inc., 872 F.2d 978, 983-984 (Fed. Cir. 1989),

   overruled on other grounds by A.C. Aukerman Co. v. R.L. Chaides Construction Co., 960 F.2d

   1020 (Fed. Cir. 1992) (emphasis added); see also In re Zletz, 893 F.2d 319, 323 (Fed. Cir. 1989)

   (concluding that “the disclosure in a reference United States patent does not fall under 35 U.S.C.

   § 102(g) but under 35 U.S.C. § 102(e) . . . .”) (emphasis added).

          B.      Anticipation

          111.    “Claimed subject matter is ‘anticipated’ when it is not new; that is, when it was

   previously known.” Sanofi-Synthelabo v. Apotex, Inc., 550 F.3d 1075, 1085 (Fed. Cir. 2008).

   Anticipation requires that “every element and limitation of the claim was previously described in

   a single prior art reference, either expressly or inherently, so as to place a person of ordinary skill

   in possession of the invention.” Id. at 1082. “A patent claim is invalid due to anticipation if,

   within ‘the four corners of a single, prior art document . . . every element of the claimed

   invention [is described], either expressly or inherently, such that a person of ordinary skill in the

   art could practice the invention without undue experimentation.’” Callaway Golf Co. v.

   Acushnet Co., 576 F.3d 1331, 1346 (Fed. Cir. 2009) (citing Advanced Display Sys., Inc. v. Kent

   State Univ., 212 F.3d 1272, 1282 (Fed. Cir. 2000)).

          112.    “Because the hallmark of anticipation is prior invention, the prior art reference . . .

   must not only disclose all elements of the claim within the four corners of the document, but

   must also disclose those elements ‘arranged as in the claim.’” NetMoneyIN, Inc. v. VeriSign,

   Inc., 545 F.3d 1359, 1371 (Fed. Cir. 2008). There also “must be no difference between the

   claimed invention and the reference disclosure, as viewed by a person of ordinary skill in the

   field of the invention.” Scripps Clinic & Res. Found. v. Genentech, Inc., 927 F.2d 1565, 1576




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   (Fed. Cir. 1991), overruled in part on other grounds by Abbott Labs. v. Sandoz, Inc., 566 F.3d

   1282, 1293 (Fed. Cir. 2009).

          113.    In order to anticipate, a reference must disclose the claimed limitations either

   expressly or inherently. Atofina v. Great Lakes Chem. Corp., 441 F.3d 991, 999 (Fed. Cir. 2006)

   (overturning district court finding of inherent anticipation). Although a prior art reference may

   anticipate without explicitly disclosing a feature of the claimed invention, if that missing

   characteristic is inherently present in the single anticipating reference, that inherent limitation

   must be one that is “necessarily present” and not one that may be established by “probabilities or

   possibilities.” See Cont’l Can Co. USA v. Monsanto Co., 948 F.2d 1264, 1268-69 (Fed. Cir.

   1991); see also Motorola Mobility, LLC v. Int’l Trade Comm’n, 737 F.3d 1345, 1350 (Fed. Cir.

   2013). To establish inherency, extrinsic evidence “must make clear that the missing descriptive

   matter is necessarily present in the thing described in the reference, and that it would be so

   recognized by persons of ordinary skill.” Cont’l Can Co. USA, 948 F.2d. at 1268. That is, “[t]he

   mere fact that a certain thing may result from a given set of circumstances is not sufficient.” Id.

   at 1269 (emphasis in original) (citations omitted); see also Bettcher Indus., Inc. v. Bunzl USA,

   Inc., 661 F.3d 629, 639 (Fed. Cir. 2011).

          114.    Similarly, anticipation requires that the reference must disclose the invention

   “without any need for picking, choosing, and combining various disclosures not directly related

   to each other by the teachings of the cited reference.” In re Arkley, 455 F.2d 586, 587-88

   (C.C.P.A 1972) (“[The prior art] reference must clearly and unequivocally disclose the claimed

   [invention] or direct those skilled in the art to the [invention] without any need for picking,

   choosing, and combining various disclosures not directly related to each other by the teachings

   of the cited reference. Such picking and choosing may be entirely proper in the making of a 103,




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   obviousness rejection, where the applicant must be afforded an opportunity to rebut with

   objective evidence any inference of obviousness which may arise from the similarity of the

   subject matter which he claims to the prior art, but it has no place in the making of a 102,

   anticipation rejection.”); see also Net MoneyIN, 545 F.3d at 1371 (“Thus, it is not enough that

   the prior art reference discloses part of the claimed invention, which an ordinary artisan might

   supplement to make the whole, or that it includes multiple, distinct teachings that the artisan

   might somehow combine to achieve the claimed invention.”); Sanofi-Synthelabo v. Apotex, Inc.,

   550 F.3d 1075, 89 (Fed. Cir. 2008) (“[The] reference must clearly and unequivocally disclose the

   claimed [invention] or direct those skilled in the art to the [invention] without any need for

   picking, choosing, or combining various disclosures not directly related to each other by the

   teachings of the cited reference.”); Ecolochem, Inc. v. Southern California Edison Co., 227 F.3d

   1361 (Fed. Cir. 2000) (picking and choosing from disparate parts of a reference is not permitted

   in an anticipation analysis); Air Prods. and Chems., Inc. v. Chas. S. Tanner Co., 1983 WL

   51915, *8 (D.S.C. May 2, 1983) (“a prior art reference which contains a broad general disclosure

   requiring guessing, testing, speculation or ‘picking and choosing’ from an encyclopedic

   disclosure will not anticipate.”).

          115.    When determining the content of the prior art, patent drawings cannot be relied on

   for critical dimensions and relationships, absent confirmatory texts in the specification. See

   Nystrom v. TREX Co., 424 F.3d 1136, 1149 (Fed. Cir. 2005) (“‘Absent any written description in

   the specification of quantitative values, arguments based on measurements of a drawing are of

   little value.’”) (quoting In re Wright, 569 F.2d 1124, 1127 (C.C.P.A. 1977)); Hockerson-

   Halberstadt, Inc. v. Avia Grp. Int'l Inc., 222 F.3d 951, 956 (Fed. Cir. 2000) (“[I]t is well

   established that patent drawings do not define the precise proportions of the elements and may




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   not be relied on to show particular sizes if the specification is completely silent on the issue.”);

   Tenneco Auto. Operating Co. v. Visteon Corp., 375 F.Supp.2d 366, 374 n. 9 (D. Del. 2005)

   (rejecting defendant's argument that foreign patent drawing disclosed certain claim limitations,

   because to do so would “require making precise measurements without a special indication that

   such measurements were part of the invention”).

          116.    In addition to showing that a prior art reference meets all the limitations of a

   patent claim (identity requirement), to constitute an anticipation the reference must include a

   description that enables a person of ordinary skill to make the claimed invention without undue

   experimentation, i.e., the reference must enable that which it is asserted to anticipate. See, e.g.,

   Elan Pharm., Inc. v. Mayo Found. for Med. Educ. And Research, 346 F.3d 1051 (Fed. Cir.

   2003); Minnesota Min. & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294 (Fed. Cir. 2002); Bristol-

   Myers Squibb Co. v. Ben Venue Labs., Inc., 246 F.3d 1368, 1374 (Fed. Cir. 2001) (“To

   anticipate, the reference must also enable one of skill in the art to make and use the claimed

   invention.”). The disclosure in the reference must be adequate to enable possession of the

   desired subject matter. Elan Pharms., 346 F.3d at 1055.

          117.    Enablement of a prior art reference is a question of fact and is determined as of

   the date of the allegedly anticipating reference. See, e.g., Elan Pharms, 346 F.3d at 1054; In re

   Omeprazole Patent Litig., 490 F. Supp. 2d 381 (S.D.N.Y. 2007) (“An invention is placed in the

   possession of the public only where 1) the reference meets the identity requirement such that 2)

   the person of ordinary skill in the art would have been able to make it as of that time based on

   his knowledge and the teaching of the publication.”). In In re Wands, the Federal Circuit set out

   eight factors for determining whether a disclosure requires undue experimentation: (1) the

   quantity of experimentation necessary; (2) the amount of direction or guidance presented; (3) the




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   presence or absence of working examples; (4) the nature of the invention; (5) the state of the

   prior art; (6) the relative skill of those in the art; (7) the predictability or unpredictability of the

   art, and (8) the breadth of the claims. 858 F.2d 731 (Fed. Cir. 1988).

           118.    An expert’s conclusory testimony, if unsupported by the documentary evidence,

   cannot replace the requirement that the prior art reference itself contain all of the elements of the

   claim. See Purdue Pharma L.P. v. Boehringer Ingelheim GmbH, 98 F. Supp. 2d 362, 387

   (S.D.N.Y. 2000) (finding that expert’s testimony that values recited in the asserted claims were

   inherently found in the prior art, without documentary evidence to support this assertion, was not

   enough to prove inherent anticipation), aff’d 237 F.3d 1359 (Fed. Cir. 2001).

           C.      Incorporation by Reference

           119.    In order to anticipate a claim, “a single prior art reference must expressly or

   inherently disclose each claim limitation.” Finisar Corp. v. DirecTV Group, Inc., 523 F.3d 1323,

   1334 (Fed. Cir. 2008) (emphasis added). While material incorporated by reference into a prior

   art document may be considered part of the prior art document for purposes of anticipation, the

   incorporating document must identify the incorporated document with detailed particularity,

   clearly indicating the specific material for incorporation. See Advanced Display Sys., Inc. v.

   Kent State Univ., 212 F.3d 1272, 1282 (Fed. Cir. 2000).

           120.    A prior art document’s citations and cross-references to other prior art documents

   is not a valid incorporation by reference for purposes of anticipation. See Commonwealth

   Scientific & Indus. Research Org. v. BuffaloTech (USA), Inc., 542 F.3d 1363, 1372 (Fed. Cir.

   2008) (holding that footnote citation to article did not constitute an incorporation by reference of

   “any or all” of the material set forth in the article); Kyocera Wireless Corp. v. Int'l Trade

   Comm'n, 545 F.3d 1340, 1351-52 (Fed. Cir. 2008) (holding that “cross-reference[s]” in GSM




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   specifications did not “meet this court’s legal requirements for incorporation” and thus did not

   “qualify the GSM standard as a single reference”). As explained by the Federal Circuit in

   Kyocera:

          This court next turns to Qualcomm's contention that the ITC incorrectly found
          that Qualcomm’s proffered collection of eleven separate GSM specifications does
          not anticipate the asserted ‘983 Patent claims because the specifications do not
          together constitute a single reference for § 102 purposes. Qualcomm argues the
          different GSM specifications are like chapters of a book and function as a single,
          coherent reference that is simply too voluminous to bind into one volume.

          . . . The record evidence suggests that the GSM standard is not a single
          reference. The different specifications that comprise the GSM standard were
          authored by different subsets of authors at different times. Indeed, the GSM
          standard includes hundreds of individual specifications drafted by approximately
          ten different subgroups, each with its own title and separate page numbering.
          Each specification, though part of the greater GSM standard, stands as a separate
          document in its own right. Even Qualcomm’s witness—admittedly one of the
          most knowledgeable people in the world about the operation of GSM—testified
          that she had not read the entire standard and did not know of any person who had
          read the entire standard. Open Session Tr. 1712, Mar. 15, 2006. Under these
          circumstances, the GSM standard is actually several prior art references with
          separate dates of creation, rather than a single prior art reference.

          Qualcomm asserts that each GSM specification incorporates the others by
          reference. Even if true, this fact does not qualify the GSM standard as a single
          reference. . . . At most, each relevant GSM specification identifies itself as a
          part of the greater GSM standard; specifications at times cross-reference other
          specifications. This vague referencing practice is hardly sufficient to meet this
          court’s legal requirements for incorporation. In sum, the GSM standard is
          simply not a coherent whole document that can be assigned a single prior art
          date of creation.

          For this reason, as opposed to the secrecy justification, this court affirms the
          ITC’s determination that the GSM standard is not available for use as a single
          anticipating reference under § 102.

   545 F.3d at 1351-52 (emphasis added).

          121.    Whether and to what extent material is incorporated by reference is a question of

   law. See Harari v. Lee, 656 F.3d 1331, 1334 (Fed. Cir. 2011).




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          D.      Obviousness

          122.    A patent is invalid as obvious “if the differences between the claimed invention

   and the prior art are such that the claimed invention as a whole would have been obvious before

   the effective filing date of the claimed invention to a person having ordinary skill in the art to

   which the claimed invention pertains.” 35 U.S.C. § 103; see also Wyers v. Master Lock Co., 616

   F.3d 1231, 1237 (Fed. Cir. 2010).

          123.    To perform this analysis under § 103, “the scope and content of the prior art are

   [to be] determined; differences between the prior art and the claims at issue are [to be]

   ascertained; and the level of ordinary skill in the pertinent art resolved.” KSR Int’l Co. v.

   Teleflex Inc., 550 U.S. 398, 406, 127 S. Ct. 1727, 1734 (2007) (quoting Graham v. John Deere

   Co. of Kansas City, 383 U.S. 1, 17-18 (1966)). “Against this background, the obviousness or

   nonobviousness of the subject matter is determined.” Id. “Such secondary considerations as

   commercial success, long felt but unsolved needs, failure of others, etc., might be utilized to give

   light to the circumstances surrounding the origin of the subject matter sought to be patented.” Id.

   Before finding a patent claim invalid for obviousness, a court must consider all of these factors.

   Ruiz v. A.B. Chance Co., 234 F.3d 654, 663 (Fed. Cir. 2000).

          124.    “[A] patent composed of several elements is not proved obvious merely by

   demonstrating that each element was, independently, known in the prior art.” KSR Int’l Co., 550

   U.S. at 418. Rather, there must be some evidence of a motivation or reason to combine the

   references. Id. at 415, 419. “[O]bviousness is a matter of law based on findings of underlying

   fact.” Sanofi-Synthelabo v. Apotex, Inc., 550 F.3d 1075, 1085 (Fed. Cir. 2008), cert. denied, 130

   S. Ct. 493 (2009).




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          125.    D&M, as the patent challenger, must establish by clear and convincing evidence

   that the claimed invention would have been prima facie obvious. Kaufman Co. v. Lantech, Inc.,

   807 F.2d 970, 974-75 (Fed. Cir. 1986). Failure to show prima facie obviousness means the

   claims are not invalid for obviousness, ending the inquiry. Yamanouchi Pharma. Co., Ltd. v.

   Danbury Pharma., Inc., 231 F.3d 1339, 1345 (Fed. Cir. 2000).

          126.    “Although common sense directs one to look with care at a patent application that

   claims as innovation the combination of two known devices according to their established

   functions, it can be important to identify a reason that would have prompted a person of ordinary

   skill in the relevant field to combine the elements in the way the claimed new invention does.

   This is so because inventions in most, if not all, instances rely upon building blocks long since

   uncovered, and claimed discoveries almost of necessity will be combinations of what, in some

   sense, is already known.” KSR¸ 550 U.S. at 418-19. Further, a person of ordinary skill must

   have a reasonable expectation of success that making a modification to the prior art would

   successfully result in the claimed element. Id.

          127.    “Obviousness cannot be based on the hindsight combination of components

   selectively culled from the prior art to fit the parameters of the patented invention.” Cheese Sys.,

   Inc. v. Tetra Pak Cheese & Powder Sys., Inc., 725 F.3d 1341, 1352 (Fed. Cir. 2013); In re NTP,

   Inc., 654 F.3d 1279, 1299 (Fed. Cir. 2011) (“Care must be taken to avoid hindsight

   reconstruction by using ‘the patent in suit as a guide through the maze of prior art references,

   combining the right references in the right way so as to achieve the result of the claims in

   suit.’”). “[W]hen the prior art teaches away from combining certain known elements, discovery

   of a successful means of combining them is more likely to be nonobvious.” KSR, 550 U.S at

   416. “A reference may be said to teach away when a person of ordinary skill, upon reading the




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   reference, would be discouraged from following the path set out in the reference, or would be led

   in a direction divergent from the path that was taken by the applicant. The degree of teaching

   away will of course depend on the particular facts; in general, a reference will teach away if it

   suggests that the line of development flowing from the reference’s disclosure is unlikely to be

   productive of the result sought by the applicant.” In re Gurley, 27 F.3d 551, 553 (Fed. Cir.

   1994); DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1326 (Fed. Cir.

   2009) (“An inference of nonobviousness is especially strong where the prior art’s teachings

   undermine the very reason being proffered as to why a person of ordinary skill would have

   combined the known elements.”).

          128.    “What a prior art reference teaches and whether a skilled artisan would have been

   motivated to combine references are questions of fact.” Apple Inc. v. Samsung Elecs. Co., 839

   F.3d 1034, 1051 (Fed. Cir. 2016) (citing Par Pharm., Inc. v. TWI Pharms., Inc., 773 F.3d 1186,

   1196-97 (Fed. Cir. 2014)).

          E.      Secondary Considerations

          129.    The patent holder “may rebut a prima facie showing of obviousness with

   objective indicia of nonobviousness.” Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1311

   (Fed. Cir. 2006); Transocean Offshore Deepwater Drilling, Inc. v. Maersk Contractors USA,

   Inc., 617 F.3d 1296, 1305 (Fed. Cir. 2010) (“If all of the factual disputes regarding the objective

   evidence resolve in favor of [plaintiff], it has presented a strong basis for rebutting the prima

   facie case [of obviousness].”). The objective indicia of non-obviousness should be considered to

   guard against hindsight bias. Such factors include: (i) copying; (ii) long felt but unresolved need;

   (iii) failure of others to develop the invention; (iv) licenses showing industry respect for the

   invention; (v) commercial success; (vi) unexpected results created by the claimed invention; (vii)




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   whether the claimed invention was praised by others in the field; and (viii) skepticism of skilled

   artisans before the invention. Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc.,

   711 F.3d 1348, 1368 (Fed. Cir. 2013); Cross Med. Prods., 424 F.3d at 1322-23; Ormco, 463

   F.3d at 1311. This list is not exhaustive, however, and may also include additional factors

   related to obviousness or non-obviousness. Graham, 383 U.S. at 17-18. “Objective indicia of

   nonobviousness must be considered in every case where present.” Apple, 839 F.3d at 1048

   (citing Transocean Offshore Deepwater Drilling, Inc. v. Maersk Drilling USA, Inc., 699 F.3d

   1340, 1349 (Fed. Cir. 2012)).

          F.      35 U.S.C. § 112

          130.    Section 112 of Title 35 of the United States Code provides, in relevant part, that:

          The specification shall contain a written description of the invention, and of the
          manner and process of making and using it, in such full, clear, concise, and exact
          terms as to enable any person skilled in the art to which it pertains, or with which
          it is most nearly connected, to make and use the same, and shall set forth the best
          mode contemplated by the inventor of carrying out his invention.

          The specification shall conclude with one or more claims particularly pointing out
          and distinctly claiming the subject matter which the applicant regards as his
          invention.

   35 U.S.C. § 112. This section provides three distinct standards: written description, enablement,

   and definiteness.

                  i.     Written Description

          131.    The Patent Statute requires a patent to contain a “written description of the

   invention.” 35 U.S.C. § 112, ¶ 1. The “invention” refers to what is claimed in the issued patent.

   Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1564 (Fed. Cir. 1991). Thus, the written description

   requirement found in the first paragraph of 35 U.S.C. § 112 requires that the specification

   support the claims. In re Hayes Microcomputer Products, Inc. Patent Litig., 982 F.2d 1527,




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   1533 (Fed. Cir. 1992). Compliance with the written description requirement is a question of fact.

   Cordis Corp. v. Medtronic Ave., Inc., 339 F.3d 1352, 1364 (Fed. Cir. 2003).

            132.   While the written description and enablement requirements “often rise and fall

   together,” they are separate requirements. Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336,

   1344 (Fed. Cir. 2010).

            133.   The purpose of the written description requirement is to ensure that the inventor

   had possession, as of the filing date of the application, of the subject matter claimed as the

   invention. Streck, Inc. v. Research & Diagnostic Sys., Inc., 665 F.3d 1269, 1285 (Fed. Cir.

   2012).

            134.   In deciding whether Sonos’s patents satisfy the written description requirement,

   the jury must consider the description from the viewpoint of a person of ordinary skill in the field

   of technology of the patent. Id.; Amgen, Inc. v. Hoechst Marion Roussel, Inc., 314 F.3d 1313,

   1330 (Fed. Cir. 2003). To satisfy the written description requirement, the inventor(s) must

   provide a written description of the invention that describes in sufficient detail to those skilled in

   the art what the inventor(s) have invented. See Energy Transp. Grp., Inc. v. William Demant

   Holding A/S, 697 F.3d 1342, 1350-51 (Fed. Cir. 2012). In other words, the written description

   requirement is satisfied if a person of ordinary skill reading the patent application as originally

   filed would recognize that it describes the invention as it is finally claimed in the issued patent.

   Gentry Gallery, Inc. v. Berkline Corp., 134 F.3d 1473, 1479 (Fed. Cir. 1998).

            135.   The applicant is not required to use any precise form of disclosure to describe the

   invention. See Falko-Gunter Falkner v. Inglis, 448 F.3d 1357, 1365-68 (Fed. Cir. 2006) (“A

   claim will not be invalidated on section 112 grounds simply because the embodiments of the

   specification do not contain examples explicitly covering the full scope of the claim language.”




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   (citations omitted)). The written description requirement may be satisfied by the words,

   structures, figures, diagrams, formulas, etc., in the patent application, and any combination of

   them, as understood by one of ordinary skill in the field of technology of the invention.

   Lockwood v. American Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997). A requirement in a

   claim also need not be expressly disclosed in the patent application as originally filed, provided

   persons of ordinary skill in the field of technology of the invention would have understood that

   the missing requirement is inherent in the written description in the patent application. All

   Dental Prodx, LLC v. Advantage Dental Prods., Inc., 309 F.3d 774, 779 (Fed. Cir. 2002).

   Moreover, information that is already known by those of ordinary skill in the art need not be

   included. Space Sys./Loral, Inc. v. Lockheed Martin Corp., 405 F.3d 985, 987 (Fed. Cir. 2005).

                  ii.     Enablement

          136.    Enablement is a question of law. Transocean, 617 F.3d at 1305. To satisfy the

   enablement requirement, the specification must provide a person of ordinary skill in the art with

   a means of practicing the invention without undue experimentation. Id. “[A]n enablement

   determination is made retrospectively, i.e., by looking back to the filing date of the patent

   application and determining whether undue experimentation would have been required to make

   and use the claimed invention at that time.” Elan Pharm., Inc., 346 F.3d at 1056-57.

          137.    Enablement is required only for the invention as claimed, not for some other

   unclaimed embodiment. Lindemann Maschinenfabrik GmbH v. Am. Hoist & Derrick Co., 730

   F.2d 1452, 1463 (Fed. Cir. 1984). The specification does not need to describe and make every

   possible variant of the claimed invention; the knowledge of one of ordinary skill in the art and

   routine experimentation can fill in the gaps. Pfizer Inc. v. Teva Pharm. U.S.A., Inc., 882 F. Supp.

   2d 643, 682-83 (D. Del. 2012), aff’d, 555 F. App’x 961 (Fed. Cir. 2014).




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           138.    Objective enablement is all that is required; thus, the teaching can be provided

   through broad terminology or illustrative examples. In re Armbruster, 512 F.2d 676, 677

   (C.C.P.A. 1975); Glaxo Grp. Ltd. v. Teva Pharm USA, Inc., No. C.A.02-219 GMS, 2004 WL

   1875017, at *16 (D. Del. Aug. 20, 2004) (Sleet, J.) (“[T]he court does not find as a matter of law

   that the application must contain specific examples . . . to be enabled.”). Enablement does not

   require that the patent specification enable a person of ordinary skill in the art to make a

   commercially viable product. See Transocean, 617 F.3d at 1306-07.

           139.    While a patent does not need to teach what is already well known in the art,

   practice of the invention must not require undue experimentation. In re Wands, 858 F.2d 731,

   735 (Fed. Cir. 1988). Factors to be considered in determining whether experimentation is

   “undue” include: (1) the quantity of experimentation necessary, (2) the amount of direction or

   guidance presented, (3) the presence or absence of working examples, (4) the nature of the

   invention, (5) the state of the prior art, (6) the relative skill of those in the art, (7) the

   predictability or unpredictability of the art, and (8) the breadth of the claims. Martek, 579 F.3d

   at 1378; In re Wands, 858 F.2d at 737. However, some “trial and error” is permissible. See W.L.

   Gore & Assoc. v. Garlock, Inc., 721 F.2d 1540, 1557 (Fed. Cir. 1983); see also Falko-Gunter

   Falkner, 448 F.3d at 1365 (“The Board observed that the mere fact that the experimentation may

   have been difficult and time consuming does not mandate a conclusion that such experimentation

   would have been considered to be undue.”) (internal quotation marks omitted).

                   iii.     Definiteness

           140.    Section 112 requires that “[t]he specification shall conclude with one or more

   claims particularly pointing out and distinctly claiming the subject matter which the inventor or a

   joint inventor regards as the invention.” 35 U.S.C. § 112, ¶ 2. This provision strikes a “delicate




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   balance” which recognizes that, although the definiteness requirement must tolerate “[s]ome

   modicum of uncertainty” as “the price of ensuring the appropriate incentives for innovation,”

   Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2128, 189 L. Ed. 2d 37 (2014)

   (quoting Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 731-32 (2002))

   (internal quotation marks omitted), a patent must nevertheless “be precise enough to afford clear

   notice of what is claimed, thereby apprising the public of what is still open to them.” Nautilus,

   134 S. Ct. at 2129 (quoting Markman v. Westview Instruments, Inc., 517 U.S. 370, 373 (1996))

   (internal quotation marks omitted).

          141.    Accordingly, a party seeking to invalidate a patent claim based on indefiniteness

   under 35 U.S.C. § 112, ¶ 2 must prove by clear and convincing evidence that a patent’s “claims,

   read in light of the specification delineating the patent, and the prosecution history, fail to

   inform, with reasonable certainty, those skilled in the art about the scope of the invention.” Cox

   Commc’ns, Inc. v. Sprint Commc’n Co. LP, 838 F.3d 1224, 1228-29 (Fed. Cir. 2016), cert.

   denied, 137 S. Ct. 2267 (2017) (quoting Nautilus, 134 S. Ct. at 2124). It is the “claims, not

   particular claim terms” that are pertinent to “the dispositive question in an indefiniteness

   inquiry.” Cox, 838 F.3d at 1231-32.

          142.    The non-conformity to an industry standard practice does not in itself result in a

   finding of indefiniteness. Marley Mouldings Ltd. v. Mikron Indus., Inc., 417 F.3d 1356, 1360-61

   (Fed. Cir. 2005).

          143.    Whether a claim is indefinite is a question of law to be assessed as of the filing

   date. Howmedica Osteonics Corp. v. Tranquil Prospects, Ltd., 401 F.3d 1367, 1370, 1372 (Fed.

   Cir. 2005).




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          G.      Priority

          144.    An application may claim the benefit of the filing date of an earlier application if

   the earlier application complies with the written description requirement of 35 U.S.C. § 112. See

   35 U.S.C. § 120; Martek, 579 F.3d at 1369. “The test for sufficiency of support in a parent

   application is whether the disclosure of the application relied upon reasonably conveys to the

   artisan that the inventor had possession at that time of the later claimed subject matter.” Id.

   (internal quotation marks and citations omitted).

          145.    “[I]t is unnecessary to spell out every detail of the invention in the specification;

   only enough must be included to convince a person of skill in the art that the inventor possessed

   the invention.” LizardTech, Inc. v. Earth Resource Mapping, Inc., 424 F.3d 1336, 1345 (Fed.

   Cir. 2005); see also Eiselstein v. Frank, 52 F.3d 1035, 1038 (Fed. Cir. 1995) (“[T]he prior

   application need not describe the claimed subject matter in exactly the same terms as used in the

   claims; it must simply indicate to persons skilled in the art that as of the earlier date the applicant

   had invented what is now claimed.”).

          146.    In line with the discussion above, the disclosure requirement here may be satisfied

   by the words, structures, figures, diagrams, formulas, etc., in the patent application, and any

   combination of them, as understood by one of ordinary skill in the field of technology of the

   invention. Lockwood v. American Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997).

   II.    ABSOLUTE INTERVENING RIGHTS

          147.    The Court must decide whether D&M has proven that it is entitled to absolute

   intervening rights with respect to the Asserted Claims of the ‘949 Patent.3




   3
    D&M has not asserted a defense of equitable intervening rights, and thus Sonos has already
   been granted summary judgment as to any claim of equitable intervening rights. D.I. 427.


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          148.    D&M bears the burden of proving that it is entitled to absolute intervening rights

   with respect to the ‘949 Patent. See, e.g., BIC Leisure Products, Inc. v. Windsurfing Int’l, Inc., 1

   F.3d 1214, 1220-21 (Fed. Cir. 1993); Underwater Devices, Inc. v. Morrison-Knudsen Co., 717

   F.2d 1380, 1388 (Fed. Cir. 1983); Intest Corp. v. Reid-Ashman Mfg., Inc., 66 F. Supp. 2d 576,

   582 (D. Del. 1999) (“[I]t is well established, that intervening rights is an affirmative defense, and

   as such, the burden of proof rests on the party raising the defense.”).

          149.    In general, the defense of intervening rights is embodied in 35 U.S.C. § 252. The

   language of 35 U.S.C. § 252 is directed to reissued patents, but 35 U.S.C. § 307 specifies that the

   defense of intervening rights embodied in 35 U.S.C. § 252 applies to reexamined patents as well.

   In particular, 35 U.S.C. § 307(b) provides that:

          Any proposed amended or new claim determined to be patentable and
          incorporated into a patent following a reexamination proceeding will have the
          same effect as that specified in section 252 for reissued patents on the right of any
          person who made, purchased, or used within the United States, or imported into
          the United States, anything patented by such proposed amended or new claim, or
          who made substantial preparation for the same, prior to issuance of a certificate
          under the provisions of subsection (a) of this section.

          150.    The defense of absolute intervening rights is embodied in the first sentence of 35

   U.S.C. § 252, ¶ 2, which states as follows:

          A [reexamined] patent shall not abridge or affect the right of any person or that
          person’s successors in business who, prior to the [issuance of a reexamination
          certificate], made, purchased, offered to sell, or used within the United States, or
          imported into the United States, anything patented by the [reexamined] patent, to
          continue the use of, to offer to sell, or to sell to others to be used, offered for sale,
          or sold, the specific thing so made, purchased, offered for sale, used, or imported
          unless the making, using, offering for sale, or selling of such thing infringes a
          valid claim of the [reexamined] patent which was in the original patent.

   35 U.S.C. § 252; Marine Polymer Techs., Inc. v. HemCon, Inc., 672 F.3d 1350, 1361-62 (Fed.

   Cir. 2012) (en banc); BIC Leisure, 1 F.3d at 1220-21.




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          151.    “The defense of absolute intervening rights allows a party whose products

   infringe a reissued or reexamined patent to continue to use or sell specific products that were

   made, purchase, or used before the reissuance or reexamination, if the asserted claim was not in

   the original patent, so long as the accused infringer began its infringing activity before the patent

   was reissued or reexamined.” D.I. 427 at p. 3; see also BIC Leisure, 1 F.3d at 1220-21

   (confirming that absolute intervening rights extend “only to anything made, purchased, or used

   before the grant of the [reexamined] patent”).

          152.    D&M is only entitled to absolute intervening rights if it can prove that the claims

   of the ‘949 Patent were “substantively changed” during reexamination. See Convolve, Inc. v.

   Compaq Computer Corp., 812 F.3d 1313, 1322 (Fed. Cir. 2016); Marine Polymer, 672 F.3d at

   1362. In this respect, “amendments made during reexamination do not necessarily compel a

   conclusion that the scope of the claims has been substantively changed,” even if “the claims at

   issue were amended during reexamination after a rejection based on prior art.” Convolve, 812

   F.3d at 1322. Rather, to determine whether an amendment is a substantive change, “it is

   necessary to analyze the claims of the original and the reexamined patents in light of the

   particular facts, including the prior art, the prosecution history, other claims, and any other

   pertinent information.” Id. (quotations marks omitted).

          153.    When performing the intervening rights analysis, a court’s “task is to interpret the

   scope of the claims per the Phillips standard,” which differs from the broadest reasonable

   interpretation standard applied during reexamination. Id. at 1325. Under the Phillips standard,

   “the specification ‘is the single best guide to the meaning of the disputed term,’ and is usually

   dispositive.” Id. (citing Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005)).




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          154.    Amendments during reexamination that merely make express what was already

   inherent in the claims, or otherwise simply clarify the language of the original claims, are not

   “substantive changes” that give rise to intervening rights. See, e.g., Convolve, 812 F.3d 1322-25

   (finding that “the language of the claims, read in light of the specification and prosecution

   history, especially the applicant's 2001 remarks and amendment, compel a conclusion that the

   claims as originally drafted were limited to seek acoustic noise despite the lack of an express

   recitation in the claims”); Bloom Eng’ng Co., Inc. v. North America Mfg. Co., Inc., 129 F.3d

   1247, 1250 (Fed. Cir. 1997) (“[a]n amendment that clarifies the text of the claim or makes it

   more definite without affecting its scope” is considered an amendment “without substantive

   change” under § 252); Tennant Co. v. Hako Minuteman, Inc., 878 F.2d 1413, 1417 (Fed. Cir.

   1989) (finding that amending a claim limitation from “moveable first wall section” to “moveable

   first bottom wall section” did not substantively change the scope of the claim because the

   specification made clear that the claims already required the wall section to be a “bottom wall

   section”); Kaufman Co., Inc. v. Lantech, Inc., 807 F.2d 970, 977 (Fed. Cir. 1986) (finding that

   “the amendments made during reexamination . . . were amended without substantive change”

   because they “did not expand, narrow or otherwise alter the meaning or scope of the [original]

   claims” and instead “were made, as stated by the examiner, simply to further clarify the

   completely sufficient language used in the original claims”); Henrob Ltd. v. Bollhoff

   Systemtechnick GMBH & Co., No. 05- 73214, 2009 WL 3188572, at *13-15 (E.D. Mich. Sept.

   29, 2009) (finding no substantive change where the amendments “made explicit what the court

   deems, based on the language and scope of the original patent itself, was inherent”).




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           155.    As this Court recently recognized, the plain language of U.S.C. § 252 also

   “supports drawing a distinction between process claims and product claims with regarding to

   absolute intervening rights.” D.I. 427 at p. 6. In particular:

           The portion of section 252 that addresses absolute intervening rights refers to
           right to use, sell, offer to sell, etc., “the specific thing so made, purchased, offered
           for sale, or used or imported unless the making using, offering for sale or selling
           of such thing infringes a valid claim of the reissued patent which was in the
           original patent.” By contrast, the portion of section 252 that addresses equitable
           intervening rights provides that the court may provide for “the continued
           manufacture, use, offer for sale, or sale of the thing made,” purchased, offered for
           sale, etc., before the grant of the reissue, “and the court may also provide for the
           continued practice of any process patented by the reissue” to the extent the court
           deems equitable for the protection of investments made or business commenced
           before the grant of the reissue.

   Id. at p. 6-7 (citing BIC Leisure, 1 F.3d at 1220-21; P.J. Federico, Commentary on the New

   Patent Act, 75 J. Pat. & Trademark Off. Soc’y 161, 207-08 (1975 reprint; original 1954); P.J.

   Federico, Intervening Rights in Patent Reissues, 30 Geo. Wash. L. Rev. 603, 632-33 (1962)).

           156.    In view of this distinction, the general rule is that absolute intervening rights do

   not apply to method claims. See, e.g., NetAirus Techs., LLC v. Apple, Inc., No. 10-3257, 2013

   WL 3089061, at *6 (C.D. Cal. May 23, 2013); Rohm & Haas Co. v. Chem. Insecticide Corp.,

   171 F. Supp. 426, 432 (D. Del. 1959) (same). The only exception to this general rule that, if a

   claim is directed to a process that was used to make specific products, then absolute intervening

   rights must extend to this particular type of process claims “in order to avoid undermining the

   statutory protection for particular products made prior to a reissuance or reexamination.” D.I.

   427 at p. 7.




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                     SCHEDULE C2
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

    SONOS, INC.,                       )
                                       )
                      Plaintiff,       )
                                           Civil Action No. 14-1330-RGA
                                       )
                      v.               )   JURY TRIAL DEMANDED
                                       )
    D&M HOLDINGS INC. d/b/a THE        )
    D+M GROUP, D&M HOLDINGS U.S.       )
    INC., and DENON ELECTRONICS        )
    (USA), LLC,                        )
                                       )
                      Defendants.      )



               D&M ISSUES OF LAW THAT REMAIN TO BE LITIGATED
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          D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and Denon

   Electronics (USA), LLC (collectively, “Defendants”) submit this Statement of Issues of Law that

   Remain to be Litigated, which is based on Defendants’ current understanding of the claims asserted

   by Plaintiff Sonos, Inc. (“Sonos”) and the proceedings in this action to date.

          To the extent that Defendants’ Statement of Issues of Fact to be Litigated set forth in

   Schedule B2 contains issues of law, those issues are fully incorporated herein by reference.

   Likewise, should the Court determine that any issue identified below is more appropriately

   considered an issue of fact, Defendants incorporate such issues by reference into Schedule B2. By

   including a fact or issue of law herein, Defendants do not assume the burden of proof or production

   with regard to that fact or issue. Defendants reserve the right to revise this statement in light of

   the Court’s rulings or any amendments, modifications, or extensions to Sonos’s positions.

             ISSUES OVER WHICH PLAINTIFF HAS THE BURDEN OF PROOF

   I. NON-INFRINGEMENT

      A. STATEMENT OF ISSUES

         Whether Defendants infringe claims 11, 17, 18, 21, and 24 of U.S. Patent No. 9,195,258?

         Whether Defendants infringe claims 21, 25, and 38 of U.S. Patent No. 7,517,014?

         Whether Defendants infringe claims 1 and 16 of U.S. Patent No. 8,588,949?

      B. BURDEN OF PROOF AND PROOF OF INFRINGEMENT

          Sonos bears the burden of proving infringement, either direct or indirect, by a

   preponderance of the evidence. InTouch Tech., Inc. v. VGO Commc’ns, Inc., 751 F.3d 1327, 1338

   (Fed. Cir. 2014); SmithKline Diagnostics, Inc. v. Helena Lab. Corp., 859 F.2d 878, 889 (Fed. Cir.

   1988). A patent infringement analysis involves two steps: first, the court must construe the patent

   claims to determine their scope and meaning, and second, the claims as construed by the court




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   must be compared to the allegedly infringing device. See Markman v. Westview Instruments, Inc.,

   52 F.3d 967, 979 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996); see also Combined Sys.,

   Inc. v. Defense Tech. Corp. of Am., 350 F.3d 1207, 1210 (Fed. Cir. 2003).

          a) Literal infringement

          To prove literal infringement, Sonos must prove by a preponderance of the evidence that

   the accused products either contain or perform every limitation in the asserted claims. See Kao

   Corp. v. Unilever U.S., Inc., 441 F.3d 963, 972 (Fed. Cir. 2006). “Each element contained in a

   patent claim is deemed material to defining the scope of the patented invention.” Warner-

   Jenkinson Co., Inc. v. Hilton Davis Chem. Co., 520 U.S. 17, 29 (1997). “[F]ailure to meet a single

   limitation is sufficient to negate infringement of the claim.” Laitram Corp. v. Rexnord, Inc., 939

   F.2d 1533, 1535 (Fed. Cir. 1991); NOMOS Corp. v. BrainLAB USA, Inc., 357 F.3d 1364, 1367 n.1

   (Fed. Cir. 2004). The absence of even one claim element of an asserted claim precludes literal

   infringement of that claim. See Kahn v. GMC, 135 F.3d 1472, 1477 (Fed. Cir. 1998). If an accused

   product does not infringe an independent claim, it also does not infringe any claim depending

   therefrom. See Wahpeton Canvas Co. v. Frontier, Inc., 870 F.2d 1546, 1553 (Fed. Cir. 1989).

          b) Direct Infringement

          Direct infringement is defined as the making, using, selling, offering to sell, or importing

   a patented invention in the United States without authorization from the patent owner. 35 U.S.C.

   § 271(a). Where an accused infringer manufactures only part of a claimed system or apparatus, or

   only performs part of a claimed method, it does not “make” a patented system under § 271(a) as a

   matter of law when its customer must complete the system by combining all of its parts. Centillion

   Data Sys. LLC v. Qwest Commc’ns Int’l, 631 F.3d 1279, 1288 (Fed. Cir. 2011); see also Cross

   Med. Prods., Inc. v. Medtronic Sofamore Danek, Inc., 424 F.3d 1293, 1310-11 (Fed. Cir. 2005)




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   (finding manufacturer did not directly infringe by making a surgical apparatus when the claims

   required the apparatus to actually be in contact with the bone to infringe, not just the capability to

   do so). Unless the accused infringer is proven to be vicariously liable for the actions of its

   customers, the accused infringer cannot be liable for direct infringement by making components.

   Centillion, 631 F.3d at 1288 (noting that to be vicariously liable for the actions of its customers,

   the customers must either 1) act as agents of the accused infringer or 2) be contractually obligated

   by the accused infringer to act).

          Apparatus claims fall into two categories: those that are “drawn to capability” and those

   that “specif[y] a particular configuration.” SRI Int’l. Inc. v. Internet Sec. Sys., Inc., 647 F. Supp.

   2d 323, 337 (D. Del. 2009) (citing Ball Aerosol & Specialty Container, Inc. v. Limited Brands,

   Inc., 555 F.3d 984, 994-95 (Fed. Cir. 2009)). The language of a particular claim determines which

   category it falls into. See Fantasy Sports Props., Inc. v. Sportsline.com, Inc., 287 F.3d 1108, 1117-

   18 (Fed. Cir. 2002). When a claim is drawn to “a particular configuration,” as opposed to

   capability, the fact that a device is “reasonably capable of being put into the claimed configuration

   is insufficient for a finding of infringement.” Ball Aerosol, 555 F.3d at 994-95; Parallel Networks

   Licensing, LLC v. Microsoft Corp., 2017 U.S. Dist. LEXIS 59342 at *10-11 (D. Del. Apr. 10,

   2017) (“‘[I]t is not enough to simply show that a product is capable of infringement; the patent

   owner must show evidence of specific instances of direct infringement.’”) (citing Fujitsu Ltd. v.

   Netgear Inc., 620 F.3d 1321 (Fed. Cir. 2010); see also ACCO Brands, Inc. v. ABA Locks Mfr. Co.,

   501 F.3d 1307, 1313 (Fed. Cir. 2007) (“Because the accused device can be used at any given time

   in a noninfringing manner, the accused device does not necessarily infringe the . . . patent.”)..

          While circumstantial evidence may be used to demonstrate direct infringement in

   “compelling circumstances,” “the evidence must still indicate that infringement actually




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   occurred.” SRI Int’l. 647 F. Supp. 2d at 336-37 (citing ACCO Brands, 501 F.3d at 1313 (patentee

   must “either point to specific instances of direct infringement or show that the accused device

   necessarily infringes the patent in suit”)).

          c) Infringement Under the Doctrine of Equivalents

          A product or process that does not literally infringe upon the express terms of a patent

   claim may nonetheless be found to infringe if there is ‘equivalence’ between the elements of the

   accused product or process and the claimed elements of the patented invention. Warner-Jenkinson,

   520 U.S. at 21. What constitutes equivalency must be determined against the context of the patent,

   the prior art, and the particular circumstances of the case. Id. at 24, 117 S.Ct. 1040.

          A party can show infringement under the doctrine of equivalents if every limitation of the

   asserted claim, including a limitation's “equivalent,” is found in the accused product, where an

   ‘equivalent’ differs from the claimed limitation only insubstantially. Ethicon Endo-Surgery, Inc.

   v. U.S. Surgical Corp., 149 F.3d 1309, 1315 (Fed. Cir. 1998). Whether a component in the accused

   subject matter performs substantially the same function as the claimed limitation in substantially

   the same way to achieve substantially the same result may be relevant to this determination. Id.

          But the concept of equivalency cannot embrace a structure that is specifically excluded

   from the scope of the claims. Dolly, Inc. v. Spalding & Evenflo Cos., 16 F.3d 394, 400 (Fed. Cir.

   1994). The doctrine of equivalents also cannot render a claim limitation inconsequential or

   ineffective. Akzo Nobel Coatings, Inc. v. Dow Chem. Co., 811 F.3d 1334, 1342 (Fed. Cir. 2016).

   If a theory of equivalence would entirely vitiate a particular claim element, partial or complete

   judgment should be rendered by the court, as there would be no further material issue for the jury

   to resolve. Warner-Jenkinson, 520 U.S. at 39 n.8, 117 S.Ct. 1040.

          d) Indirect infringement




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          To establish liability for indirect infringement, either inducement of infringement or

   contributory infringement, Sonos must first prove direct infringement. See DSU Med. Corp. v.

   JMS Co., Ltd., 471 F.3d 1293, 1303 (Fed. Cir. 2006) (“[T]he patentee always has the burden to

   show direct infringement for each instance of indirect infringement”); Dynacore Holdings Corp.

   v. U.S. Philips Corp., 363 F.3d 1263, 1272 (Fed. Cir. 2004) (“Indirect infringement, whether

   inducement to infringe or contributory infringement, can only arise in the presence of direct

   infringement.”). “Hypothetical instances of direct infringement are insufficient to establish

   vicarious liability or indirect infringement.” ACCO Brands, 501 F.3d at 1313. Sonos must prove

   that a user did or must infringe. See, e.g., id. at 1313-14.

           To prove direct infringement, Sonos must prove that a “single actor can be held responsible

   for the performance of all steps of the patent,” or that Defendants have control over or directs the

   parties performing or using the claimed method or apparatus so that all the steps are attributable

   to a single party. Limelight Networks, Inc. v. Akamai Techs., Inc., 134 S. Ct. 2111, 2118-19 (2014).

   See Akamai Techs., Inc. v. Limelight Networks, Inc., 797 F.3d 1020 (Fed. Cir. 2015) (“Akamai

   IV”). An entity is responsible for another’s infringing acts in two sets of circumstances: (1) where

   that entity directs or controls the others' performance, or (2) where the actors form a joint

   enterprise. See Akamai Techs., 797 F.3d at 1020. To prove “direction and control” the patentee

   must prove that the accused infringer conditions participation in an activity or receipt of a benefit

   upon performance of a step or steps of a patented method and establishes the manner or timing of

   that performance. Id. at 1023.

               (i) Induced Infringement

           In order to succeed on a claim of induced infringement, Sonos must also prove that

   Defendants knew “that the induced acts constitute patent infringement.” Global-Tech Appliances,




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   Inc. v. SEB S.A., 131 S. Ct. 2060, 2068 (2011). This requires Sonos to show more than just a

   defendant’s knowledge of the patent and of the relevant acts; it must also show knowledge of

   whether the acts constituted infringement. Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1329-30

   (Fed. Cir. 2010) (“we disagree with Philips’ claim that it need only show that Netgear knew of the

   patent and of the relevant acts, not whether these acts constituted infringement”).

          Finally, Sonos must prove that Defendants had actual intent to induce infringement.

   Minnesota Min. & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294, 1304–05 (Fed. Cir. 2002) (“In order

   to succeed on a claim of inducement, the patentee must show, first that there has been direct

   infringement, and second that the alleged infringer knowingly induced infringement and possessed

   specific intent to encourage another's infringement.”); Warner-Lambert Co. v. Apotex Corp., 316

   F.3d 1348, 1363–64 (Fed. Cir. 2003) (“[P]roof of actual intent to cause the acts which constitute

   the infringement is a necessary prerequisite to finding active inducement.”). “Knowledge of the

   acts alleged to constitute infringement is not enough.” DSU Med. Corp., 471 F.3d at 1305 (citing

   Warner-Lambert, 316 F.3d at 1363). Evidence of affirmative actions taken to induce infringement,

   such as advertising, must be linked to intentionally inducing the allegedly infringing use. Lucent

   Techs., Inc., 580 F.3d at 1322; MONEC Holding AG v. Motorola Mobility, Inc., 897 F. Supp. 2d

   225, 234 (D. Del. 2012). general advertising materials are insufficient to demonstrate more than

   speculation that the infringing activity has occurred or that defendants intended to induce

   infringement. See, e.g., ACCO Brands,501 F.3d at 1312-14; see also E–Pass Techns., Inc. v. 3Com

   Corp., 473 F.3d 1213, 1222-23 (Fed. Cir. 2007); MONEC Holding, 897 F. Supp. 2d at 234.

          Likewise, “mere knowledge of possible infringement by others does not amount to

   inducement; specific intent and action to induce infringement must be proven.” DSU Med. Corp.,

   471 F.3d at 1305-06. Establishing “inducement requires evidence of culpable conduct, directed to




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   encouraging another’s infringement, not merely that the inducer had knowledge of the direct

   infringer’s activities.” Id. at 1306. Negligence or recklessness is also not enough to satisfy the

   knowledge requirement. Global-Tech, 131 S.Ct. at 2070.

          “[A] willfully blind defendant is one who takes deliberate action to avoid confirming a

   high probability of wrongdoing and who can almost be said to have actually known the critical

   facts,” which is a standard well beyond negligence or recklessness. Apeldyn Corp. v. AU Optronics

   Corp., 831 F. Supp. 2d 817, 831 (D. Del. 2011) (Robinson, J.) (citing Global-Tech, 131 S.Ct. at

   2070–71). Where no affirmative actions taken by the accused infringer to purposefully avoid

   gaining actual knowledge of the patent are provided, willful blindness cannot be found. Monec

   Holding, 897 F. Supp. 2d at 234.

          “Knowledge after filing of the present action is not sufficient for pleading the requisite

   knowledge for indirect infringement.” Xpoint Techs., Inc. v. Microsoft Corp., 730 F. Supp. 2d 349,

   357 (D. Del. 2010) (in the context of a motion to dismiss). “The court is not persuaded by plaintiff’s

   contention that the requisite knowledge can be established by the filing of the plaintiff’s

   complaint.” Id. (quoting Mallinckrodt Inc. v. E-Z-EM Inc., 670 F. Supp. 2d 349, 354 n.1 (D. Del.

   2009))). The requisite intent for induced infringement can be negated by “evidence of an accused

   inducer’s good-faith belief of invalidity.” Commil USA, LLC v. Cisco Sys., Inc., 720 F.3d 1361,

   1368 (Fed. Cir. 2013).

              (ii) Contributory Infringement

          “Contributory infringement occurs if a party sells or offers to sell, a material or apparatus

   for use in practicing a patented process, and that ‘material or apparatus’ is material to practicing

   the invention, has no substantial non-infringing uses, and is known by the party ‘to be especially

   made or especially adapted for use in an infringement of such patent.’” In re Bill of Lading




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   Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1337 (Fed. Cir. 2012) (quoting 35

   U.S.C. § 271 (c)).

          To prove contributory infringement, Sonos must offer evidence: “1) that there is direct

   infringement, 2) that the accused infringer had knowledge of the patent, 3) that the component has

   no substantial noninfringing uses, and 4) that the component is a material part of the invention.”

   Fujitsu, 620 F.3d at 1326; see also Cross, 424 F.3d at 1312 (quoting Golden Blount, Inc. v. Robert

   H. Peterson Co., 365 F.3d 1054, 1061 (Fed. Cir. 2004)). “A violator of § 271(c) ‘must know that

   the combination for which his component was especially designed was both patented and

   infringing.’” Global–Tech, 131 S.Ct. at 2068; see also Aro Mfg. Co. v. Convertible Top

   Replacement Co., 84 S.Ct. 1526, 1533 (1964).

          The plaintiff has the burden of establishing that the component has no substantial

   noninfringing use. See Toshiba Corp. v. Imation Corp., 681 F.3d 1358, 1362 (Fed. Cir. 2012)

   (holding that the plaintiff did not satisfy this burden where it “failed to provide any survey, expert,

   or other evidence showing how frequently users choose to use the accused DVDs in a non-

   infringing manner, and Toshiba did not offer any evidence that using the accused products in a

   non-infringing manner was “unusual, far-fetched, illusory, impractical, occasional, aberrant, or

   experimental.”).

           “[A] substantial non-infringing use is any use that is ‘not unusual, far-fetched, illusory,

   impractical, occasional, aberrant, or experimental.’” In re Bill of Lading, 681 F.3d at 1337 (quoting

   Vita-Mix Corp. v. Basic Holdings, Inc., 581 F.3d 1317, 1327-29 (Fed. Cir. 2009)). “For purposes

   of contributory infringement, the inquiry focuses on whether the accused products can be used for

   purposes other than infringement.” Id. at 1338 (emphasis in original); see also Ricoh Co. v.




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   Quanta Comput. Inc., 550 F.3d 1325, 1339 (Fed. Cir. 2008) (citing Sony Corp. of Am. v. Universal

   City Studios, Inc., 104 S.Ct. 774 (1984)).

                (iii) Willful Infringement

             Sonos must prove willful infringement by a preponderance of the evidence that infringing

   conduct was willful, wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or—

   indeed—characteristic of a pirate. See Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1932

   (2016).     Important to this determination proof that the defendant acted despite a risk of

   infringement that was either known or so obvious that it should have been known to the accused

   infringer. WesternGeco L.L.C. v. ION Geophysical Corp., 837 F.3d 1358, 1362 (Fed. Cir. 2016)

   (citing Halo, 136 S.Ct. at 1930). Willful infringement is measured against the knowledge of the

   actor at the time of the challenged conduct. Id. at 1933. Defendants’ awareness of an asserted

   patent, without more, cannot establish willful infringement. See Vehicle IP, LLC v. AT&T Mobility

   LLC et al., 2016 WL 7647522, at *8 (D. Del. Dec. 30, 2016) (“Vehicle IP does not identify other

   evidence, beyond pre-suit knowledge of the patent, that could show that the TCS Defendants’

   infringement was ‘egregious,’ ‘deliberate,’ ‘wanton,’ or otherwise characteristic of the type of

   infringement that warrants the Court exercising its discretion to impose the ‘punitive’ sanction of

   enhanced damages.”); Greatbatch Ltd. v. AVX Corp., 2016 WL 7217625, at *3 (D. Del. Dec. 13,

   2016) (“[A] party’s pre-suit knowledge of a patent is not sufficient, by itself, to find ‘willful

   misconduct’ of the type that may warrant an award of enhanced damages.”); see also Norian Corp.

   v. Stryker Corp., 363 F.3d 1321, 1332-33 (Fed. Cir. 2004) (affirming JMOL of no willfulness

   despite stipulation that defendant had knowledge of the asserted patents); Ajinomoto Co. v. Archer-

   Daniels-Midland Co., 228 F.3d 1338, 1351-52 (Fed. Cir. 2000) (affirming finding of no willfulness

   despite defendant’s knowledge of asserted patent).




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          The failure if an infringer to obtain the advice of counsel with respect to any allegedly

   infringed patent, or the failure of the infringer to present such advice to the court or jury, may not

   be used to prove that the accused infringer willfully infringed the patent or that the infringer

   intended to induce infringement of the patent. 35 U.S.C. § 289.

          Evidence of willful infringement that predates the issuance of a patent is irrelevant. See,

   e.g., Gustafson, Inc. v. Intersystems Indus. Prods., Inc., 897 F.2d 508, 13 USPQ2d 1972 (Fed. Cir.

   1990) ("It is obvious that a party cannot be held liable for 'infringement', and thus not for 'willful'

   infringement, of a nonexistent patent, i.e., no damages are payable on products manufactured and

   sold before the patent issued.”); American Original Corp. v. Jenkins Food Corp., 774 F.2d 459,

   227 USPQ 299 (Fed. Cir. 1985) (there was no copying of the patent because the defendant began

   developing its process before issuance of the patent; possible knowledge of a pending patent

   application cannot provide a basis for willful infringement of a patent); W.S. Molnar Co. v. IKG

   Indus., a Div. of Harsco Corp., 82 F.3d 434 (Fed. Cir. 1996) (affirming district court’s decision

   not to enhance damages, stating that “nearly all the activities supporting Molnar's assertion of

   copying occurred before the patents issued.”). see also Emory Univ. v. Glaxo Wellcome Inc., 45

   USPQ2d 1534, 1536 (N.D. Ga. 1997) ("In order to bring a claim for willful infringement, [the

   patentee] must prove that the patent exists and the alleged infringer had knowledge of it."); Smith

   & Nephew, Inc. v. Interlace Med., Inc., No. CIV.A. 10-10951-RWZ, 2012 WL 3560811, at *2 (D.

   Mass. Aug. 17, 2012) (in granting motions in limine, “conduct before the patent issues is not

   willfulness and copying plaintiff's product is not infringement unless that product reads on the

   patent claims.”).

          However, enhanced damages are only appropriate in egregious cases. Halo, 136 S.Ct. at

   1932. And enhanced damages need not follow a finding of egregious misconduct. Id. at 1933. If




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   willfulness is established, the question of enhanced damages must be left to the district court's, and

   not the jury’s, discretion. WesternGeco, 837 F.3d at 1362; 35 U.S.C. § 284. The following factors

   are typically relevant in the determination of whether to enhance damages:

          (1) whether the infringer deliberately copied the ideas or design of another

          (2) whether the infringer, when he knew of the other's patent protection,
          investigated the scope of the patent and formed a good-faith belief that it was
          invalid or that it was not infringed; and

          (3) the infringer's behavior as a party to the litigation.

          (4) Defendant's size and financial condition.

          (5) Closeness of the case.

          (6) Duration of defendant's misconduct.

          (7) Remedial action by the defendant.

          (8) Defendant's motivation for harm.

          (9) Whether defendant attempted to conceal its misconduct.

          The objective reasonableness of the accused infringer's positions can still be relevant for

   the district court to consider when exercising its discretion. Id. at 1363).

           ISSUES OVER WHICH DEFENDANTS BEAR THE BURDEN OF PROOF

   II. INVALIDITY

      A. STATEMENT OF ISSUES

         Whether claims 11, 17, 18, 21, and 24 of U.S. Patent No. 9,195,258 (the ‘258 Patent) are
          invalid under 35 U.S.C. § 102 as anticipated by the prior art, , either expressly or
          inherently?

         Whether claims 11, 17, 18, 21, and 24 of the ‘258 Patent are invalid under 35 U.S.C. §
          103 as obvious?

         Whether claims 11, 17, 18, 21, and 24 of the ‘258 Patent are invalid for failure to meet
          the requirements of 35 U.S.C. § 112?




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         Whether claims 21, 25, and 38 of U.S. Patent No. 7,517,014 (the ‘014 Patent) are invalid
          under 35 U.S.C. § 102 as anticipated by the prior art, either expressly or inherently?

         Whether claims 21, 25, and 38 of the ‘014 Patent are invalid under 35 U.S.C. § 103 as
          obvious?

         Whether claims 21, 25, and 38 of the ‘014 Patent are invalid for failure to meet the
          requirements of 35 U.S.C. § 112?

         Whether claims 1 and 16 of U.S. Patent No. 8,588,949 (the ‘949 Patent) are invalid under
          35 U.S.C. § 102 as anticipated by the prior art, either expressly or inherently?

         Whether claims 1 and 16 of the ‘949 Patent are invalid under 35 U.S.C. § 103 as
          obvious?

         Whether claims 1 and 16 of the ‘949 Patent are invalid for failure to meet the
          requirements of 35 U.S.C. § 112?

      B. BURDEN OF PROOF

          An accused infringer has the burden to prove by clear and convincing evidence that a patent

   is invalid. Microsoft Corp. v. I4I Ltd. P'ship, 564 U.S. 91, 111 (2011). A patent claim is invalid

   if the claimed invention is anticipated by, or obvious in view of, the relevant prior art or otherwise

   fails to meet the requirements of 35 U.S.C. § 112. See 35 U.S.C. § 282; KSR Int’l Co. v. Teleflex

   Inc., 550 U.S. 398, 427 (2007). When a prior art reference was not cited to the PTO during

   prosecution, that prior art carries “more weight” in overcoming the presumption of validity and

   “the challenger’s burden to persuade the jury of its invalidity defense by clear and convincing

   evidence may be easier to sustain.” Microsoft, 131 S. Ct. at 2242. The evidentiary standard of

   proof applies to questions of fact and not to questions of law. See, e.g., Addington v. Texas, 441

   U.S. 418, 423 (1979).

   III. WHAT CONSTITUTES PRIOR ART

      A. PRIOR ART UNDER 35 U.S.C. § 102




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          A threshold question in any anticipation or obviousness analysis is whether the allegedly

   invalidating reference is prior art, which is a question of law for the Court. See Minton v. Nat’l

   Ass’n of Sec. Dealers, Inc., 336 F.3d 1373, 1376-77 (Fed. Cir. 2003). To qualify as a prior art

   reference under 35 U.S.C. § 102(b), a device must have been “in public use or on sale in this

   country[] more than one year prior to the date of the application for patent” and a patent or other

   printed publication must have “described” the invention “in this or a foreign country” before that

   time. Section 102(a), on the other hand, does not limit invalidating public uses, offers for sale, or

   printed descriptions to one year before filing; those invalidating activities must simply occur

   “before the invention of the patent.”

          Public use and public knowledge are not demanding standards. See Nat'l Research Dev.

   Corp. v. Varian Assocs., Inc., 822 F. Supp. 1121, 1129 (D.N.J. 1993) aff'd in part, vacated in part,

   17 F.3d 1444 (Fed. Cir. 1994) (“It does not take much to trigger the ‘public use’ statutory bar to a

   patent.”). Public use includes “any use” of a device “by a person other than the inventor who is

   under no limitation, restriction or obligation of secrecy to the inventor.” Baxter Int’l, Inc. v. COBE

   Labs., Inc., 88 F.3d 1054, 1058 (Fed. Cir. 1996) (holding use of centrifuge in a laboratory where

   co-workers and visitors saw it in operation qualified as “public use”); see also Clock Spring, L.P.

   v. Wrapmaster, Inc., 560 F.3d 1317, 1325 (Fed. Cir. 2009) (holding public use requirement

   satisfied where “during the 1989 demonstration, all elements of the repair method in claim 1 of

   the [ ] Patent were performed”); Adenta GmbH v. OrthoArm, Inc., 501 F.3d 1364, 1372 (Fed. Cir.

   2007) (display of bracket at “1994 Florida trade show” is public use); Beachcombers v. WildeWood

   Creative Prods., Inc., 31 F.3d 1154, 1159-60 (Fed. Cir. 1994) (displaying an invention at a dinner

   party is public use). While § 102(b) uses slightly different language (i.e., “public use”), the same

   standard governs whether a reference is “known or used by others” under § 102(a). See Ormco




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   Corp. v. Align Tech., Inc., 463 F.3d 1299, 1305-06 (Fed. Cir. 2006) (reversing finding of no “use

   by others” under § 102(a) because “Dr. Truax promoted his system to other orthodontists through

   seminars and clinics and distributed his instruction sheet at those clinics”). In addition, a device

   known or used by others must be “ready for patenting.” Pfaff v. Wells Elecs., Inc., 525 U.S. 55,

   67-68 (1998). That requirement is satisfied if the device is reduced to practice or the persons who

   conceived of the device have “prepared drawings or other descriptions of the invention that were

   sufficiently specific to enable a person skilled in the art to practice the invention.” Id.

           Slightly different standards govern whether a reference qualifies as a printed publication

   under §§ 102(a) and (b). Dissemination and public accessibility are the touchstones to the legal

   determination whether a prior art reference is a printed publication. See Suffolk Techs., LLC v. AOL

   Inc, 752 F.3d 1358, 1364 (Fed. Cir. 2014). “A given reference is ‘publicly accessible’ upon a

   satisfactory showing that such document has been disseminated or otherwise made available to the

   extent that persons interested and ordinarily skilled in the subject matter or art exercising

   reasonable diligence, can locate it.” Id. (quoting SRI Int’l, 511 F.3d at 1192).

           Other provisions of § 102 recognize prior art that was not necessarily publicly known or

   used by others at the time of the alleged invention. See, e.g., 35 U.S.C. §§ 102(e), (f), (g)(2).

   Section 102(e) invalidates claims “described in (1) an application for patent, published under

   section 122(b), by another filed in the United States before the invention by the applicant for patent

   or (2) a patent granted on an application for patent by another filed in the United States before the

   invention by the applicant for patent.” A patent or patent application can invalidate the claims, in

   other words, even if it was not prior art under §§ 102(a) or (b). See In re Bayer, 568 F.2d 1357,

   1361 (CCPA 1978). Prior art under § 102(f) can likewise invalidate even if it was not publicly

   known or used. A patent may be invalid under that provision if it can be established that the




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   patentee derived its invention from the work of another. See 35 U.S.C. § 102(f) (stating a patent is

   invalid if the inventor “did not himself invent the subject matter sought to be patented”).

   Derivation under § 102(f) “requires a showing of both (1) prior conception of the invention by

   another and (2) communication of that conception to the patentee that is sufficient to enable him

   to construct and successfully operate the invention.” Int’l Rectifier Corp. v. IXYS Corp., 361 F.3d

   1363, 1376 (Fed. Cir. 2004); see also Brand v. Miller, 487 F.3d 862, 869-70 (Fed. Cir. 2007).

          Section 102(g)(2) invalidates a claim if “before [the alleged inventor’s] invention thereof,

   the invention was made in this country by another inventor who had not abandoned, suppressed,

   or concealed it.” Under § 102(g), Bard can establish its own work or the work of another “was

   prior art by proving ‘either that it reduced its invention to practice first or that it conceived of the

   invention first and was diligent in reducing it to practice.’” Tyco Healthcare Grp. LP v. Ethicon

   Endo-Surgery, Inc., 774 F.3d 968, 974-75 (Fed. Cir. 2014) (quoting Fox Grp., Inc. v. Cree, Inc.,

   700 F.3d 1300, 1304 (Fed. Cir. 2012)). The test for conception under § 102(g)(2), as under any

   other provision of § 102, is whether Bard or a third party “‘had an idea that was definite and

   permanent enough that one skilled in the art could understand the invention.’” Id. at 975 (quoting

   Burroughs Wellcome Co. v. Barr Labs., Inc., 40 F.3d 1223, 1228 (Fed. Cir. 1994)). In assessing

   diligence, the “basic inquiry is whether … there was reasonably continuing activity to reduce the

   invention to practice,” Brown v. Barbacid, 436 F.3d 1376, 1380 (Fed. Cir. 2006), and no effort to

   abandon, suppress, or conceal after reducing the invention to practice, Dow Chem. Co. v. Astro-

   Valcour, Inc., 267 F.3d 1334, 1342 (Fed. Cir. 2001). An inventor who first conceives of his

   invention outside the United States “may rely on the date that the invention was disclosed in the

   United States[] as [the] conception date for” § 102(g) purposes. Scott v. Koyama, 281 F.3d 1243,

   1247 (Fed. Cir. 2002); see also Amkor Tech., Inc. v. ITC, 692 F.3d 1250, 1255 (Fed. Cir. 2012).




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   Section 102(g)(2) and (f) prior art, like all other art, may be used to establish both anticipation and

   obviousness. See Tyco Healthcare, 774 F.3d at 976; OddzOn Prods., Inc. v. Just Toys, Inc., 122

   F.3d 1396, 1403-04 (Fed. Cir. 1997); see also 35 U.S.C. § 103(c).

          An Examiner’s decision is not binding on a court. See, e.g., Fromson v. Advance Offset

   Plate, Inc., 755 F.2d 1549, 1555 (Fed. Cir. 1985) (“The Examiner’s decision, on an original or

   reissue application, is never binding on a court.”); Tyler Refrigeration Corp. v. Kysor Indus. Corp.,

   777 F.2d 687, 690 (Fed. Cir. 1985) (“The judge took account of the presumption of validity but

   this is a case in which the court could, as it did, decide differently from the PTO examiner on the

   basis of the evidence before the court.”); Gen. Elec. Co. v. Hoechst Celanese Corp., 740 F. Supp.

   305, 313 (D. Del. 1990) (“The Examiner’s determination that the GE patent is valid is evidence of

   the claims’ validity, but is not binding on the court.”); see also Belden Techs. v. Superior Essex

   Comms., 802 F.Supp. 2d 555, 569 (D. Del. 2011) (“Admitting evidence about the [patent-in-suit’s]

   reexamination, the outcome of which is not binding on the Court, would have only served to

   confuse the jury and was ultimately far more prejudicial than probative.”)

          A prior art reference is not “cumulative” of references considered by the Examiner if it

   discloses an element the patentee used to distinguish the prior art before the Examiner from the

   patentee’s claimed invention. Belden Techs., 733 F. Supp. 2d at 544 (rejecting plaintiff’s argument

   that a prior art reference was cumulative of prior art considered by the examiner).

      B. THE CORROBORATION REQUIREMENT

          As a general rule, mere testimonial evidence concerning invalidating activities must be

   corroborated. See Finnigan Corp. v. Int’l Trade Comm’n, 180 F.3d 1354,1367- 68 (Fed. Cir. 1999).

   There is no single test for determining whether sufficient corroborative evidence has been

   identified. See Woodland Trust, 148 F.3d at 1371. Rather, corroborative evidence must satisfy a




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   “rule of reason analysis.” Id.; see also Finnigan, 180 F.3d at 1368-69. Courts have indicated,

   however, that “[r]eliable evidence of corroboration preferably comes in the form of physical

   records that were made contemporaneously with the alleged prior invention.” Juicy Whip, Inc. v.

   Orange Bang, Inc., 292 F.3d 728, 743 (Fed. Cir. 2002); see also Sandt Tech., Ltd. v. Resco Metal

   & Plastics Corp., 264 F.3d 1344, 1351-52 (Fed. Cir. 2001) (testimony by inventor claiming

   priority was sufficiently corroborated by physical records made contemporaneously with the

   invention). Where the testifying inventor is a non-party and the testimony concerns an unpatented

   prior invention, the corroboration necessary to meet the clear and convincing standard is typically

   less than the corroboration needed to support the testimony of an interested inventor who stands

   to gain from a finding of invalidity. Thomson, S.A. v. Quixote Corp., 166 F.3d 1172, 1175-77 (Fed.

   Cir. 1999).

      C. ANTICIPATION


             A patent claim is invalid as anticipated under 35 U.S.C. § 102 if “within the four corners

   of a single, prior art document every element of the claimed invention [is described], either

   expressly or inherently, such that a person of ordinary skill in the art could practice the invention

   without undue experimentation.” Callaway Golf Co. v. Acushnet Co., 576 F.3d 1331, 1346 (Fed.

   Cir. 2009) (quoting Advanced Display Sys. Inc. v. Kent State Univ., 212 F.3d 1272, 1282 (Fed. Cir.

   2000)).

             An anticipatory prior art reference may disclose each limitation expressly or inherently. In

   re Gleave, 560 F.3d 1331, 1334-35 (Fed. Cir. 2009). A reference may “be anticipating if a person

   of ordinary skill in the art would understand [the reference] as disclosing [otherwise missing

   elements] and if such a person could have combined the [reference’s] description of the invention

   with his own knowledge to make the claimed invention.” Helifix, Ltd. v. Blok-Lok, Ltd., 208 F.3d



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   1339, 1347 (Fed. Cir. 2000). “Simply put, the fact that a characteristic is a necessary feature or

   result of a prior-art embodiment (that is itself sufficiently described and enabled) is enough for

   inherent anticipation.” Toro Co. v. Deere & Co., 355 F.3d 1313, 1321 (Fed. Cir. 2004). A prior art

   reference need not use the exact same language as a patent claim to be anticipatory – anticipation

   need not be “ipsissimis verbis.” See In re Bond, 910 F.2d 831, 832 (Fed. Cir. 1990).

          “[A] prior art reference may anticipate without disclosing a feature of the claimed invention

   if that missing characteristic is necessarily present, or inherent, in the single anticipating

   reference.” SmithKline Beecham Corp. v. Apotex Corp., 403 F.3d 1331, 1343 (Fed. Cir. 2005); see

   also Schering Corp. v. Geneva Pharms., Inc., 339 F.3d 1373, 1379 (Fed. Cir. 2003) (“Because

   inherency places subject matter in the public domain as well as an express disclosure, the inherent

   disclosure of the entire claimed subject matter anticipates as well as inherent disclosure of a single

   feature of the claimed subject matter. The extent of the inherent disclosure does not limit its

   anticipatory effect.”); Continental Can Co. v. Monsanto Co., 948 F.2d 1264, 1268 (Fed. Cir. 1991).

   As such, “anticipation does not require actual performance of suggestions in a disclosure. Rather,

   [it] only requires that those suggestions be enabling to one of skill in the art.” Bristol-Myers Squibb

   Co. v. Ben Venue Labs., Inc., 246 F.3d 1368, 1378-81 (Fed. Cir. 2001). Furthermore, there is no

   requirement that a person of ordinary skill in the art recognize that the inherent property would be

   present in the prior art reference, or that there be past recognition of the inherent feature. Schering

   Corp., 339 F.3d at 1378. “Where...the result is a necessary consequence of what was deliberately

   intended, it is of no import that the article’s authors did not appreciate the results.” MEHL/Biophile

   Int’l Corp. v. Milgraum, 192 F.3d 1362, 1366 (Fed. Cir. 1999); Atlas Powder Co. v. Ireco, Inc.,

   190 F.3d 1342, 1348-49 (Fed. Cir. 1999). In some cases, the inherent property corresponds to a

   claimed new benefit or characteristic of an invention otherwise in the prior art. In those cases, the




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   new realization alone does not render the old invention patentable. See Id. at 1347; Johnson &

   Johnson v. W.L. Gore & Assocs., 436 F. Supp. 704, 725 (D. Del. 1977) (“Recognition of the

   inherent properties of a material does not constitute invention.”).

          A reference that discloses multiple options for a particular feature will anticipate a later

   application that uses one of the disclosed options. “The anticipation analysis asks solely whether

   the prior art reference discloses and enables the claimed invention, and not how the prior art

   characterizes that disclosure or whether alternatives are also disclosed.” Perricone v. Medicis

   Pharm. Corp., 432 F.3d 1368, 1376 (Fed. Cir. 2005) (quoting Hewlett Packard Co. v. Mustek Sys.,

   340 F.3d 1314, 1324 n.6 (Fed. Cir. 2003)); see also Leggett & Platt, Inc. v. Vutek, Inc., 537 F.3d

   1349, 1356 (Fed. Cir. 2008) (rejecting “the erroneous assumption that the disclosure of multiple

   examples renders one example less anticipatory”); In re Gleave, 560 F.3d at 1336-37 (rejecting

   the argument that a prior art reference cannot anticipate by listing an element in a long list of

   possibilities); Application of Petering, 301 F.2d 676, 681 (C.C.P.A. 1962) (holding that it was

   “immaterial that [the patent] did not expressly spell out the limited class as we have done here. It

   is our opinion that one skilled in this art would, on reading the [] patent, at once envisage each

   member of this limited class, even though this skilled person might not at once define in his mind

   the formal boundaries of the class as we have done here.”). Thus, when a list of options or

   permutations is disclosed in the prior art, anticipation does not turn on the number of elements in

   the list, but rather on whether the claimed subject matter is enabled by the prior art reference.

   Perricone, 432 F.3d at 1377-78.

          Material not explicitly contained in a single document may still be considered for

   anticipation if that material is incorporated by reference into the document. “Incorporation by

   reference provides a method for integrating material from various documents into a host




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   document—a patent or printed publication in an anticipation determination—by citing such

   material in a manner that makes clear that the material is effectively part of the host document as

   if it were explicitly contained therein.” See Advanced Display, 212 F.3d at 1282. A host document

   incorporates material by reference if it “identif[ies] with detailed particularity what specific

   material it incorporates and clearly indicate[s] where that material is found in the various

   documents.” Husky Injection Molding Sys. Ltd. v. Athena Automation Ltd., 838 F.3d 1236, 1248

   (Fed. Cir. 2016) (citation omitted). The incorporation standard relies only on the reasonably

   skilled artisan and his or her ability to deduce from language, however imprecise, what a host

   document aims to incorporate. Id. Whether and to what extent material is incorporated by

   reference is a question of law. See Harari v. Lee, 656 F.3d 1331, 1334 (Fed. Cir. 2011).

           Further, whatever infringes a claim if later in time anticipates if earlier in time. Bristol-

   Myers Squibb Co., 246 F.3d at 1378. Thus, where a plaintiff for purposes of its infringement case

   alleges that a feature of an accused product meets a particular limitation recited in an asserted

   claim, then that feature should it be found in the prior art would also cause that limitation to be

   met for invalidity purposes. See id.

       D. OBVIOUSNESS

           A patent claim is invalid as obvious under 35 U.S.C. § 103 “if the differences between the

   subject matter sought to be patented and the prior art are such that the subject matter as a whole

   would have been obvious at the time the invention was made to a person having ordinary skill in

   the art to which said subject matter pertains.” 35 U.S.C. § 103(a); see also KSR Int’l, 550 U.S. at

   406-407.

           The person of ordinary skill in the art is “not an automaton,” but rather has “ordinary

   creativity” to fit together his knowledge with the prior art. Id. at 421. “If a person of ordinary skill




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   can implement a predictable variation, § 103 likely bars patentability. For the same reason, if a

   technique has been used to improve one device, and a person of ordinary skill in the art would

   recognize that it would improve similar devices in the same way, using the technique is obvious

   unless its actual application is beyond his or her skill.” Id. at 401. While a Court must guard against

   hindsight bias, such concerns should not deny the Court “recourse to common sense” as part of

   analyzing obviousness. Id.

          “[A]dmitted prior art can be relied upon for both anticipation and obviousness

   determinations, regardless of whether the admitted prior art would otherwise qualify as prior art

   under the statutory categories of 35 U.S.C. 102.” Manual of Patent Examining Procedures

   (“MPEP”) § 2141.01; and MPEP § 2129 (“A statement by an applicant in the specification or made

   during prosecution identifying the work of another as ‘prior art’ is an admission which can be

   relied upon for both anticipation and obviousness determinations.”). See also Tokyo Keiso Co. Ltd.

   v. SMC Corp., 307 Fed. Appx. 446, 452-53 (Fed. Cir. 2009) (holding claimed invention obvious

   based on combination of prior art reference and admitted prior art described in the patent).

          An “expansive and flexible approach” should be used in evaluating obviousness. KSR, 550

   U.S. at 415, 419. The question of obviousness is a legal determination based on underlying facts,

   and the “ultimate judgment of obviousness is a legal determination.” KSR, 550 U.S. at 426-27,

   citing Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966). The underlying facts include: (1) the

   scope and content of the prior art; (2) the level of ordinary skill in the art; (3) the differences

   between the claimed invention and the prior art; and (4) any objective indicators of non-

   obviousness, more commonly termed secondary considerations. See Graham, 383 U.S. at 17-18;

   see also Tegal Corp. v. Tokyo Electron Am., Inc., 257 F.3d 1331, 1348 (Fed. Cir. 2001);

   Ecolochem, Inc. v. S. Cal. Edison Co., 227 F.3d 1361, 1379 (Fed. Cir. 2000); Ryko Mfg. Co. v. Nu




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   Star, Inc., 950 F.2d 714 (Fed. Cir. 1991); Smiths Indus. Med. Sys., Inc. v. Vital Signs, Inc., 183

   F.3d 1347, 1353 (Fed. Cir. 1999).

          A patent claim is invalid as obvious under 35 U.S.C. § 103 if the differences between the

   claim and the prior art are such that the claimed subject matter as a whole would have been obvious

   to a person of ordinary skill in the art at the time the invention was made. See Union Carbide

   Plastics & Tech. Corp. v. Shell Oil Co., 308 F.3d 1167, 1187 (Fed. Cir. 2002). The hypothetical

   “person of ordinary skill in the art” is attributed “knowledge of all prior art in the field of the

   inventor’s endeavor and of prior art solutions for a common problem even if outside that field.” In

   re Nilssen, 851 F.2d 1401, 1403 (Fed. Cir. 1988).

          Obviousness may be shown based on a combination of references, or based on a single

   reference even if the reference does not teach the particular claimed combination. See, e.g., Boston

   Scientific Scimed, Inc. v. Cordis Corp., 554 F.3d 982, 989-990 (Fed. Cir. 2009) (reversing district

   court, finding asserted claim obvious based on single reference). There is no absolute requirement

   that each claim limitation be disclosed in a prior art reference. Abbott Labs. v. Sandoz, Inc., 544

   F.3d 1341, 1377 (Fed. Cir. 2008); Takeda Chem. Indus. v. Alphapharm Pty., Ltd., 492 F.3d 1350,

   1356 (Fed. Cir. 2007) (“We have held that structural similarity between claimed and prior art

   subject matter, proved by combining references or otherwise, where the prior art gives reason or

   motivation to make the claimed compositions, creates a prima facie case of obviousness.”

   (emphasis added)); Tegal Corp. v. Tokyo Electron Am., Inc., 257 F.3d 1331, 1349 (Fed.Cir.2001)

   (acknowledging that a claim could be obvious over a single prior art reference that does not

   disclose one of the limitations in the claim); Arendi S.A.R.L. v. Apple Inc., 832 F.3d 1355, 1361

   (Fed. Cir. 2016)(“a patent can be obvious in light of a single prior art reference if it would have

   been obvious to modify that reference to arrive at the patented invention.”).




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          The Supreme Court explained in KSR Int’l Co. v. Teleflex Inc. that “if a technique has been

   used to improve one device, and a person of ordinary skill in the art would recognize that it would

   improve similar devices in the same way, using the technique is obvious unless its actual

   application is beyond his or her skill.” 550 U.S. at 417. A teaching, motivation, or suggestion to

   combine references may be a “helpful insight,” but it is not a requirement for demonstrating

   obviousness. Id. at 418. To teach away from a combination, a reference must expressly “criticize,

   discredit, or otherwise discourage the solution claimed.” In re Fulton, 391 F.3d 1195, 1201 (Fed.

   Cir. 2004). Further, “to determine whether there was an apparent reason to combine the known

   elements in the fashion claimed by the patent at issue,” factors to consider include “interrelated

   teachings of multiple patents; the effects of demands known to the design community or present

   in the marketplace; and the background knowledge possessed by a person having ordinary skill in

   the art.” KSR, 550 U.S. at 417.

          One way to demonstrate that patented subject matter is obvious is to show that “there

   existed at the time of invention a known problem for which there was an obvious solution

   encompassed by the patent’s claims.” Id. at 420. Indeed, “[a]ny need or problem known in the field

   of endeavor at the time of invention and addressed by the patent can provide a reason for

   combining the elements in the manner claimed.” Id. Also, “the fact that a combination was obvious

   to try might show that it was obvious under § 103,” particularly where there was “a design need

   or market pressure to solve a problem and there are a finite number of identified, predictable

   solutions, a person of ordinary skill in the art has good reason to pursue the known options within

   his or her technical grasp. If this leads to the anticipated success, it is likely the product not of

   innovation but of ordinary skill and common sense.” Id. at 421; see also Muniauction, Inc. v.

   Thomson Corp., 532 F.3d 1318, 1327 (Fed. Cir. 2008).




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          a) Secondary Considerations

          Secondary considerations that relate to obviousness or nonobviousness of the subject

   matter of the asserted claims of the patents include (i) whether products practicing those claims

   were commercially successful and whether there is a nexus between the invention and any

   commercial success, (ii) whether there was any long felt need for the claimed invention, and

   whether the claimed invention satisfied that long felt need, (iii) whether the claimed invention was

   or was not praised by others in the field and (iv) whether the accused products were developed

   independently. See Cross, 424 F.3d at 1322-23; Ormco Corp., 463 F.3d at 1311. This list is not

   exhaustive, however, and may also include additional factors related to obviousness or

   nonobviousness. See Graham, 383 U.S. at 17- 18.

          “The patentee bears the burden of showing that a nexus exists between the claimed features

   of the invention and the objective evidence offered to show non-obviousness.” WMS Gaming, Inc.

   v. Int’l Game Tech., 184 F.3d 1339, 1359 (Fed. Cir. 1999). For example, to the extent Plaintiff

   claims “commercial success” or "licensing" of any product suggests non-obviousness, the Plaintiff

   must establish a nexus between the commercial success and the claimed invention. See Wm.

   Wrigley Jr. Co. v. Cadbury Adams USA LLC, 683 F.3d 1356, 1363 (Fed. Cir. 2012) (“for

   commercial success to be probative evidence of non-obviousness, a nexus must be shown between

   the claimed invention and the evidence of commercial success;” affirming district court that no

   sufficient nexus was shown where party did not show success of product “directly attributable” to

   claimed invention.). In determining whether licensure is actual evidence of secondary

   considerations of non-obviousness, the license rate is indicative of whether there was actual value

   to the licensee in taking the license. Thus, the rate paid is an important consideration in whether a

   license constitutes a secondary consideration of non-obviousness. Transocean Offshore




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   Deepwater Drilling, Inc. v. Maersk Drilling USA, Inc., 699 F.3d 1340, 1353 (Fed. Cir. 2012); see

   also John E. Thropp’s Sons Co. v. Seiberling, 264 U.S. 320, 329-30 (1924) (noting that when a

   license has a low royalty rate, the “purchase of peace” may have been the motivation for license

   and thus evidence of licensing is of limited value to patentability).

          It is well settled that evidence of secondary considerations directed to features already

   found in the prior art is not relevant to the obviousness inquiry. See, e.g., Dippin’ Dots, Inc. v.

   Mosey, 476 F.3d 1337, 1345 (Fed. Cir. 2007) (finding that where factors that led to commercial

   success of Dippin’ Dots were present in the prior art, they could not overcome obviousness);

   PharmaStem Therapeutics, Inc. v. ViaCell, Inc., 491 F.3d 1342, 1365 (Fed. Cir. 2007) (recognition

   of patent inventors as “trail-blazers” — even by accused infringers — must be based upon the

   inventive contribution made in order to establish a nexus); Ormco Corp., 463 F.3d at 1312 (“So

   too if the feature that creates the commercial success was known in the prior art, the success is not

   pertinent.”); J.T. Eaton & Co., Inc. v. Atl. Paste & Glue Co., 106 F.3d 1563, 1571 (Fed. Cir. 1997)

   (citing Richdel, Inc. v. Sunspool Corp., 714 F.2d 1573, 1580 (Fed. Cir. 1983)) (“[T]he asserted

   commercial success of the product must be due to the merits of the claimed invention beyond what

   was readily available in the prior art.”); Cephalon Inc. v. Mylan Pharm. Inc., 962 F. Supp. 2d 688,

   720-22 (D. Del. 2013) (Robinson, J.) (evidence of praise, failure of others, and commercial success

   must be sufficiently related to novel aspects of patent).

          Where a patent claim recites a combination of multiple known components with new or

   modified components, even if commercial embodiments of the asserted patent have enjoyed

   commercial success, the patentee must “link that commercial success to the features of its

   invention that were not disclosed in the prior art” to establish nexus. Asyst Techs., Inc. v. Emtrak,

   Inc., 544 F.3d 1310, 1316 (Fed. Cir. 2008); see also Sparton Corp. v. United States, 89 Fed. Cl.




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   196, 239 (2009) (rejecting “presumption” of nexus argued by patentee, requiring patentee to

   demonstrate that the commercial success of a product embodying the claimed invention “must be

   due to the merits of the claimed invention beyond what was readily available in the prior art”

   (distinguishing Demaco Corp. v. F. Von Langsdorff Licensing Ltd., 851 F.2d 1387 (Fed. Cir.

   1988))).

          Moreover, even a defendant’s “[choosing] the shortcut of copying one or more of the

   already well-known designs, now being used by [a competitor] does not indicate that [the patented]

   designs were innovative as compared to the prior art.” Bush Indus., Inc. v. O’Sullivan Indus., Inc.,

   772 F. Supp. 1442, 1458 (D. Del. 1991). Furthermore, a nexus between the copying and the novel

   aspects of the claimed invention must exist for evidence of copying to be given significant weight

   in an obviousness analysis.” Wm. Wrigley, 683 F.3d at 1364 (affirming district court that even

   where Plaintiff showed Defendant sought to copy Plaintiff’s invention, Plaintiff had no evidence

   suggesting that the “novel combination ... is what led [Defendant] to copy [Plaintiff’s products].”)

   Evidence of copying may in fact suggest that there is no nexus to the claimed invention where

   companies “market[] very similar products.” Id. Even in such situations where copying exists,

   therefore, “evidence of copying” may be a “measure of the extent to which parties in the

   [particular] market typically copy any development by their competitors, whether patented or not.”

   Id.

          The existence of secondary considerations “does not control the obviousness

   determination.” Richardson-Vicks Inc. v. Upjohn Co., 122 F.3d 1476, 1483 (Fed. Cir. 1997).

   Where there is a strong case of obviousness, it cannot be overcome by secondary considerations.

   See, e.g., Leapfrog Enters., Inc. v. Fisher-Price, Inc., 485 F.3d 1157, 1162 (Fed. Cir. 2007);




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   Agrizap, Inc. v. Woodstream Corp., 520 F.3d 1337, 1344 (Fed. Cir. 2008); Muniauction, 532 F.3d

   at 1323.

          b) Authenticity and Publication

          To the extent Sonos challenges the authenticity of Defendant’s prior art references,

   Defendants are entitled to rely upon testimony, corroborating documentary evidence, and the

   appearance, contents and distinctive characteristics of references themselves taken in conjunction

   with the circumstances in order to meet Defendant’s “slight” burden of producing evidence

   “sufficient to support a finding that the item is what the proponent claims it is.” Fed. R. Evid.

   901(a); United States v. Reilly, 33 F.3d 1396, 1404 (3d Cir. 1994). The evidence used to

   authenticate a reference need not itself be admissible. Fed. R. Evid. 104(a) (in making a

   determination regarding preliminary questions concerning the admissibility of evidence, a court

   “is not bound by evidence rules, except those on privileges.”).

          To the extent Sonos challenges publication of Defendant’s prior art references, whether

   there is sufficient evidence to conclude that each reference was publicly known or published, as

   those terms are used in the U.S. Patent Act, by “a satisfactory showing that such document has

   been disseminated or otherwise made available to the extent that persons interested and ordinarily

   skilled in the subject matter or art exercising reasonable diligence, can locate it.” Kyocera Wireless

   Corp. v. ITC, 545 F.3d 1340, 1350 (Fed. Cir. 2008).

          c) Priority

          In response to Defendant’s evidence of invalidity, Sonos bears the burden of proving that

   any patent claim is entitled to a priority date earlier than the filing date of the application that

   matured into the patent in which that claim can be found. PowerOasis, Inc. v. T-Mobile USA, Inc.,

   522 F.3d 1299, 1305-06 (Fed. Cir. 2008).




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          Conception must be proven by evidence showing conception of each element of the

   claimed invention to such an extent that all that remains is to undertake the mechanics of reducing

   the invention to practice. The uncorroborated testimony of the inventor cannot be used to support

   a date of conception. “An inventor is entitled to priority based on conception only as of a date

   when the complete conception has been manifested or disclosed in some fashion.” Chisum on

   Patents, § 10.04[2]. “Conception requires an idea to be so “definite and permanent” that “all that

   remains to be accomplished ... belongs to the department of construction.” Dawson v. Dawson,

   710 F.3d 1347, 1355 (Fed. Cir. 2013) (quoting 1 Robinson on Patents 532 (1890)). “Conception

   exists when a definite and permanent idea of an operative invention, including every feature of the

   subject matter sought to be patented, is known. Conception is complete when one of ordinary skill

   in the art could construct the apparatus without unduly extensive research or experimentation.”

   Sewall v. Walters, 21 F.3d 411, 415 (Fed. Cir. 1994); see also Mergenthaler v. Scudder, 11 App.

   D.C. 264, 1897 WL 17698, at *8 (App. D.C. 1897). “Conception must be proven by evidence

   showing what the inventor has disclosed to others and what that disclosure means to one of

   ordinary skill in the art.” Cordance Corp. v. Amazon.com, Inc., 658 F.3d 1330, 1334 (Fed. Cir.

   2011) (internal quotes omitted). “Although the fundamental inquiry in conception is whether the

   inventor held the complete invention in his or her own mind, proof of conception requires objective

   evidence of what the inventor has disclosed to others, and what that disclosure would fairly suggest

   to one of ordinary skill in the art.” In re Jolley, 308 F.3d 1317, 1323 (Fed. Cir. 2002).

   “[C]onception by an inventor, for the purpose of establishing priority, cannot be proved by his

   mere allegation nor by his unsupported testimony where there has been no disclosure to others or

   embodiment of the invention in some clearly perceptible form . . ." Price v. Symsek, 988 F.2d 1187,

   1194-95 (Fed. Cir. 1993) (quoting Mergenthaler); see also Kardulas v. Florida Mach. Prods. Co.,




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   438 F.2d 1118, 1121 (5th Cir. 1971) (“The date of invention cannot be carried back to that of the

   earliest mental conception. There must be a disclosure sufficient to enable one with ordinary skill

   in the art to reduce the invention to practice.”), Cislak v. Wagner, 215 F.2d 275 (C.C.P.A. 1954).

           To the extent that Plaintiffs challenge whether any of Defendant's prior art patents predate

   the relevant date of invention, a prior art patent will serve as prior art as of its earliest effective

   filing date, even if the application to which the later issued patent claimed priority is abandoned.

   In re Wertheim, 646 F.2d 527, 533-34 (C.C.P.A. 1981) (Rich J. writing for majority). The test for

   ensuring that the later issuing patent is entitled to its earliest effective application date for priority

   purposes is whether “the disclosure was contained in substance in the said earliest application.”

   Id. (quoting 35 U.S.C. Sec. 102(e)). That level of disclosure references 35 U.S.C. Sec. 112, which

   the Patent Office reviews in reviewing the later, issuing application for patentability.

       E. INVALIDITY UNDER 35 U.S.C. §112

           a) Written Description

           “The federal patent system . . . embodies a carefully crafted bargain for encouraging the

   creation and disclosure of new, useful, and nonobvious advances in technology and design in

   return for the exclusive right to practice the invention for a period of years.” Bonito Boats, Inc. v.

   Thunder Craft Boats, Inc., 489 U.S. 141, 150-51 (1989). This bargain requires that the patentee

   define precisely what he invented and describe that invention in the patent specification so the

   scope of the invention is clear to the public. Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki

   Co., 535 U.S. 722, 731 (2002). This requirement is codified in the first paragraph of 35 U.S.C. §

   112, which states “[t]he specification shall contain a written description of the invention, and of

   the manner and process of making and using it, in such full, clear, concise, and exact terms as to

   enable any person skilled in the art to which it pertains, or with which it is most clearly connected,




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   to make and use the same….” To fulfill the written description requirement, “the patent

   specification ‘must clearly allow persons of ordinary skill in the art to recognize that [the inventor]

   invented what is claimed.’” Gentry Gallery, Inc. v. Berkline Corp., 134 F.3d 1473, 1479 (Fed. Cir.

   1998) (citations omitted); see also, e.g., LizardTech, Inc. v. Earth Res. Mapping, Inc., 424 F.3d

   1336, 1343-47 (Fed. Cir. 2005); Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563 (Fed. Cir. 1991).

   The written description test “requires an objective inquiry into the four corners of the specification

   from the perspective of a person of ordinary skill in the art” to determine whether the specification

   “describe[s] an invention understandable to that skilled artisan and show[s] that the inventor

   actually invented the invention claimed” as of the filing date. In re Katz Interactive Call Processing

   Patent Litig., 639 F.3d 1303, 1318-20 (Fed. Cir. 2011) (quoting Ariad Pharms., Inc. v. Eli Lilly

   and Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc)).

          A patent fails the statutory written description requirement when the specification does not

   disclose what the claims are construed to cover. Atl. Research Mktg. Sys., Inc. v. Troy, 659 F.3d

   1345, 1352-55 (Fed. Cir. 2011). “[T]he hallmark of written description is disclosure.” Ariad

   Pharms., 598 F.3d at 1351 (en banc). “[T]he written description requirement ensure[s] that the

   scope of the right to exclude, as set forth in the claims, does not overreach the scope of the

   inventor’s contribution . . . as described in the patent ….” In re Katz, 639 F.3d at 1319 (internal

   quotation marks omitted).

              (i) Enablement

          A patent must sufficiently enable one of skill in the art to practice the full scope of each of

   the asserted claims. “This important doctrine prevents both inadequate disclosure of an invention

   and overbroad claiming that might otherwise attempt to cover more than was actually invented.

   Thus, a patentee chooses broad claim language at the peril of losing any claim that cannot be




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   enabled across its full scope of coverage.” MagSil Corp. v. Hitachi Global Storage Techs., Inc.,

   687 F.3d 1377, 1380-81 (Fed. Cir. 2012). The Federal Circuit has held various factors are relevant

   to whether a patent sufficiently enables one of skill in the art to practice the full scope including,

   for example, “the amount of direction or guidance presented,” “the presence or absence of working

   examples,” “the state of the prior art,” and “the breadth of the claims.” Martek Biosciences Corp.

   v. Nutrinova, Inc., 579 F.3d 1363, 1378 (Fed. Cir. 2009) (quoting In re Wands, 858 F.2d 731, 737

   (Fed. Cir. 1988)). Where the specification teaches away from what is sought to be claimed, claims

   are invalid for lack of enablement. See Liebel-Flarsheim Co. v. Medrad, Inc., 481 F.3d 1371, 1380

   (Fed. Cir. 2007).

              (ii) Indefiniteness

          A claim is invalid as indefinite, pursuant to 35 U.S.C. § 112, when a person of ordinary

   skill in the art at the time of the invention would not understand what is claimed and what is not

   claimed in view of the specification. Phillips, 415 F.3d at 1313. Indefiniteness arises when one

   skilled in the art cannot determine whether a given product is within, or outside, the scope of the

   claims. See Morton Int’l v. Cardinal Chem. Co., 5 F.3d 1464, 1470 (Fed. Cir. 1993); see also

   Honeywell Int’l, Inc. v. Int’l Trade Comm’n, 341 F.3d 1332, 1341 (Fed. Cir. 2003). The Federal

   Circuit has made clear that, the issue of indefiniteness “is amenable to resolution by the jury where

   the issues are factual in nature.” BJ Servs. Co. v. Halliburton Energy Servs., Inc., 338 F.3d 1368,

   1371-72 (Fed. Cir. 2003).

   IV. ADDITIONAL AFFIRMATIVE DEFENSES

      A. STATEMENT OF ISSUES

         Whether Defendants obtained intervening rights as a result of the modifications made to
          the claims of the ‘949 Patent during reexamination?

      B. INTERVENING RIGHTS



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      “Intervening rights” is a statutory defense that is set forth in the second paragraph of 35 U.S.C.

   § 252, which provides in part:

                  A reissued patent shall abridge or affect the right of any person or his
          successors in business who made, purchased or used prior to the grant of a reissue
          anything patented by the reissued patent, to continue the use of, or to sell to others
          to be used or sold, the specific thing so made, purchased or used, unless the making,
          using or selling of such things infringes a valid claim of the reissued patent which
          was in the original patent.

          Pursuant to 35 U.S.C. § 307(b), this defense also applies to reexamined patents. D&M’s

   defenses are based on a theory of “absolute” intervening rights. Absolute intervening rights protect

   the right of an infringer of a reexamined patent to use or sell specific things which were made,

   purchased or used before the grant of the reissue patent. See Marine Polymer Techs., Inc. v.

   HemCon, Inc., 672 F.3d 1350, 1362 (Fed. Cir. 2012). These intervening rights must be recognized

   where the accused product or activity infringes a claim that existed in the original patent and

   remains “without substantive change” after reexamination. Id.

          Whether the scope of a reissued claim is identical to the scope of the original claim is a

   question of law. Westvaco Corp. v. Int'l Paper Co., 991 F.2d 735, 741 (Fed. Cir. 1993). “Without

   substantive change” means that the scope of the claim, and not the words used, must be identical.

   Id. In determining whether the scope of the original and reexamined claims is identical, a court

   must consider the particular facts, the prior art, the prosecution history, the references that

   occasioned the reexamination and any other relevant information. See Laitram Corp. v. NEC

   Corp., 163 F.3d 1342, 1347 (Fed. Cir. 1998).

          Both apparatus and method claims are subject to absolute intervening rights. See, e.g.,

   MonoSol Rx, LLC v. Biodelivery Scis. Int'l, Inc., No. CIV. 10-5695 FLW/DEA, 2015 WL 5679891,

   at *17 (D.N.J. Sept. 25, 2015). Intervening rights must extend not only to products that are asserted

   to infringe a modified product claim, but also to processes that were used to make those specific



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   products, if those processes are asserted to infringe a modified process claim. See D.I. 428 at 7.

          This analysis may be conducted based on a plain reading of the claims. Id. at 1348. The

   Federal Circuit has further held that amendments made to overcome a prior art rejection during

   reexamination are “a highly influential piece of prosecution history,” and that it “is difficult to

   conceive of many situations in which the scope of a rejected claim that became allowable when

   amended is not substantively changed by the amendment . . . .” Id.

   V. DAMAGES

      A. STATEMENT OF ISSUES

         Assuming that the Asserted Patents are valid and infringed, whether Sonos is entitled to
          lost profits damages?

         Assuming that the Asserted Patents are valid and infringed, the appropriate calculation of
          reasonable royalty damages owed to Sonos?

         Assuming that the Asserted Patents are valid and infringed, the amount of damages owed
          to Sonos?

         Assuming that the Asserted Patents are valid, infringed, whether Sonos is entitled to
          prejudgment interest, postjudgment interest, or costs?

         Assuming that the Asserted Patents are valid, infringed, whether Sonos is entitled to
          attorneys’ fees?

      B. LOST PROFITS

          To recover lost profits, the patent owner must show ”causation in fact,” establishing that

   “but for” the infringement, he would have made additional profits. Grain Processing Corp. v. Am.

   Maize-Prod. Co., 185 F.3d 1341, 1349 (Fed. Cir. 1999). Simply because a patentee is entitled to

   “full compensation” for the alleged infringement does not entitle the patentee to lost profits in the

   absence of “but for” causation. Id. at 1352-53. When basing the alleged lost profits on lost sales,

   the patent owner has an initial burden to show a reasonable probability that he would have made

   the asserted sales “but for” the infringement. Id. Once the patent owner establishes a reasonable


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   probability of “but for” causation, “the burden then shifts to the accused infringer to show that the

   patent owner’s “but for” causation claim is unreasonable for some or all of the lost sales. Id.

          Apportionment to the value of the patented feature is required even for non-royalty forms

   of damages. Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014). Where a

   multi-component product is at issue and the patented feature is not the item which imbues the

   combination of the other features with value, care must be taken to avoid misleading the jury by

   placing undue emphasis on the value of the entire product. Id. “Under the entire market value

   rule applicable to lost profits awards, a patentee must prove the invention in suit created consumer

   demand for the patented and infringing products.” Rite-Hite Corp, Inc. v. Kelley Co., 56 F.3d 1538,

   1557(Fed. Cir. 1995).

          Under some circumstances, the following factors are relevant for assessing lost profits: (1)

   demand for the patented product; (2) absence of acceptable non-infringing alternatives; (3)

   manufacturing and marketing capability to exploit the demand; and (4) the amount of profit it

   would have made. Rite-Hite, 56 F.3d at 1545 (en banc) (citing Panduit Corp. v. Stahlin Bros.

   Fibre Works, Inc., 575 F.2d 1152, 1156 (6th Cir. 1978)).

          The first factor—demand for the patented product—considers demand for the product as a

   whole. DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1330–31 (Fed. Cir.

   2009). The second factor—the absence of non-infringing alternatives—considers demand for

   particular limitations or features of the claimed invention. Id. at 1331. Together, these two factors

   requiring patentees to prove (a) demand for the product as a whole and (b) the absence of non-

   infringing alternatives, must tie lost profit damages to specific claim limitations and ensures that

   damages are commensurate with the value of the patented features. See Presidio Components, Inc.

   v. Am. Tech. Ceramics Corp., 702 F.3d 1351, 1361 (Fed. Cir. 2012) (“[P]roducts lacking the




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   advantages of the patented invention can hardly be termed a substitute acceptable to the customer

   who wants those advantages.” (quotations omitted)); Grain Processing, 185 F.3d at 1354),

   (holding that customers would have found a particular claim limitation “irrelevant,” so the patentee

   could not rely on that limitation for the second Panduit factor).

          Under the second factor, if there is a noninfringing alternative which any given purchaser

   would have found acceptable and bought, then the patentee cannot obtain lost profits for that

   particular sale. Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1286 (Fed. Cir. 2017)

   (emphasis added). For example, if the customer would have bought the infringing product without

   the patented feature or with a different, non-infringing alternative to the patented feature, then the

   patentee cannot establish entitlement to lost profits for that particular sale.       Id.   And this

   determination is made on a customer-by-customer basis. Id.

          The availability of non-infringing alternatives affects the scope of the relevant market for

   which a lost profits analysis is based. See Grain Processing., 185 F.3d at 1356. The patentee must

   present reliable economic proof of the market that establishes an accurate context to project the

   likely results “but for” infringement. Id. The availability of substitutes invariably will influence

   the market forces defining this “but for” marketplace. Id. A substitute need not be openly on sale

   to exert its influence. Id. An acceptable substitute not on the market during infringement may

   nonetheless become part of the lost profits calculus and therefore limit or preclude those damages.

   Id.

          With multi-component products, it may often be the case that no one patentee can obtain

   lost profits on the overall product. Id. at 1289. A patentee cannot obtain lost profits unless it and

   only it could have made the sale—there are no non-infringing alternatives or, put differently, the

   customer would not have purchased the product without the infringing feature. Id.




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      C. REASONABLE ROYALTY

      If a patent is proven infringed and valid, then a patentee is entitled to no less than a reasonable

   royalty. 35 U.S.C. § 284. The patentee must in every case give evidence tending to separate or

   apportion the defendant’s profits and the patentee’s damages between the patented features and

   the unpatented features or show that the entire value of the whole machine, as a marketable article,

   is properly and legally attributable to the patented feature. Uniloc USA, Inc. v. Microsoft Corp.,

   632 F.3d 1292, 1318 (Fed. Cir. 2011); see also Helios Software, LLC v. SpectorSoft Corp., No.

   CV 12-081-LPS, 2014 WL 4796111, at *5 (D. Del. Sept. 18, 2014), modified in part on other

   grounds, No. CV 12-081-LPS, 2015 WL 3622399, (D. Del. June 5, 2015). Where small elements

   of multi-component products are accused of infringement, calculating a royalty on the entire

   product carries a considerable risk that the patentee will be improperly compensated for non-

   infringing components of that product. LaserDynamics, Inc. v. Quanta Comp., Inc., 694 F.3d 51,

   67 (Fed. Cir. 2012).

          Generally, royalties must be based upon the “smallest salable unit.” The only exception to

   the apportionment requirement is evidence demonstrating that the entire market value of the

   accused product is properly and legally attributable to the patented feature. Helios Software, 2014

   WL 4796111, at *6 (citing Uniloc, 632 F.3d at 1318). In other words, patentees must apportion

   the royalty down to a reasonable estimate of the value of its claimed technology, or else establish

   that its patented technology drove demand for the entire product. Virnetx, Inc. v. Cisco Sys., Inc.,

   767 F.3d 1308, 1329 (Fed. Cir. 2014).

          The entire market value rule allows calculation of damages based on the value of an entire

   apparatus containing several features, when the patent-related feature is the basis for customer

   demand. Imonex Servs., Inc. v. W.H. Munzprufer Dietmar Trenner GMBH, 408 F.3d 1374, 1380




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   (Fed. Cir. 2005). The “entire market value” rule requires a higher degree of proof that the presence

   of the patented functionality is what motivates consumers to buy the accused product in the first

   place.” Helios Software, 2014 WL 4796111, at *6 (citing LaserDynamics, 694 F.3d at 68). It is

   not enough to merely show that the patented feature is viewed as valuable, important, or even

   essential. Proof that consumers would not want the accused product as a whole without its many

   features is not tantamount to proof that any one of those features alone drives the market for the

   accused product. LaserDynamics, 694 F.3d at 68.

      D. PREJUDGMENT INTEREST, POSTJUDGMENT INTEREST, AND COSTS

          “Prejudgment interest is awarded to compensate for the delay in payment of the damages,

   and not to punish the infringer.” Lam, Inc. v. Johns-Manville Corp., 718 F.2d 1056, 1066 (Fed.

   Cir. 1983). Although prejudgment interested “should ordinarily be awarded,” the Court has

   discretion to limit, or deny entirely, prejudgment interest where appropriate. Gen. Motors Corp. v.

   Devex Corp., 461 U.S. 648, 655-57 (1983). “For example, it may be appropriate to limit

   prejudgment interest, or perhaps even deny it altogether, where the patent owner has been

   responsible for undue delay in prosecuting the lawsuit.” Id. at 657; see also Crystal Semiconductor

   Corp. (need full cite here), 246 F.3d at 1362 (“[T]he district court acted within its discretion in

   denying Crystal prejudgment interest.”). “[P]rejudgment interest cannot be awarded on the

   punitive or enhanced portion of a damages award.” Underwater Devices Inc. v. Morrison- Knudsen

   Co., 717 F.2d 1380, 1389 (Fed. Cir. 1983), overruled on other grounds by In re Seagate Tech.,

   LLC, 497 F.3d 1360 (Fed. Cir. 2007); Lam, 718 F.2d at 1066. The applicable interest rate is left to

   the discretion of the Court; however, in exercising its discretion, the Court “must be guided by the

   purpose of prejudgment interest, which is ‘to ensure that the patent owner is placed in as good a

   position as he would have been had the infringer entered into a reasonable royalty agreement.’”




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   Bio-Rad Labs., Inc. v. Nicolet Instrument Corp., 807 F.2d 964, 969 (Fed. Cir. 1986) (quoting Gen.

   Motors, 461 U.S. at 654). “Postjudgment interest is awarded on monetary judgments recovered in

   all civil cases.” Transmatic, Inc. v. Gulton Indus., Inc., 180 F.3d 1343, 1347 (Fed. Cir. 1999).

   Pursuant to 28 U.S.C. § 1961, interest shall be computed daily to the date of payment and shall be

   compounded annually.

          Federal Rule of Civil Procedure 54(d) states that “costs should be allowed to the prevailing

   party.” Under 28 U.S.C. § 1920, the prevailing party may recover the following costs: (1) fees of

   the clerk and marshal; (2) fees for printed or electronically recorded transcripts necessarily

   obtained for use in this case; (3) fees and disbursements for printing and witnesses; (4) fees for

   exemplification and the costs of making copies of any materials where the copies are necessarily

   obtained for use in the case; (5) docket fees under 28 U.S.C. § 1923; and (6) compensation of court

   appointed experts, compensation of interpreters, and salaries, fees, expenses, and costs of special

   interpretation services under 28 U.S.C. § 1828. See also D. Del. LR 54.1.

      E. ATTORNEY’S FEES

          35 U.S.C. § 285 provides that “[t]he court in exceptional cases may award reasonable

   attorney fees to the prevailing party.” In Octane Fitness, LLC v. ICON Health & Fitness, Inc., the

   Supreme Court construed the text of 35 U.S.C. § 285 and rejected the prevailing framework for

   evaluating whether a case is “exceptional” under Section 285 as unduly restrictive. 134 S. Ct. 1749,

   1755 (2014). The Court held that, in accordance with its ordinary meaning, an “‘exceptional’ case

   is simply one that stands out from others with respect to the substantive straight of a party’s

   litigating position . . . or the unreasonable manner in which the case was litigated,” to be

   determined at the district court’s discretion under the totality of the circumstances based on a

   preponderance of the evidence. Id. at 1756, 1758.




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             The Court in Octane Fitness also rejected the litigation misconduct portion of the previous

   standard as too restrictive because “sanctionable conduct is not the appropriate benchmark.” Id. at

   1756. Rather, a district court may award fees in the rare case in which a party’s unreasonable

   conduct is “exceptional” enough to justify an award of fees for conduct that may not be

   independently sanctionable. Id. at 1757. “[A] district court may award minimal or no fees after

   considering the amount of success to the prevailing party.” SSL Servs. LLC v. Citrix Sys. Inc., 769

   F.3d 1073, 1087 (Fed. Cir 2014).

   VI.       INJUNCTIVE RELIEF

         A. ISSUES TO BE LITIGATED

            In the event the Asserted Claims are found infringed and not invalid, whether Sonos is
             entitled to injunction relief.

         B. AN EXTRAORDINARY REMEDY

         A permanent injunction is an extraordinary remedy. Nken v. Holder, 556 U.S. 418, 428 (2009);

   R.R. Comm’n of Tex. v. Pullman Co., 312 U.S. 496, 500 (1941). A successful plaintiff is not

   entitled to injunctive relief as a matter of course, but must make a showing that the circumstances

   require the Court to enter an injunction. Salazar v. Buono, 559 U.S. 700, 714 (2010); Harrisonville

   v. W.S. Dickey Clay Mfg. Co., 289 U.S. 334, 337-38 (1933). “An injunction should issue only

   where the intervention of a court of equity ‘is essential in order effectually to protect property

   rights against injuries otherwise irremediable.’” Weinberger v. Romero-Barcelo, 456 U.S. 305,

   312 (1982) (quoting Cavanaugh v. Looney, 248 U.S. 453, 456 (1919)).

         The U.S. Supreme Court has set forth a four-factor test to determine whether the remedy on an

   injunction is warranted in a particular case. Specifically, the plaintiff bears the burden of showing:


             1. that plaintiff has suffered an irreparable injury;

             2. that remedies available at law, such as monetary damages, are inadequate to


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                compensate for that injury;

          3. that, considering the balance of hardships between the plaintiff and defendant, a
             remedy in equity is warranted; and

          4. that the public interest would not be disserved by a permanent injunction.

   eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 390 (2006); i4i Ltd. P’ship v. Microsoft Corp.,

   598 F.3d 831, 861 (Fed. Cir. 2010), aff’d, 131 S. Ct. 2238 (2011).

          Further, although “[t]he essential attribute of a patent grant is that it provides a right to

   exclude competitors from infringing the patent,” Acumed LLC v. Stryker Corp., 551 F.3d 1323,

   1328 (Fed. Cir. 2008), the Supreme Court in eBay made it clear that the statutory right to exclude

   under patent law does not justify a general rule favoring injunctions in patent cases. eBay, 547

   U.S. at 392.

          A district court’s decision to grant or deny an injunction is discretionary and depends on

   the facts of each case. See Windsurfing Int’l, Inc. v. AMF, Inc., 782 F.2d 995, 1002 (Fed. Cir.

   1986); Hynix Semiconductor Inc. v. Rambus Inc., 609 F. Supp. 2d 951, 966 (N.D. Cal. 2009) (“a

   court must structure injunctive relief based on each case’s granular facts”). Accordingly, the

   specific facts of each particular case are highly significant to the Court’s decision on whether to

   grant an injunction.

          a) eBay Factor #1 – Irreparable Injury

   “To satisfy the first eBay factor, the patentee must show that it is irreparably harmed by the

   infringement.” Apple Inc. v. Samsung Elecs. Co., 809 F.3d 633, 639 (Fed. Cir. 2015).

                (i) “Causal Nexus” Test

          “This [factor] requires proof that a ‘causal nexus relates the alleged harm to the alleged

   infringement.’” Id. “This just means that there must be proof that the infringement causes the

   harm.” Id.



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   As the Federal Circuit has stated:

          We hold that the district court was correct to require a showing of some causal
          nexus between Samsung’s infringement and the alleged harm to Apple as part of
          the showing of irreparable harm. To show irreparable harm, it is necessary to show
          that the infringement caused harm in the first place. Sales lost to an infringing
          product cannot irreparably harm a patentee if consumers buy that product for
          reasons other than the patented feature. If the patented feature does not drive the
          demand for the product, sales would be lost even if the offending feature were
          absent from the accused product. Thus, a likelihood of irreparable harm cannot be
          shown if sales would be lost regardless of the infringing conduct. See Voda v.
          Cordis Corp., 536 F.3d 1311, 1329 (Fed. Cir. 2008) (explaining that “the district
          court did not clearly err in finding that [the plaintiff] failed to show that
          [defendant’s] infringement caused him irreparable injury”) (emphasis in original).
          ...
          [W]e conclude that the district court was correct to require a nexus between
          infringement of the patent and some market-based injury, be it as a result of
          consumer preference or some other kind of causal link. Absent such a showing,
          Apple cannot establish a likelihood of irreparable harm necessary for a preliminary
          injunction.

   Apple, Inc. v. Samsung Electronics Co., Ltd., 678 F.3d 1314, 1324, 1327 (Fed. Cir. 2012).

              (ii) Considerations

          Direct Competition. “Courts . . . have frequently focused upon the nature of the

   competition between plaintiff and defendant in the relevant market in the context of evaluating

   irreparable harm and the adequacy of money damages.” INVISTA N. Am. S.a.r.l. v. M&G USA

   Corp., 35 F. Supp. 3d 583, 608 (D. Del. 2014) (citing TruePosition Inc. v. Andrew Corp., 568 F.

   Supp. 2d 500, 531 (D. Del. 2008)). Indeed, the plaintiff’s status as a competitor or non-competitor

   of the defendant weighs heavily in the court’s determination whether to grant injunctive relief.

   “Where two companies are in competition against one another, the patentee suffers the harm –

   often irreparable – of being forced to compete against products that incorporate and infringe its

   own patented inventions.” Douglas Dynamics, LLC v. Buyers Prods. Co., 717 F.3d 1336, 1345

   (Fed. Cir. 2013); Advanced Cardiovascular Sys., Inc. v. Medtronic Vascular, Inc., 579 F. Supp. 2d

   554, 558 (D. Del. 2008) (“Courts awarding permanent injunctions typically do so under



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   circumstances where plaintiff practices its invention and is a direct market competitor.”).

          “Courts awarding permanent injunctions typically do so under circumstances in which the

   plaintiff practices its invention and is a direct market competitor.” INVISTA, 35 F. Supp. 3d at 608

   (citations omitted). “Plaintiffs also frequently succeed when their patented technology is at the

   core of their business, and/or where the market for the patented technology is volatile or still

   developing.” Id. (citations omitted).

          However, this Court has stated that minimal loss in plaintiff’s market share is insufficient

   to warrant an injunction:

          A mere showing that Apple might lose some insubstantial market share as a result
          of Samsung’s infringement is not enough. As the Supreme Court has pointed out,
          a party seeking injunctive relief must make “a clear showing” that it is at risk of
          irreparable harm, [Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)],
          which entails showing “a likelihood of substantial and immediate irreparable
          injury,” O'Shea v. Littleton, 414 U.S. 488, 502 [ ] (1974). See Weinberger, 456 U.S.
          at 311 (holding that an injunction should not issue as a matter of course for
          irreparable harm that is “merely trifling”).

   Apple, 678 F.3d at 1324. See also IGT v. Bally Gaming Int’l., Inc., 675 F. Supp. 2d 487, 489-93

   (D. Del. 2009) (finding that while the parties appeared to be competitors, there was insufficient

   evidence, including no evidence of specific market percentages and other information, and thus

   denying injunction); Weinberger v. Romero–Barcelo, 456 U.S. 305, 311 (1982) (holding that an

   injunction should not issue as a matter of course for irreparable harm that is “merely trifling”).

              (iii) Injunction Cannot Be Used For Leverage

          It is not a permissible reason for a court to issue an injunction based on the plaintiff

   claiming that loss of negotiating power without an injunction is in irreparable injury. See eBay,

   547 U.S. at 396 (Kennedy, J., concurring) (an injunction is not meant to be employed “as a

   bargaining tool to charge exorbitant fees” or to allow for “undue leverage in negotiations”); Foster

   v. Am. Mach. & Foundry Co., 492 F.2d 1317, 1324 (2d Cir. 1974) (an injunction “is not intended



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   as a club to be wielded by a patentee to enhance his negotiating stance”); Hynix Semiconductor,

   609 F. Supp. 2d at 983 n.29 (denying injunction where patentee’s “motivation in seeking an

   injunction is less about preventing irreparable harm and more about extracting punishment or

   leverage in negotiating with” infringer); MercExchange, L.L.C. v. eBay, Inc., 500 F. Supp. 2d 556,

   582 (E.D. Va. 2007) (“Utilization of a ruling in equity as a bargaining chip suggests both that such

   party never deserved a ruling in equity and that money is all that such party truly seeks, rendering

   monetary damages an adequate remedy in the first instance.”); Ricoh, 2010 WL 1607908, at *4

   (denying injunction where it “would [not] serve any purpose other than to increase [patentee’s]

   leverage in negotiations for a higher licensing fee”).

              (iv) Plaintiff’s Litigation Costs

          The plaintiff’s litigation costs do not support alleged irreparable harm. “Litigation costs are

   undoubtedly undesirable and may take funds away from other endeavors, but they are not an

   irreparable harm in the injunction calculus.” ActiveVideo Networks, Inc. v. Verizon Commc’ns,

   Inc., 694 F.3d 1312, 1337 (Fed. Cir. 2012) (citing Innogenetics, N.V. v. Abbott Labs., 512 F.3d

   1363, 1381 n. 8 (Fed. Cir. 2008) (“If litigation costs were a factor, injunctive relief would be

   warranted in every litigated patent case.”).

          b) eBay Factor #2 – Availability of Adequate Remedies at Law

          The first two eBay factors are often assessed together. See ActiveVideo, 694 F.3d at 1337

   (“[T]he issues of irreparable harm and adequacy of remedies at law are inextricably intertwined.”);

   Acumed, 551 F.3d at 1327 (treating “the first two factors, irreparable harm and lack of an adequate

   remedy at law, in connection with each other”); MercExchange, 500 F. Supp. 2d at 569 n.11 (“The

   irreparable harm inquiry and remedy at law inquiry are essentially two sides of the same coin . . .

   .”).




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           Monetary damages are inadequate to compensate a plaintiff where the plaintiff would be

   forced to compete against a rival gaining market share with plaintiff’s technology. See E.I. Dupont

   De Nemours, 2017 U.S. Dist. LEXIS 146949 at *4-5 (citing Douglas, 717 F.3d at 1345) (“[M]ere

   damages will not compensate for a competitor’s increasing share of the market, a market which

   [the plaintiff] competes in, and a market that [the plaintiff] has in part created with its investment

   in patented technology.”). Moreover, at least in the E.I. Dupont De Nemours case, the Delaware

   court found that a monetary royalty to obviate an injunction would have to be greater than or equal

   to plaintiff’s profit margin. Id.

           c) eBay Factor #3 – Balance of Hardships

           This factor entails assessing the respective hardships that the grant or denial of an

   injunction would visit on the respective parties. To the extent that monetary relief is deemed

   adequate to compensate the plaintiff for any future injury it is likely to suffer largely indicates that

   denial of an injunction would not work any undue hardship on the plaintiff with respect to its

   entitlement to meaningful and complete relief on its claim. See ActiveVideo, 694 F.3d at 1341 (“It

   is certainly true that ActiveVideo would suffer substantial hardship if it was not compensated for

   Verizon’s infringement. But there is no evidence that an injunction is necessary to avoid hardship

   to ActiveVideo.”); XpertUniverse v. Cisco Sys., Inc., 2013 WL 6118447, *13 (D. Del. Nov. 20,

   2013) (“As explained in the context of [the patentee’s] claim of irreparable injury, [the patentee]

   has not shown that it would substantially benefit from an injunction, nor that it would suffer

   additional harm without one.”); Soverain Software LLC v. Newegg Inc., 836 F. Supp. 2d 462, 482

   (E.D. Tex. 2010) (“Because Soverain has not shown irreparable harm in the absence of a

   permanent injunction, any harm Soverain might suffer can be adequately remedied through the

   recovery of monetary damages . . . .”).




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          This factor weighs against the grant of an injunction where the injunction would have

   substantial adverse effect on a defendant’s business. See CardSoft, Inc. v. VeriFone Holdings, Inc.,

   2013 WL 5862762, at *1 (E.D. Tex. Oct. 30, 2013) (“The Court finds that the cost and burden

   associated with switching Defendants’ customers to non-infringing systems weighs against

   granting a permanent injunction.”); VirnetX Inc. v. Apple Inc., 925 F. Supp. 2d 816, 846-47 (E.D.

   Tex. 2013) (Apple “bears a considerable burden to comply with the proposed injunction . . . . [A]n

   injunction would not only harm Apple, but also its customers and other third parties.”); Fractus,

   S.A. v. Samsung Elecs. Co., 876 F. Supp. 2d 802, 854 (E.D. Tex. 2012) (“Fractus’s requested

   injunction will severely hamper Samsung’s cell phone business, but most importantly, it will

   significantly disrupt related third-party businesses such as Samsung’s suppliers and customers.”);

   LaserDynamics, Inc. v. Quanta Computer, Inc., 2010 WL 2574059, at *3 (E.D. Tex. June 22,

   2010) (“[A]n injunction would not only interrupt [defendant’s] business but also that of related

   businesses, including suppliers and customers of [the defendant].”).

          To the extent a plaintiff claims that an adjudged infringer should not be heard to complain

   if a sought injunction would destroy the infringer’s business, courts have found that “[t]aken to its

   logical limits, that proposition would effectively preempt consideration of the ‘balance of

   hardships’ factor in any case in which infringement [ ] has been found.” Sabatino Bianco v. Globus

   Medical, Inc., 2014 U.S. Dist. LEXIS 35256, *35-36 (E.D. Tex. Mar. 17, 2014). Recognizing that

   point, the Federal Circuit has stated that consideration of a judgement against the infringer “does

   not overcome the equities of a case.” Standard Havens Prods. v. Gencor Indus., 897 F.2d 511, 515

   (Fed. Cir. 1990); see Hynix Semiconductor, 609 F. Supp. 2d at 970 (stating that to ignore the harm

   to the infringer because arguably “it cannot be heard to complain” runs contrary to eBay’s mandate

   to “consider[] the balance of hardships between the plaintiff and defendant.”) (citation omitted).




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   However, a party “should not be permitted to prevail on a theory that ‘successful exploitation of

   infringing technology shields [that] party from injunctive relief,’” Broadcom Corp. v. Qualcomm

   Inc., 543 F.3d 683, 704 (Fed. Cir. 2008), and thus that successful exploitation of an infringing

   product does not itself justify freeing the infringer from the burden of an injunction. See i4i Ltd.

   P’ship, 598 F.3d at 863 (“[N]either commercial success, nor sunk development costs, shield an

   infringer from injunctive relief. [The defendant] is not entitled to continue infringing simply

   because it successfully exploited its infringement.”) (citations omitted).

          d) eBay Factor #4 – Public Interest

          The final eBay factor asks whether “the public interest would not be disserved by a

   permanent injunction.” eBay, 547 U.S. at 391. Although the heart of the patent grant is the right to

   exclude, see 35 U.S.C. § 154(a)(1) (“Every patent shall contain . . . a grant to the patentee . . . of

   the right to exclude others from making, using, offering for sale, or selling the invention throughout

   the United States.”), and enforcing the right to exclude serves the public interest, the public interest

   factor requires consideration of other aspects of the public interest. See ActiveVideo, 694 F.3d at

   1341 (citing 7 Donald A. Chisum, Chisum on Patents § 20.04[2][c][vii] (2009) (“The proper

   question on the public interest should be: will an injunction harm a specific public interest that

   outweighs the public's interest in a robust patent system?”) (internal citations and quotation marks

   omitted)).




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              SCHEDULE D1
Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 148 of 438 PageID #: 43746



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

   SONOS, INC.,                        )
                                       )
                     Plaintiff,        )
                                               Civil Action No. 14-1330-RGA
                                       )
                     v.                )       JURY TRIAL DEMANDED
                                       )
   D&M HOLDINGS INC. d/b/a THE         )
   D+M GROUP, D&M HOLDINGS U.S.        )
   INC., and DENON ELECTRONICS         )
   (USA), LLC,                         )
                                       )
                     Defendants.       )


                              SONOS’S LIST OF WITNESSES




                                           1
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           Plaintiff Sonos, Inc. (“Sonos”) respectfully submits this list of witnesses that it may call

   to testify at trial either in person or by deposition during Sonos’s case-in-chief, in support of the

   issues on which Sonos bears the burden of proof.

           Sonos reserves the right to call rebuttal witnesses who are not listed below to testify at

   trial either in person or by deposition in response to the testimony offered by Defendants D&M

   Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and Denon Electronics (USA),

   LLC (collectively, “D&M”) and/or with respect to any defenses or issues on which D&M bears

   the burden of proof.

           Sonos further reserves the right to call additional witnesses to testify at trial either in

   person or by deposition to provide foundation testimony should any party contest the authenticity

   or admissibility of any material proffered at trial. After the parties exchange objections to such

   materials, Sonos will address this issue with D&M and/or the Court, and will provide notice of

   any additional witnesses it will or may call to establish the authenticity and admissibility of

   materials to be proffered at trial.

           Sonos’s list of potential witnesses for its case-in-chief is made to comply with the Court’s

   Order and the parties’ agreements and to preserve its rights, based on the present status of the

   case. The parties will exchange objections and motions in limine and otherwise present to the

   Court disputes regarding the issues and evidence to be presented to the jury and the relevancy

   and admissibility of certain testimony and exhibits. Sonos’s list of potential witnesses does not

   waive Sonos’s right to object to certain categories of evidence as irrelevant or otherwise

   inadmissible, and does not waive its right to pursue motions in limine. Until the Court addresses

   and rules on such disputes, Sonos reserves its rights to make final decisions regarding what

   witnesses to call, and what exhibits to proffer. The inclusion of a witness on Sonos’s list of




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   potential witnesses does not represent or otherwise require that Sonos call that witness to testify,

   does not constitute a representation that Sonos will bring an identified potential witness to trial,

   and does not mean that Sonos has the power to compel the attendance or live testimony of that

   potential witness.

          Sonos’s listing of potential witnesses and designations of deposition testimony for its

   case-in-chief is also made based on Sonos’s present understanding of the trial date, the

   availability of potential witnesses, and the issues. In the event that an individual whom Sonos

   identified as a potential witness is not available for trial or otherwise cannot testify in person,

   Sonos may designate a replacement witness to testify either in person or by deposition, and will

   provide reasonable notice to D&M.

          After the parties complete their pretrial exchanges and the Court rules on motions or

   other disputes that are presented during pretrial, Sonos reserves the right to further clarify the

   witness it will call and whether the respective witnesses will provide their testimony in person or

   by deposition.

          Subject to the foregoing, Sonos’s current list of witnesses that it may call to testify at trial

   either in person or by deposition during Sonos’s case-in-chief is set forth below.

   I.     WITNESSES THAT SONOS WILL OR MAY CALL IN PERSON

          Sonos’s current list of witnesses that it will or may call to testify in person at trial during

   Sonos’s case-in-chief is as follows:

          1.        Andrew Schulert

          2.        Nicholas Millington

          3.        Robert Lambourne

          4.        Michael Papish




                                                      3
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          5.      David Feick

          6.      Thomas Cullen

          7.      Dr. Kevin C. Almeroth

          8.      Michael E. Tate

          9.      Dr. Andrew Wolfe

   II.    WITNESSES THAT SONOS LIKELY WILL NOT CALL IN PERSON

          Sonos’s current list of witnesses that it likely will not call to testify at trial during Sonos’s

   case-in-chief is as follows:

          1.      Jonathan Lang

          2.      Michael Groeninger

          3.      Jon Cotter

          4.      Tad Coburn

          5.      Christopher Kallai

   III.   WITNESSES THAT SONOS WILL OR MAY CALL BY DEPOSITION

          Sonos’s current list of witnesses that it will or may call to testify by deposition at trial

   during Sonos’s case-in-chief is as follows:

          1.      Brendan Stead

          2.      Evan Stuart-Muirk

          3.      Peter Celinski

          4.      Christopher Commons

          5.      Satoshi Fukuzuka

          6.      Martin Wachter

          7.      Kevin Zarrow




                                                     4
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          8.      Nicholas Murrells

          9.      Samuel Baxter

          In the event that D&M calls any of the above witnesses to testify in person at trial, Sonos

   also reserves the right to question any of the above witnesses fully in person at trial, and to call

   such witnesses in person at trial during Sonos’s rebuttal case.

   IV.    WITNESSES CALLED BY D&M

          Sonos reserves the right to call live or by deposition any of the witnesses that D&M calls

   live or by deposition.




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                     SCHEDULE D2
Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 154 of 438 PageID #: 43752



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   SONOS, INC.,                                    §
                                                   §
                           Plaintiff,              §
                                                   §       C.A. No. 14-1330 (RGA)
   v.                                              §
                                                   §       JURY TRIAL DEMANDED
   D&M HOLDINGS INC. d/b/a THE                     §
   D+M GROUP, D&M HOLDINGS U.S.                    §
   INC., and DENON ELECTRONICS                     §
   (USA), LLC,                                     §
                                                   §
                           Defendants.             §

                              DEFENDANTS’ TRIAL WITNESS LIST

          Defendants D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and

   Denon Electronics (USA), LLC (collectively, “Defendants”), pursuant to the Court’s Scheduling

   Order (Dkt No. 65), issued on August 25, 2015, serve this Witness List for identification and

   categorization of trial witnesses.

          Defendants make no representation that each or any of the witnesses on this list will

   ultimately be able to attend trial. Defendants have made its designation of live witnesses based

   on Defendants’ good faith belief as to which witnesses will be able to attend. Defendants do not

   know the precise nature or scope of the testimony and evidence that Sonos may seek to present at

   trial. As such, Defendants reserve the right to modify, amend or supplement this list throughout

   the trial based on case developments, including but not limited to the right (1) to call some of the

   witnesses listed, (2) call, live or by deposition as its witness at trial, any witness identified on

   Sonos’s witness lists, and any witnesses necessary to authenticate or lay the foundation for the

   introduction of documents to which Sonos objects (including but not limited to custodian of

   records or authors of prior art), (3) add additional witnesses to testify live or by deposition (4)

   introduce deposition testimony as impeachment evidence, or (5) change a witness from a live
   DEFENDANTS TRIAL WITNESS LIST—PAGE 1
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   witness to a witness testifying by deposition, and vice versa. Defendants also reserve the right to

   supplement or modify this list in response to rulings by the Court (including on any motions).

   Defendants include in this list individuals who may be listed on Sonos’s witness list without

   prejudice to its right to object to Sonos’s presentation of those witnesses at trial, the admissibility

   of all or part of those witnesses’ testimony, or Defendants’ right to move for the exclusion of

   those witnesses’ testimony.

          At this time, Defendants identify the following witnesses for trial:

                                 WITNESS                                     LIVE OR BY VIDEO
                                                                            _____________________
                                                                              WILL CALL (WC)/
                                                                              MAY CALL (MC)/
                                                                             LIKELY WILL NOT
                                                                                CALL (LWNC)
                               John Bone                                             WC – live
                         Stout Risius Ross, Inc.
                   1100 Connecticut Avenue, N.W.,
                                Suite 825
                         Washington, DC 20036
              (Contact through Defendant’s Counsel Only)
                               Jay Kesan                                             WC – live
                         2709 Windward Blvd.
                         Champaign, IL 61821
              (Contact through Defendant’s Counsel Only)
                              Harry Bims                                             WC – live
                           1314 Chilco Street
                         Menlo Park, CA 94025
              (Contact through Defendant’s Counsel Only)

                             Brendon Stead                                           WC - live
                          100 Corporate Drive
                       Mahwah, N.J. 07430-2041
              (Contact through Defendant’s Counsel Only)
                           Evan Stuart-Muirk                                MC – live or by deposition
                          100 Corporate Drive
                       Mahwah, N.J. 07430-2041
              (Contact through Defendant’s Counsel Only)


   DEFENDANTS TRIAL WITNESS LIST—PAGE 2
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                            WITNESS                        LIVE OR BY VIDEO
                                                          _____________________
                                                            WILL CALL (WC)/
                                                            MAY CALL (MC)/
                                                           LIKELY WILL NOT
                                                              CALL (LWNC)
                           Peter Celinski                         WC - live
                        100 Corporate Drive
                     Mahwah, N.J. 07430-2041
            (Contact through Defendant’s Counsel Only)
                       Christopher Commons                        WC - live
                        100 Corporate Drive
                     Mahwah, N.J. 07430-2041
            (Contact through Defendant’s Counsel Only)
                         Satoshi Fukuzuka                 MC – live or by deposition
                        100 Corporate Drive
                     Mahwah, N.J. 07430-2041
            (Contact through Defendant’s Counsel Only)
                           Kevin Zarow                    MC – live or by deposition
                        100 Corporate Drive
                     Mahwah, N.J. 07430-2041
            (Contact through Defendant’s Counsel Only)
                           Nick Murrells                  MC – live or by deposition
                        100 Corporate Drive
                     Mahwah, N.J. 07430-2041
            (Contact through Defendant’s Counsel Only)
                           Samuel Baxter                  MC – live or by deposition
                        100 Corporate Drive
                     Mahwah, N.J. 07430-2041
            (Contact through Defendant’s Counsel Only)
                          Martin Wachter                  MC – live or by deposition
            (Contact through Defendant’s Counsel Only)
                          Mike Groeninger                 MC – live or by deposition
                         614 Chapala Street
                      Santa Barbara, CA 93101
             (Contact through Plaintiff’s Counsel Only)
                          Nick Millington                 WC – live or by deposition
                         614 Chapala Street
                      Santa Barbara, CA 93101
             (Contact through Plaintiff’s Counsel Only)



   DEFENDANTS TRIAL WITNESS LIST—PAGE 3
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                            WITNESS                        LIVE OR BY VIDEO
                                                          _____________________
                                                            WILL CALL (WC)/
                                                            MAY CALL (MC)/
                                                           LIKELY WILL NOT
                                                              CALL (LWNC)
                            Tom Cullen                    WC – live or by deposition
                         614 Chapala Street
                      Santa Barbara, CA 93101
             (Contact through Plaintiff’s Counsel Only)
                         Robert Lambourne                 MC – live or by deposition
                         614 Chapala Street
                      Santa Barbara, CA 93101
             (Contact through Plaintiff’s Counsel Only)
                           Jonathan Lang                  MC – live or by deposition
                         614 Chapala Street
                      Santa Barbara, CA 93101
             (Contact through Plaintiff’s Counsel Only)

                         Christopher Kallai               MC – live or by deposition
                         614 Chapala Street
                      Santa Barbara, CA 93101
             (Contact through Plaintiff’s Counsel Only)

                          Michael Papish                  MC – live or by deposition
                         614 Chapala Street
                      Santa Barbara, CA 93101
             (Contact through Plaintiff’s Counsel Only)

                            Tim Sheen                     MC – live or by deposition
             (Contact through Plaintiff’s Counsel Only)
                            Gang Song                     MC - live or by deposition
             (Contact through Plaintiff’s Counsel Only)
                          Steve Hambling                  MC - live or by deposition
             (Contact through Plaintiff’s Counsel Only)
                          Cullen Harwood                  MC - live or by deposition
             (Contact through Plaintiff’s Counsel Only)
                        Benjamin Rappaport                MC - live or by deposition
             (Contact through Plaintiff’s Counsel Only)
                            John Cotter                   MC – live or by deposition
             (Contact through Plaintiff’s Counsel Only)


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                            WITNESS                        LIVE OR BY VIDEO
                                                          _____________________
                                                            WILL CALL (WC)/
                                                            MAY CALL (MC)/
                                                           LIKELY WILL NOT
                                                              CALL (LWNC)
                            David Feick                   MC – Live or by deposition
             (Contact through Plaintiff’s Counsel Only)
                            Tad Coburn                    MC – Live or by deposition
             (Contact through Plaintiff’s Counsel Only)




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   DEFENDANTS TRIAL WITNESS LIST—PAGE 6
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                                  CERTIFICATE OF SERVICE

          I certify that I caused copies of the foregoing document to be served on October 17, 2017,

   upon the following in the manner indicated:

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                                                   John M. Jackson




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              SCHEDULE E1
Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 162 of 438 PageID #: 43760



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


    SONOS, INC.,                                     )

                                                     )

                            Plaintiff,               )     Civil Action No. 14-1330-RGA

                                                     )     JURY TRIAL DEMANDED

                            v.                       )

                                )
   D&M HOLDINGS INC. d/b/a THE  )
   D+M GROUP, D&M HOLDINGS U.S. )
   INC., and DENON ELECTRONICS  )
   (USA), LLC,                  )

                                                     )

                            Defendants.              )


                 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S TRIAL DEPOSITION
                                     DESIGNATIONS

            Attached please find Defendants D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S.

   Inc., and Denon Electronics (USA), LLC (collectively, “Defendants”) objections to the revised deposition

   designations that Plaintiff identified on November 8, 2017. Objections are stated in the chart, according to

   the following key. In addition to the objections listed in the chart below, Defendants object to the

   designation of attorney objections during the deposition. Defendants further objects to the inclusion of

   attorney objections within deposition video clips played at trial and requests that objectiosn be removed

   from all video testimony to the extent technically feasible.

                                                   OBJECTION KEY


                  CODE                              OBJECTION                                FRE


                     A                             Argumentative                            611(a)
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                                Attorney objections/colloquy
              ATTY                                                     402, 403
                                        not removed


                C                        Compound                       611(a)


               604                Lacks Proper Interpreter               604


               608              Improper Character Evidence              608


                                   Duplicative/asked and
                D                                                  611(a) (also 403)
                                         answered


                                  Improper expert opinion
                EO                                                     702/703
                                        testimony


                               Exhibit not listed on Plaintiffs’
                EX
                                         exhibit list


                H                          Hearsay                   801/802/805


                I                 Improper Impeachment                  613(a)


                                Incomplete designation (cut
                IN                                                       106
                                  off question or answer)


                L                          Leading                      611(c)


                LC               Calls for legal conclusion             611(a)


                                 Best Evidence – Improper
                BE                Description of Writing                 1002
                                         Contents
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                                    Assumes facts not in
                AF                                                 611(a)
                                        evidence;

                                       Lack of expert
                EQ                                                  702
                                        qualifications;

                                         Improper
                IH                                                 611(a)
                                        hypothetical

                                      Mischaracterized
               ME                evidence (e.g. – testimony,      601, 602
                                           docs)

                                  No showing of personal
                PK                     knowledge                  601, 602



                                    Improper lay opinion
               LO                                                   701
                                         testimony


               MIL               Subject to motion in limine


                N                     Non-responsive              611 (a)


               NA                    Calls for narrative          611 (a)


                P                         Privilege                 501


                                  Testimony by 30(b)(6)
              Scope             designee outside of scope of   FRCP 30(b)(6)
                                          topics


                R                        Relevance                401/402


                                 Speculation/lacks personal
                S                                                   602
                                        knowledge


                V                   Vague & ambiguous             611 (a)
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                               Overly prejudicial, confusing,
               403                                                  403
                                misleading, or cumulative


                                Other crimes, wrongs, or acts
               404                                                  404
                                /improper character evidence
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                       Sonos’s Objections to D&M’s Counter-Designations

     Code                                            Objection
              Not Relevant – Sonos objects to this deposition designation because the testimony
      402
              is not relevant to any fact of consequence in this action. FRE 401-402.
              Prejudice Outweighs Probative Value – Sonos objects to this deposition
              designation because the testimony’s probative value is substantially outweighed by a
      403
              risk of unfair prejudice, confusing the issues, misleading the jury, undue delay,
              wasting time, and/or needlessly presenting cumulative evidence. FRE 403.
              Compromise and Offers to Compromise – Sonos objects to this deposition
      408     designation because it constitutes or contains alleged statements made during
              compromise negotiations. FRE 408.
              Lack of Foundation/Personal Knowledge – Sonos objects to this deposition
              designation because the foundation necessary for its admission was not established
      602
              by defendants and/or the deponent testified that he/she lacked personal knowledge
              of the subjects. FRE 602.
              Beyond the Scope of Opening Designation – Sonos objects to this deposition
      BSD     designation because it is beyond the scope of Sonos’s opening designation.
              FRE 403 611.
              Cumulative – Sonos objects to this deposition designation because it is duplicative
      CM
              and/or cumulative of other designations. FRE 611.
              Hearsay – Sonos objects to this deposition designation because the testimony
       H
              constitutes or contains hearsay. FRE 801-802.
              Improper Designation – Sonos objects to this deposition designation because the
      IMP     designation improperly includes statements that are not evidence, such as cross
              communications between attorneys. FRE 601-603, 611
              Remainder of or Related Writings or Recorded Statements – Sonos objects to
              this deposition designation because it is itself incomplete or the question asks the
      INC
              deponent to offer testimony on a document where the remainder of the document,
              or another document, should fairly be considered at the same time. FRE 106.
              Lay Opinion – Sonos objects to this deposition designation because it constitutes or
      LO
              contains an improper opinion by a lay witness. FRE 701-702.
              Subject to a motion in limine or agreement between the parties – Sonos objects
              to this deposition designation because it falls within the scope of one or more of
      MIL
              Sonos’s pending motions in limine or within the scope of an agreement between the
              parties concerning motions in limine.
              Non-Responsive Testimony – Sonos objects to this deposition designation because
      NR
              it includes statement that are not response to the question that was asked. FRE 611.

   *Denotes an apparent error in Defendants’ designation; Sonos reserves the right to object to such
   a designation once corrected by Defendants.
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    Sonos                            D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                         Designations          Counter-Designations

                  30(b)(6) Deposition Testimony of Peter Celinski
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011:07 - 011:14       Scope
011:21 - 013:03       Scope             13:15-14:1                   -
026:23 - 027:03
030:13 - 030:18       Scope
                                    36:10-36:13; 36:18-
036:06 - 036:09       Scope                                    BSD; 402; 403
                                     36:23; 39:4-39:19
051:16 - 051:23
052:04 - 052:07       Scope
052:24 - 053:05       Scope             54:4-54:6              BSD; 402; 403
056:16 - 057:01
057:10 - 057:15

                                       66:4-66:23; 77:3-
                                     78:19; 78:25-79:16;
                                     79:19-80:16; 81:14-
                                     81:19; 84:12-85:13;
                                      85:19-87:5; 89:12-
057:18 - 058:03                                          BSD; 402; 403; INC; IMP
                                    90:24; 100:6-100:20;
                                     105:6-106:5; 106:8-
                                   106:9; 106:14-106:23;
                                    107:1-107:4; 107:19-
                                   107:23; 112:18-113:12

                  114:24-115:5 -
114:25 - 115:05                        121:9-121:11          BSD; 402; 403; INC
                      Scope
127:03 - 127:24
129:05 - 129:13
129:20 - 129:23
130:08 - 130:11
130:19 - 130:21
131:15 - 132:09
132:18 - 132:23
133:05 - 134:06
139:18 - 140:06
141:08 - 141:22
143:13 - 143:19                        143:2-143:12                 NR
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    Sonos                              D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                           Designations            Counter-Designations

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147:25 - 148:09         R
151:14 - 152:03 151:23-152:03 - R
152:05 - 152:11         R
152:21 - 153:01
153:15 - 153:18
154:03 - 154:17
157:16 - 157:17         R
159:11 - 160:14
161:02 - 161:12
161:17 - 162:11
163:06 - 163:12
163:23 - 165:13                          167:24-168:8            BSD; 402; 403; INC
168:24 - 169:01
169:03 - 171:24
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174:07 - 174:14
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176:09 - 176:23
177:02 - 177:17
                181:9-181:181:18 -
178:07 - 183:06
                    R/L/Scope
183:17 - 183:21
184:03 - 184:05       Scope              184:6-184:11                    -
184:20 - 185:01       Scope
185:10 - 185:12       Scope

                                     187:10-187:17; 187:24-
185:24 - 186:05       Scope                                        BSD; 402; 403
                                     188:10; 189:14-189:21

190:07 - 190:23       Scope
191:01 - 191:05       Scope
191:12 - 191:22       Scope
192:01 - 192:06       Scope
192:15 - 193:06       Scope
193:09 - 193:21       Scope
195:06 - 195:08       Scope
196:06 - 196:15       Scope
197:06 - 198:15       Scope


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    Sonos                               D&M Counter-    Sonos Objections to D&M
              D&M Objections
 Opening Cite                            Designations     Counter-Designations

199:05 - 200:09          Scope
200:14 - 200:16          Scope
201:11 - 202:02          Scope
202:05 - 202:07          Scope
202:24 - 203:08          Scope
203:19 - 203:25          Scope
204:22 - 205:17          Scope
                     206:6-206:9 -
206:06 - 206:19    R/Scope; 206:10-
                      19 - Scope
208:04 - 208:18          Scope
209:02 - 209:16          Scope
210:05 - 211:18          Scope
211:20 - 212:04          Scope
                    212:6-212:20 -
212:06 - 212:25     Scope; 212:21-
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213:20 - 216:12          Scope
216:14 - 216:17          Scope
217:04 - 217:06          Scope
                    217:8-217:25 -
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217:08 - 218:07
                        218:7 -
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218:10 - 218:12       A/I/L/Scope
218:16 - 218:20            A
218:22 - 219:22        A/Scope
219:24 - 220:04          Scope
220:06 - 220:12          Scope
220:14 - 221:13          Scope
221:18 - 222:05          Scope
222:10 - 223:04          Scope
223:13 - 223:15          Scope
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231:02 - 231:02          Scope


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    Sonos                             D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                          Designations            Counter-Designations

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232:18 - 233:03   R/Scope/403/MIL
233:08 - 233:17   R/Scope/403/MIL
233:19 - 233:24   R/Scope/403/MIL
235:07 - 235:12        Scope
                                    235:17-235:19; 235:21-
235:14 - 235:15        Scope                                           LO
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239:25 - 240:02    Scope/403/MIL
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                                     249:6-249:15; 250:19-
242:21 - 243:05        Scope                               BSD; IMP; MIL; 402; 403
                                     251:19; 252:4-252:19
                  30(b)(6) Deposition Testimony of Satoshi Fukuzuka
008:20 - 008:23
011:07 - 012:01
012:07 - 012:08
012:22 - 013:02
013:07 - 013:13
013:15 - 013:15
014:11 - 014:15
014:20 - 014:23
015:05 - 015:10
015:12 - 015:13                          15:21-16:13                    -
022:02 - 022:06
022:18 - 022:20                          22:21-23:1                     -
023:02 - 023:04
023:09 - 023:24
024:01 - 024:06
024:10 - 024:11
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025:25 - 026:01      IR/Scope
026:03 - 026:16      IR/Scope
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    Sonos                        D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                     Designations            Counter-Designations

027:13 - 027:14
027:19 - 028:01
028:03 - 028:05
028:07 - 028:09
028:11 - 028:13
028:16 - 028:18
029:25 - 030:05
030:09 - 030:10
031:01 - 031:04
033:03 - 033:11
034:15 - 035:01
039:12 - 039:18
039:20 - 040:02
                               40:22-41:3; 41:8-41:9;
040:04 - 040:06                                                      -
                                       41:11
040:12 - 040:14
041:04 - 041:07
041:13 - 041:22
041:24 - 042:01
042:08 - 042:11
                                42:19-42:21; 42:23-
042:15 - 042:18                                                      -
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043:02 - 043:09
043:14 - 043:16
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048:03 - 048:05
048:10 - 048:17
048:21 - 049:07
049:21 - 050:02
050:06 - 050:08    Scope
050:10 - 050:19    Scope


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    Sonos                             D&M Counter-             Sonos Objections to D&M
              D&M Objections
 Opening Cite                          Designations              Counter-Designations

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                                                               31:19-21; 31:22-25; 32:3-10;
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                                                                33:23-34:4; 34:7-9; 34:15-
                                                                  35:7; 35:19-25; 37:7-9

052:03 - 052:12       Scope
052:15 - 052:16       Scope
                                     52:24-53:8; 53:10-
052:18 - 052:21       Scope                                               BSD
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054:16 - 054:23       Scope
054:25 - 055:04       Scope
055:06 - 055:13       Scope
055:15 - 055:20       Scope
                                     55:24-56:1;       56:3-
055:22 - 055:22       Scope                                                 -
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056:07 - 056:09       Scope
056:11 - 056:17       Scope
057:03 - 057:06
058:03 - 058:10       Scope
058:21 - 059:02       Scope

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059:14 - 060:23 Scope; 59:19-60:23
                  - Scope/IR/BE

062:04 - 062:06    Scope/IR
063:15 - 064:02
064:04 - 064:05
064:12 - 064:18
065:06 - 065:10 Scope/PK/BE/IR
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065:21 - 065:21 Scope/PK/BE/IR
067:03 - 067:11
067:14 - 067:18
067:21 - 068:14




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    Sonos                           D&M Counter-        Sonos Objections to D&M
              D&M Objections
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                                                                    403
                                                        29:25-30:5; 30:9-10; 31:1-4;
                                                        31:19-21; 31:22-25; 32:3-10;
068:17 - 068:25                     69:1-69:3; 69:5-6
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069:08 - 069:13
069:16 - 069:22
069:24 - 069:24
070:02 - 070:08
070:20 - 071:11
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072:12 - 072:12
072:18 - 072:20 BE/Scope/IR/PK
073:09 - 073:22 BE/Scope/IR/PK
073:24 - 073:24 BE/Scope/IR/PK
                Scope/BE/PK/IR/4   74:7-74:11; 74:15-
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075:21 - 076:02
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076:04 - 076:19                       76:20-76:24                    -
077:04 - 077:11
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078:14 - 079:04
079:06 - 079:14
081:22 - 081:23
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083:17 - 084:01                                                      -
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085:03 - 085:14   Scope/403
085:16 - 085:17   Scope/403


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    Sonos                            D&M Counter-        Sonos Objections to D&M
              D&M Objections
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086:01 - 086:04      Scope
086:06 - 086:06      Scope
086:22 - 086:24 Scope/PK/403
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088:18 - 088:20 PK/Scope/BE/403     88:21-88:22; 88:24
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089:02 - 089:04   PK/Scope/BE/403
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097:23 - 098:04   Scope/PK/BE/403
098:06 - 098:09   Scope/PK/BE/403
098:11 - 098:11   Scope/PK/BE/403
098:17 - 098:18   Scope/PK/BE/403
098:20 - 099:03   Scope/PK/BE/403
099:05 - 099:08   Scope/PK/BE/403




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    Sonos                           D&M Counter-         Sonos Objections to D&M
              D&M Objections
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                                   99:12-99:15; 99:18-   31:19-21; 31:22-25; 32:3-10;
099:10 - 099:10 Scope/PK/BE/403
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                                                          33:23-34:4; 34:7-9; 34:15-
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099:21 - 099:21 Scope/PK/BE/403
099:24 - 100:04 Scope/PK/BE/403
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102:05 - 102:21
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103:15 - 103:19
104:03 - 104:09
104:11 - 104:17
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105:06 - 105:09
105:17 - 105:21
106:05 - 106:10
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                                                         33:23-34:4; 34:7-9; 34:15-
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                                                         33:23-34:4; 34:7-9; 34:15-
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    Sonos                               D&M Counter-        Sonos Objections to D&M
              D&M Objections
 Opening Cite                            Designations         Counter-Designations

                                                                       403
                                                           29:25-30:5; 30:9-10; 31:1-4;
                                      113:5-113:9; 113:11- 31:19-21; 31:22-25; 32:3-10;
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                                             113:20        32:12-15; 33:3-11; 33:14-17;
                                                            33:23-34:4; 34:7-9; 34:15-
                                                              35:7; 35:19-25; 37:7-9

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114:07 - 114:10
114:12 - 114:15
114:17 - 115:02
115:04 - 115:04
116:14 - 116:15                        117:2-117:5; 117:7                -
                  BE/403/IR/Scope/P
117:14 - 117:19
                           K
                  BE/403/IR/Scope/P
117:21 - 118:04
                           K
118:17 - 118:19    PK/Scope/403/IR
118:23 - 119:01    PK/Scope/403/IR
119:16 - 119:18    PK/Scope/403/IR
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                   PK/Scope/403/IR;
119:20 - 120:08       120:1-120:8 -
                  PK/Scope/403/BE/I
                          R/S
                    120:10-120:14 -
120:10 - 120:17   PK/Scope/403/BE/I
                          R/S
120:25 - 121:02
                 121:10-121:12 -
121:04 - 121:12
                Scope/IR/403/404
                 121:10-121:22 -
121:23 - 121:25
                Scope/IR/403/405
                 121:23-122:06 -
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                       608
                Scope/IR/403/404/
122:20 - 122:25
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    Sonos                             D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                          Designations          Counter-Designations

                Scope/IR/403/404/
123:02 - 123:14
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123:21 - 123:24   Scope/IR/403
124:07 - 124:09   Scope/IR/403
125:21 - 125:23   Scope/IR/403

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                                                           29:25-30:5; 30:9-10; 31:1-4;
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127:04 - 127:14   Scope/IR/403
127:16 - 127:16   Scope/IR/403
127:20 - 128:02   Scope/IR/403
128:11 - 128:15
128:23 - 129:03
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129:13 - 129:15
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131:20 - 131:23
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    Sonos                             D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                          Designations          Counter-Designations

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142:11 - 142:15 Scope/PK/IR/403
143:04 - 143:06     IR/403
143:13 - 143:15     IR/403
144:01 - 144:07     IR/403
144:09 - 144:14     IR/403
144:16 - 145:08     IR/403
                                   145:21-145:23; 146:1-
145:16 - 145:20        IR/403                                         -
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146:10 - 146:10      IR/403             147:3-147:4                   -
148:18 - 148:20
148:22 - 149:05
149:07 - 149:13
149:21 - 149:25 IR/Scope/PK/403
150:24 - 151:01 IR/Scope/PK/403
                IR/PK/Scope/403/
152:23 - 152:25
                       BE
                IR/PK/Scope/403/
153:04 - 153:08
                       BE
                IR/PK/Scope/403/
153:12 - 153:17
                       BE
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154:21 - 155:02 IR/PK/Scope/403
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156:14 - 156:22
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156:25 - 156:25                    157:21-157:22; 157:25              -
                         D
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                         D
                  IR/PK/Scope/403/
159:04 - 159:06
                         D
                  IR/PK/Scope/403/
159:08 - 159:21
                         D
                  IR/PK/Scope/403/
160:03 - 160:06
                         D



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    Sonos                            D&M Counter-    Sonos Objections to D&M
              D&M Objections
 Opening Cite                         Designations     Counter-Designations

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162:07 - 162:16
163:02 - 163:24
164:06 - 164:09
164:13 - 164:15
164:20 - 164:20
164:22 - 164:22
                  165:19-165:21 -
165:19 - 167:25
                   ATTY/IR/403
168:05 - 168:08
169:06 - 169:12
170:13 - 171:19
171:21 - 172:20
173:05 - 174:14
175:04 - 175:06
175:09 - 175:15
175:18 - 175:20
176:03 - 176:07
176:09 - 177:06
177:08 - 177:25
                 178:7-178:11 -
178:02 - 178:11
                Scope/PK/IR/403
178:21 - 179:02 Scope/PK/IR/403
179:05 - 179:05 Scope/PK/IR/403
179:18 - 180:04
181:10 - 181:16
181:18 - 181:24
182:02 - 182:03
182:08 - 182:13
182:15 - 182:20
182:22 - 183:21
183:23 - 184:07
184:09 - 184:09
185:07 - 185:18     IR/403
191:08 - 191:18
192:02 - 192:21


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    Sonos                           D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                        Designations            Counter-Designations

193:03 - 193:07
193:15 - 193:19   IR/403/BE/604
194:06 - 194:08   IR/403/BE/604
194:23 - 195:08   IR/403/BE/604
195:13 - 195:14   IR/403/BE/604
195:16 - 196:03   IR/403/BE/604
196:11 - 197:03   IR/403/BE/604
197:10 - 198:06   IR/403/BE/604
198:12 - 198:18   IR/403/BE/604
198:20 - 199:18   IR/403/BE/604
199:20 - 199:23   IR/403/BE/604
201:22 - 202:02   IR/403/BE/604
202:10 - 202:12   IR/403/BE/604
202:16 - 203:19   IR/403/BE/604
203:21 - 203:25   IR/403/BE/604
204:02 - 204:03   IR/403/BE/604
206:10 - 206:12       Scope
206:14 - 206:19       Scope
207:07 - 207:13       Scope
                                  207:22-207:23; 207:25-
207:16 - 207:21      Scope                                            -
                                          208:4
208:05 - 208:11      Scope/D
208:14 - 208:17      Scope/D
209:02 - 209:08       Scope
209:18 - 209:24  IR/403/V/D/PK
                IR/403/V/D/PK/M
210:25 - 211:10
                        E
                IR/403/V/D/PK/M
211:16 - 211:16
                        E
212:01 - 213:12
219:16 - 219:17
220:08 - 220:21
220:25 - 221:06
221:09 - 221:19
222:01 - 222:19
223:18 - 224:07
224:09 - 224:09
224:19 - 224:21 LC/V/403/LO/EO        226:25-227:8                BSD; INC



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    Sonos                           D&M Counter-       Sonos Objections to D&M
              D&M Objections
 Opening Cite                        Designations        Counter-Designations

                IR/403/Scope/PK/
227:25 - 228:11
                       BE
                IR/403/Scope/PK/
228:16 - 229:09
                       BE
                IR/403/Scope/PK/
229:11 - 229:21                                                  11:7-20
                     BE/604
                  30(b)(6) Deposition Testimony of Brendon Stead
009:15 - 009:18
013:06 - 013:08                           13:9-13:17                 -
013:18 - 013:22
015:07 - 015:13
016:05 - 017:05
019:15 - 020:07   Scope/LO/EO
020:17 - 021:01   Scope/LO/EO
021:13 - 021:18   Scope/LO/EO
                   21:25-22:5 -
021:25 - 022:09
                  Scope/LO/EO
022:15 - 022:21
023:09 - 023:14
024:02 - 024:10
024:14 - 024:24                           25:7-25:14          BSD; INC; 403
030:24 - 031:12       Scope
031:18 - 031:21       Scope                32:4-32:7                 -
032:17 - 033:01                            33:2-33:5                 -
038:13 - 039:09
                                    48:14-48:25; 49:10-
046:23 - 047:23                                         BSD; 402; 403; H; 602; LO
                                      49:23; 50:14-51:3
                                    52:2-52:6; 53:4-
051:18 - 052:01                                             BSD; 402; 403; LO
                                     53:12; 53:18-54:9
055:15 - 055:24   Scope/LO/EO             55:25-56:3                 -
056:04 - 056:06
056:08 - 056:12
056:14 - 057:03
060:25 - 061:23       Scope
063:08 - 063:18       Scope
063:22 - 064:08       Scope
066:07 - 066:14                          66:15-66:23           402; 403; LO
066:24 - 067:22       Scope
068:03 - 068:04       Scope


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    Sonos                            D&M Counter-          Sonos Objections to D&M
              D&M Objections
 Opening Cite                         Designations           Counter-Designations

068:06 - 068:13       PK
069:11 - 069:13
069:22 - 069:25
070:07 - 070:08
070:13 - 070:20
075:14 - 075:20
075:25 - 076:07
079:25 - 080:10                         80:24-81:5                    -
081:06 - 082:17
                                    83:20-83:23; 84:9-
083:07 - 083:14                                                   INC; 602
                                          84:13
085:11 - 085:16
088:02 - 088:07
088:11 - 088:17
097:15 - 097:18     R/403
102:10 - 102:13     R/403
103:02 - 103:19
104:05 - 105:08                       105:14-105:24                   -
106:04 - 106:07   Scope/R/403
                                    108:5-108:6; 108:8-
107:12 - 107:15   Scope/R/403      108:10; 109:5-109:10;    BSD; 402; 403; 602; NR
                                      109:15-109:23
111:11 - 111:14 Scope/PK/IH/AF
111:17 - 111:18 Scope/PK/IH/AF
                 111:22-111:25 -
111:22 - 112:10
                  AF/IH/Scope
113:05 - 113:16
113:18 - 113:22 Scope/R/403/PK
113:24 - 113:24 Scope/R/403/PK
122:18 - 122:24
123:19 - 123:22
                Scope/R/403/IH/A
124:02 - 124:13
                        F
124:25 - 125:03    Scope/R/403
125:05 - 125:16    Scope/R/403
148:05 - 148:09
148:12 - 148:16
148:24 - 149:02
149:04 - 149:05                       149:16-149:24             BSD; 402; 403


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    Sonos                             D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                          Designations          Counter-Designations

150:03 - 150:22
151:24 - 153:01    Scope/R/403
153:06 - 153:16      IR/403
153:20 - 153:23        V
153:25 - 154:01        V
154:08 - 154:17
154:19 - 154:19
155:18 - 155:20
155:22 - 155:22
156:04 - 157:01                         157:2-158:6                  -
158:22 - 159:12     IH/Scope/D         160:19-161:8                 BSD
162:22 - 163:01                         163:4-163:8                  -
163:09 - 163:14
163:21 - 164:02
164:18 - 165:07   Scope/PK/BE/H
165:11 - 167:01   Scope/PK/BE/H
167:07 - 167:22   Scope/PK/BE/H
                  168:24-169:01 -
167:24 - 169:01
                  Scope/PK/BE/H
169:03 - 169:15   Scope/PK/BE/H        169:18-169:24                BSD
170:20 - 171:08
172:12 - 173:03
173:10 - 173:16
174:06 - 175:21   Scope/PK/BE/H
                                     176:2-176:6; 176:9-
175:23 - 175:24   Scope/PK/BE/H                                 402; 403; LO
                                    176:15; 177:23-178:7
176:16 - 177:22   Scope/PK/BE/H
178:08 - 178:13
179:04 - 179:21
180:11 - 180:13
182:05 - 182:13
                  183:2-183:15 -
182:17 - 183:15
                     Scope/D
184:07 - 184:14
184:22 - 184:25
185:07 - 185:16
185:20 - 185:23
186:08 - 187:01    Scope/BE/H
187:12 - 187:15       Scope


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    Sonos                              D&M Counter-          Sonos Objections to D&M
              D&M Objections
 Opening Cite                           Designations           Counter-Designations

188:04 - 188:13     Scope/PK/BE
188:15 - 189:07     Scope/PK/BE
                                     189:24-190:1; 190:3-
189:12 - 189:23     Scope/PK/BE                                        LO
                                            190:7
190:15 - 191:20
191:22 - 191:22
192:24 - 193:07        Scope
193:09 - 194:12        Scope
194:19 - 194:24        Scope
195:22 - 196:15
196:21 - 196:23
197:05 - 197:10
197:17 - 198:05
199:07 - 199:14                         199:15-199:16                   -
199:17 - 199:19
199:24 - 199:25

                                      200:23-201:2; 201:9-
200:05 - 200:12         BE                                            INC
                                     201:10; 201:12-201:15

                   201:17-201:21 -
201:17 - 202:19      BE; 201:22-
                    202:19 - Scope
203:02 - 203:06       R/403/ME
203:23 - 205:03   Scope/BE/R/403/H
205:10 - 205:22   Scope/BE/R/403/H       205:23-206:1                   -
206:06 - 206:21   Scope/BE/R/403/H
207:22 - 208:05   Scope/BE/R/403/H
                  Scope/BE/R/403/H
208:08 - 208:17
                         /S
                  Scope/BE/R/403/H
208:19 - 208:20
                         /S
209:07 - 210:03         Scope
                   210:07-210:20 -
210:07 - 212:01
                        Scope
212:18 - 213:04
                   214:2-214:18 -
213:09 - 214:18
                       Scope
215:12 - 216:19
216:23 - 218:04


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    Sonos                               D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                            Designations            Counter-Designations

218:13 - 218:25
                    219:16-219:24 -
                  Scope/PK; 219:25-
219:09 - 220:14      220:3 - Scope;
                     220:4-220:14 -
                       Scope/PK
220:16 - 221:06        Scope/PK
221:18 - 221:23        Scope/ME
222:01 - 222:11          Scope
                    222:13-222:18 -
222:13 - 222:22     Scope; 222:19-
                   222:22 - Scope/C
223:02 - 223:03     Scope/R/403/IH
223:05 - 223:06     Scope/R/403/IH
223:22 - 223:24
224:12 - 224:17
224:25 - 225:02 Scope/R/403/IH
225:09 - 226:10 Scope/R/403/IH           225:11-226:10              BSD; 402; 403
226:18 - 226:20                           226:24-227:1                    -
227:09 - 227:22 Scope/R/403/BE            227:23-228:2                    -
228:03 - 228:06
229:24 - 230:09   Scope/R/403
230:13 - 230:15   Scope/R/403
230:25 - 231:03   Scope/R/404              231:9-232:5                BSD; LO
233:01 - 233:02 Scope/PK/R/403
233:04 - 233:08 Scope/PK/R/403
233:16 - 233:18
233:25 - 234:03
                 234:21-235:5 -        235:6-236:4; 236:7-
234:06 - 235:05                                                       BSD; LO
                BE/Scope/R/403                236:8
236:25 - 237:10
238:09 - 238:10 Scope/PK/R/403
238:12 - 238:20 Scope/PK/R/403
238:22 - 239:02 Scope/PK/R/403
239:16 - 239:18 Scope/PK/R/403
                                      240:11-240:16; 240:19-
239:21 - 240:10 Scope/PK/R/403                                         LO; 602
                                             240:20
240:21 - 241:07



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    Sonos                                D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                             Designations            Counter-Designations

                   241:15-241:25 -
241:15 - 242:03     BE/PK; 242:1-
                    242:03 - Scope
242:06 - 242:17          Scope
                   242:19-242:23 -
                    Scope; 242:24-
242:19 - 243:10
                       243:10 -
                     R/403/Scope
243:12 - 244:03        Scope/BE
244:05 - 245:14        Scope/BE
245:19 - 245:22        Scope/V
                     246:1-246:8 -
                  Scope/BE/V; 246:9-
245:25 - 246:17         246:17 -
                  Scope/BE/A/ATTY
                         /R/403
246:20 - 247:04
247:06 - 247:19
247:21 - 247:21
249:03 - 250:20
250:24 - 252:23
253:04 - 253:25
254:02 - 254:07

                                       254:12-254:14; 254:16-
254:09 - 254:10                                                            -
                                          254:20; 254:22

255:03 - 255:17
                                       256:24-257:1; 257:3-
256:19 - 256:23     BE/PK/Scope                                            -
                                              257:5
257:07 - 257:09       PK/BE
                 257:11 - PK/BE;
257:11 - 257:14 257:13-257:14 -
                608/403/Scope/R
                     257:16 -
                608/403/Scope/R;
257:16 - 258:12                           258:13-258:16                    -
                  257:18-258:4 -
                608/403/Scope/R
259:05 - 259:17
259:23 - 259:25    Scope/R/403


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    Sonos                             D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                          Designations          Counter-Designations

                  260:02-260:9 -
260:02 - 260:12
                   Scope/R/403
260:14 - 261:02
                  261:13-261:15 -
261:04 - 261:15
                 403/IR/IH/EO/LO
                  261:17-261:22 -
261:17 - 261:25
                 403/IR/IH/EO/LO
262:08 - 262:15
                IH/Scope/PK/EO/L
265:17 - 265:18
                         O
                IH/Scope/PK/EO/L
265:20 - 265:20
                         O
267:23 - 268:06        R/403
268:16 - 268:23        R/403
269:06 - 269:25        R/403
270:04 - 270:16      R/403/PK
270:20 - 270:24      R/403/PK
271:01 - 271:23        R/403
279:17 - 279:19        403/R
279:21 - 279:22        403/R           280:20-281:14                BSD
281:25 - 282:03 Scope/R/403/PK
                Scope/R/403/PK/B
282:07 - 282:08
                        E/H
                Scope/R/403/PK/B
282:10 - 282:23
                        E/H
296:05 - 296:12
296:14 - 298:09                        298:10-298:15                  -
298:16 - 299:03
                   300:13-301:7 -
299:08 - 301:07
                  Scope/PK/R/403
                                    302:2-302:5; 302:7-
301:23 - 302:01                                                     BSD
                                          302:19
304:01 - 304:06
304:13 - 304:23
306:12 - 306:15
306:19 - 307:02
                                    308:22-309:4; 309:6-
307:19 - 308:18                                                NR; 402; 403; LO
                                           309:9
309:14 - 309:17


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    Sonos                              D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                           Designations            Counter-Designations

326:23 - 327:04
327:06 - 327:08
331:12 - 332:10        403/R
332:12 - 332:14        403/R
334:01 - 334:10        403/R
                                     340:7-340:23; 341:4-
338:17 - 338:20        403/R                                     BSD; LO; 402; 403
                                            341:13
344:10 - 344:25        403/R
                   345:13-345:25 -
                    R/403/PK/BE;
345:13 - 346:07
                    346:1-346:7 -
                      PK/R/403
346:09 - 346:15       PK/R/403
348:19 - 349:22        R/403
366:19 - 367:15        R/403         367:16-367:24; 368:1                -
368:05 - 368:06
368:10 - 369:19    R/PK/403/BE/H
369:24 - 369:25    R/PK/403/BE/H
370:02 - 370:03    R/PK/403/BE/H

372:02 - 372:09 R/403/AF/ATTY/A

                                     372:17-372:19; 372:21-
372:11 - 372:16 R/403/AF/ATTY/A                                    NR; 402; 403
                                             373:2
378:17 - 378:22        R/403
378:24 - 378:24        R/403

                                     379:8-379:10; 379:19-
                                      380:4; 380:6-380:11; BSD; INC; 602; LO; 402;
379:02 - 379:07        R/403
                                     380:14-380:17; 381:23-         403
                                      382:9; 382:11-382:14

394:13 - 395:22
                  Scope/R/403/LL/E
396:01 - 396:24
                        O/LO
397:07 - 397:14
397:19 - 397:22
398:02 - 398:08
398:16 - 398:25
                   400:18-401:12 -
399:13 - 401:12
                       R/403


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    Sonos                           D&M Counter-          Sonos Objections to D&M
              D&M Objections
 Opening Cite                        Designations           Counter-Designations

402:05 - 403:02   Scope/R/403        403:3-403:19          BSD; MIL; 408; H; INC
404:17 - 404:23   Scope/R/403     404:24-405:1; 405:3                -
405:08 - 405:09
                PK/BE/Scope/R/40
405:18 - 405:20
                         3
                PK/BE/Scope/R/40 406:10-406:11; 406:14-
405:23 - 406:09                                              BSD; MIL; 408; H
                         3              406:16
                ATTY/A/PK/BE/S
406:24 - 407:02
                    cope/R/403
                ATTY/A/PK/BE/S
407:04 - 407:04                      407:11-407:16           BSD; MIL; 408; H
                    cope/R/403
408:03 - 408:04
408:15 - 409:07      R/403/BE
409:14 - 409:24      R/403/BE
413:22 - 413:24 Scope/PK/R/403
414:01 - 414:01      PK/R/403
414:17 - 414:19 R/403/Scope/BE
                 414:22-416:23 -
                 R/403/Scope/BE;
414:22 - 416:13 416:24-416:13 -
                Scope/PK/403/R/B
                         E
                Scope/PK/403/R/B
416:15 - 416:15
                         E
417:14 - 417:18 Scope/PK/403/R
418:10 - 418:12 Scope/V/R/403
418:14 - 418:14 Scope/V/R/403
420:10 - 420:13 Scope/R/403/H
420:16 - 420:19 Scope/R/403/H
421:02 - 421:16 Scope/R/403/H
422:19 - 423:08    Scope/R/403
                  424:5-425:18 -
423:11 - 425:18
                 Scope/PK/R/403
425:20 - 425:20 Scope/PK/R/403        426:4-426:9                BSD; 403
426:12 - 427:01
427:05 - 427:06    Scope/R/403
427:08 - 427:12    Scope/R/403
427:14 - 427:25    Scope/R/403
428:02 - 428:06    Scope/R/403


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    Sonos                               D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                            Designations          Counter-Designations

                    428:9-428:16 -
428:08 - 428:18
                     Scope/R/403
428:20 - 429:02
429:04 - 429:08
429:19 - 429:21
430:19 - 431:11
                   431:17-431:18 -
431:13 - 431:18
                        R/403
                    431:20-432:4 -
                    R/403; 432:5-
431:20 - 432:18        432:18 -
                  Scope/R/PK/LC/IE
                         /IL
                   433:03-433:07 -
                     ME; 433:8-
433:03 - 433:25
                       433:25 -
                  Scope/PK/IE/IL/IH
434:02 - 434:10   Scope/PK/IE/IL/IH
434:13 - 434:20   Scope/PK/IE/IL/IH
                                      434:25-435:1; 435:4-
434:23 - 434:24 Scope/PK/IE/IL/IH                                   402; 403
                                            435:21
435:22 - 436:06
                   436:21-436:24 -
436:21 - 437:15
                      Scope/PK
437:17 - 437:23
437:25 - 439:07
439:09 - 439:23
439:25 - 440:11
440:13 - 440:18
440:23 - 440:25
                   442:16-442:23 -
442:16 - 443:13
                      V/R/403
443:22 - 444:12
444:14 - 444:14
                   445:9-445:13 -
444:16 - 445:13
                    ATTY/403/R
445:25 - 446:03       V/R/403
                    446:5-446:6 -
446:05 - 446:18
                      V/R/403


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    Sonos                            D&M Counter-        Sonos Objections to D&M
              D&M Objections
 Opening Cite                         Designations         Counter-Designations

446:20 - 447:02
447:04 - 447:09
447:11 - 447:17
447:19 - 448:17
448:20 - 448:22      V/R/403
448:24 - 449:07 448:24 - V/R/403
449:09 - 449:15
449:17 - 449:22
449:24 - 450:04
450:06 - 450:08
                 450:16-450:21 -
450:16 - 451:10
                   ATTY/R/403
451:14 - 451:15
451:17 - 451:25
452:09 - 452:11
452:13 - 452:23
453:01 - 453:04                      453:5-453:8; 453:9            *
459:17 - 459:21
460:01 - 460:04
460:08 - 461:07
461:09 - 461:12
461:20 - 461:22
461:24 - 461:24
462:23 - 464:10
                   465:2-465:5 -
464:20 - 465:16
                    ME/AF/403
465:25 - 466:16
                 467:25-468:11 -
                  Scope; 468:12-
467:11 - 469:25
                     468:25 -
                   IH/PK/Scope
470:02 - 473:07       R/403
473:23 - 473:25    R/Scope/403
474:03 - 474:08    R/Scope/403
474:11 - 474:14    R/Scope/403
                    30(b)(6) Deposition Testimony of Evan Stuart
007:14 - 007:18
010:03 - 010:05



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    Sonos                         D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                      Designations          Counter-Designations

                                  13:11-13:22; 14:2-
                                 14:14; 14:21-14:25;
                                 15:11-15:23; 16:25-          BSD; 402
                                  17:11; 18:9-18:16;
011:07 - 011:24                      20:12-20:17
029:16 - 029:21   Scope/IR/403
029:25 - 030:13   Scope/IR/403
030:15 - 031:18   Scope/IR/403
031:20 - 031:21   Scope/IR/403
034:16 - 034:24   Scope/IR/403
035:01 - 035:15   Scope/IR/403
036:05 - 036:09
037:22 - 038:07
042:21 - 043:06
044:04 - 045:05      R/403
045:07 - 045:11      R/403
045:19 - 045:23      R/403
045:25 - 045:25      R/403
051:16 - 052:12
052:14 - 052:24
053:01 - 053:05
053:07 - 053:11
053:14 - 053:14
053:16 - 053:17    IR/403/V
053:19 - 053:24    IR/403/V          54:6-54:12                   -
054:13 - 054:19
056:05 - 056:08
056:10 - 057:13
059:18 - 060:04                      60:5-60:14                 402
060:15 - 060:18
061:09 - 061:14      R/403
061:21 - 061:22      R/403
061:25 - 061:25      R/403
062:09 - 062:11
062:20 - 062:23
063:01 - 063:04
063:16 - 063:18
063:20 - 064:06



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    Sonos                          D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                       Designations          Counter-Designations

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064:08 - 064:08                           65:7
                                   66:8-66:9; 66:11-
                                                                 402
065:23 - 066:07                          66:12
066:16 - 066:19
068:02 - 068:23
068:25 - 069:05
069:07 - 069:07
070:08 - 070:10
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071:06 - 071:06       R/403
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072:06 - 072:11       R/403
072:13 - 072:13       R/403
072:24 - 073:24       R/403
074:01 - 074:01       R/403
075:15 - 076:10       R/403
076:12 - 076:14       R/403
                  77:14-77:17 -
                    ME/R/403;
                  77:18-77:19 -
077:14 - 077:19       R/403
077:21 - 078:01       R/403
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079:23 - 080:02
080:14 - 081:21
082:05 - 082:06
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083:12 - 083:18
083:22 - 084:08
084:10 - 085:16
085:18 - 086:10
086:12 - 087:22                      87:23-87:25                   -


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    Sonos                             D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                          Designations            Counter-Designations

088:01 - 088:05                          88:6-88:18               402; 403; NR
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089:04 - 089:07
089:09 - 089:09
090:03 - 090:14
091:05 - 091:24
092:22 - 093:03       R/403
093:05 - 093:05       R/403
094:03 - 094:19
094:21 - 095:07
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                     99:18 -
099:08 - 099:22   ATTY/R/403
099:24 - 100:11
100:14 - 101:05
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                                    101:19-101:21; 101:23-              -
101:17 - 101:17                      101:24; 102:2-102:4
102:08 - 102:09        D
102:11 - 102:18 102:11-102:15- D
102:20 - 103:01
103:03 - 103:10
103:12 - 103:12
104:02 - 104:05
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105:07 - 105:10
105:12 - 105:16
106:13 - 106:20
106:22 - 106:22
107:13 - 107:17
                                    109:21-109:23; 109:25-
                                                                        -
108:10 - 108:12                             110:6
                  110:11-110:21 -
110:11 - 111:05      V/R/403
111:15 - 111:24
112:01 - 112:01
112:03 - 113:12 112:3-112:8 - BE


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    Sonos                              D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                           Designations            Counter-Designations

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                                     115:12-115:13; 115:15-
                                                                     CM; 403
114:22 - 115:11                             115:17
115:19 - 116:12
116:14 - 116:23
116:25 - 117:25
118:02 - 120:01
                  120:11-120:16 -
120:11 - 120:18     ATTY/ME
120:20 - 121:20                          120:21-121:9                   *
121:22 - 122:15 121:22-121:23 - IN
122:20 - 124:19
124:21 - 124:24
125:02 - 127:11
127:13 - 127:25
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132:04 - 132:16                          132:24-133:5                402; 403
137:23 - 140:19
141:01 - 141:06
141:14 - 141:16
141:18 - 141:18                           142:3-142:6                  BSD
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143:12 - 143:24                             144:22
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146:02 - 146:06                          146:7-146:24                402; 403
146:25 - 147:19
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147:23 - 148:03                           148:4-148:7                    -
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150:06 - 150:19
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    Sonos                             D&M Counter-           Sonos Objections to D&M
              D&M Objections
 Opening Cite                          Designations            Counter-Designations

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158:15 - 158:16
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159:15 - 159:19                             160:4
160:05 - 160:10
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161:12 - 161:14       D/403
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164:10 - 165:05
165:20 - 166:10
166:16 - 166:24
167:01 - 167:07                         167:8-167:25                402; 403
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168:13 - 168:15
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169:24 - 171:10
171:13 - 171:18
171:20 - 172:04
                                    173:17-174:7; 174:22-
                                     175:9; 178:6-178:12;         402; 403; BSD
172:16 - 173:05                          193:9-194:4
207:25 - 208:17
209:14 - 210:10
248:24 - 249:07       R/403
249:09 - 250:13       R/403            250:14-250:18                402; 403
250:19 - 250:22       R/403
265:18 - 265:21
266:12 - 266:15
266:17 - 266:25
267:02 - 267:04
                   30(b)(6) Deposition Testimony of Kevin Zarow
008:07 - 008:10
011:23 - 012:07                          14:8-14:17                   BSD



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    Sonos                               D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                            Designations          Counter-Designations

                                       18:18-18:20; 19:4-
                  17:20 - 18:12 -                                      INC
017:20 - 018:17                         19:6; 19:8-19:13;
                     Scope/C                                       18:21-19:01
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022:21 - 023:19      Scope/D
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027:12 - 027:17
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037:06 - 038:03
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039:22 - 040:16       Scope
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057:20 - 057:22
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    Sonos                           D&M Counter-         Sonos Objections to D&M
              D&M Objections
 Opening Cite                        Designations          Counter-Designations

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087:13 - 088:25
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098:25 - 099:15
099:24 - 100:01
102:14 - 103:09
104:17 - 104:20
                  108:13-108:19 -
108:13 - 109:02
                      Scope
109:20 - 109:24
110:08 - 110:16       Scope
114:11 - 114:19
115:17 - 115:20
116:13 - 116:24
                 117:17-117:25 -
117:17 - 118:04
                S/Scope/PK/V/AF
121:19 - 121:25    Scope/IH/PK
125:15 - 125:18
128:23 - 129:04
129:10 - 129:20
130:16 - 131:01
131:07 - 131:14
                  134:8-134:19 -
134:08 - 135:10 Scope; 134:18-
                    134:20 - S
                                                                 403; INC
135:20 - 135:23       Scope          137:22-137:25         136:02-08; 137:14-17;
                                                                137:19-21
145:24 - 146:17
149:07 - 150:12
164:14 - 165:19
168:10 - 169:20
171:01 - 171:15




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    Sonos                             D&M Counter-    Sonos Objections to D&M
              D&M Objections
 Opening Cite                          Designations     Counter-Designations

                   183:25-184:7 -
                 Scope/R; 184:12-
183:25 - 185:01 184:17 - Scope/R;
                  184:18-184:21 -
                       Scope
                187:14-187:187:25 -
187:13 - 188:11    Scope; 188:6-
                  188:11 - Scope
188:24 - 189:07
197:04 - 197:14
222:09 - 223:08
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249:23 - 250:14
                       Scope
254:25 - 255:12
256:03 - 256:07
256:21 - 256:25
                   258:9-258:13 -
257:10 - 258:13
                       Scope




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              SCHEDULE E2
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

    SONOS, INC.,                              )
                                              )
                        Plaintiff,            )
                                                  Civil Action No. 14-1330-RGA
                                              )
                        v.                    )   JURY TRIAL DEMANDED
                                              )
    D&M HOLDINGS INC. d/b/a THE               )
    D+M GROUP, D&M HOLDINGS U.S.              )
    INC., and DENON ELECTRONICS               )
    (USA), LLC,                               )
                                              )
                        Defendants.           )



        SONOS’S OBJECTIONS TO DEFENDANTS’ DEPOSITION DESIGNATIONS


     Code                                          Objection
            Not Relevant – Sonos objects to this deposition designation because the testimony
      402
            is not relevant to any fact of consequence in this action. FRE 401-402.
            Prejudice Outweighs Probative Value – Sonos objects to this deposition
            designation because the testimony’s probative value is substantially outweighed by a
      403
            risk of unfair prejudice, confusing the issues, misleading the jury, undue delay,
            wasting time, and/or needlessly presenting cumulative evidence. FRE 403.
            Lack of Foundation/Personal Knowledge – Sonos objects to this deposition
            designation because the foundation necessary for its admission was not established
      602
            by defendants and/or the deponent testified that he/she lacked personal knowledge
            of the subjects. FRE 602.
            Asked and Answered - Sonos objects to this deposition designation because it
      AA    contains a question that calls for the deponent to repeat his/her testimony that was
            previously elicited during the deposition. FRE 611.
            Assumes Fact Not in Evidence – Sonos objects to this deposition designation
      AF
            because the question asked assumed a fact that was not in evidence. FRE 611.
            Calls for Legal Conclusion – Sonos objects to this deposition designation because
      CL
            it contains a legal conclusion. FRE 602, 701-702.
            Cumulative – Sonos objects to this deposition designation because it is duplicative
      CM
            and/or cumulative of other designations. FRE 611.
            Calls for Speculation – Sonos objects to this deposition designation because the
      CS    question asked called for the deponent to speculate and/or the testimony contains
            statements that are speculative as to matters of fact or law. FRE 602.
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           Form - Sonos objects to this deposition designation because the question contains
        F  lawyer argument and/or colloquy and not testimony of the deponent, the question
           was asked in compound form, or the question has some other defect. FRE 611.
           Hearsay – Sonos objects to this deposition designation because the testimony
        H
           constitutes or contains hearsay. FRE 801-802.
           Improper/Incomplete Hypothetical – Sonos objects to this deposition designation
      HYP because the question asked contained an improper and/or incomplete hypothetical.
           FRE 602, 611.
           Improper Designation – Sonos objects to this deposition designation because the
      IMP  designation improperly includes statements that are not evidence, such as cross
           communications between attorneys. FRE 601-603, 611
           Remainder of or Related Writings or Recorded Statements – Sonos objects to
           this deposition designation because it is itself incomplete or the question asks the
      INC
           deponent to offer testimony on a document where the remainder of the document, or
           another document, should fairly be considered at the same time. FRE 106.
           Leading – Sonos objects to this deposition designation because the question was
        L
           asked in a leading manner. FRE 611.
           Lay Opinion – Sonos objects to this deposition designation because it constitutes or
       LO
           contains an improper opinion by a lay witness. FRE 701-702.
           Mischaracterization/Misrepresentation – Sonos objects to this deposition
           designation because the question asked (1) mischaracterizes the deponent’s prior
       M
           testimony and/or the question asked mischaracterizes the document being shown to
           the deponent or (2) is premised on a mischaracterization of facts. FRE 611.
           Subject to a motion in limine or agreement between the parties – Sonos objects
           to this deposition designation because it falls within the scope of one or more of
      MIL
           Sonos’s pending motions in limine or within the scope of an agreement between the
           parties concerning motions in limine.
           Not Provided for this Case / Produced Untimely – Sonos objects to this
           deposition designation because the testimony was not provided for this case and/or
       NP
           the question asked the deponent to offer testimony on a document that was not
           produced during the course of discovery for the present case. FRCP 26.
           Non-Responsive Testimony – Sonos objects to this deposition designation because
       NR
           it includes statement that are not response to the question that was asked. FRE 611.
           Beyond Scope of 30(b)(6) Topics – Sonos objects to this deposition designation
     SCOPE because it is outside the scope of the topics for which the deponent was designated
           as a corporate representative
           Vague and Ambiguous – Sonos objects to this deposition designation because the
       VA
           question and/or testimony includes vague and ambiguous statements. FRE 611.

   *Denotes an apparent error in Defendants’ designation; Sonos reserves the right to object and/or
   counter designate such a designation once corrected by Defendants.
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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


    SONOS, INC.,                                     )

                                                     )

                            Plaintiff,               )     Civil Action No. 14-1330-RGA

                                                     )     JURY TRIAL DEMANDED

                            v.                       )

                                )
   D&M HOLDINGS INC. d/b/a THE  )
   D+M GROUP, D&M HOLDINGS U.S. )
   INC., and DENON ELECTRONICS  )
   (USA), LLC,                  )

                                                     )

                            Defendants.              )


                 DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S TRIAL DEPOSITION
                                     DESIGNATIONS

            Attached please find Defendants D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S.

   Inc., and Denon Electronics (USA), LLC (collectively, “Defendants”) objections to the revised deposition

   designations that Plaintiff identified on November 8, 2017. Objections are stated in the chart, according to

   the following key. In addition to the objections listed in the chart below, Defendants object to the

   designation of attorney objections during the deposition. Defendants further objects to the inclusion of

   attorney objections within deposition video clips played at trial and requests that objectiosn be removed

   from all video testimony to the extent technically feasible.

                                                   OBJECTION KEY


                  CODE                              OBJECTION                                FRE


                     A                             Argumentative                            611(a)
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                                Attorney objections/colloquy
              ATTY                                                     402, 403
                                        not removed


                C                        Compound                       611(a)


               604                Lacks Proper Interpreter               604


               608              Improper Character Evidence              608


                                   Duplicative/asked and
                D                                                  611(a) (also 403)
                                         answered


                                  Improper expert opinion
                EO                                                     702/703
                                        testimony


                               Exhibit not listed on Plaintiffs’
                EX
                                         exhibit list


                H                          Hearsay                   801/802/805


                I                 Improper Impeachment                  613(a)


                                Incomplete designation (cut
                IN                                                       106
                                  off question or answer)


                L                          Leading                      611(c)


                LC               Calls for legal conclusion             611(a)


                                 Best Evidence – Improper
                BE                Description of Writing                 1002
                                         Contents
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                                    Assumes facts not in
                AF                                                 611(a)
                                        evidence;

                                       Lack of expert
                EQ                                                  702
                                        qualifications;

                                         Improper
                IH                                                 611(a)
                                        hypothetical

                                      Mischaracterized
               ME                evidence (e.g. – testimony,      601, 602
                                           docs)

                                  No showing of personal
                PK                     knowledge                  601, 602



                                    Improper lay opinion
               LO                                                   701
                                         testimony


               MIL               Subject to motion in limine


                N                     Non-responsive              611 (a)


               NA                    Calls for narrative          611 (a)


                P                         Privilege                 501


                                  Testimony by 30(b)(6)
              Scope             designee outside of scope of   FRCP 30(b)(6)
                                          topics


                R                        Relevance                401/402


                                 Speculation/lacks personal
                S                                                   602
                                        knowledge


                V                   Vague & ambiguous             611 (a)
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                               Overly prejudicial, confusing,
               403                                                  403
                                misleading, or cumulative


                                Other crimes, wrongs, or acts
               404                                                  404
                                /improper character evidence
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   Thomas Cullen:

    Defendants        Plaintiff’s Objections   Plaintiff’s Counter-    Defendant Objections to
    Designations                               Designation             Counter-Designations
    9:6 - 9:7         -                        -
    22:15 – 22:18     -                        -
    91:10 – 91:14     -                        91:19-20; 92:2-3


    92:15 – 93:3      INC                      -
    100:3 – 100:14    -                        89:3-13; 90:25-91:7; 97:12-98:6 - N, S
                                               97:12-15; 97:17-22;
                                               97:24-98:6; 100:22-
                                               23
    100:24 – 101:3    F; L; SCOPE; 402;        100:22-23; 101:18-
                      403; H                   20; 101:22-23
    101:5 – 101:6     F; L; SCOPE; 402;        100:22-23; 101:18-
                      403; H                   20; 101:22-23
    101:8 – 101:9     F; L; SCOPE; 402;        100:22-23; 101:18-
                      403                      20; 101:22-23
    101:11 - 101:17   F; L; SCOPE; 402;        100:22-23; 101:18-
                      403                      20; 101:22-23
    101:25 – 102:18   F; L; SCOPE; 402;        100:22-23; 101:18-
                      403; CS                  20; 101:22-23
    106:25 – 107:4    INC                      106:6-10; 107:9-10
    107:16 – 107:19   602; CS                  106:6-10; 107:9-10; 108:15-108:22 - S, Scope, LO,
                                               108:15-22            EO
    107:25 – 108:3    602; CS                  106:6-10; 107:9-10
    109:15 – 109:25   F; SCOPE; 402; 403;      106:6-10; 107:9-10
                      602
    110:2             F; SCOPE; 402; 403       106:6-10; 107:9-10
    110:4 - 110:12    F; SCOPE; 402; 403       106:6-10; 107:9-10;
                                               110:16-20
    118:3 – 118:9     SCOPE; 402; 403          118:14-15; 118:22-     123:4-123:15 - S
                                               24; 123:4-5; 123:7-
                                               15
    118:25 – 119:3    SCOPE; 402; 403;         118:14-15; 118:22-     123:4-123:15 - S
                      602                      24; 123:4-5; 123:7-
                                               15
    121:3 – 121:17    SCOPE; 402; 403;         118:14-15; 118:22-     123:4-123:15 - S
                      602; F; L; M             24; 123:4-5; 123:7-
                                               15
    121:19 – 122:6    SCOPE; 402; 403;         118:14-15; 118:22-     123:4-123:15 - S
                      602; F                   24; 123:4-5; 123:7-
                                               15



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    122:8 – 122:14    SCOPE; 402; 403;       118:14-15; 118:22-    123:4-123:15 - S
                      602; F                 24; 123:4-5; 123:7-
                                             15
    123:16 - 123:20   SCOPE; 402; 403;       118:14-15; 118:22-    123:4-123:15 - S
                      602; F; CS             24; 123:4-5; 123:7-
                                             15
    123:22 – 124:1    SCOPE; 402; 403;       118:14-15; 118:22-    123:4-123:15 - S
                      602; F; L; CS          24; 123:4-5; 123:7-
                                             15
    124:3             SCOPE; 402; 403;       118:14-15; 118:22-    123:4-123:15 - S
                      602; F; L; CS          24; 123:4-5; 123:7-
                                             15
    124:5 – 124:6     SCOPE; 402; 403;       118:14-15; 118:22-    123:4-123:15 - S
                      602; F; L; CS          24; 123:4-5; 123:7-
                                             15
    124:8 – 124:12    SCOPE; 402; 403;       118:14-15; 118:22-    123:4-123:15 - S
                      602; F; L; CS          24; 123:4-5; 123:7-
                                             15
    124:15 – 125:6    F; 402; 403            116:5-6; 116:8-9;     123:4-123:15; 125:12-125:19 -
                                             123:4-5; 123:7-15;    S
                                             125:12-14; 125:16-
                                             19
    125:8 – 125:10    F; 402; 403            123:4-5; 123:7-15;    123:4-123:15; 125:12-125:19 -
                                             125:12-14; 125:16-    S
                                             19
    126:4 – 126:7     F; 402; 403; H         125:12-14; 125:16-    125:12-125:19; 126:8-126:23 -
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   Christopher Kallai:

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   Jonathan Cotter:

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              Nicholas Millington:

Defendants           Plaintiff’s Objections   Plaintiff’s Counter-   Defendant Objections   Defendant
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                                                                     Designations           based on
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           Tad Coburn:

            Defendants       Plaintiff’s Objections   Plaintiff’s Counter-   Defendant Objections to
            Designations                              Designation            Counter-Designations
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              SCHEDULE G1
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

   SONOS, INC.,                        )
                                       )
                     Plaintiff,        )
                                               Civil Action No. 14-1330-RGA
                                       )
                     v.                )       JURY TRIAL DEMANDED
                                       )
   D&M HOLDINGS INC. d/b/a THE         )
   D+M GROUP, D&M HOLDINGS U.S.        )
   INC., and DENON ELECTRONICS         )
   (USA), LLC,                         )
                                       )
                     Defendants.       )


                  SONOS’S BRIEF STATEMENT OF INTENDED PROOFS




                                           1
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          Plaintiff Sonos, Inc. (“Sonos”) respectfully submits this statement of what Sonos expects

   to prove in support of its claims, including information regarding its claims of relief. Sonos’s

   statement is limited to its expected proof with regard to its claims, and does not address the proof

   that Sonos may choose to present in response to the defenses that Defendants D&M Holdings

   Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and Denon Electronics (USA), LLC

   (collectively, “D&M”) may present at trial. Sonos’s statement is based upon the current status of

   the case and the Court’s current rulings. Sonos reserves the right to revise this statement in light

   of any further decisions or orders of the Court, including without limitation any rulings on

   pending motions.

                ISSUES ON WHICH SONOS BEARS THE BURDEN OF PROOF

   I.     DIRECT INFRINGEMENT

          Below are the issues on which Sonos bears the burden of proof related to whether D&M

   has directly infringed the Asserted Claims of the Asserted Sonos Patents. For the Court’s

   convenience, the following table shows the current list of Asserted Claims and Accused HEOS

   Instrumentalities1 for each Asserted Sonos Patent:




   1
     Sonos’s infringement theories set forth herein apply equally to both the first generation of
   HEOS players (i.e., the “HS1” version of HEOS players) and the second generation of HEOS
   players (i.e., the “HS2” version of HEOS players). Thus, any reference to a given model of
   HEOS player herein is intended to cover both generations of that HEOS player model (e.g., a
   reference to the HEOS 1 player model covers both the HS1 and HS2 versions of the HEOS 1
   player model). Likewise, Sonos’s infringement theories set forth herein apply equally to the
   HEOS controller app for iOS, Android, and Kindle. Thus, any reference to the HEOS controller
   app is intended to cover the HEOS iOS app, the HEOS Android app, and the HEOS Kindle app.


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         Patent      Asserted Claims                   Accused HEOS Instrumentalities
                                          HEOS 1, HEOS 3, HEOS 5, HEOS 7, HEOS
                                          HomeCinema, HEOS Link, HEOS Amp, and HEOS Drive
       9,195,258     11, 17, 18, 21, 24
                                          players installed with any version of the HEOS firmware
                                          (collectively, the “Accused HEOS Players”)
                                          Devices installed with any version of the HEOS controller
       7,571,014        21, 25, 38
                                          app prior to Version “U2”
                                          Devices installed with any version of the HEOS controller
       8,588,949           1, 16
                                          app

          A.       The ‘258 Patent

          1.       Sonos intends to prove, by a preponderance of the evidence, that D&M has

   directly infringed Asserted Claims 17, 18, 21, and 24 of the ‘258 Patent by making, using,

   offering to sell, selling, and/or importing the Accused HEOS Players within the United States.

          2.       Sonos intends to prove, by a preponderance of the evidence, that D&M has

   directly infringed Asserted Claims 17, 18, 21, and 24 of the ‘258 Patent by virtue of the fact that

   Accused HEOS Players have automatically downloaded and installed updated versions of the

   HEOS firmware, which also constitutes “making” the invention claimed in Asserted Claims 17,

   18, 21, and 24 of the ‘258 Patent.

          3.       Sonos intends to prove, by a preponderance of the evidence, that D&M has

   directly infringed Asserted Claim 11 of the ‘258 Patent by making, offering to sell, and/or using,

   within the United States, any HEOS system including at least two Accused HEOS Players and at

   least two devices installed with any version of the HEOS controller app that are within the same

   local area network (LAN).

          B.       The ‘014 Patent

          4.       Sonos intends to prove, by a preponderance of the evidence, that D&M has

   directly infringed Asserted Claims 25 and 38 of the ‘014 Patent by installing any version of the

   HEOS controller app prior to Version “U2” onto a device (and thus “making” the claimed




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   invention) within the United States and/or by using devices installed with any version of the

   HEOS controller app prior to Version “U2” within the United States.

          5.      Sonos intends to prove, by a preponderance of the evidence, that D&M has

   directly infringed Asserted Claim 21 of the ‘014 Patent by using, within the United States, a

   HEOS system including a device installed with any version of the HEOS controller app prior to

   Version “U2” and at least two Accused HEOS Players and in a manner that caused every

   limitation of these Asserted Claims to be performed, either literally or under the Doctrine of

   Equivalents.

          C.      The ‘949 Patent

          6.      Sonos intends to prove, by a preponderance of the evidence, that D&M has

   directly infringed Asserted Claim 1 of the ‘949 Patent by installing any version of the HEOS

   controller app prior to Version “U2” onto a device (and thus “making” the claimed invention)

   within the United States and/or by using devices installed with any version of the HEOS

   controller app within the United States.

          7.      Sonos intends to prove, by a preponderance of the evidence, that D&M has

   directly infringed Asserted Claim 16 of the ‘949 Patent by using, within the United States,

   devices installed with any version of the HEOS controller app in a manner that caused the device

   to perform every limitation of this Asserted Claim, either literally or under the Doctrine of

   Equivalents.

   II.    INDIRECT INFRINGEMENT

          A.      The ‘258 Patent

          8.      Sonos intends to prove, by a preponderance of the evidence, that D&M has

   induced infringement of Asserted Claims 17, 18, 21, and 24 of the ‘258 Patent under 35 U.S.C. §




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   271(b) by actively inducing others to install HEOS firmware updates into Accused HEOS

   Players (and thus “make” the claimed invention) within the United States and/or to use Accused

   HEOS Players within the United States.

          9.      Sonos intends to prove, by a preponderance of the evidence, that D&M has

   induced infringement of Asserted Claim 11 of the ‘258 Patent under 35 U.S.C. § 271(b) by

   actively inducing others to make and/or use, within the United States, a HEOS system including

   at least two Accused HEOS Players and at least two devices installed with any version of the

   HEOS controller app that are within the same LAN.

          B.      The ‘014 Patent

          10.     Sonos intends to prove, by a preponderance of the evidence, that D&M has

   induced infringement of Asserted Claims 25 and 38 of the ‘014 Patent under 35 U.S.C. § 271(b)

   by actively inducing others to install any version of the HEOS controller app prior to Version

   “U2” onto a device (and thus “make” the claimed invention) within the United States and/or to

   use devices installed with any version of the HEOS controller app prior to Version “U2” within

   the United States.

          11.     Sonos intends to prove, by a preponderance of the evidence, that D&M has

   induced infringement of Asserted Claim 21 of the ‘014 Patent under 35 U.S.C. § 271(b) by

   actively inducing others to use, within the United States, a HEOS system including a device

   installed with any version of the HEOS controller app prior to Version “U2” and at least two

   Accused HEOS Players and in a manner that caused every limitation of these Asserted Claims to

   be performed, either literally or under the Doctrine of Equivalents.




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             C.    The ‘949 Patent

             12.   Sonos intends to prove, by a preponderance of the evidence, that D&M has

   induced infringement of Asserted Claim 1 of the ‘949 Patent under 35 U.S.C. § 271(b) by

   actively inducing others to others to install any version of the HEOS controller app onto a device

   (and thus “make” the claimed invention) within the United States and/or to use devices installed

   with any version of the HEOS controller app.

             13.   Sonos intends to prove, by a preponderance of the evidence, that D&M has

   induced infringement of Asserted Claim 16 of the ‘949 Patent under 35 U.S.C. § 271(b) by

   actively inducing others to use, within the United States, any device installed with any version of

   the HEOS controller app in a manner that caused the device to perform every limitation of this

   Asserted Claim, either literally or under the Doctrine of Equivalents.

   III.      CONTRIBUTORY INFRINGEMENT

             A.    The ‘258 Patent

             14.   Sonos intends to prove, by a preponderance of the evidence, that D&M has

   contributorily infringed Asserted Claims 17, 18, 21, and 24 of the ‘258 Patent under 35 U.S.C. §

   271(c) by supplying HEOS firmware updates for the Accused HEOS Players in the United

   States.

             15.   Sonos intends to prove, by a preponderance of the evidence, that D&M has

   contributorily infringed Asserted Claim 11 of the ‘258 Patent under 35 U.S.C. § 271(c) by

   supplying HEOS firmware updates for the Accused HEOS Players in the United States.




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          B.     The ‘014 Patent

          16.    Sonos intends to prove, by a preponderance of the evidence, that D&M has

   contributorily infringed Asserted Claims 25 and 38 of the ‘014 Patent under 35 U.S.C. § 271(c)

   by supplying versions of the HEOS controller app prior to Version “U2” in the United States.

          17.    Sonos intends to prove, by a preponderance of the evidence, that D&M has

   contributorily infringed Asserted claim 21 of the ‘014 Patent under 35 U.S.C. § 271(c) by

   supplying versions of the HEOS controller app prior to Version “U2” in the United States.

          C.     The ‘949 Patent

          18.    Sonos intends to prove, by a preponderance of the evidence, that D&M has

   contributorily infringed Asserted Claim 1 of the ‘949 Patent under 35 U.S.C. § 271(c) by

   supplying the HEOS controller app in the United States.

          19.    Sonos intends to prove, by a preponderance of the evidence, that D&M has

   contributorily infringed Asserted Claim 16 of the ‘949 Patent under 35 U.S.C. § 271(c) by

   supplying the HEOS controller app in the United States.

   IV.    WILLFULLNESS

          20.    Sonos intends to prove, by a preponderance of the evidence, that D&M’s

   infringement of each of the Asserted Claims was willful.

   V.     RELIEF & DAMAGES

          21.    Sonos intends to prove that it is entitled to a judgment that D&M directly

   infringed each Asserted Claim.

          22.    Sonos intends to prove that it is entitled to a judgment that D&M induced

   infringement of each Asserted Claim.




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           23.     Sonos intends to prove that it is entitled to a judgment that D&M contributorily

   infringed each Asserted Claim.

           24.     Sonos intends to prove that it is entitled to a judgment that any infringement by

   D&M was willful.

           25.     Sonos intends to prove that it is entitled to a permanent injunction enjoining

   D&M, their officers, agents, servants, employees and attorneys, and other persons in active

   concert or participation with D&M, and their parents, subsidiaries, divisions, successors and

   assigns, from further infringement of the Asserted Claims.

           26.     Sonos intends to prove that it is entitled to a judgment awarding lost profits for

   D&M’s infringement of the Asserted Claims and the amount of such lost profits.

           27.     Sonos intends to prove that it is entitled to a judgment awarding reasonable

   royalties for D&M’s infringement of the Asserted Claims and the amount of such reasonable

   royalties.

           28.     Sonos intends to prove that it is entitled to a judgment awarding enhanced

   damages for, inter alia, D&M’s willful infringement of the Asserted Claims.

           29.     Sonos intends to prove that it is entitled to a judgment awarding pre-judgment and

   post-judgment interest.

           30.     Sonos intends to prove that it is entitled to a judgment awarding attorneys’ fees

   and/or costs.




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                 ISSUES ON WHICH D&M BEARS THE BURDEN OF PROOF

   I.     NON-INFRINGING ALTERNATIVES

          31.     Sonos intends to show that D&M cannot carry its burden of proving that non-

   infringing alternatives exist to practicing claims 11, 17, 18, 21, and 24 of the ‘258 Patent.

          32.     Sonos intends to show that D&M cannot carry its burden of proving that non-

   infringing alternatives exist to practicing claims 21, 25, and 38 of the ‘014 Patent.

          33.     Sonos intends to show that D&M cannot carry its burden of proving that non-

   infringing alternatives exist to practicing claims 1 and 16 of the ‘949 Patent.

   II.    INVALIDITY OF THE ASSERTED PATENTS

          34.     Below are the statements of intended proof related to whether the Asserted

   Patents are invalid under 35 U.S.C. §§ 102, 103 and 112.2

          A.      The ‘258 Patent

          35.     Sonos intends to show that D&M cannot carry its burden of proving, by clear and

   convincing evidence, that any Asserted Claim of the ‘258 Patent is invalid under 35 U.S.C. § 102

   as being anticipated by any of D&M’s asserted prior art references.




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     Sonos objects to the invalidity contentions set forth in D&M’s pretrial exhibits for several
   reasons. First, D&M’s expansive list of asserted prior art references goes well beyond the limits
   set forth by the Court. Second, D&M’s contentions that the Asserted Claims are “invalid under
   35 U.S.C. §§ 102, 103, alone or in combination, in view of” D&M’s asserted prior art references
   is vague, ambiguous, misleading, and confusing. Third, D&M’s inclusion of invalidity
   allegations under § 102 go beyond the scope of D&M’s final invalidity contentions and its expert
   reports, and in many instances, violate the legal standards regarding what constitutes a single
   reference for purposes of § 102. Fourth, D&M’s contentions that the Asserted Claims are
   “invalid under 35 U.S.C. § 112” – without providing any specificity regarding the grounds for
   D&M’s § 112 challenges – are vague, ambiguous, misleading, and confusing. For at least these
   reasons, Sonos respectfully submits that D&M should be required to provided an updated
   statement of invalidity contentions that remedies these deficiencies. Further, Sonos expressly
   reserves its right to update its statement of the issues of fact related to D&M’s invalidity defenses
   once D&M provides its updated statement of invalidity contentions.


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          36.      Sonos intends to show that D&M cannot carry its burden of proving, by clear and

   convincing evidence, that any Asserted Claim of the ‘258 Patent is invalid under 35 U.S.C. § 103

   as being rendered obvious by any of D&M’s asserted prior art references, either alone or in

   combination.

          37.      Sonos intends to prove that, even if D&M could establish a prima facie case of

   obviousness with respect to any Asserted Claim of the ‘258 Patent, there are secondary

   considerations of non-obviousness that overcome this prima facie case of obviousness.

          38.      Sonos intends to show that D&M cannot carry its burden of proving, by clear and

   convincing evidence, that any of the Asserted Claims of the ‘258 Patent is invalid under 35

   U.S.C. § 112.

          B.       The ‘014 Patent

          39.      Sonos intends to show that D&M cannot carry its burden of proving, by clear and

   convincing evidence, that any Asserted Claim of the ‘014 Patent is invalid under 35 U.S.C. § 102

   as being anticipated by any of D&M’s asserted prior art references.

          40.      Sonos intends to show that D&M cannot carry its burden of proving, by clear and

   convincing evidence, that any Asserted Claim of the ‘014 Patent is invalid under 35 U.S.C. § 103

   as being rendered obvious by any of D&M’s asserted prior art references, either alone or in

   combination.

          41.      Sonos intends to prove that, even if D&M could establish a prima facie case of

   obviousness with respect to any Asserted Claim of the ‘014 Patent, there are secondary

   considerations of non-obviousness that overcome this prima facie case of obviousness.




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          42.       Sonos intends to show that D&M cannot carry its burden of proving, by clear and

   convincing evidence, that any of the Asserted Claims of the ‘014 Patent is invalid under 35

   U.S.C. § 112.

          C.        The ‘949 Patent

          43.       Sonos intends to show that D&M cannot carry its burden of proving, by clear and

   convincing evidence, that any Asserted Claim of the ‘949 Patent is invalid under 35 U.S.C. § 102

   as being anticipated by any of D&M’s asserted prior art references.

          44.       Sonos intends to show that D&M cannot carry its burden of proving, by clear and

   convincing evidence, that any Asserted Claim of the ‘949 Patent is invalid under 35 U.S.C. § 103

   as being rendered obvious by any of D&M’s asserted prior art references, either alone or in

   combination.

          45.       Sonos intends to prove that, even if D&M could establish a prima facie case of

   obviousness with respect to any Asserted Claim of the ‘949 Patent, there are secondary

   considerations of non-obviousness that overcome this prima facie case of obviousness.

          46.       Sonos intends to show that D&M cannot carry its burden of proving, by clear and

   convincing evidence, that any of the Asserted Claims of the ‘949 Patent is invalid under 35

   U.S.C. § 112.

   III.   ABSOLUTE INTERVENING RIGHTS

          47.       Sonos intends to show that D&M cannot carry its burden of proving by a

   preponderance of evidence that the claims of the ‘949 Patent were substantively changed during

   reexamination.




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          48.     Sonos intends to prove that D&M cannot carry its burden of proving by a

   preponderance of evidence that absolute intervening rights apply to the Asserted Claims of the

   ‘949 Patent.




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                     SCHEDULE                              2
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

    SONOS, INC.                                     §
                                                    §
                                                    §
                           Plaintiff,               §
                                                    §       CIVIL ACTION No. 14-1330-RGA
    v.                                              §
                                                    §       JURY TRIAL DEMANDED
                                                    §
    D&M HOLDINGS INC. d/b/a THE                     §
    D+M GROUP, D&M HOLDINGS U.S.                    §
    INC., and DENON ELECTRONICS                     §
    (USA), LLC,                                     §
                                                    §
                           Defendants.              §

                DEFENDANTS’ BRIEF STATEMENT OF INTENDED PROOFS

          Defendants D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and

   Denon Electronics (USA), LLC (collectively, “Defendants”) submit this Statement of Intended

   Proofs regarding the issues Defendants expect to prove in response to Plaintiff Sonos, Inc.’s

   (“Sonos”) allegations of patent infringement and requests for relief. Defendants’ statement is

   based on Defendants’ current understanding of the claims asserted by Sonos and the proceedings

   in this action to date. Defendants reserve the right to revise this statement in light of the Court’s

   rulings or any amendments, modifications, or extensions to Sonos’s positions.

                ISSUES ON WHICH SONOS BEARS THE BURDEN OF PROOF

   I.     NO DIRECT INFRINGEMENT

          A.      The ‘258 Patent

          1.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have directly infringed Asserted Claims 17, 18, 21, and 24 of the ‘258 Patent by

   making, using, offering to sell, selling, and/or importing, within the United States, HEOS 1, HEOS



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   3, HEOS 5, HEOS 7, HEOS HomeCinema, HEOS Link, HEOS Amp, and HEOS Drive players

   installed with any version of the HEOS firmware.

          2.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have made the inventions claimed in Asserted Claims 17, 18, 21, and 24 of the ‘258

   Patent, and thus directly infringed Asserted Claims 17, 18, 21, and 24 of the ‘258 Patent, by virtue

   of the fact that HEOS 1, HEOS 3, HEOS 5, HEOS 7, HEOS HomeCinema, HEOS Link, HEOS

   Amp, and HEOS Drive players have downloaded and installed updated versions of the HEOS

   firmware.

          3.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have directly infringed Asserted Claim 11 of the ‘258 Patent by making, offering to

   sell, and/or using, within the United States, any HEOS system including at least two HEOS players

   installed with any version of the HEOS firmware and at least two devices installed with any version

   of the HEOS controller app that are within the same local area network (LAN).

          B.      The ‘014 Patent

          4.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have directly infringed Asserted Claims 25 and 38 of the ‘014 Patent by making and/or

   using, within the United States, devices installed with any version of the HEOS controller app

   prior to Version “U2.”

          5.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have directly infringed Asserted Claim 21 of the ‘014 Patent by using, within the

   United States, a HEOS system including a device installed with any version of the HEOS controller

   app prior to Version “U2” and at least two HEOS players installed with any version of the HEOS

   firmware and in a manner that caused every limitation of these Asserted Claims to be performed,

   either literally or under the Doctrine of Equivalents.
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          C.      The ‘949 Patent

          6.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have directly infringed Asserted Claim 1 of the ‘949 Patent by making and/or using,

   within the United States, devices installed with any version of the HEOS controller app.

          7.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have directly infringed Asserted Claim 16 of the ‘949 Patent by using, within the

   United States, devices installed with any version of the HEOS controller app in a manner that

   caused the device to perform every limitation of this Asserted Claim, either literally or under the

   Doctrine of Equivalents.

   II.    NO INDIRECT INFRINGEMENT

          A.      The ‘258 Patent

          8.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have induced infringement of Asserted Claims 17, 18, 21, and 24 of the ‘258 Patent

   under 35 U.S.C. § 271(b) by actively inducing third-party users and/or distributors to make and/or

   use, within the United States, HEOS 1, HEOS 3, HEOS 5, HEOS 7, HEOS HomeCinema, HEOS

   Link, HEOS Amp, and HEOS Drive players installed with any version of the HEOS firmware.

          9.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have induced infringement of Asserted Claim 11 of the ‘258 Patent under 35 U.S.C. §

   271(b) by actively inducing third-party users and/or distributors to make and/or use, within the

   United States, a HEOS system including at least two HEOS players installed with any version of

   the HEOS firmware and at least two devices installed with any version of the HEOS controller app

   that are within the same LAN.




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          B.       The ‘014 Patent

          10.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have induced infringement of Asserted Claims 25 and 38 of the ‘014 Patent under 35

   U.S.C. § 271(b) by actively inducing third-party users and/or distributors to make and/or use,

   within the United States, devices installed with any version of the HEOS controller app prior to

   Version “U2.”

          11.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have induced infringement of Asserted Claim 21 of the ‘014 Patent under 35 U.S.C. §

   271(b) by actively inducing third-party users and/or distributors to use, within the United States, a

   HEOS system including a device installed with any version of the HEOS controller app prior to

   Version “U2” and at least two HEOS players installed with any version of the HEOS firmware

   and in a manner that caused every limitation of these Asserted Claims to be performed, either

   literally or under the Doctrine of Equivalents.

          C.       The ‘949 Patent

          12.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have induced infringement of Asserted Claim 1 of the ‘949 Patent under 35 U.S.C. §

   271(b) by actively inducing third-party users and/or distributors to make and/or use, within the

   United States, devices installed with any version of the HEOS controller app.

          13.      Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have induced infringement of Asserted Claim 16 of the ‘949 Patent under 35 U.S.C. §

   271(b) by actively inducing third-party users and/or distributors to use, within the United States,

   any device installed with any version of the HEOS controller app in a manner that caused the

   device to perform every limitation of this Asserted Claim, either literally or under the Doctrine of

   Equivalents.

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   III.      NO CONTRIBUTORY INFRINGEMENT

             A.     The ‘258 Patent

             14.    Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have contributorily infringed Asserted Claims 17, 18, 21, and 24 of the ‘258 Patent

   under 35 U.S.C. § 271(c) by supplying HEOS firmware updates in the United States.

             15.    Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have contributorily infringed Asserted Claim 11 of the ‘258 Patent under 35 U.S.C. §

   271(c) by supplying HEOS firmware updates in the United States.

             B.     The ‘014 Patent

             16.    Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have contributorily infringed Asserted Claims 25 and 38 of the ‘014 Patent under 35

   U.S.C. § 271(c) by supplying versions of the HEOS controller app prior to Version “U2” in the

   United States.

             17.    Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have contributorily infringed Asserted claim 21 of the ‘014 Patent under 35 U.S.C. §

   271(c) by supplying versions of the HEOS controller app prior to Version “U2” in the United

   States.

             C.     The ‘949 Patent

             18.    Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have contributorily infringed Asserted Claim 1 of the ‘949 Patent under 35 U.S.C. §

   271(c) by supplying the HEOS controller app in the United States.

             19.    Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants have contributorily infringed Asserted Claim 16 of the ‘949 Patent under 35 U.S.C. §

   271(c) by supplying the HEOS controller app in the United States.

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   IV.    NO WILLFULNESS

          20.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   Defendants willfully infringed any of the Asserted Claims of the Asserted Patents.

   V.     SONOS IS NOT ENTITLED TO RELIEF & DAMAGES

          21.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a judgment that Defendants directly infringed each Asserted Claim.

          22.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a judgment that Defendants induced infringement of each Asserted Claim.

          23.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a judgment that Defendants contributorily infringed each Asserted Claim.

          24.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a judgment that any infringement by Defendants was willful.

          25.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a permanent injunction enjoining Defendants, their officers, agents, servants,

   employees and attorneys, and other persons in active concert or participation with Defendants, and

   their parents, subsidiaries, divisions, successors and assigns, from further infringement of the

   Asserted Claims.

          26.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a judgment awarding lost profits for Defendants’ infringement of the Asserted

   Claims and the amount or calculation of such lost profits.

          27.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a judgment awarding reasonable royalties for Defendants’ infringement of the

   Asserted Claims and the amount and calculation of such reasonable royalties.



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          28.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a judgment awarding enhanced damages for, inter alia, Defendants’ willful

   infringement of the Asserted Claims.

          29.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a judgment awarding pre-judgment and post-judgment interest.

          30.     Defendants intend to prove that Sonos cannot carry its burden of establishing that

   it is entitled to a judgment awarding attorneys’ fees and/or costs.

            ISSUES ON WHICH DEFENDANTS BEAR THE BURDEN OF PROOF

   VI.    NON-INFRINGING ALTERNATIVES1

          31.     Defendants intend to prove that non-infringing alternatives exist to practicing

   claims 11, 17, 18, 21, and 24 of the ‘258 Patent.

          32.     Defendants intend to prove that non-infringing alternatives exist to practicing

   claims 21, 25, and 38 of the ‘014 Patent.

          33.     Defendants intend to prove that non-infringing alternatives exist to practicing

   claims 1 and 16 of the ‘949 Patent.

   VII.   INVALIDITY OF THE ASSERTED PATENTS

          Below are the statements of intended proof related to whether the Asserted Patents are

   invalid under 35 U.S.C. §§ 102, 103 and 112.

          A.      The ‘258 Patent

          34.     Defendants intend to prove, by clear and convincing evidence, that claim 11 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of the UPnP


   1
    As described in Defendants’ Issues of Law to be Litigated, Sonos bears the burden of proof for
   the purposes of obtaining lost profits that there is an absence of non-infringing alternatives.
   Regardless of whether Sonos can meet its burden, Defendants intend to prove the existence of non-
   infringing alternatives.
                                                       7
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   Design by Example book, including the Intel UPnP Media Renderer, UPnP Media Server, UPnP

   Media Controller and Intel Device Spy software that was included in a CD with that book, and the

   documents specifically identified and incorporated by reference into that book (including UPnP

   Design by Example; Intel UPnP Software Suite (Renderer, Server, Controller, Device Spy);

   “RenderingControl:1 Service Template Version 1.01 For UPnP, Version 1.0, June 25, 2002”

   (SONDM000115187-249); “AVTransport:1 Service Template Version 1.01 For UPnP, Version

   1.0, June 25, 2002” (SONDM000114882-947); “Connection Manager: 1 Service Template

   Version 1.01 For UPnP, Version 1.0” June 25, 2002 (SONDM000114948-72); Windows

   Universal Plug and Play (UPnP) Client Support (D+M_0402007-24); Universal Plug and Play AV

   Architecture:1 For UPnP, Version 1.0, June 25, 2002 (D+M_0298151-172); “MediaRenderer:1

   Device Template Version 1.01 For UPnP, Version 1.0, June 25, 2002” (SONDM000115163-74);

   “MediaServer:1 Device Template Version 1.01 For UPnP, Version 1.0, June 25, 2002”

   (SONDM000115175-86); “ContentDirectory:1 Service Template Version 1.01 For UPnP, Version

   1.0, June 25, 2002” (SONDM000114973-5061); Universal Plug and Play Device Architecture,”

   Version 1.0, June 8, 2000 (SONDM000164289-0342); RTP (RFC 1889); IEEE 1394; NTP (RFC-

   1305); (RFC 2616); Microsoft, Universal Plug and Play (UPnP) Client Support, August 2001

   (“Microsoft UPnP”) (D+M_0402007-24)) (collectively, “UPnP”) (collectively, “UPnP”).

          35.    Defendants intend to prove, by clear and convincing evidence, that claim 11 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of the Home

   Director System as evidenced by U.S. Patent Application Publication No. US2002/0124097 to

   Isely and D+M_0402137-140 (collectively, “Home Director”).




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          36.     Defendants intend to prove, by clear and convincing evidence, that claim 11 of the

   ’258 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP and/or Home

   Director.

          37.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 11 of the ’258 Patent.

          38.     Defendants intend to prove, by clear and convincing evidence, that claim 11 of the

   ’258 Patent is invalid under 35 U.S.C. § 112.

          39.     Defendants intend to prove, by clear and convincing evidence, that claim 17 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of UPnP.

          40.     Defendants intend to prove, by clear and convincing evidence, that claim 17 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of Home

   Director.

          41.     Defendants intend to prove, by clear and convincing evidence, that claim 17 of the

   ’258 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP and/or Home

   Director.

          42.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 17 of the ’258 Patent.

          43.     Defendants intend to prove, by clear and convincing evidence, that claim 17 of the

   ’258 Patent is invalid under 35 U.S.C. § 112.

          44.     Defendants intend to prove, by clear and convincing evidence, that claim 18 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of UPnP.



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          45.     Defendants intend to prove, by clear and convincing evidence, that claim 18 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of Home

   Director.

          46.     Defendants intend to prove, by clear and convincing evidence, that claim 18 of the

   ’258 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP and/or Home

   Director.

          47.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 18 of the ’258 Patent.

          48.     Defendants intend to prove, by clear and convincing evidence, that claim 18 of the

   ’258 Patent is invalid under 35 U.S.C. § 112.

          49.     Defendants intend to prove, by clear and convincing evidence, that claim 21 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of UPnP.

          50.     Defendants intend to prove, by clear and convincing evidence, that claim 21 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of Home

   Director.

          51.     Defendants intend to prove, by clear and convincing evidence, that claim 21 of the

   ’258 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP and/or Home

   Director.

          52.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 21 of the ’258 Patent.




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          53.     Defendants intend to prove, by clear and convincing evidence, that claim 21 of the

   ’258 Patent is invalid under 35 U.S.C. § 112.

          54.     Defendants intend to prove, by clear and convincing evidence, that claim 24 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of UPnP.

          55.     Defendants intend to prove, by clear and convincing evidence, that claim 24 of the

   ’258 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of Home

   Director.

          56.     Defendants intend to prove, by clear and convincing evidence, that claim 24 of the

   ’258 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP and/or Home

   Director.

          57.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 24 of the ’258 Patent.

          58.     Defendants intend to prove, by clear and convincing evidence, that claim 24 of the

   ’258 Patent is invalid under 35 U.S.C. § 112.

          B.      The ‘014 Patent

          59.     Defendants intend to prove, by clear and convincing evidence, that claim 21 of the

   ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of UPnP.

          60.     Defendants intend to prove, by clear and convincing evidence, that claim 21 of the

   ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of the D&M

   System which comprises of the Escient Fireball System (as evidenced by The Fireball Digital

   Music Manager E-40 AND E-120 Installation and User Guide, January 2003 (D+M_0297671-

   906); The FireBall remote control guide, December 23, 2003 (D+M_0296627-645); Meet the

   Fireball, August 26, 2003 (D+M_0298092-3); FireBall Digital Music Player MP-100, Installation
                                                   11
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   and User’s Guide, January 2003 (D+M_0318272-432)) in combination with Denon AVRs (as

   evidenced by “DVD and Music Manager DVDM-100 Installation and User’s Guide” October 2003

   (D+M_0323045-229); “AVR-5800 Operating Instructions” August 2000 (D+M_0295690-756);

   “AVR-1604/684 Operating Instructions” June 2003 (D+M_0000326-453)) and in further

   combination with U.S. Patent 6,469,633 to Wachter (collectively, the “D&M System”).

          61.     Defendants intend to prove, by clear and convincing evidence, that claim 21 of the

   ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of U.S. Patent

   Application Publication No. US20020072816A1 to Shdema (“Shdema”).

          62.     Defendants intend to prove, by clear and convincing evidence, that claim 21 of the

   ’014 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP, the D&M System

   and/or Shdema.

          63.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 21 of the ’014 Patent.

          64.     Defendants intend to prove, by clear and convincing evidence, that claim 21 of the

   ’014 Patent is invalid under 35 U.S.C. § 112.

          65.     Defendants intend to prove, by clear and convincing evidence, that claim 25 of the

   ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of UPnP.

          66.     Defendants intend to prove, by clear and convincing evidence, that claim 25 of the

   ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of the D&M

   System.

          67.     Defendants intend to prove, by clear and convincing evidence, that claim 25 of the

   ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of Shdema.



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          68.     Defendants intend to prove, by clear and convincing evidence, that claim 25 of the

   ’014 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP, the D&M System

   and/or Shdema.

          69.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 25 of the ’014 Patent.

          70.     Defendants intend to prove, by clear and convincing evidence, that claim 25 of the

   ’014 Patent is invalid under 35 U.S.C. § 112.

          71.     Defendants intend to prove, by clear and convincing evidence, that claim 38 of the

   ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of UPnP.

          72.     Defendants intend to prove, by clear and convincing evidence, that claim 38 of the

   ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of the D&M

   System.

          73.     Defendants intend to prove, by clear and convincing evidence, that claim 38 of the

   ’014 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of Shdema.

          74.     Defendants intend to prove, by clear and convincing evidence, that claim 38 of the

   ’014 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP, the D&M System

   and/or Shdema.

          75.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 38 of the ’014 Patent.

          76.     Defendants intend to prove, by clear and convincing evidence, that claim 38 of the

   ’014 Patent is invalid under 35 U.S.C. § 112.



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          C.      The ‘949 Patent

          77.     Defendants intend to prove, by clear and convincing evidence, that the ’949 Patent

   is not entitled to a priority date earlier than February 21, 2008.

          78.     Defendants intend to prove, by clear and convincing evidence, that claim 1 of the

   ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of UPnP.

          79.     Defendants intend to prove, by clear and convincing evidence, that claim 1 of the

   ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of the D&M

   System.

          80.     Defendants intend to prove, by clear and convincing evidence, that claim 1 of the

   ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of Shdema.

          81.     Defendants intend to prove, by clear and convincing evidence, that claim 1 of the

   ’949 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP, the D&M System

   and/or Shdema.

          82.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 1 of the ’949 Patent.

          83.     Defendants intend to prove, by clear and convincing evidence, that claim 1 of the

   ’949 Patent is invalid under 35 U.S.C. § 112.

          84.     Defendants intend to prove, by clear and convincing evidence, that claim 16 of the

   ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of UPnP.

          85.     Defendants intend to prove, by clear and convincing evidence, that claim 16 of the

   ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of the D&M

   System.



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          86.     Defendants intend to prove, by clear and convincing evidence, that claim 16 of the

   ’949 Patent is invalid under 35 U.S.C. §§ 102, 103, alone or in combination, in view of Shdema.

          87.     Defendants intend to prove, by clear and convincing evidence, that claim 16 of the

   ’949 Patent is invalid under 35 U.S.C. § 103 in view of a combination of UPnP, the D&M System

   and/or Shdema.

          88.     Defendants intend to prove that Sonos cannot carry its burden of establishing

   secondary considerations of nonobviousness, including the necessary nexus between the evidence

   and claimed invention, which salvage the otherwise invalid claim 16 of the ’949 Patent.

          89.     Defendants intend to prove, by clear and convincing evidence, that claim 16 of the

   ’949 Patent is invalid under 35 U.S.C. § 112.

   VIII. ADDITIONAL AFFIRMATIVE DEFENSES

          Below are the statements of intended proof related to Defendants’ additional affirmative

   defenses.

          A.      The ‘949 Patent

          90.     Defendants intend to prove, by a preponderance of the evidence, that Sonos’s

   claims for relief for the ’949 Patent are limited and/or barred by absolute intervening rights. 2

                  a.      Defendants intend to prove, by a preponderance of the evidence, that the
                          claims of the ’949 Patent were amended during reexamination. 3



   2
     Although Defendants have identified the issue of absolute intervening rights in the statement of
   intended proof related to Defendants’ affirmative defenses, there are no pending issues of fact
   which require the jury’s attention or that need be proven. Instead, the issue of absolute intervening
   rights is a matter of law for the Court to decide for the reasons set forth below. Nevertheless, out
   of an abundance of caution, Defendants have identified these issues in this statement to avoid any
   claims of waiver or incompleteness.
   3
     There is no dispute that claims 1 and 16 of the ’949 Patent were amending during reexamination.
   See D.I. 428 at 8 (“Language was added to both claims 1 and 16 (through claim 15) during
   reexamination.”). As such, there is no further need for the jury to consider this issue and this
   should be deemed proven.
                                                    15
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                  b.     Defendants intend to prove, by a preponderance of the evidence, that the
                         amendments to the ’949 Patent claims were substantive. 4




   4
      The Court has determined – and the Parties are in agreement – that the issue of whether
   amendments were substantive is a matter of law to be determined by the Court. See Hrg. Tr. p. 8,
   ll. 4-25, October 30, 2017. As such, there is no need for the jury to consider this issue either as
   there are no outstanding questions of fact which need be proven.
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                      SCHEDULE H1
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     Sonos’s Opening Briefs in Support of
        its Motions in Limine Nos. 1-3
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

    SONOS, INC.,                           )
                                           )
                        Plaintiff,         )
                                           )   Civil Action No. 14-1330-RGA
                        v.                 )
                                           )
    D&M HOLDINGS INC. d/b/a THE            )   JURY TRIAL DEMANDED
    D+M GROUP, D&M HOLDINGS U.S.           )
    INC., and DENON ELECTRONICS            )
    (USA), LLC,                            )
                                           )
                        Defendants.        )


                              SONOS, INC.’S MOTIONS IN LIMINE




    OF COUNSEL:
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    Dated: October 27, 2017                    Attorneys for Plaintiff Sonos, Inc.
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   I.     MIL NO. 1 TO PRECLUDE EVIDENCE OF D&M’S PATENTS AND
          REFERENCE TO D&M’S COUNTERSUIT

          Sonos respectfully moves in limine to preclude D&M from (i) introducing evidence or

   testimony related to any D&M patents (“D&M Patents”), and (ii) referring to D&M’s countersuit

   against Sonos, D&M Holdings Inc. v. Sonos, Inc., Civ. A. No. 16-141 (RGA) (“the 2016 Case”).

          Rule 402 provides that irrelevant evidence is not admissible. Fed. R. Evid. 402. Rule

   401 defines relevant evidence as evidence that has a tendency to make a fact of consequence to

   the action more or less probable. Fed. R. Evid. 401. Moreover, Rule 403 requires that “a

   cost/benefit analysis must be employed to determine whether or not to admit evidence; relevance

   alone does not ensure its admissibility.” Coleman v. Home Depot, Inc., 306 F.3d 1333, 1343 (3d.

   Cir. 2000). As a result, relevant evidence should be excluded if its probative value is

   substantially outweighed by unfair prejudice, confusion of the issues, or misleading the jury.

   Fed. R. Evid. 403.

          Sonos anticipates that D&M will seek to offer evidence or testimony related to the D&M

   Patents. See, e.g., U.S. Pat. Nos. 7,343,435; 6,539,210; 7,305,694; 6,469,633; 7,987,294;

   8,755,667; 6,473,441; 7,734,850; and 7,995,899. More specifically, D&M may try to use these

   D&M Patents to avoid infringement of Sonos’s patents by arguing that D&M’s accused HEOS

   products practice these D&M Patents, and therefore are “patented” over Sonos’s patents. Sonos

   also anticipates that D&M will seek to use the 2016 Case to cast Sonos in a bad light as an

   accused infringer.

          As explained in more detail below, D&M should be precluded from using the D&M

   Patents and referring to the 2016 Case because neither are relevant to Sonos’s claims or D&M’s

   defenses in this lawsuit. Fed. R. Evid. 402. Even if the D&M Patents or the 2016 Case had
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   some probative value to a claim or defense in this action, any such value is substantially

   outweighed by its potential to confuse and mislead the jury. Fed. R. Evid. 403.

          First, the D&M Patents are not relevant to any claim or defense in this case. For instance,

   the grant of a patent on an accused product does not avoid infringement. Bio-Tech. Gen. Corp. v.

   Genentech, Inc., 80 F.3d 1553, 1559 (Fed. Cir. 1996) (“The existence of one’s own patent does

   not constitute a defense to infringement of someone else’s patent. It is elementary that a patent

   grants only the right to exclude others and confers no right on its holder to make, use, or sell.”);

   Atlas Powder Co. v. E.I. du Pont de Nemours & Co., 750 F.2d 1569, 1580 (Fed. Cir. 1984)

   (“[W]here defendant has appropriated the material features of the patent in suit, infringement

   will be found even when those features have been supplemented and modified to such an extent

   that the defendant may be entitled to a patent for the improvement.”). Likewise, because they

   have not been asserted as prior art, the D&M Patents are not relevant to any of D&M’s defenses.

          Likewise, the 2016 Case is also not relevant to this action. The 2016 Case involves

   different issues, patents, and accused products than the present case. Indeed, this is why the

   Court elected to sever the 2016 Case from the present case. See D.I. 100.

          Second, the D&M Patents and the 2016 Case would confuse the issues and mislead the

   jury regarding Sonos’s patent infringement claims. For example, the HEOS products are

   accused of infringement, not the D&M Patents. Admitting the D&M Patents would confuse and

   mislead the jury into wrongly thinking the Patent and Trademark Office (“PTO”) determined that

   the HEOS products do not infringe Sonos’s patents, or that the PTO otherwise condoned the sale

   of the HEOS products when it allowed the D&M Patents. See Cameco Indus. v. Louisiana Cane

   Mfg., Civ. No. 92-3158, 1995 WL 468234, at *5-6 (E.D. La. July 27, 1995) (excluding evidence

   of defendant’s patent, as “issuance of a patent is not presumptive evidence of noninfringement,”
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   and admission “would be unfairly prejudicial to the plaintiff, as this evidence is likely to give the

   jury the false impression that a patent on the accused [device] means that it is substantially

   different from the [device] claimed in plaintiff’s patent”).

          Moreover, it is fundamental that a patent is a grant of a right to exclude, not of a right to

   make, use, or sell. 35 U.S.C. § 154(a)(1); Atlas, 750 F.2d at 1580. Thus, while the D&M

   Patents may give D&M the right to exclude others from making, using or selling a product

   claimed in these patents, they do not give D&M the right to make, use, or sell such a product.

   Given its lack of probative value, the danger that jurors would mistake the grant of the D&M

   Patents for PTO approval of D&M’s accused products warrants the exclusion of the D&M

   Patents. See EZ Dock, Inc. v. Schafer Sys., Civ. No. 98-2364, 2003 WL 1610781, at *11 (D.

   Minn. Mar. 8, 2003) (excluding evidence of Defendants’ own patents under F.R.E. 402 and 403

   in part based on “the common misconception by the public that a patent grants an affirmative

   right to make the patented article”).

          Similarly, referring to the 2016 Case in this litigation would only serve to confuse and

   mislead the jury as to basic core issues, such as who the plaintiff and defendant are, which

   patents are being asserted, and what products have been accused of infringement.

          Because the D&M Patents and the 2016 Case have no probative value, and stand only to

   confuse the issues and mislead the jury, Sonos respectfully requests that the Court exclude these

   materials, and any references thereto, from evidence pursuant to Rules 402 and 403.
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   II.    MIL NO. 2 TO PRECLUDE EVIDENCE OF PRIOR LITIGATION AND DR.
          BONE’S SUPPLEMENTAL EXPERT REPORT

          Sonos respectfully moves in limine to preclude D&M from offering any evidence,

   testimony, opinions, or arguments related to the prior litigation between Sonos and BHM, Black

   Hills Media, LLC v. Sonos, Inc., Case No. 2:14-CV-00486 (C.D. Cal) (the “BHM Case”). As

   one example, Sonos anticipates that D&M will seek to offer evidence or testimony from Dr.

   Bone’s Supplemental Expert Report on damages, which was prepared and submitted for the sole

   purpose of addressing positions taken by Sonos and its experts in the BHM Case. See Ex. A at

   ¶4 (“I have limited this supplemental report to only the information recently produced by Sonos

   in response to Judge Andrews’ Order granting D&M’s opposed request for production of

   documents related to the BHM Litigation . . . .”). The BHM Case, however, is not relevant to the

   issues to be decided in this case, and any mention of the BHM Case would be unfairly prejudicial

   to Sonos and could also confuse the issues to be tried or mislead the jury.

          Specifically, Rule 402 of the Federal Rules of Evidence provides that irrelevant evidence

   is not admissible. Fed. R. Evid. 402. Rule 401 defines relevant evidence as evidence that has a

   tendency to make a fact of consequence to the action more or less probable. Fed. R. Evid. 401.

   Here, no aspect of the BHM Case touches upon the questions the jury must consider in this case.

          In fact, the BHM Case focused on BHM’s asserted patents, which are not related to

   Sonos’s Asserted Patents in any way and have entirely different specifications directed to

   entirely different claimed inventions. See Multimedia Patent Trust v. Apple Inc., No. 10-CV-

   2618-H (KSC), 2012 WL 12868264, at *8 (S.D. Cal. Nov. 20, 2012) (precluding evidence of

   prior litigation involving different patents and different accused products). Moreover, damages

   issues from the BHM Case have no relevance to this case, as Sonos never entered into any kind

   of license or agreement with BHM. Furthermore, unlike here, BHM and Sonos were not
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   competitors in the marketplace, and lost profits was not at issue in the BHM Case. Instead, the

   hypothetical license negotiation in the BHM Case was between Sonos and a non-practicing

   entity (BHM). It involved patents that had their own unique licensing history as the patents were

   (i) purchased through public auction or from a different non-practicing entity and (ii) previously

   licensed by BHM as part of an industry wide licensing campaign. In stark contrast, the present

   cases involve the enforcement of a practicing entity’s patents, which have never been licensed

   before, against a specific direct competitor in the marketplace. Thus, the damages analysis for

   BHM’s patents has no relevance to the damages that D&M owes Sonos for infringing Sonos’s

   patents.

          Likewise, the depositions of Sonos’s fact witnesses in the BHM Case are irrelevant to

   this case. For instance, the testimony of Sonos’s technical witnesses in the BHM Case related to

   specific features of Sonos’s products that were accused of infringing BHM’s patent claims, and

   the testimony of Sonos’s financial witnesses related to the sales of Sonos’s products. Similarly,

   Sonos’s summary judgment motions in the BHM Case all related to non-infringement and

   invalidity of BHM’s asserted patents. Accordingly, this material has nothing to do with the

   infringement of Sonos’s patents by D&M’s products.1

          Second, while this Court ordered the production of the BHM Case materials for discovery

   purposes, this Court recognized that the relevance of such materials to this case is “marginal”:

          It is certainly the case that the materials would be, at minimum, much less
          relevant to the 14-1330 case than to the 16-141 case. If there were nothing but
          the 14-1330 case, this might be a difficult decision. However, there is no extra
          burden to Sonos producing the materials in both cases, and there is some
          marginal possibility that some of it will be relevant to the 14-1330 case.

   1
     Fed. R. Civ. P. 32(a)(8) allows the use of depositions from earlier actions when the “later action
   involve[es] the same subject matter between the same parties . . . .” That is certainly not the case
   here, as the BHM Case involved both different subject matter (e.g., different patents) and
   different parties than the present case.
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   D.I. 281, p. 2 (emphasis added).

              Even if the facts or circumstances related to the BHM Case have some “marginal”

   relevance to this case, they should be excluded because their probative value is substantially

   outweighed by the danger of unfairly prejudicing Sonos, confusing the issues to be tried,

   misleading the jury, and needlessly presenting cumulative evidence. See Fed. R. Evid. 403; see

   also Mendenhall v. Cedarapids, Inc., 5 F.3d 1557, 1573 (Fed. Cir. 1993) (affirming preclusion of

   prior litigation evidence because of the “possibility of prejudice” and “confusion of the jury was

   very high.”); Multimedia Patent Trust, 2012 WL 12868264, at *8 (holding that “any probative

   value the [prior litigation] might have would be substantially outweighed by the danger of unfair

   prejudice.”). For example, the fact that BHM filed suit against Sonos to assert BHM patents may

   improperly cause the jury to scrutinize the credibility of Sonos’s evidence and witnesses for

   reasons unrelated to this case. See World Wide Stationery Mfg., Co. v. Bensons Int'l Sys., Inc.,

   No. 3:11 CV 523, 2012 WL 12894226, at *2 (N.D. Ohio Sept. 12, 2012) (“Simply put,

   introducing evidence of prior cases involving different parties and different patents will not only

   waste judicial time and resources, but also distract the jury from the relevant issues in this

   case.”).

              For the foregoing reasons, Sonos moves the Court for an order instructing D&M to

   refrain from offering evidence, testimony, opinions, or arguments related to the BHM Case at

   trial, including Dr. Bone’s Supplemental Expert Report.
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   III.   MIL NO. 3 TO PRECLUDE EVIDENCE OR SUGGESTION OF IMPROPRIETY

          Sonos moves to preclude D&M from offering any evidence or suggestion of impropriety

   by Sonos. For example, Sonos anticipates that D&M will seek to offer evidence and elicit

   testimony that suggests some purported impropriety related to (1) Sonos’s prosecution of the

   Asserted Patents, (2) Sonos’s drafting of certain claims of the Asserted Patents to allegedly cover

   D&M’s products, (3) competitive acts by Sonos, and (4) settlement or compromise discussions

   between the parties concerning this case.

          First, despite D&M’s attempts to plead inequitable conduct, D&M has no affirmative

   defense or counterclaim of inequitable conduct in this case.2 Nevertheless, D&M’s expert

   reports on invalidity and non-infringement are riddled with spurious accusations that Sonos acted

   improperly during prosecution.3 Aside from being meritless, these accusations by D&M and its

   experts are irrelevant under Rule 402.4

          Moreover, even if these accusations have some marginal relevance to this case (which

   they do not), their probative value is substantially outweighed by the danger of unfairly

   prejudicing Sonos, and unnecessarily confusing or misleading the jury. See Fed. R. Evid. 403.

   Notably, D&M’s invalidity expert, Dr. Kesan, claimed that “certain documents pertaining to

   prior art were both in the possession of Sonos and not in the possession of the Patent Office

   during its consideration of the validity of the proposed claims in the associated applications,” and



   2
     See D.I. 141, 160, 172, 176-77, 192, 226-27.
   3
     See, e.g., Ex. B at pp. 6, 11, 32, 39-42, 58, 82 (repeatedly alleging that Sonos improperly
   withheld prior art from the USPTO); Ex. C at ¶ 267 (alleging that Sonos “buried” references
   during ex parte reexamination proceedings).
   4
     See Electro-Mechanical Corp. v. Power Distribution Products, Inc., No. 11-71, 2013 WL
   1859229, at *2 (W.D. Va. Mar. 13, 2013) (“[A]rguments and evidence implying wrongful
   conduct on the part of the applicant in withholding or failing to disclose such prior art are not
   relevant where, as here, the defendants have asserted no defense or counterclaim of inequitable
   conduct.”); Fed. R. Evid. 402.
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   this purported fact was “relevant to [his] invalidity opinions.” See Ex. D at ¶ 904. However,

   whether Sonos was in possession or aware of prior art that was not disclosed during prosecution

   is irrelevant to D&M’s invalidity defenses and would unnecessarily confuse or mislead the jury.

          Second, D&M accused Sonos of drafting certain claims of the Asserted Patents to cover

   D&M’s products. See, e.g., Ex. C at ¶ 182 (“Sonos could have analyzed the accused HEOS

   devices using software . . . to try to determine how it operated . . . to try and claim such prior art

   functionality.”) (emphasis added). All the Asserted Patents, however, have effective filing dates

   well before the HEOS products were ever launched. Even if D&M’s purely speculative

   accusation was true, there is nothing improper, illegal, or inequitable about drafting claims to

   cover a competitor’s product.5 Thus, D&M’s accusation is not only irrelevant under Rule 402,

   but also serves no other purpose than to make Sonos “appear unprincipled in the jurors’ eyes.”

   Therefore, it should also be precluded under Rule 403.6

          Third, Sonos anticipates that D&M will seek to introduce evidence and testimony that

   Sonos engaged in competitive activities in developing Sonos’s products. See, e.g., Ex. E at

   157:5-160:8 (D&M counsel questioning Sonos employee regarding whether Sonos performed

   teardowns of competitor products); Ex. F at ¶ 126; Ex. C at ¶ 106 (“Sonos merely copied the

   UPnP Standards and other commercially available products that beat Sonos to the market.”); see

   also, e.g., id. at ¶¶ 74, 79-80, 189. However, evidence and testimony regarding Sonos’s



   5
     Kingsdown Medical Consultants, Ltd. v. Hollister Inc., 863 F.2d 867, 874 (Fed. Cir. 1988)
   (“[T]here is nothing improper, illegal or inequitable in filing a patent application for the purpose
   of obtaining a right to exclude a known competitor's product from the market; nor is it in any
   manner improper to amend or insert claims intended to cover a competitor's product . . . . [I]ts
   genesis in the marketplace is simply irrelevant and cannot of itself evidence deceitful intent.”).
   6
     Erfindergemeinshaft UroPep GbR v. Eli Lilly & Co., No. 15-1202, 2017 WL 959592, at *1-3
   (E.D. Tex. Mar. 13, 2017) (“[T]he law is clear that it is not improper for patentees to seek claims
   in an original or continuation application with the purpose of obtaining patent rights that would
   cover products that have come on the market.”).
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   competitive activities are irrelevant to any claim or defense in this case, and should therefore be

   precluded under Rule 402. To be sure, D&M’s infringing actions vis-à-vis Sonos’s patents are at

   issue in this case, not any of Sonos’s competitive actions. As such, any proffer of evidence by

   D&M regarding Sonos’s competitive activities would mislead or distract the jury from the core

   issues in this case. Therefore, it should also be precluded under Rule 403.7

          Fourth, Sonos anticipates that D&M will seek to offer evidence and elicit testimony

   related to settlement or compromise discussions between the parties, including statements made

   in a teleconference between the parties shortly after this case was filed. During this

   teleconference, Sonos allegedly made statements to D&M suggesting that D&M’s removal of a

   certain feature would nullify Sonos’s claims with respect to U.S. Patent No. 7,571,014. See, e.g.,

   Ex. G at 403:4-19. Rule 408 (a), however, bars evidence related to settlement or compromise

   discussions that is offered to invalidate a claim in a case. See Fed. R. Evid. 408 (a).8 Indeed,

   D&M’s intent to offer such evidence at trial “runs directly afoul of Rule 408(a).”9

          For the foregoing reasons, Sonos requests that the Court exclude any evidence or

   suggestion of impropriety related to Sonos’s prosecution activities, competitive acts, and/or

   settlement discussions with D&M regarding this case.




   7
     Radware, Ltd. v. F5 Networks, Inc., No. 13-2024, 2016 WL 590121, at *11 (N.D. Cali. Feb. 13,
   2016) (“[T]he court also agrees with Radware that any marginal relevance of Radware’s alleged
   bad [competitive] acts would be greatly outweighed by the associated unfair prejudice, waste of
   time, and confusion.”).
   8
     See also Bishop v. JP Morgan Chase & Co., No. CV 13-001-RGA, 2014 WL 1382393, at *3
   (D. Del. Apr. 7, 2014) (“The purpose behind Rule 408 is the ‘promotion of the public policy
   favoring the compromise and settlement of disputes that would otherwise be discouraged with
   the admission of such evidence.’”) (citation omitted).
   9
     Hypertherm, Inc. v. Am. Torch Tip Co., No. CIV. 05-CV-373-JD, 2009 WL 435324, at *5
   (D.N.H. Feb. 19, 2009) (precluding the defendant from asserting evidence of the “changes it
   made in its designs for some of the accused products,” after mediation discussions to support its
   defense against the patentee’s charge of willful infringement).
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            D&M’s Oppositions to Sonos’s
             Motions in Limine Nos. 1-3
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SONOS, INC.                           §
                                         §
                        Plaintiff,       §
                                         §       C.A. No. 14-1330 (RGA)
   v.                                    §
                                         §       JURY TRIAL DEMANDED
   D&M HOLDINGS INC. d/b/a THE           §
   D+M GROUP, D&M HOLDINGS U.S.          §
   INC., and DENON ELECTRONICS           §
   (USA), LLC,                           §
                                         §
                        Defendants.      §

              DEFENDANTS’ RESPONSE TO SONOS' MOTIONS IN LIMINE


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          Defendants D&M Holdings, Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and

   Denon Electronics, (USA), LLC (collectively, “Defendants”) respond to Plaintiff Sonos, Inc.

   (“Plaintiff”) motions in limine as set forth below:
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   I.     SONOS’S MOTION IN LIMINE #1: TO PRECLUDE EVIDENCE OF D&M’S
          PATENTS AND REFERENCE TO D&M’S COUNTERSUIT
          Sonos moves in limine to preclude D&M from mentioning (a) any patents owned by

   D&M; and (b) any reference to Defendants’ severed patent infringement counterclaims (Severed

   Counterclaims). See C.A. No. 16-141. This motion should be denied.

          While Sonos lists the nine patents that D&M asserted in the Severed Counterclaims, its

   motion is overly broad because it arguably covers all patents owned by D&M. Because this

   motion would even preclude elected prior art, the scope of the motion goes too far. D&M does

   not intend to introduce as evidence patents that are irrelevant to this case including the nine

   patents listed by Sonos in its motion. However, D&M does intend to introduce relevant evidence

   of (a) patents owned by D&M that are disclosed in connection with D&M’s elected invalidity

   defenses and motivation to combine those references1; (b) D&M’s acquisition of technology,

   patents, and personnel from several companies in connection with its development of the accused

   products; (c) the undisputed fact that D&M has patents relating to the accused products; and (d)

   the undisputed fact that D&M has infringement counterclaims asserted against Sonos. These

   facts and evidence are relevant under Federal Rules of Evidence 402 and 403.

          D&M’s Prior Art Patents: The patents listed in Footnote 1 are directly relevant to

   D&M’s invalidity defense. D&M has asserted the Wachter patent as evidence of a D&M audio

   system that is prior art to the asserted ‘014 and ‘949 Patents.      In addition, the Fujishiro,

   Commons, Namatame, and Nakajima patents are evidence of the motivation to combine D&M’s

   asserted prior art references. All of those patents are owned by D&M and Sonos has not

   articulated any reason why they should be wholly stricken from this case.2


   1
     Those patents include: US7263110 (“Fujishiro”); US7305694 (“Commons”); US7308188
   (“Namatame”); US6919771 (“Nakajima”); and U.S. 6,469,633 (“Wachter”).
   2
     During the meet and confer relating to the motions in limine, counsel for Sonos acknowledged
                                                    1
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          Development History of the Accused Products: Sonos has made it clear that they

   intend to present evidence of copying and seek a finding of willful infringement. As such, the

   history of development, design, and operation of the accused devices and D&M’s acquisition of

   technology, including patents and personnel, developed by technology companies known as

   Avega, Altec Lansing and Escient will be highly relevant to refute Sonos’s contentions. D&M’s

   witnesses cannot testify concerning the development of the accused system without referencing

   the D&M patents, the patented technology that was ultimately incorporated into the accused

   products, and the role of the inventors of that technology (many of whom are now D&M

   employees further developing the HEOS products).

          For example, Escient was a D&M subsidiary for many years. An Escient product known

   as “Fireball” is asserted prior art in this case. Escient patents developed in connection with

   Fireball were acquired by D&M from a subsidiary and cover the accused HEOS products.

   Patented technology created by Avega was also acquired as part of D&M’s efforts to the

   Accused Products. While D&M has no intention of engaging in an in-depth discussion of these

   patents outside the asserted prior art, the fact that D&M acquired patented technology to

   incorporate into the HEOS technology is highly relevant to combat Plaintiff’s allegations of

   willful infringement, long felt need, failure of others, among other issues. That is especially true

   because Sonos will be arguing that it has many patents implying that D&M has no patents and

   merely copied Sonos products.

          The Fact of the Severed Counterclaims: D&M does not intend to “use the 2016 Case

   to cast Sonos in a bad light as an accused infringer.” Nor does D&M intend to argue or suggest

   that “the Patent and Trademark Office (“PTO”) determined that the HEOS products do not


   that its motion would not preclude patents relating to D&M’s invalidity defenses.
                                                    2
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   infringe Sonos’s patents . . .” However, D&M expects that Sonos will introduce evidence or

   argument that (a) it has obtained patents on its own technology beyond those that are asserted in

   this litigation,3 (b) it is an “innovator” or “reinvented audio for the digital age” because of its

   patent portfolio;4 and (c) features and aspects of its products other than those covered by the

   claimed technology, but allegedly covered by other patents are relevant to secondary

   considerations of non-obviousness.5 D&M should be permitted to respond to these arguments by

   demonstrating that (a) it also owns patents covering its accused products; (b) that it has asserted

   those patents against Sonos in a related case; and (c) that it and its related or acquired companies

   are “innovators” as well.

          In essence, if Sonos intends to tout itself as an innovator based in part on its own patent

   portfolio, its claim that its patents cover Sonos products, and through the mere fact that it

   asserted its patents against D&M, then D&M should be able to do the same. Sonos is not

   prejudiced, nor are the issues in this case confused, if D&M is allowed to mention its side of the

   story. In fact, the issues are more confused, and D&M is unfairly prejudiced, if it is not able to

   respond. Sonos should not be permitted to argue that is an innovator in the industry, and D&M

   is not, to improperly support its infringement, validity, damages and willfulness cases. Rather,

   D&M should be allowed to state that it too has patents related to its technology and has asserted

   patent infringement counterclaims against Sonos. No more and no less. Sonos’s motion should

   be denied.




   3
     Ex, 1 (Sonos Second Supplement to Third Amended Complaint at ¶ 14)
   4
     Ex. 1 (Sonos Second Supplement to Third Amended Complaint at ¶ 12)
   5
     See, e.g., Ex., 2 (Wolfe Rebuttal Report) at ¶¶ 1321, 1322, 1327- 1333, 1353, 1342.
                                                     3
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   II.     SONOS’S MOTION IN LIMINE #2: TO PRECLUDE EVIDENCE OF PRIOR
           LITIGATION AND DR. BONE’S SUPPLEMENTAL EXPERT REPORT
           Sonos seeks to preclude any evidence, testimony, opinions or argument related to the

   Black Hills Media, LLC v. Sonos, Inc., Case No. 2:14-CV-00486 (C.D. Cal) (the “BHM Case”)

   under Rules 402 and 403. Sonos was compelled to produce the BHM documents on May 17,

   2017, see D.I. 281, and completed its production on May 26, 2017. Thereafter, Mr. Bone,

   D&M’s damages expert, submitted a Supplemental Report relating exclusively to the impact of

   Mr. Tate’s statements in the BHM Case pertinent to his opinion in this litigation. See Ex. 3,

   (Bone Supp. Report) at ¶ 4. In that case, BHM accused Sonos’s products of infringing patents

   concerning synchronization technology. The Abstract of both BHM Patents states, in part, “The

   present invention details a novel application of wireless networking and digital music

   technologies to achieve coordinated and synchronized music playback . . . .” The accused

   products in that case were the same products that Sonos claims are embodiments of its asserted

   patents in this case. Sonos seeks to preclude depositions of Sonos’s fact and expert witnesses

   and Sonos’s expert reports in the BHM case. Sonos’s experts in the BHM Case are the same

   experts, testifying on the opposite side of the same general issues (invalidity, non-infringement

   and damages) as in this case. Four of the five fact witnesses deposed in the BHM Case were

   deposed in this case, and three of those are expected to testify at trial.

           Initially, there is no question that the prior statements of Sonos’s witnesses in this

   litigation are relevant and admissible for the purposes of impeachment. See F.R.E. 613; F.R.E.

   801(d)(1); 801(d)(2); Fed. R. Civ. P. 32(a)(8). Sonos has not argued otherwise.6 The only

   “prejudice” from the BHM evidence that Sonos has identified in its motion is that “the fact that


   6
    In Sonos’s cited case Multimedia Patent Trust v. Apple Inc., the movant specified that it was not
   moving to preclude evidence of prior litigation for impeachment purposes. No. 10-cv-2618,
   2012 WL 12868264, at *2 (S.D. Cal. Nov. 20, 2012).
                                                    4
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   BHM filed suit against Sonos to assert BHM patents may improperly cause the jury to scrutinize

   the credibility of Sonos’s witnesses.”      D&M has no intention of arguing that a patent

   infringement lawsuit against Sonos should impair the credibility of its witnesses. However,

   witnesses’ prior inconsistent statements do impeach their credibility and are admissible for that

   purpose.    F.R.E. 613, 801(d)(1).      Prior inconsistent witness statements, while certainly

   prejudicial to Sonos’s case, are not “unfairly prejudicial” under Rule 403.

          Under Rules 401 and 402, the BHM evidence overwhelmingly makes “a fact [of

   consequence] more or less probable than it would be without the evidence.” As the Federal

   Circuit stated in Sonos’s own cited case, “we agree that it may be appropriate to admit evidence

   of prior litigation, but such evidence must pass muster, like any other evidence, as relevant and

   probative of an issue in the second case. . . There is no exemption from Rule 403 for evidence of

   prior litigation. None of the proffered evidence is per se admissible or excludable.” Mendenhall

   v. Cedarapids, Inc., 5 F.3d 1557, 1573 (Fed. Cir. 1993). Specifically, “[p]rior litigation may be

   evidence of the ‘secondary’ considerations of commercial success or copying.” Id.

           Listing all relevant and probative portions of the BHM documents would take many

   pages of briefing. As examples, the BHM evidence is relevant to the following disputed issues:

   (a) the market definition for Sonos’s products; (b) the demand for “synchronization” in Sonos’s

   product market (c) the market benefits of the allegedly patented features (d) the plain and

   ordinary meaning of the “synchronization” terms; (e) whether synchronization of multiroom

   audio systems was well known in the prior art; and (f) the operation and scope of UPnP and

   motivation to combine the same.

          Mr. Bone’s supplemental report addresses the effect of Mr. Tate’s factual and opinion

   testimony in the BHM litigation as it impacts issues (a)-(c) in this case. See, e.g., Ex. 3, (Bone’s

                                                    5
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   Supp. Report) at ¶¶ 6-10. None of that testimony relates to the character of the patents in the

   BHM litigation. In other words, Mr. Tate’s testimony and factual statements concerning Sonos’s

   business and the competitive market generally are independent of the BHM patents. Mr. Tate’s

   BHM statements tend to support Mr. Bone’s opinions in this case and undermine his own.

           Similarly, Dr. Wolfe’s testimony relates to issues (d) and (e). In this litigation, Dr. Wolfe

   states “the field of networked multi-zone audio systems certainly was not ‘highly developed’ in

   the early 2000s. . . .” Ex. 2 (Wolfe Reb. Rpt) at ¶ 131. In the BHM Litigation, Dr. Wolfe

   opines, “synchronized playback in wireless networked devices . . . was well known in the prior

   art before the invention of the BHM Patents [in May 2001].” See, e.g., Ex. 4 (Wolfe BHM Rpt,

   part 2) at ¶ 983. The latter statement bolsters the opinion of D&M’s fact and expert witnesses,

   as 2001 is a relevant period for prior art asserted in this case.

           Sonos’s fact witness testimony relates to issues (a)-(f) above. Mr. Coburn testifies

   concerning Sonos’s awareness, use and application of UPnP. See Ex. 5 (BHM Coburn Depo.) at

   32:7-24, 62:8-64:4. Mr. Cullen testifies concerning (1) the prior art’s ability to play in multiple

   rooms and zones (specifically mentioning Denon) (see Ex. 6 (BHM Cullen Depo.) at 21:4-14);

   (2) Sonos’s market competitors ( Id. at 42:18-43:5); and (3) that Sonos’s marketing is concerned

   with brand awareness foremost as opposed to Sonos alleged patented features (Id. at 1:19-54:22).

   Mr. Lang testifies concerning his understanding of the word “synchrony” in the context of Sonos

   technology. Ex. 7 (BHM Lang Depo.) at 114:21-115:11.

           In sum, the BHM evidence relates to highly contested factual issues in this case, thus

   meeting the requirements of Rules 401 and 402. Moreover, there is no likelihood of unfair

   prejudice or jury confusion because D&M will not use the evidence for anything other than to

   bolster the relevant factual issues to which the evidence relates Sonos’s motion should be denied.

                                                      6
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   III.   SONOS’S MOTION IN LIMINE #3: TO PRECLUDE EVIDENCE OR
          SUGGESTION OF IMPROPRIETY
          Sonos next seeks to exclude a random collection of evidence by arguing that D&M

   should not be able to argue that Sonos has ever acted with “impropriety.” The collection of

   evidence is vaguely defined, but is characterized by its decided relevance to many issues of

   consequence. As discussed below, D&M does not intend to argue that Sonos has done anything

   legally improper based on the facts described in Sonos’s Motion. However, to the extent that

   Sonos requests that the court exclude the facts entirely, Sonos’s motion should be denied.

          Improper Claims of Inequitable Conduct:              D&M recognizes that no inequitable

   conduct defense is being tried in this case. In addition, D&M has recently dropped its patent

   misuse and prosecution laches defenses. Accordingly, D&M does not intend to argue that

   Sonos’s prosecution of the asserted patents is improper. However, the prosecution history itself,

   and Sonos’s knowledge, use and application of the prior art in the development of its own

   products and invention of the patented technology is highly relevant to the issues in this case,

   such as, (a) motivation to combine, (b) long felt need, (c) failure of others, (d) teaching away,

   and (e) commercial success, among others.7 Furthermore, the fact that the patent office did not

   have asserted prior art when the patents were filed is relevant to the issue of invalidity

          Allegations that Sonos improperly drew its claims to D&M’s System: It is unclear

   what factual evidence, if any, Sonos is attempting to exclude on this basis. D&M does not intend

   to argue to the jury that Sonos has improperly drawn its claims to D&M’s accused products.

   However, the fact that Sonos prosecuted its claims while in possession of D&M’s Products is

   relevant, among other things, to rebut Sonos’s allegations of willful infringement.8         It is


   7
    Ex. 8 (Kesan Report) at pp. 33-34, 38, 39-40
   8
    D&M has filed a motion in limine to preclude Sonos from offering evidence or argument of
   willful infringement of the asserted claims of the ‘949 and ‘258 Patent.
                                                    7
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   impossible, and at the very least unlikely, that D&M willfully infringed patent claims not in

   existence when its accused products were released. It is even less likely that D&M willfully

   infringed claims that were intentionally drawn to its products, regardless of whether that is

   proper. Furthermore, the fact and timing of Sonos’s claim drafting are part of the prosecution

   history of the patents and are clearly relevant. The timing of the lawsuit and D&M’s first release

   of the Accused Products are also highly relevant to Sonos’s willfulness allegations in addition to

   being relevant background facts to put this dispute in context.

          Evidence of Competitive Activities: Although Sonos seeks to exclude all evidence of

   “competitive activities,” the only specific examples are (a) the fact that Sonos routinely performs

   teardowns of competitor products and (b) the fact that Sonos extensively incorporates the UPnP

   standard and other third-party technology to more quickly bring its products to market.

   Importantly, however, Sonos makes these same allegations against D&M to support its

   willfulness case.9 For example, Sonos implied during its questioning of D&M’s witnesses that

   “tear downs” of Sonos products are improper and evidence of copying/willfulness.10 D&M will

   prove with extensive evidence, including Sonos’s own admissions, that these allegations reflect

   industry practice and are not evidence of infringement, much less willful infringement.11

          Sonos’s Proposal, and Subsequent Breach, Involving the ‘014 Patent: Shortly after

   this case was filed, Sonos represented to D&M during a telephone conference that it would drop

   allegations of infringement of the ‘014 Patent if Defendants modified their accused devices.12

   Defendants did so, and Sonos’s allegations persisted. Sonos now intends to use the fact of the


   9
     Ex. 9 (Almeroth Opening Report) at ¶¶ 603-608.
   10
      See, e.g., Ex. 10 (Christopher Commons Depo) at 118:15-125:3
   11
      See Presidio Components Inc. v. Am. Tech. Ceramics Corp., 723 F. Supp. 2d 1284, 1324 (S.D.
   Cal. 2010), rev’d on other grounds by 702 F.3d 1351.
   12
      Ex. 11 (Brendon Stead Depo. Vol II) at 402:23-403:22.
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   product   modification      to    support   its   infringement   and   willfulness   claims.13   Given

   Sonos’s intended arguments, evidence of these transactions is admissible for several reasons.

          The fact of the product modification is relevant to the issue of “non-

   infringing alternatives.”        Sonos has not sought damages for infringement of the ‘014

   Patent after the modification, yet claims that there are no non-infringing alternatives to that

   patent.14 Because the fact of the modification is relevant for various legitimate purposes

   in this case (non-infringing alternatives and the calculation of damages) and illegitimate

   purposes (suggesting that the modification is an admission of infringement15), Sonos’s motion

   is an attempt to preclude Defendants from explaining the reasoning behind the product

   modification.    In essence, Sonos attempts to use Defendants’ full performance of a

   modification made to narrow the disputed issues and facilitate settlement to prove liability

   and willful conduct, while excluding its own breach of that settlement proposal, or indeed, any

   factual context leading to the modification. In related circumstances, Courts have admitted

   evidence of negotiations to combat claims of willful infringement.16 Finally, the context of the

   ‘014 discussions is not related to validity or amount of a disputed claim, but rather, Sonos’s

   charge that D&M’s subjective intent, and thus, the evidence is admissible under Federal Rule of

   Evidence 408(b).17
   13
      See, e.g., Ex. 11 (Brendon Stead Depo. Vol II) at 404:17-405:3.
   14
      See, e.g., Ex. 12 (Tate Report) at pp. 37-38.
   15
      See F.R.E. 407 (barring evidence of subsequent remedial measures to prove culpable conduct).
   16
      McKesson Info. Sols. LLC v. Trizetto Grp., Inc., No. 04-1258, 2006 WL 940543, at *1 (D. Del.
   Apr. 11, 2006) (admitting evidence of the “parties' prior negotiations” for purposes of willfulness
   defense); Carpenter Tech. Corp. v. Allegheny Techs., Inc., No. 08-2907, 2012 WL 5507447, at
   *1 (E.D. Pa. Nov. 14, 2012) (“To the extent Carpenter seeks to introduce evidence of the parties'
   negotiations for the limited purpose of defending against willfulness, Rule 408(b) does not
   preclude it from doing so and neither will I.”); see also Microban Prod. Co. v. API Indus., Inc.,
   No. 14-cv-41, 2014 WL 1856471 at *3, n. 10 (S.D.N.Y. May 8, 2014).
   17
      See Leeper v. Allstate Fire & Cas. Ins. Co., No. 13-cv-03460, 2016 WL 1089701, at *2 (D.
   Colo. Mar. 21, 2016) (collecting cases).

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                                   EXHIBIT
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

     SONOS, INC.,                                  )
                                                   )
                            Plaintiff,             )
                                                   )   Civil Action No. 14-1330-WCB
                            v.                     )
                                                   )
     D&M HOLDINGS INC. d/b/a THE                   )   JURY TRIAL DEMANDED
     D+M GROUP, D&M HOLDINGS U.S.                  )
     INC., and DENON ELECTRONICS                   )
     (USA), LLC,                                   )
                                                   )
                            Defendants.            )

                 SECOND SUPPLEMENT TO THIRD AMENDED COMPLAINT

                                   FOR PATENT INFRINGEMENT

           Plaintiff Sonos, Inc. (“Sonos”), by its undersigned attorneys, for its Second Supplement

    to Third Amended Complaint (“Complaint”) for Patent Infringement and Jury Demand against

    Defendants D&M Holdings Inc. d/b/a The D+M Group, D&M Holdings U.S. Inc., and Denon

    Electronics (USA), LLC (collectively, “Defendants”), states as follows:


                                             THE PARTIES

           1.      Plaintiff Sonos, Inc. is a Delaware corporation with its principal place of business

    at 223 E. De La Guerra Street, Santa Barbara, California 93101.

           2.      On information and belief, Defendant D&M Holdings Inc. d/b/a The D+M Group

    is a Japanese corporation with its principal place of business at 2-1 Nisshin-cho, Kawasaki-ku,

    Kawasaki-shi, Kanagawa 210-8569, Japan. D&M Holdings Inc. d/b/a The D+M Group is a Bain

    Capital portfolio company.
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           3.      On information and belief, Defendant D&M Holdings U.S. Inc. is a Delaware

    corporation with its principal place of business at 100 Corporate Drive, Mahwah, NJ 07430.

    D&M Holdings U.S. Inc. is a wholly-owned subsidiary of D&M Holdings Inc.

           4.      On information and belief, Defendant Denon Electronics (USA), LLC is a

    Delaware limited liability company with its principal place of business at 100 Corporate Drive,

    Mahwah, NJ 07430. Denon Electronics (USA), LLC is a wholly-owned subsidiary of D&M

    Holdings U.S. Inc.


                                    JURISDICTION AND VENUE

           5.      This is a civil action for patent infringement arising under the patent laws of the

    United States, Title 35, United States Code. This Court has jurisdiction under 35 U.S.C. §§ 271,

    et seq., and 28 U.S.C. §§ 1331 and 1338.

           6.      This Court has personal jurisdiction over Defendants.

           7.      D&M Holdings U.S. Inc. is incorporated in Delaware and is therefore subject to

    the jurisdiction of this Court. As a domestic corporation, D&M Holdings U.S. Inc. is registered

    to do business with the State of Delaware Division of Corporations.

           8.      Denon Electronics (USA), LLC is incorporated in Delaware and is therefore

    subject to the jurisdiction of this Court. As a domestic corporation, Denon Electronics (USA),

    LLC is registered to do business with the State of Delaware Division of Corporations.

           9.      To the extent that Defendants are not subject to the jurisdiction of this Court as

    residents of Delaware, Defendants are subject to the jurisdiction of the Court pursuant to 10 Del.

    C. § 3104. Specifically, on information and belief, Defendants cause tortious injury in Delaware,

    namely from the tort of patent infringement. Defendants also conduct or solicit business and




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    engage in a persistent course of conduct in Delaware, and Defendants derive substantial revenue

    from things used and/or sold in Delaware.

            10.     On information and belief, Defendants have (1) transacted business in this district

    (directly and/or through intermediaries) by engaging in activities such as shipping, distributing,

    offering for sale, selling, and/or advertising their products in the State of Delaware, and (2)

    delivered their products into the stream of commerce with the expectation that they will be

    purchased by consumers in Delaware. Thus, on information and belief, Defendants are doing

    business in this District, and have committed acts of patent infringement in this District.

            11.     Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. §

    1400(b).


                                       FACTUAL BACKGROUND

            12.     Sonos is an innovator and industry leader in the field of wireless audio

    technology. As acknowledged by the media, Sonos reinvented home audio for the digital age.

    See, e.g., Ex. A (from www.nbcnews.com) (“If you’re not familiar with Sonos, this company

    revolutionized the home audio world a decade ago. . . .”); Ex. B (from

    www.consumerreports.org) (“Sonos not only helped to invent the wireless speaker category, the

    company also set the bar for performance, ease of use, and flexibility.”); Ex. C (from

    www.mensjournal.com) (“Sonos almost singlehandedly established the stand-alone wireless

    home speaker system category . . . .”).

            13.     Sonos has been making, distributing, and selling a line of wireless home audio

    products for nearly 10 years. Sonos’s current line of products includes the “PLAY:5” speaker,

    the “PLAY:3” speaker, the “PLAY:1” speaker, the “CONNECT” pre-amplifier, and the

    “CONNECT:AMP” amplifier, all of which are controlled by the Sonos app (for iOS, Android,

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    PC, or Mac). See, e.g., Ex. D (from www.sonos.com). Sonos also offers a “PLAYBAR”

    speaker and a “SUB” speaker for wireless home theater. Id.

             14.    Sonos is the owner of more than 100 U.S. Patents related to modern audio

    technology, and also over 300 pending U.S. patent applications. Sonos provides a link to its U.S.

    Patents and published U.S. Patent Applications, as well as a table that correlates Sonos’s patents

    to its products, on Sonos’s website at www.sonos.com/legal/terms#patents. See Ex. E. In

    addition, Sonos encloses notices of its patents with its product inserts and manuals for its

    products, which provide that “[o]ur patent-to-product information can be found here:

    sonos.com/legal/patents.” See, e.g., Ex. F.

             15.    In June 2014, Defendants launched their own wireless audio system, which is

    called “HEOS by Denon” (or “the HEOS system”). This HEOS system is made up of a line of

    HEOS wireless audio products, including the “HEOS 7” speaker, the “HEOS 5” speaker, the

    “HEOS 3” speaker, “HEOS 1” speaker, the “HEOS LINK” pre-amplifier, the “HEOS AMP”

    amplifier, the “HEOS Drive” multi-room amplifier, and the “HEOS HomeCinema” TV sound

    system (collectively, “HEOS players”), all of which are controlled by the HEOS app (for iOS,

    Android, or Kindle). See, e.g., Exs. G-H (from usa.denon.com and heosbydenon.denon.com).

             16.    Defendants are trying to market the HEOS system as a direct competitor to

    Sonos’s wireless audio system. See, e.g., Ex. G (Denon is “[o]ne of the most well-equipped

    contenders to take on Sonos at the game it knows so well.”). However, on information and

    belief, instead of innovating, Defendants are merely copying Sonos’s system. As Digital Trends

    noted:

             For those unfamiliar, about 10 years ago Sonos created a line of extremely
             succinct wireless speakers that operate in tandem, allowing users to stream music
             over Wi-Fi from a single source to multiple rooms without latency, or send a
             different source to each speaker, all from an extremely intuitive and powerful app

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           on a computer or mobile device. Since then, the genre has exploded, spawning
           copycats from the likes of Samsung, Bose, and others. With HEOS, Denon
           appears to be making little effort to hide its mimicry of the popular system. Like
           Sonos, Denon’s gorgeous new speakers come in three sizes and price points, and
           offer minimalist designs.

    Ex. I (from www.digitaltrends.com).

           17.     On information and belief, Defendants have even copied various aspects of

    Sonos’s marketing and branding for its wireless audio system. For example, Defendants’ use of

    the “HEOS” name for its wireless audio system is similar enough to “Sonos” that it led one

    industry publication to remark that “we can’t help but feel the similarity was deliberate.” See

    Ex. J (from www.avhub.com.au).

           18.     As another example, Defendants’ naming convention for their line of HEOS

    speakers closely resembles Sonos’s naming convention for its line of wireless speakers (e.g.,

    Denon’s HEOS 1, HEOS 3, HEOS 5, HEOS 7 vs. Sonos’s PLAY:1, PLAY:3, PLAY:5).

    Compare Ex. D with Ex. G.

           19.     Defendants’ website for the HEOS products also has a layout that is similar to

    Sonos’s website, as shown below.




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                                               SONOS




                                www.sonos.com/shop/products/play5

                                              DENON




                           usa.denon.com/us/heos-5-medium-sized-speakers

           20.    Further, Defendants’ marketing materials for the HEOS system use graphics that

    closely resemble graphics used in Sonos’s marketing materials, as shown below.




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           21.     Further yet, Defendants are using taglines in connection with the HEOS system

    that closely resemble taglines used by Sonos. For instance, Defendants’ tagline of “Fill every

    room with music” (see Ex. G) closely resembles Sonos’s tagline of “Fill your home with music.”

           22.     On information and belief, Defendants have also incorporated Sonos’s patented

    innovations into the HEOS system, as explained below.

           23.     In view of at least the facts set forth above in paragraphs 12-22, on information

    and belief, Defendants had actual knowledge of Sonos’s patents prior to the filing of this action.

    For instance, at a minimum, Defendants have been aware (or should have been aware) of

    Sonos’s patents in view of Sonos’s position in the industry (including its direct competition with

    Defendants), Sonos’s prominent display of its patents on Sonos’s website, and Sonos’s inclusion

    of a notice of its patents in Sonos’s product inserts and manuals. In fact, prior to Sonos’s filing

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    of this action, Defendants’ website was promoting the HEOS system by expressly contrasting it

    with Sonos’s wireless audio system—which definitively establishes that Defendants were aware

    of Sonos’s products prior to this suit—and this awareness must have come from (i) reviewing

    Sonos’s website, which prominently displays Sonos’s patents, and/or (ii) obtaining Sonos’s

    actual products, which come with product inserts and manuals that include a notice of Sonos’s

    patents. Defendants’ copying of Sonos’s products, its marketing, and its branding likewise

    establishes that Defendants were aware of Sonos’s products—and thus had notice of Sonos’s

    patents—prior to this suit. Finally, Defendants’ had knowledge of Sonos’s patents and pending

    applications as a result of Sonos’s filing of this action.

            24.     To the extent Defendants did not have actual knowledge of Sonos’s patents prior

    to the filing of this action, then Defendants were at least willfully blind to the existence of

    Sonos’s patents. Indeed, as set forth above, Defendants were undeniably aware of Sonos’s

    products prior to this suit, and this awareness must have come from (i) reviewing Sonos’s

    website, which prominently displays Sonos’s patents, and/or (ii) obtaining Sonos’s actual

    products, which come with product inserts and manuals that include a notice of Sonos’s patents.

    Defendants cannot undertake efforts to learn about Sonos’s products but then turn a blind eye to

    Sonos’s patents.


                                        COUNT I:
                          INFRINGEMENT OF U.S. PATENT NO. 9,219,959

            25.     Sonos incorporates paragraphs 1-24 above as if fully set forth herein.

            26.     Sonos is the owner U.S. Patent No. 9,219,959 (“the ‘959 patent”), entitled

    “Multi-Channel Pairing in a Media System,” which was duly and legally issued by the United

    States Patent and Trademark Office (“the USPTO”) on December 22, 2015, and a reexamination



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    certificate was issued on April 5, 2017. A copy of the ‘959 Patent (including the reexamination

    certificate) is attached hereto as Exhibit K.

           27.     Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘959 Patent.

           28.     On information and belief, Defendants had actual knowledge of the ‘959 patent

    and/or the application that led to the issuance of the ‘959 patent prior to the filing of this

    Complaint. See ¶¶ 12-24 above.

           29.     Defendants have had actual knowledge of the ‘959 patent since the filing of this

    Complaint.

           30.     The ‘959 patent is directed to devices and methods for providing audio in a multi-

    channel listening environment.

           31.     Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by one or more of the claims of the ‘959 patent. For example, at a minimum,

    Defendants’ HEOS 1, HEOS 3, HEOS 5, and HEOS 7 players—which are configured to operate

    either in a “no pairing” mode or in a “stereo pairing” mode—each embody one or more of the

    devices and/or methods claimed in the ‘959 patent. See, e.g., Ex. K-1 (‘959 Patent Initial Claim

    Chart); Ex. L (from usa.denon.com); Ex. M (from denon.custhelp.com).

           32.     Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘959 patent, in violation of 35

    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           33.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘959 patent, in violation of 35



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    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘959 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘959 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of this Complaint (see ¶¶ 12-24 above), (b) Defendants intentionally cause, urge,

    or encourage users of the HEOS system to directly infringe one or more claims of the ‘959 patent

    by promoting, advertising, and instructing customers and potential customers about the HEOS

    system and uses of the system, including infringing uses (see ‘959 Patent Initial Claim Chart,

    Exs. L-M, touting the configuration and use of two HEOS speakers as a stereo pair), (c)

    Defendants know (or should know) that their actions will induce users of the HEOS system to

    directly infringe one or more claims the ‘959 patent, and (d) users of the HEOS system directly

    infringe one or more claims of the ‘959 patent. For instance, at a minimum, Defendants have

    supplied and continue to supply HEOS products (e.g., HEOS 1, HEOS 3, HEOS 5, and HEOS 7

    speakers) to customers while knowing that use of these products will infringe one or more claims

    of the ‘959 patent, and that Defendants’ customers then directly infringe one or more claims of

    the ‘959 patent by using these HEOS products in accordance with Defendants’ product literature.

           34.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘959 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct

    infringement of the ‘959 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘959 Patent or were willfully blind to its

    existence prior to, and no later than, the filing of this Complaint (see ¶¶ 12-24 above), (b)

    Defendants offer for sale, sell, and/or import, in connection with the HEOS system, one or more



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    material components of the invention of the ‘959 patent that are not staple articles of commerce

    suitable for substantial noninfringing use, (c) Defendants know (or should know) that such

    component(s) are especially made or especially adapted for use in an infringement of the ‘959

    patent, and (d) users of the HEOS products that comprise such material component(s) directly

    infringe one or more claims of the ‘959 patent. For instance, at a minimum, Defendants offer for

    sale, sell, and/or import software updates for HEOS products (e.g., HEOS 1, HEOS 3, HEOS 5,

    and HEOS 7 speakers) that meet one or more claims of the ‘959 patent. See, e.g., Ex. N, at p. 41.

    These software updates are material components of the HEOS products that meet the one or

    more claims of the ‘959 patent. Further, Defendants especially made and/or adapted these

    software updates for use in the HEOS products that meet the one or more claims of the ‘959

    patent, and these software updates are not staple articles of commerce suitable for substantial

    noninfringing use. Defendants’ customers then directly infringe the one or more claims of the

    ‘959 patent by installing and using the software updates on the HEOS products.

           35.     Defendants’ infringement of the ‘959 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘959 patent or were willfully

    blind to its existence prior to the filing of this Complaint (see ¶¶ 12-24 above), (b) engaged in the

    aforementioned activity despite an objectively high likelihood that Defendants’ actions

    constituted infringement of the ‘959 patent, and (c) this objectively-defined risk was either

    known or so obvious that it should have been known to Defendants.

           36.     Defendants’ infringement of the ‘959 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.

                                      COUNT II:
                         INFRINGEMENT OF U.S. PATENT NO. 7,571,014

           37.     Sonos incorporates paragraphs 1-36 above as if fully set forth herein.

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              38.   Sonos is the owner U.S. Patent No. 7,571,014 (“the ‘014 patent”), entitled

    “Method and Apparatus for Controlling Multimedia Players in a Multi-Zone system,” which was

    duly and legally issued by the USPTO on August 4, 2009, and a reexamination certificate was

    issued on September 1, 2017. A copy of the ‘014 Patent (including the reexamination certificate)

    is attached hereto as Exhibit O.

              39.   Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘014 Patent.

              40.   On information and belief, Defendants had actual knowledge of the ‘014 patent

    prior to the filing of this action. See ¶¶ 12-24 above.

              41.   Defendants have had actual knowledge of the ‘014 patent since the filing of this

    action.

              42.   The ‘014 patent is directed to methods and devices for “controlling a plurality of

    players.”

              43.   Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by one or more of the claims of the ‘014 patent. For instance, at a minimum,

    Defendants’ HEOS controller app—which is configured to group HEOS speakers, synchronize

    grouped HEOS speakers, and adjust a “Master” volume for grouped HEOS speakers—embodies

    one or more of the methods and/or devices claimed in the ‘014 patent. See, e.g., Exs. O-1 (‘014

    Patent Initial Claim Chart), N, P (from usa.denon.com). An example of this “Master” volume

    adjustment in the HEOS system is shown below:




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           44.     Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘014 patent, in violation of 35

    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           45.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘014 patent, in violation of 35

    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘014 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘014 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of this action (see ¶¶ 12-24 above), (b) Defendants intentionally cause, urge, or

    encourage users of the HEOS system to directly infringe one or more claims of the ‘014 patent

    by promoting, advertising, and instructing customers and potential customers about the HEOS

    system and uses of the system, including infringing uses (see ‘014 Patent Initial Claim Chart,

    Exs. N, P-R), (c) Defendants know (or should know) that their actions will induce users of the

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    HEOS system to directly infringe one or more claims the ‘014 patent, and (d) users of the HEOS

    system directly infringe one or more claims of the ‘014 patent. For instance, at a minimum,

    Defendants have supplied and continue to supply the HEOS controller app to customers while

    knowing that installation and use of the HEOS controller app will infringe one or more claims of

    the ‘014 patent, and that Defendants’ customers then directly infringe one or more claims of the

    ‘014 patent by installing and using the HEOS controller app in accordance with Defendants’

    product literature.

           46.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘014 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct

    infringement of the ‘014 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘014 patent or were willfully blind to its

    existence prior to, and no later than, the filing of this action (see ¶¶ 12-24 above), (b) Defendants

    offer for sale, sell, and/or import, in connection with the HEOS system, one or more material

    components of the invention of the ‘014 patent that are not staple articles of commerce suitable

    for substantial noninfringing use, (c) Defendants know (or should know) that such component(s)

    are especially made or especially adapted for use in an infringement of the ‘014 patent, and (d)

    users of the HEOS products that comprise such material component(s) directly infringe one or

    more claims of the ‘014 patent. For instance, at a minimum, Defendants offer for sale, sell,

    and/or import HEOS controller software for installation on user devices that meet one or more

    claims of the ‘014 patent. This HEOS controller software is a material component of the user

    devices that meet the one or more claims of the ‘014 patent. Further, Defendants especially



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    made and/or adapted the HEOS controller software for use in the user devices that meet the one

    or more claims of the ‘014 patent, and the HEOS controller software is not a staple article of

    commerce suitable for substantial noninfringing use. Defendants’ customers then directly

    infringe the one or more claims of the ‘014 patent by installing and using the HEOS controller

    software on the customers’ user devices.

           47.     Defendants’ infringement of the ‘014 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘014 patent or were willfully

    blind to its existence prior to the filing of this action (see ¶¶ 12-24 above), (b) engaged in the

    aforementioned activity despite an objectively high likelihood that Defendants’ actions

    constituted infringement of the ‘014 patent, and (c) this objectively-defined risk was either

    known or so obvious that it should have been known to Defendants.

           48.     Defendants’ infringement of the ‘014 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.

                                       COUNT III:
                          INFRINGEMENT OF U.S. PATENT NO. 8,588,949

           49.     Sonos incorporates paragraphs 1-48 above as if fully set forth herein.

           50.     Sonos is the owner U.S. Patent No. 8,588,949 (“the ‘949 patent”), entitled

    “Method and Apparatus for Adjusting Volume Levels in a Multi-Zone System,” which was duly

    and legally issued by the USPTO on November 19, 2013, and a reexamination certificate was

    issued on November 5, 2015. A copy of the ‘949 Patent is attached hereto as Exhibit S.

           51.     Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘949 Patent.

           52.     On information and belief, Defendants had actual knowledge of the ‘949 patent

    prior to the filing of this action. See ¶¶ 12-24 above.

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              53.   Defendants have had actual knowledge of the ‘949 patent since the filing of this

    action.

              54.   The ‘949 patent is directed to devices and methods for controlling a plurality of

    players in a local area network.

              55.   Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by one or more of the claims of the ‘949 patent. For instance, at a minimum,

    Defendants’ HEOS controller app—which is configured to group HEOS speakers and adjust

    both individual volumes and a “Master” volume for grouped HEOS speakers—embodies one or

    more of the devices, methods, and/or computer-readable media claimed in the ‘949 patent. See,

    e.g., Exs. N, P, S-1 (‘949 Patent Initial Claim Chart). An example of this individual and

    “Master” volume adjustment in the HEOS system is shown below:




              56.   Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘949 patent, in violation of 35



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    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           57.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘949 patent, in violation of 35

    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘949 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘949 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of this action (see ¶¶ 12-24 above), (b) Defendants intentionally cause, urge, or

    encourage users of the HEOS system to directly infringe one or more claims of the ‘949 patent

    by promoting, advertising, and instructing customers and potential customers about the HEOS

    system and uses of the system, including infringing uses, (see ‘949 Patent Initial Claim Chart,

    Exs. N, P-R) and (c) Defendants know (or should know) that their actions will induce users of

    the HEOS system to directly infringe one or more claims the ‘949 patent, and (d) users of the

    HEOS system directly infringe one or more claims of the ‘949 patent. For instance, at a

    minimum, Defendants have supplied and continue to supply the HEOS controller app to

    customers while knowing that installation and use of the HEOS controller app will infringe one

    or more claims of the ‘949 patent, and that Defendants’ customers then directly infringe one or

    more claims of the ‘949 patent by installing and using the HEOS controller app in accordance

    with Defendants’ product literature.

           58.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘949 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct



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    infringement of the ‘949 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘949 patent or were willfully blind to its

    existence prior to, and no later than, the filing of this action (see ¶¶ 12-24 above), (b) Defendants

    offer for sale, sell, and/or import, in connection with the HEOS system, one or more material

    components of the invention of the ‘949 patent that are not staple articles of commerce suitable

    for substantial noninfringing use, (c) Defendants know (or should know) that such component(s)

    were especially made or especially adapted for use in an infringement of the ‘949 patent, and (d)

    users of the HEOS products that comprise such material component(s) directly infringe one or

    more claims of the ‘949 patent. For instance, at a minimum, Defendants offer for sale, sell,

    and/or import HEOS controller software for installation on user devices that meet one or more

    claims of the ‘949 patent. This HEOS controller software is a material component of the user

    devices that meet the one or more claims of the ‘949 patent. Further, Defendants especially

    made and/or adapted the HEOS controller software for use in the user devices that meet the one

    or more claims of the ‘949 patent, and the HEOS controller software is not a staple article of

    commerce suitable for substantial noninfringing use. Defendants’ customers then directly

    infringe the one or more claims of the ‘949 patent by installing and using the HEOS controller

    software on the customers’ user devices.

           59.     Defendants’ infringement of the ‘949 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘949 patent or were willfully

    blind to its existence prior to the filing of this action (see ¶¶ 12-24 above), (b) engaged in the

    aforementioned activity despite an objectively high likelihood that Defendants’ actions

    constituted infringement of the ‘949 patent, and (c) this objectively-defined risk was either

    known or so obvious that it should have been known to Defendants.



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            60.       Defendants’ infringement of the ‘949 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.

                                         COUNT IV:
                            INFRINGEMENT OF U.S. PATENT NO. D559,197

            61.       Sonos incorporates paragraphs 1-60 above as if fully set forth herein.

            62.       Sonos is the owner U.S. Patent No. D559,197 (“the ‘197 design patent”), entitled

    “Control Strip for Electronic Appliances,” which was duly and legally issued by the USPTO on

    January 8, 2008. A copy of the ‘197 design patent is attached hereto as Exhibit T.

            63.       Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘197 design patent.

            64.       On information and belief, Defendants had actual knowledge of the ‘197 design

    patent prior to the filing of this action. See ¶¶ 12-24 above.

            65.       Defendants have had actual knowledge of the ‘197 design patent since the filing

    of this action.

            66.       The ‘197 design patent is directed to an “ornamental design for a control strip for

    electronic appliances.”




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           67.     Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by the ‘197 design patent. For instance, at a minimum, Defendants’ HEOS 1,

    HEOS 3, HEOS AMP, HEOS LINK, and HEOS HomeCinema products all include a “control

    strip” as shown and described in the ‘197 design patent. See Ex. T-1 (‘197 Patent Initial Claim

    Chart). As one representative example, the picture below illustrates the “control strip” on the

    HEOS 3 product (from usa.denon.com):




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              68.   Thus, Defendants have directly infringed and continue to directly infringe the

    ‘197 design patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for sale, and/or

    selling HEOS 1, HEOS 3, HEOS AMP, HEOS LINK, and HEOS HomeCinema products within

    the United States and/or importing such HEOS products into the United States.

              69.   On information and belief, Defendants had actual knowledge of the ‘197 design

    patent or were willfully blind to its existence prior to, and no later than, the filing of this action

    (see ¶¶ 12-24 above). Nonetheless, on information and belief, Defendants have supplied and

    continue to supply HEOS 1, HEOS 3, HEOS AMP, HEOS LINK, and HEOS HomeCinema

    products to customers while knowing that use of these products will infringe the ‘197 design

    patent.

              70.   Defendants’ infringement of the ‘197 design patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘197 design patent or were

    willfully blind to its existence prior to the filing of this action (see ¶¶ 12-24 above), (b) engaged

    in the aforementioned activity despite an objectively high likelihood that Defendants’ actions



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    constituted infringement of the ‘197 design patent, and (c) this objectively-defined risk was

    either known or so obvious that it should have been known to Defendants.

           71.     Defendants’ infringement of the ‘197 design patent has caused irreparable harm to

    Sonos and will continue to do so unless enjoined by this Court

                                        COUNT V:
                          INFRINGEMENT OF U.S. PATENT NO. 9,042,556

           72.     Sonos incorporates paragraphs 1-71 above as if fully set forth herein.

           73.     Sonos is the owner U.S. Patent No. 9,042,556 (“the ‘556 patent”), entitled

    “Shaping Sound Responsive to Speaker Orientation,” which was duly and legally issued by the

    USPTO on May 26, 2015. A copy of the ‘556 patent is attached hereto as Exhibit U.

           74.     Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘556 patent.

           75.     On information and belief, Defendants had actual knowledge of the ‘556 patent

    and/or the application that led to the issuance of the ‘556 patent prior to the filing of this

    Complaint. See ¶¶ 12-24 above.

           76.     Defendants have had actual knowledge of the ‘556 patent since the filing of this

    Complaint.

           77.     The ‘556 patent is directed to devices, methods, and computer-readable media for

    shaping sound in accordance with speaker orientation.

           78.     Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by one or more claims of the ‘556 patent. For instance, at a minimum, Defendants’

    HEOS 3 player—which is configured to shape sound based on an orientation and a configuration

    state—embodies one or more of the devices, methods, and/or computer-readable media claimed




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    in the ‘556 patent. See, e.g., Ex. U-1 (‘556 Patent Initial Claim Chart), Ex. G (from

    usa.denon.com), Ex. L (from usa.denon.com).

           79.     Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘556 patent, in violation of 35

    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           80.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘556 patent, in violation of 35

    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘556 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘556 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of this Complaint (see ¶¶ 12-24 above), (b) Defendants intentionally cause, urge,

    or encourage users of the HEOS system to directly infringe one or more claims of the ‘556 patent

    by promoting, advertising, and instructing customers and potential customers about the HEOS

    system and uses of the system, including infringing uses, (see ‘556 Patent Initial Claim Chart,

    Exs. G, L, N) and (c) Defendants know (or should know) that their actions will induce users of

    the HEOS system to directly infringe one or more claims the ‘556 patent, and (d) users of the

    HEOS system directly infringe one or more claims of the ‘556 patent. For instance, at a

    minimum, Defendants have supplied and continue to supply the HEOS 3 players to customers

    while knowing that use of these products will infringe one or more claims of the ‘556 patent, and

    that Defendants’ customers then directly infringe one or more claims of the ‘556 patent by using

    these HEOS 3 players in accordance with Defendants’ product literature.




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           81.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘556 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct

    infringement of the ‘556 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘556 patent or were willfully blind to its

    existence prior to, and no later than, this Complaint (see ¶¶ 12-24 above), (b) Defendants offer

    for sale, sell, and/or import, in connection with the HEOS system, one or more material

    components of the invention of the ‘556 patent that are not staple articles of commerce suitable

    for substantial noninfringing use, (c) Defendants know (or should know) that such component(s)

    were especially made or especially adapted for use in an infringement of the ‘556 patent, and (d)

    users of the HEOS products that comprise such material component(s) directly infringe one or

    more claims of the ‘556 patent. For instance, at a minimum, Defendants offer for sale, sell,

    and/or import software updates for HEOS 3 players that meet one or more claims of the ‘556

    patent. See, e.g., Ex. N, at p. 41. These software updates are material components of the HEOS 3

    players that meet the one or more claims of the ‘556 patent. Further, Defendants especially made

    and/or adapted these software updates for use in the HEOS 3 players that meet the one or more

    claims of the ‘556 patent, and these software updates are not staple articles of commerce suitable

    for substantial noninfringing use. Defendants’ customers then directly infringe the one or more

    claims of the ‘556 patent by installing and using the software updates on the HEOS 3 players.

           82.     Defendants’ infringement of the ‘556 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘556 patent or were willfully

    blind to its existence prior to the filing of this Complaint (see ¶¶ 12-24 above), (b) engaged in the



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    aforementioned activity despite an objectively high likelihood that Defendants’ actions

    constituted infringement of the ‘556 patent, and (c) this objectively-defined risk was either

    known or so obvious that it should have been known to Defendants.

           83.     Defendants’ infringement of the ‘556 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.

                                       COUNT VI:
                          INFRINGEMENT OF U.S. PATENT NO. 9,202,509

           84.     Sonos incorporates paragraphs 1-83 above as if fully set forth herein.

           85.     Sonos is the owner U.S. Patent No. 9,202,509 (“the ‘509 patent”), entitled

    “Controlling and Grouping in a Multi-Zone Media System,” which was duly and legally issued

    by the USPTO on December 1, 2015, and a reexamination certificate was issued on May 30,

    2017 . A copy of the ‘509 patent (including the reexamination certificate) is attached hereto as

    Exhibit V.

           86.     Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘509 patent.

           87.     On information and belief, Defendants had actual knowledge of the ‘509 patent

    and/or the application that led to the issuance of the ‘509 patent prior to the filing of this

    Complaint. See ¶¶ 12-24 above.

           88.     Defendants have had actual knowledge of the ‘509 patent since the filing of this

    Complaint.

           89.     The ‘509 patent is directed to methods, systems, and computer-readable media for

    controlling a plurality of multimedia players in groups.

           90.     Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by the ‘509 patent. For instance, at a minimum, Defendants’ HEOS controller

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    app—which is configured to instruct HEOS players to form a stereo pair and then display an

    indication of this stereo pair—embodies one or more of the methods, systems, and/or computer-

    readable media claimed in the ‘509 patent. See, e.g., Exs. V-1 (‘509 Patent Initial Claim Chart),

    L-N.

           91.     Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘509 patent, in violation of 35

    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           92.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘509 patent, in violation of 35

    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘509 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘509 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of this Complaint (see ¶¶ 12-24 above), (b) Defendants intentionally cause, urge,

    or encourage users of the HEOS system to directly infringe one or more claims of the ‘509 patent

    by promoting, advertising, and instructing customers and potential customers about the HEOS

    system and uses of the system, including infringing uses, (see ‘509 Patent Initial Claim Chart,

    Exs. L-N) and (c) Defendants know (or should know) that their actions will induce users of the

    HEOS system to directly infringe one or more claims the ‘509 patent, and (d) users of the HEOS

    system directly infringe one or more claims of the ‘509 patent. For instance, at a minimum,

    Defendants have supplied and continue to supply the HEOS controller app to customers while

    knowing that installation and use of the HEOS controller app will infringe one or more claims of

    the ‘509 patent, and that Defendants’ customers then directly infringe one or more claims of the



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    ‘509 patent by installing and using the HEOS controller app in accordance with Defendants’

    product literature.

           93.     Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘509 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct

    infringement of the ‘509 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘509 patent or were willfully blind to its

    existence prior to, and no later than, the filing of this Complaint (see ¶¶ 12-24 above), (b)

    Defendants offer for sale, sell, and/or import, in connection with the HEOS system, one or more

    material components of the invention of the ‘509 patent that are not staple articles of commerce

    suitable for substantial noninfringing use, (c) Defendants know (or should know) that such

    component(s) were especially made or especially adapted for use in an infringement of the ‘509

    patent, and (d) users of the HEOS products that comprise such material component(s) directly

    infringe one or more claims of the ‘509 patent. For instance, at a minimum, Defendants offer for

    sale, sell, and/or import HEOS controller software for installation on user devices that meet one

    or more claims of the ‘509 patent. This HEOS controller software is a material component of the

    user devices that meet the one or more claims of the ‘509 patent. Further, Defendants especially

    made and/or adapted the HEOS controller software for use in the user devices that meet the one

    or more claims of the ‘509 patent, and the HEOS controller software is not a staple article of

    commerce suitable for substantial noninfringing use. Defendants’ customers then directly

    infringe the one or more claims of the ‘509 patent by installing and using the HEOS controller

    software on the customers’ user devices.



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           94.     Defendants’ infringement of the ‘509 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘509 patent or were willfully

    blind to its existence prior to the filing of this Complaint (see ¶¶ 12-24 above), (b) engaged in the

    aforementioned activity despite an objectively high likelihood that Defendants’ actions

    constituted infringement of the ‘509 patent, and (c) this objectively-defined risk was either

    known or so obvious that it should have been known to Defendants.

           95.     Defendants’ infringement of the ‘509 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.

                                       COUNT VII:
                          INFRINGEMENT OF U.S. PATENT NO. 8,938,312

           96.     Sonos incorporates paragraphs 1-95 above as if fully set forth herein.

           97.     Sonos is the owner U.S. Patent No. 8,938,312 (“the ‘312 patent”), entitled “Smart

    In-Line Processing,” which was duly and legally issued by the USPTO on January 20, 2015. A

    copy of the ‘312 patent is attached hereto as Exhibit W.

           98.     Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘312 patent.

           99.     On information and belief, Defendants had actual knowledge of the ‘312 patent

    and/or the application that led to the issuance of the ‘312 patent prior to the filing of this

    Complaint. See ¶¶ 12-24 above.

           100.    Defendants have had actual knowledge of the ‘312 patent since the filing of this

    Complaint.

           101.    The ‘312 patent is directed to devices, methods, and computer-readable media for

    smart line-in processing.




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           102.    Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by one or more claims of the ‘312 patent. For instance, at least Defendants’ HEOS

    HomeCinema product—which includes a HEOS Soundbar equipped with an “Auto-Play”

    feature—embodies one or more of the devices, methods, and/or computer-readable media

    claimed in the ‘312 patent. See, e.g., Exs. W-1 (‘312 Patent Initial Claim Chart), X.

           103.    Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘312 patent, in violation of 35

    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           104.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘312 patent, in violation of 35

    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘312 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘312 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of this Complaint (see ¶¶ 12-24 above), (b) Defendants intentionally cause, urge,

    or encourage users of the HEOS system to directly infringe one or more claims of the ‘312 patent

    by promoting, advertising, and instructing customers and potential customers about the HEOS

    system and uses of the system, including infringing uses, (see ‘312 Patent Initial Claim Chart,

    Ex. X), (c) Defendants know (or should know) that their actions will induce users of the HEOS

    system to directly infringe one or more claims the ‘312 patent, and (d) users of the HEOS system

    directly infringe one or more claims of the ‘312 patent. For instance, at a minimum, Defendants

    have supplied and continue to supply HEOS HomeCinema products to customers while knowing

    that use of these products will infringe one or more claims of the ‘312 patent, and that



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    Defendants’ customers then directly infringe one or more claims of the ‘312 patent by using

    these HEOS HomeCinema products in accordance with Defendants’ product literature.

           105.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘312 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct

    infringement of the ‘312 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘312 patent or were willfully blind to its

    existence prior to, and no later than, the filing of this Complaint (see ¶¶ 12-24 above), (b)

    Defendants offer for sale, sell, and/or import, in connection with the HEOS system, one or more

    material components of the invention of the ‘312 patent that are not staple articles of commerce

    suitable for substantial noninfringing use, (c) Defendants know (or should know) that such

    component(s) were especially made or especially adapted for use in an infringement of the ‘312

    patent, and (d) users of the HEOS products that comprise such material component(s) directly

    infringe one or more claims of the ‘312 patent. For instance, at a minimum, Defendants offer for

    sale, sell, and/or import software updates for HEOS HomeCinema products that meet one or

    more claims of the ‘312 patent. See, e.g., Ex. X, at p. 51. These software updates are material

    components of the HEOS HomeCinema products that meet the one or more claims of the ‘312

    patent. Further, Defendants especially made and/or adapted these software updates for use in the

    HEOS HomeCinema products that meet the one or more claims of the ‘312 patent, and these

    software updates are not staple articles of commerce suitable for substantial noninfringing use.

    Defendants’ customers then directly infringe the one or more claims of the ‘312 patent by

    installing and using the software updates on the HEOS HomeCinema products.



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           106.    Defendants’ infringement of the ‘312 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘312 patent or were willfully

    blind to its existence prior to the filing of this Complaint (see ¶¶ 12-24 above), (b) engaged in the

    aforementioned activity despite an objectively high likelihood that Defendants’ actions

    constituted infringement of the ‘312 patent, and (c) this objectively-defined risk was either

    known or so obvious that it should have been known to Defendants.

           107.    Defendants’ infringement of the ‘312 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.

                                     COUNT VIII:
                         INFRINGEMENT OF U.S. PATENT NO. 8,843,224

           108.    Sonos incorporates paragraphs 1-107 above as if fully set forth herein.

           109.    Sonos is the owner U.S. Patent No. 8,843,224 (“the ‘224 patent”), entitled

    “Method and System for Controlling Amplifiers,” which was duly and legally issued by the

    USPTO on September 23, 2014. A copy of the ‘224 patent is attached hereto as Exhibit Y.

           110.    Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘224 patent.

           111.    On information and belief, Defendants had actual knowledge of the ‘224 patent

    prior to the filing of this action. See ¶¶ 12-24 above.

           112.    Defendants have had actual knowledge of the ‘224 patent since the filing of the

    Second Amended Complaint.

           113.    The ‘224 patent is directed to devices, methods, and computer-readable media for

    controlling an audio amplifier.

           114.    Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by one or more claims of the ‘224 patent. For instance, at least Defendants’ HEOS

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    players (other than the HEOS LINK) include an amplifier that is controlled based on whether or

    not received data packets include audio data. See, e.g., Exs. Y-1 (‘224 Patent Initial Claim

    Chart), L. Indeed, these HEOS players are configured to (a) activate a “Network Standby” mode

    (during which the amplifier is powered down) when no audio data from a source device (e.g.,

    another HEOS product) has been received for the past 20 minutes and then (b) deactivate the

    “Network Standby” mode once audio data is received from the source device. See, e.g., ‘224

    Patent Initial Claim Chart, Ex. N at p. 43. Based at least on this functionality, Defendants’

    HEOS speaker and HEOS amplifier products embody one or more of the devices, methods,

    and/or computer-readable media claimed in the ‘224 patent.

           115.    Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘224 patent, in violation of 35

    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           116.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘224 patent, in violation of 35

    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘224 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘224 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of the Second Amended Complaint (see ¶¶ 12-24 above), (b) Defendants

    intentionally cause, urge, or encourage users of the HEOS system to directly infringe one or

    more claims of the ‘224 patent by promoting, advertising, and instructing customers and

    potential customers about the HEOS system and uses of the system, including infringing uses,

    (see ‘224 Patent Initial Claim Chart, Ex. N at p. 43) and (c) Defendants know (or should know)



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    that their actions will induce users of the HEOS system to directly infringe one or more claims

    the ‘224 patent, and (d) users of the HEOS system directly infringe one or more claims of the

    ‘224 patent. For instance, at a minimum, Defendants have supplied and continue to supply

    HEOS players to customers while knowing that use of these players (other than the HEOS

    LINK) will infringe one or more claims of the ‘224 patent, and that Defendants’ customers then

    directly infringe one or more claims of the ‘224 patent by using these HEOS players in

    accordance with Defendants’ product literature.

           117.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘224 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct

    infringement of the ‘224 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘224 patent or were willfully blind to its

    existence prior to, and no later than, the filing of the Second Amended Complaint (see ¶¶ 12-24

    above), (b) Defendants offer for sale, sell, and/or import, in connection with the HEOS system,

    one or more material components of the invention of the ‘224 patent that are not staple articles of

    commerce suitable for substantial noninfringing use, (c) Defendants know (or should know) that

    such component(s) were especially made or especially adapted for use in an infringement of the

    ‘224 patent, and (d) users of the HEOS products that comprise such material component(s)

    directly infringe one or more claims of the ‘224 patent. For instance, at a minimum, Defendants

    offer for sale, sell, and/or import software updates for HEOS players that meet one or more

    claims of the ‘224 patent. See, e.g., Ex. N, at p. 41. These software updates are material

    components of the HEOS players that meet the one or more claims of the ‘224 patent. Further,



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    Defendants especially made and/or adapted these software updates for use in the HEOS players

    that meet the one or more claims of the ‘224 patent, and these software updates are not staple

    articles of commerce suitable for substantial noninfringing use. Defendants’ customers then

    directly infringe the one or more claims of the ‘224 patent by installing and using the software

    updates on the HEOS players (other than the HEOS LINK).

           118.    Defendants’ infringement of the ‘224 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘224 patent or were willfully

    blind to its existence prior to the filing of the Second Amended Complaint (see ¶¶ 12-24 above),

    (b) engaged in the aforementioned activity despite an objectively high likelihood that

    Defendants’ actions constituted infringement of the ‘224 patent, and (c) this objectively-defined

    risk was either known or so obvious that it should have been known to Defendants.

           119.    Defendants’ infringement of the ‘224 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.

                                       COUNT IX:
                          INFRINGEMENT OF U.S. PATENT NO. 9,213,357

           120.    Sonos incorporates paragraphs 1-119 above as if fully set forth herein.

           121.    Sonos is the owner U.S. Patent No. 9,213,357 (“the ‘357 patent”), entitled

    “Obtaining Content From Remote Source,” which was duly and legally issued by the USPTO on

    February 5, 2013. A copy of the ‘357 patent is attached hereto as Exhibit Z.

           122.    Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘357 patent.

           123.    On information and belief, Defendants had actual knowledge of the ‘357 patent

    and/or the application that led to the issuance of the ‘357 patent prior to the filing of this

    Complaint. See ¶¶ 12-24 above.

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           124.    Defendants have had actual knowledge of the ‘357 patent since the filing of this

    Complaint.

           125.    The ‘357 patent is directed to devices, methods, and computer-readable media for

    synchronizing audio playback.

           126.    Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by the ‘357 patent. Indeed, Defendants tout that their HEOS system provides

    “[i]ndustry leading microsecond audio synchronization between speakers” and that their HEOS

    players are configured with functionality that enable them to be grouped together to “play[] the

    same music in perfect sync.” See, e.g., Ex. N, at p. 6, 26. To achieve this synchronization,

    Defendants’ HEOS players include functionality that causes such players to embody one or more

    of the devices, methods, and/or computer-readable media claimed in the ‘357 patent. See, e.g.,

    Ex. Z-1 (‘357 Patent Initial Claim Chart).

           127.    Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘357 patent, in violation of 35

    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           128.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘357 patent, in violation of 35

    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘357 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘357 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of this Complaint (see ¶¶ 12-24 above), (b) Defendants intentionally cause, urge,

    or encourage users of the HEOS system to directly infringe one or more claims of the ‘357 patent



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    by promoting, advertising, and instructing customers and potential customers about the HEOS

    system and uses of the system, including infringing uses, (see ‘357 Patent Initial Claim Chart,

    Ex. N) and (c) Defendants know (or should know) that their actions will induce users of the

    HEOS system to directly infringe one or more claims the ‘357 patent, and (d) users of the HEOS

    system directly infringe one or more claims of the ‘357 patent. For instance, at a minimum,

    Defendants have supplied and continue to supply HEOS players to customers while knowing that

    use of these products will infringe one or more claims of the ‘357 patent, and that Defendants’

    customers then directly infringe one or more claims of the ‘357 patent by using these HEOS

    players in accordance with Defendants’ product literature.

           129.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘357 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct

    infringement of the ‘357 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘357 patent or were willfully blind to its

    existence prior to, and no later than, the filing of this Complaint (see ¶¶ 12-24 above), (b)

    Defendants offer for sale, sell, and/or import, in connection with the HEOS system, one or more

    material components of the invention of the ‘357 patent that are not staple articles of commerce

    suitable for substantial noninfringing use, (c) Defendants know (or should know) that such

    component(s) were especially made or especially adapted for use in an infringement of the ‘357

    patent, and (d) users of the HEOS products that comprise such material component(s) directly

    infringe one or more claims of the ‘357 patent. For instance, at a minimum, Defendants offer for

    sale, sell, and/or import software updates for HEOS players that meet one or more claims of the



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    ‘357 patent. See, e.g., Ex. N, at p. 41. These software updates are material components of the

    HEOS products that meet the one or more claims of the ‘357 patent. Further, Defendants

    especially made and/or adapted these software updates for use in the HEOS players that meet the

    one or more claims of the ‘357 patent, and these software updates are not staple articles of

    commerce suitable for substantial noninfringing use. Defendants’ customers then directly

    infringe the one or more claims of the ‘357 patent by installing and using the software updates on

    the HEOS players.

           130.    Defendants’ infringement of the ‘357 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘357 patent or were willfully

    blind to its existence prior to the filing of this Complaint (see ¶¶ 12-24 above), (b) engaged in the

    aforementioned activity despite an objectively high likelihood that Defendants’ actions

    constituted infringement of the ‘357 patent, and (c) this objectively-defined risk was either

    known or so obvious that it should have been known to Defendants.

           131.    Defendants’ infringement of the ‘357 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.


                                       COUNT X:
                         INFRINGEMENT OF U.S. PATENT NO. 9,195,258

           132.    Sonos incorporates paragraphs 1-131 above as if fully set forth herein.

           133.    Sonos is the owner U.S. Patent No. 9,195,258 (“the ‘258 patent”), entitled

    “System and Method for Synchronizing Operations Among a Plurality of Independently Clocked

    Digital Data Processing Devices,” which was duly and legally issued by the USPTO on

    November 24, 2015. A copy of the ‘258 patent is attached hereto as Exhibit AA.




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           134.    Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘258 patent.

           135.    On information and belief, Defendants had actual knowledge of the ‘258 patent

    and/or the application that led to the issuance of the ‘258 patent prior to the filing of this

    Complaint. See ¶¶ 12-24 above.

           136.    Defendants have had actual knowledge of the ‘258 patent since the filing of this

    Complaint.

           137.    The ‘258 patent is directed to devices, systems, methods for synchronizing audio

    playback.

           138.    Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by the ‘258 patent. Indeed, Defendants tout that their HEOS system provides

    “[i]ndustry leading microsecond audio synchronization between speakers” and that their HEOS

    players are configured with functionality that enable them to be grouped together to “play[] the

    same music in perfect sync.” See, e.g., Ex. P, at p. 6, 26. To achieve this synchronization,

    Defendants’ HEOS players include functionality that cause such players to embody one or more

    of the devices, methods, and/or computer-readable media claimed in the ‘258 patent. See, e.g.,

    Ex. AA-1 (‘258 Patent Initial Claim Chart).

           139.    Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘258 patent, in violation of 35

    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           140.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘258 patent, in violation of 35



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    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘258 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘258 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of this Complaint (see ¶¶ 12-24 above), (b) Defendants intentionally cause, urge,

    or encourage users of the HEOS system to directly infringe one or more claims of the ‘258 patent

    by promoting, advertising, and instructing customers and potential customers about the HEOS

    system and uses of the system, including infringing uses, (see ‘258 Patent Initial Claim Chart,

    Ex. N) and (c) Defendants know (or should know) that their actions will induce users of the

    HEOS system to directly infringe one or more claims the ‘258 patent, and (d) users of the HEOS

    system directly infringe one or more claims of the ‘258 patent. For instance, at a minimum,

    Defendants have supplied and continue to supply HEOS players to customers while knowing that

    use of these products will infringe one or more claims of the ‘258 patent, and that Defendants’

    customers then directly infringe one or more claims of the ‘258 patent by using these HEOS

    players in accordance with Defendants’ product literature.

           141.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘258 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct

    infringement of the ‘258 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘258 patent or were willfully blind to its

    existence prior to, and no later than, the filing of this Complaint (see ¶¶ 12-24 above), (b)

    Defendants offer for sale, sell, and/or import, in connection with the HEOS system, one or more

    material components of the invention of the ‘258 patent that are not staple articles of commerce



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    suitable for substantial noninfringing use, (c) Defendants know (or should know) that such

    component(s) were especially made or especially adapted for use in an infringement of the ‘258

    patent, and (d) users of the HEOS products that comprise such material component(s) directly

    infringe one or more claims of the ‘258 patent. For instance, at a minimum, Defendants offer for

    sale, sell, and/or import software updates for HEOS players that meet one or more claims of the

    ‘258 patent. See, e.g., Ex. N, at p. 41. These software updates are material components of the

    HEOS players that meet the one or more claims of the ‘258 patent. Further, Defendants

    especially made and/or adapted these software updates for use in the HEOS players that meet the

    one or more claims of the ‘258 patent, and these software updates are not staple articles of

    commerce suitable for substantial noninfringing use. Defendants’ customers then directly

    infringe the one or more claims of the ‘258 patent by installing and using the software updates on

    the HEOS players.

           142.    Defendants’ infringement of the ‘258 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘258 patent or were willfully

    blind to its existence prior to the filing of this Complaint (see ¶¶ 12-24 above), (b) engaged in the

    aforementioned activity despite an objectively high likelihood that Defendants’ actions

    constituted infringement of the ‘258 patent, and (c) this objectively-defined risk was either

    known or so obvious that it should have been known to Defendants.

           143.    Defendants’ infringement of the ‘258 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.

                                      COUNT XI:
                         INFRINGEMENT OF U.S. PATENT NO. 8,938,637

           144.    Sonos incorporates paragraphs 1-143 above as if fully set forth herein.




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           145.    Sonos is the owner U.S. Patent No. 8,938,637 (“the ‘637 patent”), entitled

    “Systems and Methods for Synchronizing Operations Among a Plurality of Independently

    Clocked Digital Data Processing Devices Without a Voltage Controlled Crystal Oscillator,”

    which was duly and legally issued by the USPTO on January 20, 2015. A copy of the ‘637

    patent is attached hereto as Exhibit BB.

           146.    Sonos is in compliance with any applicable marking and notice provisions of 35

    U.S.C. § 287 with respect to the ‘637 patent.

           147.    On information and belief, Defendants had actual knowledge of the ‘637 patent

    and/or the application that led to the ‘637 patent prior to the filing of the Second Amended

    Complaint. See ¶¶ 12-24 above.

           148.    Defendants have had actual knowledge of the ‘959 patent since the filing of the

    Second Amended Complaint.

           149.    The ‘637 patent is directed to devices, methods, and computer-readable media for

    synchronizing audio playback.

           150.    Defendants’ HEOS system is covered (either literally or under the Doctrine of

    Equivalents) by the ‘637 patent. Indeed, Defendants tout that their HEOS system provides

    “[i]ndustry leading microsecond audio synchronization between speakers” and that their HEOS

    players can be grouped together to “play[] the same music in perfect sync.” See, e.g., Ex. N, at

    p. 6, 26. To enable synchronization, Defendants’ HEOS players are configured to receive audio

    samples from a source device (e.g., another HEOS player) and then adjust how many audio

    samples to play back based on timing information associated with the audio samples, clock

    information associated with the source device, and the HEOS product’s own clock information.

    Based at least on this functionality, Defendants’ HEOS players embody one or more of the



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    devices, methods, and/or computer-readable media claimed in the ‘637 patent. See Ex. BB-1

    (‘637 Patent Initial Claim Chart).

           151.    Thus, Defendants and/or users of the HEOS system have directly infringed and

    continue to directly infringe one or more of the claims of the ‘637 patent, in violation of 35

    U.S.C. § 271(a), by making, using, offering for sale, and/or selling the HEOS system within the

    United States and/or importing the HEOS system into the United States.

           152.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘637 patent, in violation of 35

    U.S.C. § 271(b), by actively inducing users of the HEOS system to directly infringe the one or

    more claims of the ‘637 patent. In particular, on information and belief, (a) Defendants had

    actual knowledge of the ‘637 Patent or were willfully blind to its existence prior to, and no later

    than, the filing of the Second Amended Complaint (see ¶¶ 12-24 above), (b) Defendants

    intentionally cause, urge, or encourage users of the HEOS system to directly infringe one or

    more claims of the ‘637 patent by promoting, advertising, and instructing customers and

    potential customers about the HEOS system and uses of the system, including infringing uses,

    (see ‘637 Patent Initial Claim Chart, Ex. N) and (c) Defendants know (or should know) that their

    actions will induce users of the HEOS system to directly infringe one or more claims the ‘637

    patent, and (d) users of the HEOS system directly infringe one or more claims of the ‘637 patent.

    For instance, at a minimum, Defendants have supplied and continue to supply HEOS players to

    customers while knowing that use of these products will infringe one or more claims of the ‘637

    patent, and that Defendants’ customers then directly infringe one or more claims of the ‘637

    patent by using these HEOS players in accordance with Defendants’ product literature.




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           153.    Additionally and/or alternatively, Defendants have indirectly infringed and

    continue to indirectly infringe one or more of the claims of the ‘637 patent, in violation of 35

    U.S.C. § 271(c), by offering to sell or selling within the United States, and/or importing into the

    United States, components in connection with the HEOS system that contribute to the direct

    infringement of the ‘637 patent by users of the HEOS system. In particular, on information and

    belief, (a) Defendants had actual knowledge of the ‘637 patent or were willfully blind to its

    existence prior to, and no later than, the filing of the Second Amended Complaint (see ¶¶ 12-24

    above), (b) Defendants offer for sale, sell, and/or import, in connection with the HEOS system,

    one or more material components of the invention of the ‘637 patent that are not staple articles of

    commerce suitable for substantial noninfringing use, (c) Defendants know (or should know) that

    such component(s) were especially made or especially adapted for use in an infringement of the

    ‘637 patent, and (d) users of the HEOS products that comprise such material component(s)

    directly infringe one or more claims of the ‘637 patent. For instance, at a minimum, Defendants

    offer for sale, sell, and/or import software updates for HEOS players that meet one or more

    claims of the ‘637 patent. See, e.g., Ex. N, at p. 41. These software updates are material

    components of the HEOS players that meet the one or more claims of the ‘637 patent. Further,

    Defendants especially made and/or adapted these software updates for use in the HEOS players

    that meet the one or more claims of the ‘637 patent, and these software updates are not staple

    articles of commerce suitable for substantial noninfringing use. Defendants’ customers then

    directly infringe the one or more claims of the ‘637 patent by installing and using the software

    updates on the HEOS players.

           154.    Defendants’ infringement of the ‘637 patent is also willful because, on

    information and belief, Defendants (a) had actual knowledge of the ‘637 patent or were willfully



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    blind to its existence prior to the filing of the Second Amended Complaint (see ¶¶ 12-24 above),

    (b) engaged in the aforementioned activity despite an objectively high likelihood that

    Defendants’ actions constituted infringement of the ‘637 patent, and (c) this objectively-defined

    risk was either known or so obvious that it should have been known to Defendants.

           155.    Defendants’ infringement of the ‘637 patent has caused irreparable harm to Sonos

    and will continue to do so unless enjoined by this Court.



                                     REQUEST FOR JURY TRIAL

           Pursuant to FED. R. CIV. P. 38, Sonos demands a trial by jury of any issue triable of right

    by a jury.


                                         PRAYER FOR RELIEF

           THEREFORE, Sonos prays for relief against Defendants as follows:

           A.      A judgment that Defendants have infringed and continue to infringe one or more

    claims of the asserted patents in violation of 35 U.S.C. § 271(a), (b), and (c), and that such

    infringement is willful;

           B.      A preliminary and permanent injunction enjoining Defendants, their officers,

    agents, servants, employees and attorneys, and other persons in active concert or participation

    with Defendants, and their parents, subsidiaries, divisions, successors and assigns, from further

    infringement of the asserted patents;

           C.      A judgment awarding Sonos all damages adequate to compensate for Defendants’

    infringement of Sonos’s asserted patents, and in no event less than a reasonable royalty for

    Defendants’ acts of infringement, including damages for provisional rights (where applicable)

    and all pre-judgment and post-judgment interest at the maximum rate permitted by law;

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           D.     A judgment awarding Sonos all damages, including treble damages based on any

    infringement found to be willful, pursuant to 35 U.S.C. §§ 284 and/or 289, together with

    prejudgment interest;

           E.     An assessment of costs, including reasonable attorney fees pursuant to 35 U.S.C.

    § 285, and prejudgment interest against Defendants; and

           F.     Such other and further relief as this Court may deem just and proper.




      Dated: September 26, 2017                    POTTER ANDERSON & CORROON LLP


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                                   EXHIBIT
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          Sonos’s Replies in Support of its
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

    SONOS, INC.,                        )
                                        )
                       Plaintiff,       )
                                        )   Civil Action No. 14-1330-RGA
                       v.               )
                                        )
    D&M HOLDINGS INC. d/b/a THE         )   JURY TRIAL DEMANDED
    D+M GROUP, D&M HOLDINGS U.S.        )
    INC., and DENON ELECTRONICS         )
    (USA), LLC,                         )
                                        )
                       Defendants.      )


            SONOS, INC.’S REPLY IN SUPPORT OF ITS MOTIONS IN LIMINE




    OF COUNSEL:
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    (312) 754-0002                          jchoa@potteranderson.com

    Dated: November 14, 2017                Attorneys for Plaintiff Sonos, Inc.
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   I.     SONOS’S REPLY FOR MIL NO. 1
           Without any legal support, D&M offers three unavailing arguments in opposition to this

   motion, while simply ignoring the legal authority cited by Sonos in its opening brief.

          First, D&M misrepresents that “this motion would even preclude elected prior art.” That

   is not true. Sonos is not using this motion to exclude any of D&M’s elected prior art. However,

   Sonos is seeking to preclude D&M from using its non-elected patents to expand D&M’s

   invalidity contentions beyond the agreed to limit of 3 prior art references per patent. Even if

   such non-elected D&M patents are somehow relevant and/or permissible in light of the prior art

   limit, they should still be excluded, as their relevance is substantially outweighed by their

   potential to confuse and mislead the jury. See Cameco Indus., 1995 WL 468234 at *5-6.

          Second, while D&M contends that its patents rebut Sonos’s claim of willful infringement,

   as cited in Sonos’s opening brief, at least one district court has already considered this issue and

   precluded such evidence under Rules 402 and 403. EZ Dock, Inc., 2003 WL 1610781 at *11.1

   D&M conveniently ignores this legal authority. Simply put, D&M cannot introduce its own non-

   elected patents to give the jury the false impression that D&M could not have copied Sonos’s

   products and still have obtained patents related to the accused HEOS products. See id.

          Third, contrary to D&M’s assertions, D&M’s witnesses can testify concerning the

   development of the accused HEOS products without mentioning that the accused HEOS products

   are covered by D&M patents. The non-elected D&M patents are simply not at issue here, and

   the countersuit involves different issues, asserted patents, and accused products. As such,

   D&M’s non-elected patents and its countersuit should be excluded from this case.




   1
    D&M patents are also not relevant to any secondary consideration, which requires a nexus
   between the secondary considerations and the merits of the claimed Sonos inventions.

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   II.    SONOS’S REPLY FOR MIL NO. 2
          In its response, D&M simply disregards the fact that the BHM Case involved different

   plaintiffs and different patents. As an initial matter, while D&M may introduce facts related to

   the BHM Case for the limited purposes of impeaching a witness, D&M may not introduce such

   evidence on direct examination to elicit testimony prior to an attack on a witness’s credibility.2

          In support of its response, D&M cites to Mendenhall to contend that the facts related to

   the BHM Case could be relevant, especially with respect to secondary considerations of

   commercial success or copying. Even if so, the Federal Circuit in Mendenhall affirmed the

   preclusion of prior litigation evidence because of the “possibility of prejudice” and “confusion of

   the jury was very high.” Mendenhall, 5 F.3d at 1573. Moreover, the prior litigation in

   Mendenhall involved the same plaintiff and the same asserted patents, whereas the prior BHM

   Case involved a different plaintiff and different asserted patents than the present case. See id. at

   1566. Thus, while BHM had the burden of showing a nexus between any secondary

   consideration and the merits of its purported inventions in the BHM Case, Sonos has that burden

   with respect to Sonos’s different inventions in the present case.

          Likewise, as discussed in Sonos’s opening brief, the damages analysis for BHM’s patents

   has no relevance to the damages that D&M owes Sonos for infringing Sonos’s patents. In

   addition, the testimony of Sonos’s witnesses in the BHM Case, which concerned the invalidity

   and noninfringement of BHM’s patents, has no relevance to the validity of Sonos’s patents or the

   accused features of D&M’s HEOS products in the context of Sonos’s patented claims.3


   2
     See, e.g., Smith v. City of Philadelphia, No. 06-4312, 2009 WL 3353148, at *4 n.1 (E.D. Pa.
   Oct. 19, 2009) (citing U.S. v. Lowe, 65 F.3d 1137, 1144 (4th Cir. 1995)).
   3
     Notably, D&M misleadingly takes Dr. Wolfes’s BHM opinions out of context. See D&M
   Resp., Ex. 4 at ¶983 (“[S]ynchronized playback of music in wireless networked devices, like
   those using Bluetooth, was well known in the prior art before the invention date for the [BHM]
   Patents.”) The present case, however, does not involve Bluetooth technology.

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   III.   SONOS’S REPLY FOR MIL NO. 3
          First, Sonos does not contend that D&M should be precluded from introducing evidence

   of the prosecution history itself. Rather, Sonos contends that D&M should be precluded from

   accusing Sonos of acting improperly during prosecution, disclosing too much prior art, and/or

   being aware of prior art that was not disclosed. Such evidence goes beyond the prosecution

   history itself, is irrelevant to D&M’s defenses, and would unnecessarily mislead the jury.

           Second, D&M clarified that it “does not intend to argue to the jury that Sonos has

   improperly drawn its claims to D&M’s accused products.” As such, this part of Sonos’s motion

   is no longer in dispute, and thus should be granted.

          Third, while D&M’s competitive acts concerning Sonos’s products are directly relevant

   to evidence of willfulness, as it shows what D&M knew or should have known about Sonos’s

   technology and the infringement of Sonos’s patents on such technology, Sonos’s competitive

   acts concerning other products are irrelevant to the issue of willfulness. See DePuy Spine, Inc. v.

   Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1336 (Fed. Cir. 2009). Moreover, the Presidio

   case cited by D&M involved a patentee’s evidence concerning the accused infringer’s copying of

   the patentee’s “unpatented” products. Presidio at 723 F. Supp. 2d at 1324. Thus, Presidio does

   not support D&M’s intended use of evidence concerning Sonos’s competitive acts.4

          Fourth, Sonos does not intend to argue that D&M’s product modification is an admission

   of infringement, and has not sought damages for infringement after this modification. Thus,

   D&M has no basis to introduce evidence related to compromise discussions between the parties.

   Such evidence is simply not relevant, and any probative value is substantially outweighed by the

   danger of unfairly prejudicing Sonos. See Fed. R. Evid. 403.


   4
    Despite D&M’s speculation to the contrary, the impropriety of D&M’s teardowns of Sonos’s
   products is not at issue here, and the testimony cited by D&M does not support its position.

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                      SCHEDULE H2
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     D&M’s Opening Briefs in Support of
       its Motions in Limine Nos. 1-3
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   ',1RQHRI6RQRV¶VUHPDLQLQJDVVHUWHGFODLPVUHO\RQDFRPSDULVRQRIWKHSK\VLFDO

   DSSHDUDQFHVRIWKHDFFXVHGSURGXFWVPRELOHDSSOLFDWLRQVRUDQ\PDUNHWLQJPDWHULDOV

           &RPSDULVRQ EHWZHHQ PDUNHWLQJ PDWHULDOV ZHEVLWHV RU WUDGHPDUNV LV HYHQ OHVV UHOHYDQW

   WKDQ FRPSDULVRQV EHWZHHQ FRPPHUFLDO HPERGLPHQWV  ,Q IDFW 6RQRV RULJLQDOO\ FKDOOHQJHG

   'HIHQGDQWV¶ ³+(26´ WUDGHPDUN LQ WKH 3DWHQW DQG 7UDGHPDUN 2IILFH EXW DEDQGRQHG WKRVH

   HIIRUWV See ([  7UDGHPDUN FKDOOHQJH   7R WKH H[WHQW WKDW 6RQRV KDV DQ\ UHFRXUVH IRU

   DOOHJDWLRQVRIWUDGHPDUNLQIULQJHPHQWLWKDVQRWSXUVXHGWKHP(YHQTXDVLWHFKQLFDOPDWHULDOV
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   WR HYLGHQFH LQIULQJHPHQW IRXQG RQ D ZHEVLWH KDYH EHHQ IRXQG LUUHOHYDQW WR WKH LVVXH RI

   LQIULQJHPHQWAquaTex Indus., Inc. v. Techniche Sols)G± )HG&LU 

           )XUWKHU QRQH RI WKH FRPPHUFLDO HPERGLPHQWV GLVSOD\HG LQ WKH ILJXUHV RI WKH DVVHUWHG

   SDWHQWV WKHPVHOYHV DUH DQDORJRXV 6RQRV¶V FXUUHQW FRPPHUFLDO

   SURGXFWV  )RU H[DPSOHWKHµ DQG µ 3DWHQWV GHVFULEHV D VWDQG

   DORQHFRQWUROOHUGHYLFH

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   HPERGLPHQW ZKHQ WKH DFFXVHG SURGXFWV ZHUH ODXQFKHG  $QG WKH VPDUWSKRQH DSSOLFDWLRQV WKDW

   DUHDFFXVHG L3KRQH$QGURLGHWF EHDUQRUHVHPEODQFHWRWKRVHVKRZQLQSDWHQWILJXUHV7KH

   µ3DWHQWKDVQRGHSLFWLRQRIFRPPHUFLDOHPERGLPHQWV1RULVWKHUHDQ\HYLGHQFHLQWKLVFDVH

   H[SHUW RU RWKHUZLVH WKDW 6RQRV¶V FXUUHQW LPSOHPHQWDWLRQV RI LWV SURGXFWV ZKLFK KDYH FKDQJHG

   VLJQLILFDQWO\WKURXJKWKH\HDUVDUHLQIDFW³FRPPHUFLDOHPERGLPHQWV´7KLVIXUWKHUVXSSRUWVWKH

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   PDWHULDOV ZHEVLWHV QDPHV DQG RWKHU LUUHOHYDQW PDWWHU ZRXOG EH DW LVVXH LQ QHDUO\ HYHU\

   FRPSHWLWRUSDWHQWFDVH7RWKHH[WHQWWKDW6RQRVDWWHPSWVWROLQNWKLVHYLGHQFHWRZLOOIXOQHVVWKDW

   HYLGHQFHVKRXOGQRWEHFRQVLGHUHGE\WKHMXU\LQGHWHUPLQLQJZLOOIXOLQIULQJHPHQWEXWUDWKHUE\

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   DQGFRQIXVHWKHLVVXHVEHIRUHWKHMXU\

           0RUHRYHU WKURXJKRXW WKH FRXUVH RI WKLV OLWLJDWLRQ 6RQRV KDV GLVPLVVHG FKRVHQ QRW WR

   DVVHUWRUKDVHOHFWHGQRWWRSURFHHGWRWULDOZLWKGLIIHUHQW3DWHQWVSee, e.g.',

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   VLPLODUO\FRQIXVHWKHLVVXHVEHIRUHWKHMXU\DQGSUHMXGLFH'HIHQGDQWV7KHSXUSRVHRIUHGXFLQJ

   WKHQXPEHURISDWHQWVIRUWULDOZDVWRVWUHDPOLQHDQGUHGXFHWKHFRPSOH[LW\RILVVXHVWULHGWRWKH

   MXU\6RQRVVKRXOGQRWEHDOORZHGWRDOOHJH³FRS\LQJ´RULQWURGXFHIXQFWLRQDOLW\VROHO\UHODWHGWR

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           ,Q WKLV ILYHGD\ EHOOZHWKHU WULDO VKRXOG 6RQRV EH DOORZHG WR WU\ LVVXHV UHJDUGLQJ WKH

   VLPLODULW\RIPDUNHWLQJPDWHULDOVDQGGHVLJQRUSDWHQWVQRWDWLVVXHWKHQ'HIHQGDQWVZLOOKDYH

   QR FKRLFH EXW WR UHEXW WKRVH DOOHJDWLRQV ZLWK HYLGHQFH RI GHVLJQ DQG PDUNHWLQJ GLVFXVVLRQV

   GHVLJQ KLVWRU\ DQDO\VLV RI LUUHOHYDQW IXQFWLRQDOLW\ DQG LPSOHPHQWDWLRQ WKDW KDYH DEVROXWHO\

   QRWKLQJWRGRZLWKWKHVXEVWDQWLYHLVVXHVWKDWDUHEHLQJWULHG,IYLHZHGVLPSO\IURPDSUDFWLFDO

   VWDQGSRLQWLI6RQRVUDLVHVWKHVHLVVXHVWKHUHZLOOEHHYHQOHVVWLPHWRWU\WKHUHOHYDQWLVVXHVLQ

   WKLVFDVHZKLFKLVDOUHDG\VXEMHFWWRVWULFWKRXUO\OLPLWV$FFRUGLQJO\WKHULVNVRISUHMXGLFHWR

   'HIHQGDQWV FRQIXVLQJ WKH LVVXHV DQG PLVOHDGLQJ WKH MXU\ IDU RXWZHLJK DQ\ SUREDWLYH YDOXH RI

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             6RQRV¶V 6HFRQG 6XSSOHPHQW WR LWV 7KLUG $PHQGHG &RPSODLQW DOOHJHV ZLOOIXO

   LQIULQJHPHQW RI WKH DVVHUWHG µ DQG µ 3DWHQWV  ',   7KH DVVHUWHG FODLPV RI ERWK

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   DQGGLVWULFWFRXUWVKDYHFRQVLVWHQWO\KHOGWKDWHYLGHQFHRIZLOOIXOLQIULQJHPHQWWKDWSUHGDWHVWKH

   LVVXDQFHRIDSDWHQWLVLUUHOHYDQWSee, e.g., Gustafson, Inc. v. Intersystems Industrial Products,

   Inc.)G8634G )HG&LU  ,WLVREYLRXVWKDWDSDUW\FDQQRWEHKHOG

   OLDEOHIRU LQIULQJHPHQW DQGWKXVQRWIRU ZLOOIXO LQIULQJHPHQWRIDQRQH[LVWHQWSDWHQWLHQR

   GDPDJHVDUHSD\DEOHRQSURGXFWVPDQXIDFWXUHGDQGVROGEHIRUHWKHSDWHQWLVVXHG´ American

   Original Corp. v. Jenkins Food Corp)G8634 )HG&LU  WKHUHZDV

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    See alsoEmory University v. Glaxo Wellcome Inc.8634G 1'*D 
    ,Q RUGHU WR EULQJ D FODLP IRU ZLOOIXO LQIULQJHPHQW >WKH SDWHQWHH@ PXVW SURYH WKDW WKH SDWHQW
   H[LVWVDQGWKHDOOHJHGLQIULQJHUKDGNQRZOHGJHRILW Smith & Nephew, Inc. v. Interlace Med.,
   Inc. 1R &,9$ 5:=  :/  DW  ' 0DVV $XJ    LQ
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   SODLQWLII VSURGXFWLVQRWLQIULQJHPHQWXQOHVVWKDWSURGXFWUHDGVRQWKHSDWHQWFODLPV´ 
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           0RUHRYHU 6RQRV¶V allegations RI ZLOOIXO LQIULQJHPHQW RI WKH µ 3DWHQW GLG QRW H[LVW

   XQWLO0DUFKZKHQLWILOHGLWV7KLUG$PHQGHG&RPSODLQWIRUSDWHQWLQIULQJHPHQW see',

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   SURGXFWV  6XFK DQ DUJXPHQW RU DQ\ HYLGHQFH RI DOOHJHG ³FRS\LQJ´ EHIRUH WKH DVVHUWHG FODLPV

   ZHUH GUDIWHG LV ERWK LUUHOHYDQW XQGHU )HGHUDO 5XOH RI (YLGHQFH  DQG KLJKO\ SUHMXGLFLDO WR

   'HIHQGDQWV LQ WKHLU DWWHPSWV WR IRFXV WKH MXU\ RQ WKH LVVXHV RI LQIULQJHPHQW LQYDOLGLW\ DQG

   GDPDJHVWKDWDUHDFWXDOO\UHOHYDQWLQWKHFDVH

           6KRXOG WKLV HYLGHQFH RU DUJXPHQW EH DOORZHG DW WULDO 6RQRV ZLOO XQGRXEWHGO\ XVH WKH

   DUJXPHQW DV DQ DWWHPSW WR FLUFXPYHQW LWV EXUGHQ WR SURYH LQIULQJHPHQW RI WKH µ DQG µ

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   UHH[DPLQDWLRQ DPHQGPHQWV FRQVWLWXWH D ³VXEVWDQWLYH FKDQJH´ LV ULSH IRU WKH &RXUW¶V GHFLVLRQ

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   VLQJOHSDUDJUDSKRILWVH[SHUW¶VRSHQLQJLQIULQJHPHQWUHSRUWDOOHJLQJWKDWWKHDPHQGPHQWVWRWKH

   µ3DWHQWZHUHQRWVXEVWDQWLYHEHFDXVHWKH\ZHUH³LQKHUHQW´LQWKHWHUP³SOD\HUJURXS´ZLWKLQ

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   WKHRULJLQDOFODLPVSee',DW FLWLQJWKHH[SHUWUHSRUWRI'U.HYLQ$OPHURWKDW 

   1RW RQO\ GRHV WKLV VWDWHPHQW ODFN DQ\ DQDO\WLFDO EDVLV LW LJQRUHV WKH ODQJXDJH RI WKH FODLP

   7KHUH LV QRWKLQJ LQ ³SOD\HU JURXS´ WKDW UHTXLUHV V\QFKURQL]HG SOD\EDFN  ,Q IDFW WKH µ¶V

   VSHFLILFDWLRQVSHFLILFDOO\GHVFULEHVLQVWDQFHVZKHUHJURXSVDUHFUHDWHGDQGVDYHGVXFKWKDWWKH\

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   WKDWPHWKRGFODLPVDUHQRWVXEMHFWWRLQWHUYHQLQJULJKWVSee',DW0HWKRGFODLPVDUHE\

   QR PHDQV LPPXQH WR LQWHUYHQLQJ ULJKWV See, e.g. MonoSol Rx, LLC v. Biodelivery Scis. Int'l,

   Inc.1R&,9)/:'($:/DW  '1-6HSW $VWKH

   &RXUWKDVKHOG³LQWHUYHQLQJULJKWVPXVWH[WHQGQRWRQO\WRSURGXFWVWKDWDUHDVVHUWHGWRLQIULQJH

   DPRGLILHGSURGXFWFODLPEXWDOVRWRSURFHVVHVWKDWZHUHXVHGWRPDNHWKRVHVSHFLILFSURGXFWVLI

   WKRVHSURFHVVHVDUHDVVHUWHGWRLQIULQJHDPRGLILHGSURFHVVFODLP´See',DW

           6RQRV¶V DUJXPHQWV WKDW WKH µ 3DWHQW ZDV QRW VXEVWDQWLYHO\ FKDQJHG GXULQJ

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   UHH[DPLQDWLRQDUH³DKLJKO\LQIOXHQWLDOSLHFHRISURVHFXWLRQKLVWRU\´DQGWKDWLW³LVGLIILFXOWWR

   FRQFHLYHRIPDQ\VLWXDWLRQVLQZKLFKWKHVFRSHRIDUHMHFWHGFODLPWKDWEHFDPHDOORZDEOHZKHQ

   DPHQGHG LV QRW VXEVWDQWLYHO\ FKDQJHG E\ WKH DPHQGPHQW    ´  See Laitram Corp. v. NEC

   Corp.)G )HG&LU See also',DW$QDPHQGPHQWWKDWQDUURZV

   WKHVFRSHRIWKHFODLPPD\EHFRQVLGHUHGD³VXEVWDQWLYHFKDQJH´VXIILFLHQWWRLQYRNHLQWHUYHQLQJ

   ULJKWV See Bloom Eng'g Co., Inc. v. N Am. Mfg. Co. Inc.)G± )HG&LU

    $³VXEVWDQWLYHFKDQJH´FDQDOVRRFFXUZKHQWKHSDWHQWHHQDUURZVKLVFODLPVLQUHVSRQVH

   WRDSULRUDUWUHMHFWLRQRIWKHRULJLQDOFODLPVSee Gen. Elec. Co. v. Hoechst Celanese Corp.

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Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 366 of 438 PageID #: 43964



           7KHIDFHRIWKHUHH[DPLQHGµ3DWHQWPRGLILHVWKHVFRSHRIDOOLQGHSHQGHQWFODLPVRI

   WKDW SDWHQW  'XULQJ UHH[DPLQDWLRQ 6RQRV DGGHG WKH SKUDVH ³for synchronized playback of a

   multimedia output from the same multimedia source´ WR HDFK LQGHSHQGHQW FODLP RI WKH SDWHQW

   See ([  µ 5HH[DP &HUWLILFDWH   3ULRU WR WKHVH DGGLWLRQV QR FODLP RI WKH µ 3DWHQW

   UHTXLUHG HLWKHU ³V\QFKURQL]HG SOD\EDFN RI WZR GHYLFHV´ QRU WKDW HDFK SOD\HU SOD\ ³PXOWLPHGLD

   RXWSXWIURPWKHVDPHPXOWLPHGLDVRXUFH´%RWKRIWKHVHOLPLWDWLRQVWKXVQDUURZHGWKHFODLPVRI

   WKHSDWHQWLQYLHZRIWKHSULRUDUWFLWHGGXULQJUHH[DPLQDWLRQ6RQRV¶Vµ3DWHQWDPHQGPHQWV

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   FODLPRIWKHµ3DWHQWSee ([ RULJLQDOµ3DWHQWFODLP )ROORZLQJUHH[DPLQDWLRQWKH

   ³V\QFKURQL]HG´ OLPLWDWLRQ DSSHDUV LQ every FODLP  ³6\QFKURQL]HG SOD\EDFN´ LV WKXV D QHZ

   OLPLWDWLRQ6LPLODUO\WKHUHZDVQROLPLWDWLRQLQDQ\FODLPWKDWUHTXLUHGHDFKSOD\HULQDJURXSWR

   SOD\PXOWLPHGLDIURPWKH³VDPHPXOWLPHGLDVRXUFH´See id.3ULRUWRWKHDPHQGPHQWWKHRQO\

   OLPLWDWLRQ UHJDUGLQJ D ³PXOWLPHGLD VRXUFH´ ZDV WKDW HDFK ³LQGHSHQGHQW SOD\EDFN GHYLFH´

   UHTXLUHGFRQILJXUDWLRQWRSOD\EDFNPHGLDIURPDPXOWLPHGLDVRXUFHSee id.,QIDFWWKHRULJLQDO

   FODLPVRIWKHµ3DWHQWKDGQROLPLWDWLRQUHTXLULQJWKHFODLPHG³SOD\HUJURXS´EHFRQILJXUHGWR

   SOD\DQ\PXOWLPHGLDFRQWHQWDWDOOPXFKOHVVIURPWKHVDPH³PXOWLPHGLDVRXUFH´See id.

           0RUHRYHUEHIRUHWKHDPHQGPHQWVWKH³DFFHSWYLDWKHXVHULQWHUIDFH´OLPLWDWLRQUHTXLUHG

   RQO\WKDWDQ³LQSXW´LQGLFDWHWKDW³DWOHDVWWZRSOD\HUVEHLQFOXGHGLQ>D@SOD\HUJURXS´See

   ([  µ 5HH[DP &HUWLILFDWH   )ROORZLQJ UHH[DP WKH LQSXW PXVW LQGLFDWH   DW OHDVW WZR

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Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 367 of 438 PageID #: 43965



   LQIULQJHPHQWRIWKHµ3DWHQWSULRUWR1RYHPEHUGXHWR' 0¶VDEVROXWHLQWHUYHQLQJ

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Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 368 of 438 PageID #: 43966



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   2)&2816(/                       Attorneys for D&M Holdings Inc. d/b/a The D+M
                                      Group,D&M Holdings U.S. Inc. and Denon
   -RKQ0-DFNVRQ                   Electronics (USA), LLC
   0DWWKHZ&$FRVWD
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Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 369 of 438 PageID #: 43967



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          , FHUWLI\ WKDW , FDXVHG FRSLHV RI WKH IRUHJRLQJ GRFXPHQW WR EH VHUYHG RQ 1RYHPEHU 

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Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 370 of 438 PageID #: 43968



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Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 371 of 438 PageID #: 43969
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                                                 /s/ John M. Jackson
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   3DJH
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                                   EXHIBIT
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 8637277$%98(7UDGHPDUN7ULDODQG$SSHDO%RDUG,QTXLU\6\VWHP           3DJHRI
Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 374 of 438 PageID #: 43972


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                                             Extension of Time
                                         Number: 86223539                        Filing Date: 08/26/2014
                                          Status: Terminated                    Status Date: 01/02/2015
                 General Contact Number: 571-272-8500
                              Paralegal Name: ROCHELLE L ADAMS
             Opposition #:
 Defendant
                        Name: D&M Holdings, Inc
        Correspondence: PETER A. NIEVES
                        SHEEHAN PHINNEY BASS + GREEN PA
                        1000 ELM ST
                        MANCHESTER, NH 03105-1700



                     Serial #: 86223539        Application File   Assignment        Registration #: 4818833
     Application Status: Registered
                         Mark: HEOS
 Potential Opposer
                        Name: Sonos, Inc.
        Correspondence: Joi A. White
                        Carr & Ferrell LLP
                        120 Constitution Drive
                        Menlo Park, CA 93101
                        UNITED STATES
                        usptomail@carrferrell.com, jwhite@carrferrell.com,
                        shernandez@carrferrell.com
                        Phone: (650) 812-3400
        Granted To Date: 12/17/2014
 Prosecution History
 #    Date                           History Text
 2    08/28/2014                     EXTENSION OF TIME GRANTED
 1    08/26/2014                     INCOMING - EXT TIME TO OPPOSE FILED

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                                                   Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                         ESTTA Tracking number:           ESTTA623632
                                                                                       Filing date:         08/26/2014
                                 IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                                   BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
      Applicant:                                         D&M Holdings, Inc
      Application Serial Number:                         86223539
      Application Filing Date:                           03/17/2014
      Mark:                                              HEOS
      Date of Publication                                08/19/2014

       First 90 Day Request for Extension of Time to Oppose for Good Cause
      Pursuant to 37 C.F.R. Section 2.102, Sonos, Inc., 223 E. De La Guerra Street, Santa Barbara, CA 93101,
      UNITED STATES, a corporation organized under the laws of Delaware , respectfully requests that it be gran-
      ted a 90-day extension of time to file a notice of opposition against the above-identified mark for cause shown
      .
      Potential opposer believes that good cause is established for this request by:
      - The potential opposer needs additional time to investigate the claim
      The time within which to file a notice of opposition is set to expire on 09/18/2014. Sonos, Inc. respectfully re-
      quests that the time period within which to file an opposition be extended until 12/17/2014.
      Respectfully submitted,
      /Joi A. White/
      08/26/2014
      Joi A. White
      Carr & Ferrell LLP
      120 Constitution Drive
      Menlo Park, CA 93101
      UNITED STATES
      usptomail@carrferrell.com, jwhite@carrferrell.com, shernandez@carrferrell.com
      (650) 812-3400
 8637277$%98(7UDGHPDUN7ULDODQG$SSHDO%RDUG,QTXLU\6\VWHP           3DJHRI
Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 376 of 438 PageID #: 43974


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 77$%98(7UDGHPDUN7ULDODQG$SSHDO%RDUG,QTXLU\6\VWHP                                              Y


                                             Extension of Time
                                         Number: 86169610                        Filing Date: 09/16/2014
                                          Status: Terminated                    Status Date: 01/30/2015
                 General Contact Number: 571-272-8500
                              Paralegal Name: LALITA R WEBB
             Opposition #:
 Defendant
                        Name: D&M Holdings, Inc.
        Correspondence: PETER A. NIEVES
                        SHEEHAN PHINNEY BASS + GREEN PA
                        1000 ELM ST
                        MANCHESTER, NH 03105-1700
                        UNITED STATES



                     Serial #: 86169610        Application File   Assignment        Registration #: 4756918
     Application Status: Registered
                         Mark: HEOS
 Potential Opposer
                        Name: Sonos, Inc.
        Correspondence: Joi A. White
                        Carr & Ferrell LLP
                        120 Constitution Drive
                        Menlo Park, CA 94025
                        UNITED STATES
                        usptomail@carrferrell.com, jwhite@carrferrell.com
                        Phone: 650-812-3400
        Granted To Date: 01/14/2015
 Prosecution History
 #    Date                           History Text
 3    01/30/2015                     TERMINATED
 2    09/16/2014                     EXTENSION OF TIME GRANTED
 1    09/16/2014                     INCOMING - EXT TIME TO OPPOSE FILED

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                                                   Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                         ESTTA Tracking number:           ESTTA627459
                                                                                       Filing date:         09/16/2014
                                 IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                                   BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
      Applicant:                                         D&M Holdings, Inc.
      Application Serial Number:                         86169610
      Application Filing Date:                           01/19/2014
      Mark:                                              HEOS
      Date of Publication                                09/16/2014

       First 90 Day Request for Extension of Time to Oppose for Good Cause
      Pursuant to 37 C.F.R. Section 2.102, Sonos, Inc., 223 E. De La Guerra Street, Santa Barbara, CA 93101,
      UNITED STATES, a corporation organized under the laws of Delaware , respectfully requests that it be gran-
      ted a 90-day extension of time to file a notice of opposition against the above-identified mark for cause shown
      .
      Potential opposer believes that good cause is established for this request by:
      - The potential opposer needs additional time to investigate the claim
      The time within which to file a notice of opposition is set to expire on 10/16/2014. Sonos, Inc. respectfully re-
      quests that the time period within which to file an opposition be extended until 01/14/2015.
      Respectfully submitted,
      /Joi A. White/
      09/16/2014
      Joi A. White
      Carr & Ferrell LLP
      120 Constitution Drive
      Menlo Park, CA 94025
      UNITED STATES
      usptomail@carrferrell.com, jwhite@carrferrell.com
      (650) 812-3400
Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 378 of 438 PageID #: 43976




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         Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 379 of 438 PageID #: 43977
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                                                                                                                                                6;0.@2.;F/<1F;221@.A?.;@0?6=AD699/2

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                                                                                                                                                612;A63FD5<6@@=2.86;4=92.@2612;A63F

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       Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 380 of 438 PageID #: 43978
     @<:2A6:2@C2?F3.:696.?.;16A@163360B9A3<?.               .@@2?A2152?2.;1:F96@A0<;A.6;@;6;2=.A2;A@
     0<B?A?2=<?A2?D5<6@;AC2?F3.:696.?D6A5F<B?               A.826A?645A;<DA52?2.?2<;9F2645AA5.A
     C<602A<8;<DD5<6@@=2.86;4(<=92.@22.05                .?2/26;4.@@2?A213<?=B?=<@2@<3A52A?6.96@
     A6:2F<B@=2.8612;A63FF<B?@29399A?FA<                 A5.A0<??20A"?'<C;2?
     1<A52@.:2A56;49@<6A@=.?A60B9.?9F                                  "''$+#'-<B?<;<?:4<6;4
     6:=<?A.;A@6;02A520<B?A?2=<?A2?6@;<A6;                  A<16?20AA5.AA<(2.;(B996C.;
     F<B?=?2@2;02A<;<A@=2.8<C2?<;2.;<A52?                               )$*')$5<8.F"?
      (<D2D699@=2.8.;1A52;63@<:2<;26@                         (B996C.;F<B?2:@<??F)56@6@B142
      @=2.86;4=92.@21<;<A6;A2??B=AD699A?F                  ?F@<;"?(B996C.;F<B?24<6;4A</2
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    A520<B?A?2=<?A2?=92.@2;<<C2?9.==6;4                     @A?.DA56@:<?;6;4@<F<B5.C2A<12.9D6A5:2
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    52.?1@<:2/<1F@64;6;                                    2920A21.;F.@@2?A2109.6:@3?<:A5.A=.A2;A
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    3A52?2@.;F/<1F:6@@6;4A52;@=2.8B=                    <;<?
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    .@@B:2D2C24<A2C2?F/<1F                                >B2@A6<;)52?2D2?2.;1A56;8A52<:6@@6<;
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     4<6;4A</2.@@2?A215.C2?2.1F<B?                        A52<?646;.9 A5.AD2?2/26;4.@@2?A21.@<3
     ?2@=20A6C2@B/:6@@6<;@.;192AA2?@.;1C2?2.1               A52A6:2A5.A5.C26@A5.A0<??20A
     A52.AA.05212E56/6A@.;1D<B9136?@A.@863                               "'(*!!+#)56@6@(2.;
      .;F/<1F5.@.;FA56;4F<BD<B919682A<.11A<                   (B996C.;)5.A6@0<??20A-<B?<;<?
      D5.AF<BC246C2;:2/FD.F<32E56/6A@.;1                                   )$*')99?645A$;2:<?2
    92AA2?@                                                     >B2@A6<;.9<;4A5.A96;2;F<B?92AA2?<?6;
                  "'(*!!+##<A56;4<;/25.93                "?'<C;2?@92AA2?A52?2D.@.?232?2;02A<A52
    <3%9.6;A633(<;<@-<B?<;<?)56@6@<5;                 =<@@6/696AF<3?21B06;4A52;B:/2?<309.6:@A<
    (B996C.;@=2.86;4(<??F                                      ,5605.?2A52 A5.AF<B.?2=?<=<@6;4A<
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    ,21<;A5.C2.;FA56;4A<.11A<D5.A@6;A52                  09.6:@1<D;A< :;<A@B?2636A@
     92AA2?@26A52?                                                2E.0A9FAD<09.6:@3?<:2.05=.A2;A;1
                   )$*')$8.F#<DA56@6@                  1<;A5.C2A522E.0A96@A6;3?<;A<3:2:
    B142?F@<;.4.6;D<B919682A<.@8.                    ;<A@B?2D2C2D<?821A5.A<BA2E.0A9FD5605
    0<B=92<37B@A>B2@A6<;@A<42A:.82@B?2                  09.6:@.?24<6;4A</2923A6;A52 /BAD21
    C24<AA52A523.0A@?645A@<3.?.@A52F                  /2D6996;4A<4<1<D;A<A5.A;B:/2?6;<?12?A<
    =2?A.6;A<A56@6@@B2#<D5.C2.96@A<3                 @A?2.:96;2A526@@B2@3<?A?6.9
    A52=.A2;A@A5.A.A@<:2=<6;AD2?2/26;4                                   )$*')$8.F,29992A:2
                     -#"&*(')+"& ),"                                        -#"&*(')+"& ),"
            ')+!"& +)+"$%"& +'&$-)                ')+!"& +)+"$%"& +'&$-)
                                                                
                                                                                   
        Case 1:14-cv-01330-WCB Document
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                                                                                      43979
      @A.?AA52;/F@.F6;4A5.A6;:F2E=2?62;026A               =?<=<@.9
      6@C6?AB.99F6:=<@@6/923<?.7B?FA<5.;192                               )$*'),299:D6996;4A<
      A56@:.;F=.A2;A@2C2;6;2645A1.F@D2?2D2A<              52.?3?<:A52232;1.;A@<;A5.A=?<=<@.9
      4<A<2645A1.F@.;10<:2B=D6A5.?.A6<;.9                 D699A299F<BA5.A7B@A36;6@521.A?6.96;
      ?2@<9BA6<;<3A520.@2"F6:=?2@@6<;6@A5.A                D5605A52?2D2?2@6E=.A2;A@D6A5A52@.:2
      D52;F<B:<C23?<:<;2=.A2;AA<AD<=.A2;A@A<               @=206360.A6<;/BAD6A5>B6A216332?2;A09.6:@
      A5?22=.A2;A@F<B6;0?2.@22E=<;2;A6.99FA52                 ;16A;2.?9F869921:2AD.@./2;05A?6.9
       163360B9AF3<?A527B?F.;1F<B:.826A:B05                   2C2;.;15.196C21D6A5A5<@2=.A2;A@3<?.
       :<?296829FA5.AA52FD6997B@A0<:2<BAD6A5                  D5692.;10.;A299F<BA5.A:F6:=?2@@6<;D.@
     ..;.0?<@@A52/<.?112A2?:6;.A6<;/.@21<;              A5.AA?F6;4A<:.82@2;@2<3A5.A:.;F09.6:@
     3.0A<?@A5.A1<;A?2.99F/2.?<;A52:2?6A@<3              A5.A:.;F=.A2;A@6@C2?F163360B9A2C2;3<?
     A520.@2C2?F@64;6360.;A9F(<6;A526;A2?2@A             A527B142D5<5.@/22;96C6;4D6A5A520.@23<?
     <3:.86;4@B?2A5.AD25.C2.7B?FA5.A                      6;A56@0.@2.F2.?.;16A@22:@A<:2A52
     B;12?@A.;1@@<:2A56;4./<BAA520.@2/FA52A6:2             05.992;423<?.7B?F6@:B05:B054?2.A2?(<
     A52F42AA<A521296/2?.A6<;@7B@AA56;8A5.A             F<B@.FA5?22=.A2;A3.:6962@/BAC29<<821
     5.C6;42645A=.A2;A@2C2;D6A5<;9F 09.6:@              .AA52@2=.A2;A@.;1C29<<821.AA52
     6AD<B91/2B;:.;.42./92.;12C2;D6A5.;                    @=206360.A6<;@.;1D2?2;<AA.986;4./<BA.
      2645A1.FA?6.9(<D5.A:9<<86;4.A6@                   @6;492@=206360.A6<;3<?.99<3A52=.A2;A@
      @<:2A56;4:<?29682D5.AA52232;1.;A@5.C2                  )52@=206360.A6<;@16332?A5209.6:@16332?
     =?<=<@21.299D2A52?A?6.9D6A5AD<.;1                    @<:2A6:2@@:.9916332?2;02@6;A5209.6:@2;1B=
     =2?5.=@.@:.;F.@A5?22=.A2;A@)526?                     /26;43.0A<?@A5.A.?23<0B@2@<316@=BA2.;1
     =?<C6@<A56;86;A5.A?24.?16@A5.AA52                 2;1B=:.86;4A520.@2>B6A20<:=960.A213<?A52
     A5?22=.A2;A96:6AD<B91/2=2?:6@@6/9263AD<               7B?F6;:F2E=2?62;02(<:;<A@B?2A5.A
     <3A52=.A2;A@@5.?2A52@.:2@=206360.A6<;              4<6;41<D;A<A5?22=.A2;A3.:6962@6@.5B42
                      -#"&*(')+"& ),"                                       -#"&*(')+"& ),"
             ')+!"& +)+"$%"& +'&$-)               ')+!"& +)+"$%"& +'&$-)
                                                                
                                                                                                                  
      .:6;096;21A<A56;8A5.AA5.A6@.4<<1                      @A2=3<?D.?152?26;A2?:@<3A?F6;4A<46C2A52
      .==?<.05.;1822=6;4A5292;4A5<3A52A?6.9.A               7B?F@<:2A56;46A0.;6;A299642;A9F./@<?/
      36C21.F@                                                   =.?A60B9.?9F/20.B@2D<B91=<6;A<BA@<:2<3
                    ,299A5.A@A52232;1.;A@                    A52@2=.A2;A@.?2.0AB.99F>B6A29<;4(<:2<3
      =?<=<@.9.;1"?(B996C.;19682F<B?                      A52=.A2;A@.?2B=A< 0<9B:;@9<;463
      ?2@=<;@2                                                      ?20.990<??20A9F.;156AA6;4A527B?FD6A5A5.A
                    "'(*!!+#-2@-<B?<;<?                 :.;F=.A2;A@<3A5.A92;4A5@22:@A<:2A</2
       A56@6@(2.;(B996C.;.4.6;<;/25.93<3(<;<@               .@86;4A<<:B05/BAD69952.?3?<:A52
       ,2B;12?@A.;1-<B8;<DA52<;2A56;4./<BA                  232;1.;A@<;A56@=?<=<@.9"?9B:2;3291
     A52@2=.A2;A@6@A5.A@5<B91:2;A6<;A52?2@               .?2F<B4<6;4A<@=2.83<?A52232;1.;A@
     <;9F36C216332?2;A=.A2;A3.:6962@(2C2?.9<3                          "'!*"#!-<B?<;<?"?
     A52=.A2;A@.?2?29.A21@<6A?2.99F42A@1<D;              .08@<;6@4<6;4A<@=2.83<?A52232;1.;A@
     A<36C2=.A2;A@D<;12?63D2161A5?22                   D6A5-<B?<;<?@=2?:6@@6<;
     =.A2;A3.:6962@D5605D<B91/2@6E=.A2;A@                              )$*')$8.F+2?F4<<1
     .4.6;A52F?2?29.A21=.A2;A@@<6A@?2.99F                            "' ($#)5.;8F<B-<B?
     A5?2232.AB?2@6AD<B91/2@F;05?<;6G.A6<;                 <;<?)56@6@<5;.08@<;$;/25.93<3
     4?<B=C<9B:2.;1@A2?2<=.6?6;43<?6;@A.;02              232;1.;A@D20<:=92A29F.4?22D6A5F<BA5.A
      )52?2@.9<A<3<C2?9.=D6A5A5<@26@@B2@                  A52@6E=?<=<@21=.A2;A@D<B91/20<:=92A29F
      )52F?2.996;C<9C6;4A52@.:2.00B@21=?<1B0A@             B;:.;.42./923<?A520.@2$;9FAD<<3A52:
     A56;8D20<B91=?</./9FD<?8<;A5.A.;142A               5.C2.@5.?21@=206360.A6<;A@A?B2A5.AAD<
     A5.AA<.7B?FD52?2A52F0<B91B;12?@A.;1A52               .?2?29.A216;A52@2;@2A5.AA52F09.6:
     0<;02=A@.;1=?</./9F2C2;1<A5.A6;A5236C2               =?6<?6AFA<A52@.:2=?<C6@6<;.9=.A2;A.;1
     1.F@A5.AA52<B?A5.@@2A1<;A8;<DD5.A              A52?2:.F/2@<:2<C2?9.=6;A52@=206360.A6<;
     F<B?6;A2?2@A92C29<?D5.AF<BA56;8./<BAA5.A             /BAD2.4?22A5.AA5209.6:@.?216332?2;A.;1
                      -#"&*(')+"& ),"                                       -#"&*(')+"& ),"
             ')+!"& +)+"$%"& +'&$-)               ')+!"& +)+"$%"& +'&$-)
                                                                
                                                                                  
       Case 1:14-cv-01330-WCB Document
                                     445-1 Filed 11/16/17 Page 382 of 438 PageID #: 43980
     6AD<B91/20<:=92A29FB;:.;.42./923<?A52                      A</2A52;2EA=<6;AD.;A21A<?.6@2.;13<?
     7B?F)5.A@=.?A60B9.?9FA?B2/20.B@2D25.C2                  A56@D699AB?;A<"?.08@<;@A52>B61
     .;B:/2?<312=2;12;A09.6:@A5.A.?2923A;1                 =?<>B<3<??21B0A6<;6;A52;B:/2?<3=.A2;A@
     63@<:2<3A526;12=2;12;A09.6:@D2?21?<==21                  "?.08@<;D<B919<<8A<F<B3<?.=?<=<@.9
     D20<B912@@2;A6.99F5.C2.@6AB.A6<;D52?2D2                   .@A<A52;B:/2?<3=?6<?.?A?232?2;02@A5.A
     5.1=?2AAF:B05A522E.0A@.:20<C2?.42.;1                      F<B?2D6996;4A<96:6AF<B?@293A<
     @B/720A:.AA2?A5.A@/26;46:=960.A21;<D.;1                                 "' ($#-2@)56@6@<5;
      ?2.99F;<A:B05@A?2.:96;6;4.A.99                             .08@<;)5.;8F<B-<B?<;<?,2=?<=<@2
                    )52<A52?A56;4D<B91=<6;A<BA                   A5.AD242A1<D;A<;<:<?2A5.;A5?22=?6<?.?A
    6@D6A5?2@=20AA<A52%9.6;A633@1.:.42@                      ?232?2;02@=2?=.A2;A(<63A52F5.C2AD<
    :<129A526?1.:.42@2E=2?A09.6:@9<@A=?<36A@                =.A2;A@6;A520.@2A52;D2D<B915.C2A5?22
    A523B99?.;42<39<@A=?<36A@A52F?2@2286;4                  =?6<?.?A?232?2;02@3<?2.05<3A52:;1@<:2
    3<?6;3?6;42:2;A<3<;9F<;2=.A2;A.;1A5.A@                 <3A5<@2:.FC2?FD299/2A52@.:2D2D<B91
    A52 %.A2;A;<A52?D<?1@(<;<@@.F@                    7B@A5.C2A<D.6A.;1@22D5605=.A2;A@A52F
    A5.AA521.:.42@.C.69./92A<A52:3<?                          D.;AA<4<3<?D.?1D6A5.;1A52;D21/2./92A<
    6;3?6;42:2;A<37B@A<;2=.A2;A.?2A52@.:26;                 C2?F@<<;A52?2.3A2?612;A63F<B?A5?22=?6<?
    A2?:@<39<@A=?<36A@.@63.992645A<3A526?                  .?A?232?2;02@=2?=.A2;A
     =.A2;A@D2?26;3?6;421(<3?<:A5.A                                          )$*'))56@6@B142?F@<;
     @A.;1=<6;AA52F0<B9142A2C2?FA56;4A52F;221                  -2@A56;8A5.AD.@6;F<B?92AA2?/BA92A:2
    6;A2?:@<3=<A2;A6.91.:.42@63A52F7B@A                      7B@A:.82@B?206?096;4/.08A<"?(B996C.;
    6;09B12A5.A<;2=.A2;A                                        1<2@A5.A@A?682F<B"?(B996C.;.@.;
                  )$*')$8.F"?(B996C.;                  .002=A./92;B:/2?3<?=B?=<@2@<3:.86;4A52
    9946C2F<B.;<==<?AB;6AFA<?2@=<;1                         A?6.9.D<?8./922E2?06@2
                  "'(*!!+#-2@-<B?<;<?                                "'(*!!+#-2.5A56@6@(2.;
                     -#"&*(')+"& ),"                                          -#"&*(')+"& ),"
             ')+!"& +)+"$%"& +'&$-)                 ')+!"& +)+"$%"& +'&$-)
                                                                  
                                                                                                                     
     )56@6@(2.;(B996C.;;18;<DD52;D2?2                    (B996C.;A1<2@-<B?<;<?D6A54B2@@<;2
     /2.A2;,2990<;0212<;A56@=<6;AA56;8                   09.?6360.A6<;A5.AD2;221:;<A@B?2
     6A@.C.961@<:2C.961=<6;A@A5.AF<B                       B;12?@A.;12E.0A9FD5.A"?.08@<;6@?232??6;4
     ?.6@21-<B?<;<?;1A56;8A5.AD20.;4<                  A<D52;52@.F@;<:<?2A5.;A5?22>B<A2
     .9<;4D6A5A52299D2A52?<;AD<A<A5?22                        B;>B<A2?232?2;02@/20.B@2@<:2A6:2@D52;"?
     =.A2;A@.;14B2@@6AD<B91/2@A.FA52<A52?                   .08@<;<?@5<B91@.F232;1.;A@?232?A<.
     =.A2;A@3<?=<@@6/9F.@20<;1A?6.9A56;8                    ?232?2;026A@4<A 16332?2;A1<0B:2;A@6;6A
      A5.A=?<=<@.9D<B91/236;2                                     <? 16332?2;A1<0B:2;A@6;6A(<.4.6;63
                    )52<;9FA56;4A52;A56;8A5.A                   A5.A@A5286;1<3F<B8;<DA5?22?232?2;02@
    D21;221A<A.0892D56056@A52<A52?@612<3                 D2?2A.986;4./<BAD52?26A@?2.99F.0AB.99F
    A56@0<6;6@A5.AA52?2.?2D.F:2.;63D2                 16332?2;A=6202@.4.6;A56;8A5.A@4<6;4
    A.98./<BA7B?62@5.C6;4163360B9AD6A5F<B                    A</2.D3B99F163360B9A3<?.7B?FA<A<
    8;<D<;9F.0<B=92<3=.A2;A@/26;4.@@2?A21                =?<02@@.;142AA5?<B45.99A5.A6;3<?:.A6<;
    A56;8D2?24<6;4A<5.C2A52@.:286;1<3                                    )$*'),29992A:2A56@
    =?</92:D6A5A526;C.9616AF0.@2A5.A232;1.;A@                6@B142?F@<;!2A:2AB?;/.08A<"?
    .?2A?F6;4A</?6;43<?D.?1D56056;C<9C2@                     .08@<;)52A5?22?232?2;02@5.1B;12?@A<<1
    ;B:2?<B@16332?2;A4?<B;1@D6A5:B9A6=92                       3?<:F<B?92AA2?A5.AA5?22?232?2;02@6;A52
     @<:2A6:2@B=A< 16332?2;A?232?2;02@2C2;6;                   @2;@2A5.A<;2B@2@A5.AA2?:6;=.A2;A9.D;<A
     .@6;4924?<B;1;1A56;86A@7B@A4<6;4A<                 A5?220<9920A6<;@<3?232?2;02@.99<3D5605
    /B?FA527B?F<;A52<A52?@612(<A56;8D2                 5.==2;A</20<9920A216;.@6;4922E56/6A:
    =?</./9F;221A<=BA@<:2@6:69.??2@A?.6;A@                    0<??20A6;.@@B:6;4A5.AA5.A@D5.AF<B:2.;
    6;A<A56@7B?FA?6.93<?A526;C.9616AF0.@2.@                 /FA5?22?232?2;02@
    D299                                                                         "' ($#-<B?<;<?A56@6@
                  )$*')-2@)5.AD.@4<6;4                  <5;.08@<;3F<B?2A?F6;4A<16@A6;4B6@5
                     -#"&*(')+"& ),"                                          -#"&*(')+"& ),"
             ')+!"& +)+"$%"& +'&$-)                 ')+!"& +)+"$%"& +'&$-)
                                                                  
                                                                                  
        Case 1:14-cv-01330-WCB Document
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                                                                                      43981
      /2AD22;6;C.9616AF/.@2@<?7B@A?296.;02<;.                  A5.AC6<9.A6;4A5236C296:6A0<B;A3<?=B?=<@2@
      ?232?2;02@<3.?A5296:6A.A6<;5.@/22;7B@A                  <3A5.A/BAD2161?2@2?C2<B??645AA<</720A
      ?296.;02<;.?232?2;02;1D6A5?2@=20AA<                   A5.AA5.A6@.@6;492?232?2;023<?=B?=<@2@<3
      A52*%%=?6<?.?A3<?2E.:=92A5.A6@..                   .;A606=.A6<;<?A5.A6A@0<:/6;./923<?
      @A.;1.?1.;1A52?2@.;B:/2?<316332?2;A                      =B?=<@2@<3</C6<B@;2@@;1;<;2<3A5.A12.9A
      @A.;1.?1@1<0B:2;A@A5.A.99=2?A.6;A<A5.A                    D6A5D5.AD2?212.96;4D6A5;<DD56056@5<D
      ?232?2;02;1.@F<B0.;@223?<:<B?E56/6A                 A<@A?2.:96;2A526@@B2@3<?A?6.9(<A5.AD.@
       A<A5292AA2?A5.AD2@B/:6AA213<?=B?=<@2@                  .:B052.?962?.4?22:2;A.A.:B052.?962?
       <3A52?21B0A6<;<3=?6<?.?A?232?2;02@(<;<@                  12.196;2A56;8D21<5.C2.=?</92:3
     5.@.4?221A5.AD20.;0<;@612?A5.A.@<;2                    A52F?2B=A<A5?22?232?2;02@6;A56@0.@23<?
     ?232?2;02;1@<A5.A@D5.AD2C21<;2                  6;@A.;02.;1<;2?232?2;02@ 16332?2;A
     A56;8D5.A"?(B996C.;:.F/2?232??6;4A<6@                 =6202@D5605D21<;AA56;8/29<;4A<42A52?
     @<:2<3A522C612;A6.?F/.@2@A5.AD2?2?29F6;4               .;<A52??232?2;026@ =6202@D5605.4.6;D2
     <;A<=?<C2<B?.?4B:2;A@;1A56;8A52                    1<;AA56;8A5.AA5.AD<B914<A<A<42A52?
     =?</92:6@D6A5?2@=20AA<%9.6;A633@                         )5.A@A525<:216?20A<??232?2;02)52FC2
     6;3?6;42:2;A=<@6A6<;232;1.;A@.?26;A52                   B@21@<:2@<:29./29@@<:2/B082A@63F<B
     @.:2=<@6A6<;(<3<?2E.:=92%9.6;A6335.@.;               D699A<=BA.9<A<316332?2;A?232?2;02@6;A<
      2E=2?A?2=<?A.;13<?6;3?6;42:2;A<3<;2                       A5<@2/B082A@.;1D2?24<6;4A<5.C2.5.?1
      =.?A60B9.?09.6:<3<;2=.A2;AA52F:.F@A?6;4                 A6:242AA6;4.7B?FA<42AA5?<B45.99<3A5.A
     06A2A<   1<0B:2;A@A5.A@=.;A5<B@.;1@               .AA?6.9
     <3=.42@.;1@<:2<3A5<@2=.42@1<;A092.?9F                              )$*')$8.F5.C2;<A
     612;A63FD5.AA52F?2?29F6;4<;6A@7B@A.                  9<<821.AA52*%%@A.;1.?1@@<1<;A8;<D
     0<9920A6<;<3A5<B@.;1@<3=.42@<31<0B:2;A@                2E.0A9FD5.A6A6@/BA;<?:.99FA52@A.;1.?1@
     ;1@<A56;8/23<?2D2D<B915.C2A<42A1<D;                .?2;<A.@C2@22;A52:.A92.@A1<;A
                      -#"&*(')+"& ),"                                         -#"&*(')+"& ),"
             ')+!"& +)+"$%"& +'&$-)                 ')+!"& +)+"$%"& +'&$-)
                                                                  
                                                                                                                    
      6;A<6;A2?:@<3=.?A60B9.?2C612;02D2?2                      0?2.A2.=?</92:BA=2?5.=@A56@6@B;B@B.9
      ?29F6;4<;A52FD<B91;221A<1<A52@.:2A56;4                6;A5.A6A0?2.A2@A52=?</92:A5.AF<BC2
      D6A5?2@=20AA<A526?6;3?6;42:2;A0.@2                        612;A63621@3.?.@A52/B082A.==?<.05"?
                   )$*')99?645AA56;8                 .08@<;.?2F<B??232?2;02@6@6A.3.6?
      D29992A:24</.08A<"?(B996C.;.4.6;"?                05.?.0A2?6G.A6<;A5.AF<B.?2B@6;4?232?2;02@
      (B996C.;D.;AA<:.82@B?2A5.AD2?2A.986;4                6;/B082A@.@@6;492?232?2;02@.@"?(B996C.;
      ./<BA@<:2A56;4A5.A6@.?2.9=<A2;A6.9=?</92:                @B442@A6<;@
       52?2.@<==<@21A<@6:=9F5F=<A52A60.9-<B?                                 "' ($#-<B?<;<?)56@6@
       0<;02?;.;1A56;86A@.C.9610<;02?;6@.@                 <5;.08@<;)52?2.?2@<:26;@A.;02@D52?2D2
     B;12?@A.;16AA<:.82@B?2A5.AF<B1<;A                   5.C2=?6<?.?A6;/B082A@A5.A?29.A2A<=?6<?
     5.C2.9.?42;B:/2?<3D5.AD2D<B91                           .?A@F@A2:@;1@<A52?20<B91/2=.A2;A@3<?
     0<;C2;A6<;.99F0.99=?6<?.?A?232?2;02@/26;4                 2E.:=92A5.A.?22C612;02<3A52@F@A2:.;1
     .@@2?A21/20.B@2A52F.?2/26;49B:=21A<42A52?                A52?20<B91/2<A52?1<0B:2;A@A5.A.?2.9@<
     B;12?@<:2A56;4A5.A6@.;B:/?299.>B<A2                    2C612;02<3A5.A@.:2@F@A2:
     ?232?2;022;1>B<A21<;A8;<D./<BAA52                               )$*'),299A5.A@;<AD5.A
     *%%@A.;1.?1A.826AA5.AA5.A6@;<A.                   D<B910.99.@6;492?232?2;02)5<@2@<B;1
     =?</92:6@A5.A0<??20A                                     9682:B9A6=92?232?2;02@A<:2(<D6994<
                   "'(*!!+#-<B?<;<?)56@                   D6A5A52A5?22?232?2;02@/BA1<;AD.;AA<
      6@(2.;(B996C.;A6@.=?</92:;192A:2                 @22:B9A6=92?232?2;02@A5.A.?296;821A<42A52?
     09.?63FD5.AA52.4?22:2;AD.@A5.A"?.08@<;                .;10.9921.@6;492?232?2;02@6:=9F/20.B@2
     6@?232??6;4A<)5.AD.@12.96;4D6A53<?.;                A52F.99.==9FA<A52@.:2=.A2;A3F<BB@2
     .@@2?A6<;B;12?A52<B?A@?B92@.;1                       A5.AA52<?FF<B0<B915.C2.A5<B@.;1
     @0521B96;4<?12?B;12?.;.@@2?A6<;<3=?6<?                  ?232?2;02@D6A5?2@=20AA<2.05=.A2;A.;1F<B
     .?A.AA52A6:2D2@.61D2D<B91;A</720AA<                 D<B91A52;/2@.F6;4A5.AF<B5.1<;9F<;2
                      -#"&*(')+"& ),"                                         -#"&*(')+"& ),"
             ')+!"& +)+"$%"& +'&$-)                 ')+!"& +)+"$%"& +'&$-)
                                                                  
                                                                                   
       Case 1:14-cv-01330-WCB Document
                                     445-1 Filed 11/16/17 Page 384 of 438 PageID #: 43982
     ?232?2;02D6A5?2@=20AA<2.05=.A2;A(<63                =?<A<0<9@6;@<A5.AA56@*%#%>B<A2B;>B<A2
     B;12?@A.;1F<B?.?4B:2;A6A6@<;2A5.AD<B91               =?<A<0<96@;<D.:.@@<3@2C2?.916332?2;A
     ;<A.002=A.@.=2?:6@@6/926;A2?=?2A.A6<;<3.                =?<A<0<9@.;11<0B:2;A@16@0B@@6;4*%#%
     ?2@A?60A6<;A<A5?22?232?2;02@                              .?A6092@/<<8@A56;4@9682A5.A4.6;
                   "' ($#-<B?<;<?A56@6@                A52F?27B@A@D22=6;4A52:.996;A<A56@/B082A
     <5;.08@<;.==?206.A2A5.A)52<;9F                    .;1D27B@AA<:26A@4<AA<42A
     >B2@A6<;5.C26@3<?2E.:=92A52?20<B91/2                @A?2.:96;21
      .=?6<?.?A@F@A2:9682A525<:216?20A<?                                   )$*')4.6;"?.08@<;
      @F@A2:A5.A@;<9<;42?.C.69./923<?=B?05.@2                  .:0<;02?;21./<BAA52/B082A=?</92:D<B91
    .;1D20<B91;A42A.@.:=92<36A;1@<6;                02?A.6;9F.@6;160.A21D<B91/2=?2=.?21
    A5.A6;@A.;02D25.C202?A.6;1<0B:2;A@A5.A.99              A<.002=AA52;<A6<;A5.AA52:B9A6=921<0B:2;A@
    2C612;02A56@<;2=?6<?.?A@F@A2:A5.AD2?2                 0.;0<;@A6ABA2.@6;492?232?2;0263A52F.?2
    ?29F6;4<;.;1=?<C6123B;0A6<;.96AF.;1<A52?                .@6;A522E.:=92A5.AF<BB@212.?962?.99
    6;3<?:.A6<;0<;02?;6;4A5.A=.?A60B9.?=?6<?.?A              16?20A21.A2E=9.6;6;42E.0A9FD5.A.=6202<3
    @F@A2:;1@<6A@A52@F@A2:6A@293A5.A@                 =?6<?.?AD.@BA63D5.AD2?2A.986;4./<BA
    A52?232?2;02.;1;<A                                      6@.0<9920A6<;<3=.A2;A@.;1:6@0299.;2<B@
                  )$*')#<DB;12?@A.;1               1<0B:2;A@.99<3D5605@6:=9F?29.A26;@<:2
     ;1A5.A@A?682@:2.@/26;46;A52;.AB?2<3.                42;2?.9D.FA<.=?6<?.?A12C602A52;@A.?A
     @6;492?232?2;025.C2;A@22;A521<0B:2;A@               A<5.C2.=?</92:)5.A@22:@A<:2;<A<;9FA<
    </C6<B@9F/BAB;12?@A.;1D5.AF<B?2@.F6;4              /26;0<;@6@A2;AD6A5A52@=6?6A<3.@6;492
    ;163D5.AF<BC24<A6@2@@2;A6.99F.                       ?232?2;02?2>B6?2:2;A<?.A5?22?232?2;02
    12@0?6=A6<;A5.A5.==2;@A</2.@6;492                       ?2>B6?2:2;A/BA.9@<6A1<2@;A@A?682:2.@
    12@0?6=A6<;<3.@6;492=6202<3=?6<?.?AA5.A               /26;4=.?A60B9.?9FB@23B9.;1529=3B9A<56AA52
    5.==2;@A</23<B;16;:<?2A5.;<;21<0B:2;A                7B?FD6A5A5.A:B056;3<?:.A6<;A5.A@<:2<3
                     -#"&*(')+"& ),"                                       -#"&*(')+"& ),"
            ')+!"& +)+"$%"& +'&$-)                ')+!"& +)+"$%"& +'&$-)
                                                                
                                                                                                                  
     A5.A3.99@6A@22:@A<:2<;A52<;2?232?2;02               D56056A@<B;1@96823?<:.A92.@A"?
     @612<3A5296;2"?(B996C.;1<F<BA.82                   (B996C.;@12@0?6=A6<;1<2@;A5.C2.;F4?2.A
     6@@B2D6A5A5.A                                              =2?A6;2;02A<A52>B2@A6<;<3D52A52?A52=?6<?
                   "'(*!!+#-2.5A56@6@@2.;                .?A?232?2;02?2;12?@A526;C2;A6<;</C6<B@<?
     (B996C.;,2991<;AA.826@@B2D6A55<D                   6@.;A606=.A21;1F<B??2.0A6<;=92.@2
     F<B?2.@@2@@6;4A56;4@-<B?<;<?1<A.82                             "' ($#-2@-<B?<;<?
     6@@B2D6A5A52@6AB.A6<;52?26;A5.AD5.A                     )56@6@<5;.08@<;A56;8-<B?<;<?F<B?
      A52FC21<;26@A52FC2=BA2C2?FA56;4B;12?A52                16@0B@@6<;A<1.F5.@/22;C2?F529=3B9.;1
      B:/?299.<35<:216?20A<?3<?6;@A.;02.;1                    A56;8F<B8;<DD20.;02?A.6;9F4</.08.;1
    A52FC2B@21:B9A6=9216332?2;A=.A2;A@A5.A                  A.82.9<<8.;1<;02D2?242AA6;41<D;A<<B?
    .?2;A?2.99F?232??6;4A<.;F0<::2?06.9                     A5?22=?6<?.?A?232?2;02@D29902?A.6;9F822=
    2:/<16:2;A/BA/20.B@2A52F?2=.?A<3                    F<B?0<::2;A@6;:6;1.;1A645A2;A5<@2B=.;1
    A52F?23?<:A5.A0<:=.;FA52F/2962C2A5.A                  =?<C612:<?2@=2063606AF0<;02?;6;4A5.AD5605
    6A@=.?A<3A5.A=?<1B0A)52FC2?<=21                     3<?:@A52/.@6@3<?<B?A5?22?232?2;02@
    A<42A52?.1C2?A6@6;4D6A5B@2?:.;B.9@:2.;              02?A.6;9FB;12?@A.;1F<B?0<::2;A@A<1.F
    1<;AA56;8A56@6@F<B8;<DD52?2F<B?2                              )$*')$8.F,299A56;8
    =BAA6;4A<42A52?.B@2?4B612.;1.;<D;2?@                   D2:.F5.C24<;2./<BA.@3.?.@D20.;4<D6A5
     :.;B.9A<2C612;02D5.AA52=?<1B0A161                        A56@D6A5<BA:F5.C6;4A52:.A2?6.9@16?20A9F6;
     @6AB.A6<;A56;8A56@6@A52FC24<;2                    3?<;A<3:2BA?.A52?A5.;@6:=9F822=6;4:F
    /2F<;1A5.A.;1A56;8A5.A@=.?A<3A52                    0<::2;A@6;:6;1D<B915<=2A5.AF<BD<B91
    =?</92:;1A52@.:22E6@A@.9@<D6A5A52*%#%              B;12?@A.;1A5.AA52/.@60.==?<.05A5.AD699
    =?<A<0<9*%#%=?<A<0<9:.F?232?A<<A52?                   D699A.826;9<<86;4.AA56@>B2@A6<;<3A52
    =?<A<0<9@.;1@<D5.AA52F?21<6;46@A52F?2                :B9A6=92?232?2;02@C2A?621A</2.@
    B@6;4A5.A?232?2;02A<@D22=A5<@2<A52?                     2E=9606A.@0.;46C2;A5.A1<;A5.C2A52
                     -#"&*(')+"& ),"                                       -#"&*(')+"& ),"
            ')+!"& +)+"$%"& +'&$-)                ')+!"& +)+"$%"& +'&$-)
                                                                
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    :.A2?6.9@6;3?<;A<3:2/BA1<;AD.;AA<                  3B?A52?A5.AF<B;2213?<::2.AA56@=<6;A
    @226;23320A;<.@=2?@6<;@6;A2;1211<;A                             "'(*!!+#)56@6@(2.;
    D.;AA<@22:B9A6=92?232?2;02@@:B449216;                    (B996C.;3<?(<;<@-<B?<;<?#<;17B@A
    B;12?A520<C2?<3.@6;492?B/?60(<=92.@2                D.;AA<@.FA5.;8F<B3<?F<B?A6:2A<1.F.@
    D52;F<B=BAA5296@A<3=?6<?.?A?232?2;02@                  D299.@3<?529=6;4<BAD6A5A56@0.@2,2
    A<42A52?A?FA<0<:=9FD6A5D5.A5.C2A?621                 ?2.99F.==?206.A26A
    A<2E=?2@@/FD.F<3.16?20A6C2<;A5.A@0<?2                            )$*')99?645A;1"?
     30<;09B12A5.AF<BC24<;2/2F<;1.A5?22                   .08@<;.;FA56;43B?A52?
     ?232?2;02?2>B6?2:2;AD6A5?24.?1A<=2?:6@@6/92                             "' ($#-<B?<;<?)56@6@
   A5?22?232?2;0296:6AD6A5?2@=20AA<2.05<3                 <5;.08@<;B@AAD<>B608=<6;A@-<B?
   A52=.A2;A@A52;D699D699A.82.=2;                 <;<?;<B?92AA2?D25.1?2>B2@A21A5.A
   8;632A<A5296@A.;1D699296:6;.A2@<:2<3                (<;<@.9@<612;A63F;<:<?2A5.; .@@2?A21
   A52:(<=92.@20<:=9FD6A5A5216?20A6<;@.;1               09.6:@@A52?2.;F.@@2?A2109.6:96:6A.A6<;
   A52@=6?6A<3A5216?20A6<;@A5.A:A?F6;4A<               6;.116A6<;A<A52=.A2;A96:6A.A6<;
   46C2F<BA<1.F2C2;A5<B450<;0212A5.A.:                            )$*')A56;8 09.6:@6@
   ;<A./92.AA56@=<6;AA</2.@2E=9606A./<BA                =?2AAF?2.@<;./92"?(B996C.;1<F<B5.C2.
   2.051<0B:2;A.@D<B919682A</2                         =?</92:D6A5A52 09.6:96:6A@6;02F<B?2
                  A56;8A5.A@=?</./9F.@:B05.@               @6;02F<BD2?2A.986;4./<BA?21B06;4A<AD<
    D20.;42A1<;2A<1.F,2D6995.C2.;                        09.6:@=2?=.A2;AA52;6A@<B;1@9682A52 
   <==<?AB;6AFA56;8A<?2C6@6AA56@>B2@A6<;                09.6:@.0AB.99F6@:<?2A5.;F<B?AD<09.6:@=2?
   .AA52=?2A?6.90<;32?2;0263;<A/23<?2(<               =.A2;AD<B91/2
   2E=20AF<BA<D<?8A<42A52?6;A52@=6?6A<3A52                           "'(*!!+#-2.5-<B?<;<?
   16?20A6<;@A5.AC2A?621A<46C2.;163                     )56@6@(2.;(B996C.;1<;AA56;8 D699/2
   A52?2@.=?</92:A5.A2:2?42@/23<?2A52                     .=?</92::@B?2D20.;D<?8D6A5"?
                    -#"&*(')+"& ),"                                        -#"&*(')+"& ),"
           ')+!"& +)+"$%"& +'&$-)                ')+!"& +)+"$%"& +'&$-)
                                                              
                                                                                                                  
    =?2A?6.90<;32?2;026A=?</./9F:.82@@2;@2                .08@<;.;1A52232;1.;A@<;42AA6;4A5.A
    2E0B@2:23<?F<BA<42A/.08A<:2.;1@22                 ;B:/2?1<D;=2?5.=@2C2;92@@A5.; (6;02
    63D20.;AD<?86A<BA@<A5.A;<<;25.@/.@21               1<;A8;<DD5.AA52AD<<?A5?22=.A2;A@.?2
    A526?D5<92.==?<.05A<A520.@2<;.;                         4<6;4A</2.AA56@A6:2A5<B45D5.A1
    .@@B:=A6<;.@A<D52A52?2C612;026@4<6;4A</2               5.A2A<=BA.96:6A<;6A?645A;<D
    =2?:6AA21.;1A52;6@16@.==<6;A21/F@<:2A56;4                             )$*')$8.F
    A5.A5.==2;@.AA52=?2A?6.90<;32?2;02;                                "'(*!!+#3A5.AD<B91/2
     <?12?A<0<;A.0A:2F<B0.;26A52?1<@</F                    <8.F/BAA56;8A5.A@6;A52;2645/<?5<<1
     92AA2?<?63F<B;221A<F<B0.;0.99:F9.D                                )$*')2?2@D5.AD2991<
   092?86@;.:26@<@5B.(A26;()#.;1              A52;D699?645A;<D@.FA2;A.A6C29F 
   526@.A92A:242A56@;B:/2?-2.5F<B                 09.6:@3F<B;221:<?2F<B0.;0<:2/.08A<
   0.;7B@A16.9A5205.:/2?@;B:/2?D56056@.?2.              :2.;1@5<D:2D5F 6@;<A2;<B45.;1D699
   0<12       .99?645A       6@A5.A          /2<=2;A<6;0?2.@6;4A52;B:/2?.9A5<B45
   6A-2.5)56@6@2:/.??.@@6;41<;A8;<D               D699/2@82=A60.963A52;B:/2?2E0221@ /F
   :F<D;=5<;2;B:/2?/BA6A@;<AA5236?@A                   .;FD29999/2@82=A60.9636A2E0221@ 
   A6:2                                                        D699/256459F@82=A60.9636A2E0221@ /F
                 "'!*"#!-<B?<;<?                  :<?2A5.;<;2<?AD<BAD<B91B?42F<BA<
    A56;8D25.C2"?(A26;@6;3<?:.A6<;/20.B@2                  822=6AB;12? .;16A@<B;1@A<:2.@63A5.A
    D2C25.1@<:22:.690<??2@=<;12;02                          ?2.99F<B45AA</2:.;.42./92$;02.4.6;
                 )$*'),299A5.;8F<B                   36;1A5.AA52?2@.;2E=<;2;A6.90<:=92E6AF
   )5.A@92A:27B@A:.82@B?2A5.A@A52?645A              3.0A<?A5.A@22:@A<D<?86;A52@20.@2@
   ;B:/2?-2.5A56;8F<BC24<A.99A52                     .4.6;@AA527B?F@B;12?@A.;16;4A520.@2.@D2
   6;3<?:.A6<;(<A5.A@2C2?FA56;4A5.A5.C2              6;0?2.@2A52;B:/2?<309.6:@7B@A.@6A
   <26A52?1<2@26A52?@6125.C2.;FA56;4                   <=2?.A2@B=<;A526;0?2.@26;A52;B:/2?<3
                    -#"&*(')+"& ),"                                        -#"&*(')+"& ),"
           ')+!"& +)+"$%"& +'&$-)                ')+!"& +)+"$%"& +'&$-)
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                                                                                       
     =.A2;A@(<A56;86A@6;2C2?F/<1F@                        5.C2.=?</92:D6A5A5.A)D<D228@@<A5.A
     6;A2?2@A>B6A23?.;89FA<822=A52;B:/2?.@                  46C2@F<BB;A69A52 A5<3$0A</2?#<D"?
     9<D.@6A0.;/21<;20<;@6@A2;AD6A5F<B?                      .08@<;5<D./<BAF<B5<D:B05A6:21<F<B
     5.C6;4.;<==<?AB;6AFA<=?2@2;AF<B?0.@2B;12?                ;221A<=BAA<42A52?F<B?96@A<3=?6<?.?A
     A52=.?A60B9.?=.A2;A@A5.AF<B?2.@@2?A6;4                              "' ($#-<B?<;<?A56;8
     (<D2D699?2C6@6AA56@D5<92A56;46;A56@                  D20<B91=?<C612<B?96@AD6A56;<;2D228.3A2?
     >B2@A6<;.;1.;F<A52?>B2@A6<;@A5.A:.F.?6@2                 (<;<@=?<C612@6A@@2920A6<;
      .A<B?=?2A?6.90<;32?2;02!2A:2@.FA52;                               )$*')+2?FD299@<D2?2
      A5.AD6990.;26A52?=BA<BA.;<?12?                   A.986;4./<BA%9.6;A633=?<C616;46A@@2920A6<;
    3F<BD<B91968299=BA<BA.;<?12?<3D5.A               <;A52 A5<?2.?962?.;1A52232;1.;A
    2:/<162@D5.AD2C21206121A<4<3<?D.?1D6A5                 =?<C616;46A@96@A<;A52 A5<?2.?962?@
    A<1.F<?D2287B@AB@2A56@A56@0<;32?2;02.@                A5.A.002=A./92A<2C2?F<;2
    A52/.@6@3<?=?<02216;43F<BD.;A.;<?12?                           "'(*!!+#-2@-<B?<;<?
    992;A2?<;23F<B1<;A?2.99FA56;8<;2                             )$*'))5.AD.@"?(B996C.;
    6@;202@@.?F99@.C2A52233<?A6A52?                    @=2.86;4
    @612                                                                     "'(*!!+#)5.AD.@(2.;
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     /25.93<3232;1.;A@D21<;A/2962C2.;<?12?                             )$*')$8.F)5.;8F<B
     6@;202@@.?FA56;8A520.99D.@@B336062;A                  ;1
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    6A2:D2D<B91?2>B2@A6@7B@AA521.A2/FD5605                <5;.08@<;A@.9@<.002=A./92A<
    (<;<@D<B91:.826A@@2920A6<;<3=.A2;A@.;1                  232;1.;A@
    .@@2?A2109.6:@                                                          )$*')$8.FA56;8D2?2
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     ;1A5.A6@6;F<B?92AA2?"?.08@<;A56;8                A?.;@0?6=AD699/2=?2=.?2163F<BD.;AA<<?12?
     F<B6;160.A21.D228#<DA5.A:645A/2.                     <;2;1:FA5.;8@A<A520<B?A?2=<?A2?)56@
     96AA92A645A.D2283?<:A521.A2<3A52                       0.:2B=<;@5<?A;<A602.;1.==?206.A2A52
     0<;32?2;02)5.A:645A/2.96AA92A645A/BA                  0<B?A?2=<?A2?@/26;4.C.69./92;1D6A5A5.A
     92A:2AB?;A<"?(B996C.;.;1@22D5.A525.@                 D299/2.17<B?;21)5.;8F<B
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      A56@6@(2.;(B996C.;A6@.96AA92A645A
    3D20<B9142A.F<B8;<D.96AA92:<?2A6:2            
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    AD<D228@,<B91 1.F@/22;<B45                        
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     3<?24<6;4?20<?1%.42@ A< 6;09B@6C26@.A?B2
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                                               ),27=:6-,                                                                  +76;1,-:  
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                                               )88:-+1)<-                                                               +7=6;-4  
                                                                          *-A76,              
                                                                                                    7=6;-4  
                                                                            
                                               )88:7)+0                                                             
                                                                          %  
                                                                         +4):1.1+)<176      +7=6< 
                                                                               



                                                          ,@548< $0:9;=482 %0;?4.0
                                           9;=3 482%=;00= )467482=98 06,@,;0  
       
                                                    *          
                                                                                                                                                
        Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 389 of 438 PageID #: 43987

              7=6<A            ,-41*-:)<176;                                     -@841+1<   
                                                                                                                                          
              +7=84-                                                                 
                                      -676                                          -@876-6<1)4 
              %"$      ,-8-6,-6<          -5)14                                    0)6,  
                          ,-;+:18<176           -..-+<             -@876-6<1)44A       0)6,4- 
                                     -..7:<            -@8:-;;             0):, 
                             ,-<-:516)<176        -1/0<                                       0)<- 
                                                                                                            0-):  
                                                                                            
                        ,-<-:51616/                                                               0-):,  
                        ,->1+-           -1/0<,)A                                      0-48.=4    
                                                    -1<0-:       .)+<7:             
                                         ,1)4  
                                                                  .)+<7:;         0-4816/  
                                         ,1)416/  
                                                      -4-+<-,                                     0-:-*A  
                                         ,1..-: 
                                                     -41516)<-         .)+<;              0-:-=6<7  
                                         ,1..-:-6+-  
                                                     -5*)::);;16/          .)1:               01/04A 
                                         ,1..-:-6+-; 
                                                                               .)44;             01<  
                                         ,1..-:-6<  
                                                                  -5*7,1-;         .)5141):        01<<16/ 
                                              
              +7=:<                                   -5*7,15-6<            .)5141-;        # 
                                              
                                                                                             075-   
                                             
                                                     -5-:/-;            .):           
                                            
                                                               6,                                 767:     
                                         ,1..1+=4<   
              7=:<                                       -6,      .-)<=:-;                
                                            
                                  ,1..1+=4<A                                 .16-                      
              7=:<;        ,1:-+<              -6<-:           .161;0-,               
              +7>-:             ,1:-+<-,                                    .1:;<              
              +7>-:)/-          ,1:-+<176;       #!        .1>-             
              +:-)<-                                                          
              +:-)<-;         ,1:-+<1>-                                     (                  
              %"$#           ,1:-+<4A         -;;-6<1)44A       4A66                      
              +=<              ,1:-+<7:                                .7+=;-;               
                                                           -<                  "                    
                                        ,1;)88716<-,         ->-6<              .7:-/716/                  
                                                                   ->1,-6+-         .7:5;                   
                                         ,1;+=;;16/                  .7:?):,          767:;
                                                                                                    " 
                                         ,1;+=;;176          
              )44);                                                                     .:)634A            
                                         ,1;+=;;176;        ->1,-6<1):A  
              ,)5)/-;                                                                 .:76<      078-  
                                         ,1;8=<-         -@)+<  
                                                                                                             0=/- 
                                         ,1;<16/=1;0          -@)+<4A  
              ,)<-                                                                .=44              0A87<0-<1+)4 
                                                                      
              ,)A;                                                               .=6+<176)41<A          
                                         #$"$ 
                                                     -@)584-              
                                 
              ,-),416-        1;<:1+<                                                                
              ,-)4              ,7+=5-6<                                             
                                                                  -@+--,;   
              ,-)416/                                                                                            1,-6<1.1-, 
                                         ,7+=5-6<;             
                                                                                               /-6-:)4           1,-6<1.A      
                                                        -@+=;-  
              ,-)4<                                                                     -7:/-                    
                                                    -@-:+1;-  
              ,-+1,-,                                                                 "             15841+)<-,  
                                                   @01*1<  
              -.-6,)6<                                                                 /1>-6          1587:<)6<  
                                                            -@01*1<  
                                                                                         /:-)<              1587;;1*4- 
                                         ,76-      -@01*1<;    
              -.-6,)6< ;                                                              /:-)<-:           158:-;;176  
                                                            -@1;<; 
              -.-6,)6<;                                                              /:-)<4A             
                                         ,7?6      -@8-+<    
                                                                                 /:7=6,              
                                                   -@8-:1-6+- 
                                                                              /:7=6,;              
                                                       
                                                                                    /:7=8             16+416-, 
                                         ,:-?              -@8-:<  
                                                                                 /=-;;          16+4=,-  
                                         ,:144               
              '"                                                                  /=1,-             16+4=;1>-  
                                         ,:788-,          -@84)1616/  
              -4)?):-                                                                                             16+76;1;<-6< 
                                                                   -@84)16;  
                                                                                                                                




                                                  ,@548< $0:9;=482 %0;?4.0
                                   9;=3 482%=;00= )467482=98 06,@,;0  

                                            *          
                                                                                                                                     
       Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 390 of 438 PageID #: 43988

             16+:-);-                                                              
                                             416-                              
             16+:-);16/                                                         
             16,-8-6,-6<          2716-,          4163-,                       751;;176  
                                       271616/              41;<                     76+-  
             16,1+)<-,      7;0=)                                        
                                       2=,/-                                                   76-      
             16.7:5)<176           =,/-                                  5=4<184-              
                                       41>-,                           
                                                          41>16/                              
             16.:16/-,        2=:1-;                                                    
             16.:16/-5-6<          2=:A                                                           
                                     4773                                          
                                            4773-,                                            
                                                                                                   6)5-     
             6/:)5                                                                          
                                                                                                     
                                              477316/                                     78-6 
                                                                                                   6)<=:- 
             16;<)6+-        2=:A;                                                                78-:)<-; 
                                                                                                   6-):4A 
                                                    47;<                                   7887:<=61<A  
                                                                                                   6-+-;;):A   
             16;<)6+-;                                       
                                                                                                     
                                                                                                                                   
             16<-441/-6<4A                                 47?                                            7887;-, 
                                                                                                   6--,   
             16<-6,-,                                       4=58-,                                        7:,-:  
                                         3--8                                              
             16<-:-;<                                                                                                 
                                                                                           
                
                                         3--816/ 
                                                                                                     
                                                                                                                                 
             16<-:8:-<)<176                                                                                                   
                                                                                               6--,;    
                                                                                                                            7:1/16)4 
                                         3144-,             5)14              6-1/0*7:077, 
             16<-::=8<                                                                                                7=/0< 
                                         316,          5)6)/-)*4-             
             16>)41,1<A                                                                                             7>-:4)8 
                                         16/                                      -?  
                                                                                                                       
                                         361.-             5)6=)4           6-@<  
             16>-6<176                                                                                                7>-:4)8816/  
                                         367?;              5)6=)4;           # 
             16>74>-;                                                                                                7?6  
                                                                      5);;               1+074;   
             16>74>16/                                                                                             7?6-:; 
             1;;=-                                    5)<-:1)4;       616-  
                                                                                                676- 
                
                                                                      5)<<-:            67:5)44A 
             1;;=-;           4)*-4; 
                                                                                                7<):A  
                               4):/- 
                                                                      5-)6             67<-;              )/-;  
             1<-5            4);<    
                                                                                         67<016/           8)/-;   
             1<;-4.           $ 
                                                                      5-6<176          67<1+-               
                                         )<0)5                                          67<176           8)1:16/ 
                                                                      5-:1<; 
                                        4)?   
                                                                      1+0)-4             6=5*-:           8):<   
                                         4-);<                                                  
                                                                       
                            --                                                      8):<1+=4):   
                                                                      51/0<    
                                                                                                                
             )+3                                            516,  
                                                                                         8):<1+=4):4A    
             #                                        
                                         4-.<                                                      
                                                        51;+-44)6-7=; 
                         4-6/<0                                               8):<1-;   
                                                                        
                                                                                                    )<-6<   
                                                                      51;;16/  
                                 4-;;                                           6=5-:7=;            
                                                                        
             )+3;76         4-<<-:    57,-4                                         8)<-6<    
                                               
                                                     57:616/                                            
                                                                                                      
                                                                      7::1;   
                            4-<<-:;                                                                    
                                                                      ""# 
                                                                                                7*2-+<  
                                                     57>-                                             
                                         4->-4                                                                       
                                                      "    
                                         413-4A                                          7*>17=;               
                                                               
                                         4151<                                      7*>17=;4A           
                                                             
                                                                                  7*>17=;6-;;            
                                                                      
                                                                                                                         8)<-6<;    
                                                            
                                         4151<)<176                                     +<7*-:               
             706                                         




                                                  ,@548< $0:9;=482 %0;?4.0
                                   9;=3 482%=;00= )467482=98 06,@,;0  
     
                                            *          
                                                                                                                                            
        Case 1:14-cv-01330-WCB Document 445-1 Filed 11/16/17 Page 391 of 438 PageID #: 43989

                                                                                :-4)<-            
                                                                                  !
                          8:-;-6+-                                                                      
                      8:-;-6<                                        :-4)<-,            
                         8:-;=5)*4A           9=-;<176;                         # 
                                                                          :-41)6+-        ;-+76,  
                         8:-<:1)4        9=1+3                                         
                                       9=1,               :-4A16/          ;--     
                             8:-<<A        9=1<-                      
                           8:17:1<A                            :-6,-:;                  
                       8:7                9=7                 :-87:<              
                         8:7*4-5         9=7<-              :-87:<-:        ;--316/  
                                                                           ;-4-+<176  
              8-6                                                                    
              8-:                              "                                      ;-6;-  
                                                                         "-87:<-:               
              8-:0)8;                                                   " "$"          ;-<     
                                                                      :)1;-   
                                                                                                                       
                                                                      :)1;-,  
              8-:51;;1*4-      8:7+--,                                          :-87:<-:;         ;->-:)4 
                                                              :)6/-  
                                          8:7+--,16/                                        :-9=-;<           
              8-:51;;176                                       :)<0-:  
                                                                                               :-9=-;<-,        #0)-   
                                                                  :)<176)4 
                                          8:7+-;;                                                                ;0):- 
              8-:51<<-,                                      :-)+<176  
                                          8:7,=+<                                     :-9=1:-5-6<           ;0):-, 
              8-:;76                                        :-),    
                                                                                                           # 
              8-:<)16                                    :-)4 
                                          8:7,=+<;                                     :-;-:>-          ;07:<   
              8-:<16-6+-                                     :-)44A 
                                          8:7.1<;                                      :-;74=<176         ;07? 
               014                                         
                                                                                          :-;8-+<           ;1,-     
                                                                       
                                          8:787;)4                                                       
                                                                       
                                                                                
                                                                      :-);76)*4-  
              8076-                                                                                       ;1/6  
                                                                      :-+7:,  
              81-+-          8:787;-                                        :-;8-+<1>-          ;1/61.1+)6<4A 
                                                                   :-+7:,16/  
                                          8:787;-,                                    :-;876,           ;1514):  
              81-+-;                                      :-,=+- 
                                                                                              :-;876;-          ;1584A  
                                                           :-,=+16/ 
                                          8:787;16/                                      :-;<                   
               4)16<1..                                       
                                          8:7<7+74                                    :-;<:)16<;       ;16/4-  
                                                       :-,=+<176   
                                                                                                :-;<:1+<176           
                                                                     
                                          8:7<7+74;                                    :->1;1<           
              84)16<1..                                      :-.-:   
                                                                                                                       
               4)16<1.. ;                                   :-.-:-6+-  
                                          8:7>-                                          ""$                 
                                                                   
                                          8:7>1,-                                        :78-,            ;1<=)<176    
              8716<                                         
                                                                                      "7>-:               
                                                            
                                          8:7>1,-;                                        "7>6-:        ;1@    
                                                         
                                          8:7>1,16/                                                        
                                                         
                                                                                               "&"          ;3-8<1+)4   
                                                                       
                                          8:7>1;176)4                                                                
              8716<;                                            
                                                                                              :7>6-:;         ;5)44 
                                                                  :-.-:-6+-; 
                                          8:7>1;7                                       :=*:1+             #51<0   
                                                                           
              87;1<176         =*41+                                          :=4-;           #$ 
                                                                            
                                       8=:+0);-                                                                  ;5=//4-,  
                                                                            
              87;;1*141<A 
              87;;1*4-  
                                          8=:87;-  
                                                                                              #               ;75-76-  
                                          8=:87;-;                                                                    ;75-<15-;   
                                                                       
              87;;1*4A                                                                                  
                                                                          
              87<-6<1)4                                                       ;)584-          #767;   
                                                                         
                                       8=<                                   ;)>-                 
                                                                         
               7<<-:                                                        ;+0-,=416/             
                                                                            
               $$"                                                     ;+7:-                 
                                                                          
              8:-8):-,       8=<<16/                                       ;-)4               ## 
                                                                      :-.-::16/    
                                                                                                ;-)6              ;776  
                                                                        
              8:-8):16/                                                                 #-)6          ;7::A     
                                                                      :-/):,  
                                                                                                       



                                                  ,@548< $0:9;=482 %0;?4.0
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             Sonos’s Opposition to D&M’s
              Motions in Limine Nos. 1-3
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

    SONOS, INC.,                       )
                                       )
                       Plaintiff,      )
                                       )   Civil Action No. 14-1330-RGA
                       v.              )
                                       )
    D&M HOLDINGS INC. d/b/a THE        )   JURY TRIAL DEMANDED
    D+M GROUP, D&M HOLDINGS U.S.       )
    INC., and DENON ELECTRONICS        )
    (USA), LLC,                        )
                                       )
                       Defendants.     )


         SONOS, INC.’S OPPOSITION TO DEFENDANTS’ MOTIONS IN LIMINE




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    Dated: November 9, 2017                Attorneys for Plaintiff Sonos, Inc.
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   I.    SONOS’S OPPOSITION TO D&M’S MOTION IN LIMINE #1
          D&M again asks the Court to preclude Sonos from introducing evidence of D&M’s

   pervasive and widespread copying, contending that copying evidence must be specifically tied to

   the claimed features of the Asserted Patents, and that all other evidence of copying (e.g., copying

   of Sonos’s brand name, marketing, unasserted and unelected patents, etc.) is irrelevant and

   should be excluded from trial. As explained below, D&M’s motion should be denied.

          As an initial matter, the Court has already addressed whether Sonos may present copying

   evidence to the jury. In its order on D&M’s Daubert motion, the Court explained that, not only

   is it proper for the jury to hear evidence of D&M’s copying, it is expected. D.I. 427, pp. 27-29

   (“Sonos may, of course, still present evidence of copying to the jury,” including, “for example,

   [evidence] about the similarities between the names ‘HEOS’ and ‘Sonos’ and between products

   lines, such as the ‘PlAY:5’ and the ‘HEOS 5’,” and “the jury . . . is fully competent to evaluate

   the evidence and draw its own conclusion about whether D&M copied Sonos’s technology and

   products.”). D&M’s arguments to the contrary lack merit.

          Indeed, evidence of copying, including copying beyond the claimed features of the

   Asserted Patents, is relevant to at least the subjective elements of willful infringement and

   inducement. See, e.g., Power Integrations, Inc. v. Fairchild Semiconductor Intl., Inc., 843 F.3d

   1315, 1333 (Fed. Cir. 2016) (finding evidence that defendant “fostered a corporate culture of

   copying” and “competed with [patentee] by reverse engineering and copying of [patentee’s]

   products” to be relevant to inducement); Carnegie Mellon Univ. v. Marvell Tech. Group, Ltd.,

   No. 09-290, 2012 WL 5451475, *2-3 (W.D. Penn. Nov. 7, 2012) (denying motion to exclude

   copying evidence “beyond the specific patents-in-suit” because such evidence is “relevant to the

   issue of willfulness” and “induced infringement”); Parker-Hannifin Corp. v. Wix Filtration

   Corp., Nos. 07-1374, 07-1375, 2011 WL 976559, *10 (N.D. Ohio Mar. 17, 2011) (rejecting


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   defendant’s argument that copying evidence related to “elements . . . not covered in the

   [asserted] patent,” such as “the size and geometry of [patentee’s product],” was not relevant to

   willfulness, and instead finding that “a jury could have used all of the aforementioned evidence .

   . . to reasonably infer that [defendant] copied [patentee’s product]”).1

          Of particular relevance to the facts here is the Carnegie decision. Like D&M, the

   defendant in Carnegie attempted to exclude evidence of copying from the jury on the basis that

   “any evidence of ‘copying’ or references to ‘Kavcic’ beyond the [asserted] patents are irrelevant

   to infringement and the issue of non-obviousness because such evidence is not tied to any

   specific claims of the [asserted] Patents.” 2012 WL 5451475 at *1. In response, the patentee

   asserted that such evidence is “tied to many of their arguments on infringement, inducement,

   non-obviousness and especially willfulness.” Id. at *2. The court agreed with the patentee and

   denied the defendant’s motion to exclude. Id. at *3-4. Specifically, the court stated that:

          The Court agrees with [patentee] that evidence regarding the “copying” story and
          references to “Kavcic” beyond the specific patents-in-suit are relevant to the issue
          of willfulness since such evidence has the tendency to make the existence of
          willfulness “more probable than it would be without such evidence”.
   Id. at *3 (quoting FED. R. EVID. 401) (emphasis added). Further, the Carnegie court found that

   such copying evidence is also admissible as relevant to “induced infringement” and specifically

   to “determining the subjective beliefs of Defendants in regards to willful blindness.” Id. at *2.

          For at least the reasons set forth in Carnegie, the Court should reject D&M’s argument

   that copying evidence “beyond the specific patents-in-suit” is irrelevant and deny its motion.2


   1
     See also Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754 (2011) (affirming jury finding
   of inducement based in part on evidence that defendant “deci[ded] to copy all but the cosmetic
   features of [patentee’s product]”).
   2
     The two cases that D&M cites for support are inapposite here. In AquaTex, the Federal Circuit
   held that statements on the patentee’s website were not sufficient to prove infringement under the
   doctrine of equivalents. 479 F.3d at 1328. The website evidence was not related to copying, let



                                                     2
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          While D&M appears to acknowledge that evidence of copying is relevant to willful

   infringement, D&M argues that such evidence should only be considered by “the Court in

   determining whether to exercise its discretion to enhance damages after a finding of willfulness.”

   Defs.’ Mot. Lim. No. 1 at pp. 3-4 (emphasis in original). To support this assertion, D&M cites

   Georgetown Rail Equip. Co. v. Holland L.P., 867 F.3d 1229 (Fed. Cir. 2017). However,

   Georgetown does not stand for the proposition that copying evidence relevant to willfulness can

   only be presented to the Court (not the jury) after trial. To the contrary, in finding

   that “[s]ubstantial evidence supports the jury’s [willful infringement] finding,” the Federal

   Circuit in Georgetown acknowledged that “[t]he jury heard . . . ‘circumstantial evidence that

   [defendant] copied [patentee’s] technology.” Id. at 1245 (emphasis added). At most,

   Georgetown stands for the proposition that evidence of willfulness (including copying) goes to

   the jury3 and then the court can exercise its discretion using the Read factors to determine

   whether such willful infringement warrants enhanced damages. Id. at 1244-45.4

          Accordingly, the Court should deny D&M’s Motion in Limine # 1.



   alone copying in the context of willfulness or inducement. In Orthoarm, while the district court
   excluded a demonstrative of the patentee’s commercial embodiment despite the assertion that it
   was relevant to willfulness, the court recognized that “courts did not abuse their discretion by
   allowing a commercial embodiment to be used as a demonstrative device during opening
   statements or admitted into evidence as relevant to a charge of willful infringement and
   copying.” 682 F. Supp. 2d at 981.
   3
     See, e.g., Knorr-Bremse Systeme Fuer Nutzfahrzeuge GmbH v. Dana Corp., 383 F.3d 1337,
   1342 (Fed. Cir. 2004) (“Determination of willfulness is made on consideration of the totality of
   the circumstances,” and may include contributions of several factors, such as those compiled in
   Read, which are “evaluated and weighed by the trier of fact”); Tenneco Auto. Operating Co. Inc.
   v. Visteon Corp., 375 F. Supp. 2d 360, 366 n.4 (D. Del. 2005) (“Although Read Corp. presented
   these factors as part of its analysis on enhancing damages, the Federal Circuit subsequently
   adopted these factors for determining willfulness.”).
   4
     Notably, Read factor (1) is “whether the infringer deliberately copied the ideas or design of
   another,” which “encompass[es] . . . copying the commercial embodiment, not merely the
   elements of a patent claim.” Read Corp. v. Portec, Inc., 970 F.2d 816, 827 n.7 (Fed. Cir. 1992).



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   II.   SONOS’S OPPOSITION TO D&M’S MOTION IN LIMINE #2
          D&M’s Motion in Limine # 2 appears to confuse/conflate two very different issues:

   (1) whether evidence that D&M copied Sonos before the Asserted Patents issued is relevant to

   D&M’s willful infringement of these patents and (2) whether D&M can be liable for willful

   infringement of the Asserted Patents before they issued.5

          With respect to (1), the Federal Circuit and other courts (including the District of

   Delaware) have consistently held that an accused infringer’s pre-issuance conduct, including

   copying of a patentee, is relevant to willful infringement. See, e.g., Minn. Min. and Mfg. Co. v.

   Johnson & Johnson Orthopaedics, Inc., 976 F.2d 1559, 1581 (Fed. Cir. 1992) (affirming finding

   of willful infringement and noting that “although willfulness is generally based on conduct that

   occurred after a patent issued, pre-patent conduct may also be used to support a finding of

   willfulness.”) (emphasis added); Kaufman Co. v. Lantech, Inc., 807 F.2d 970, 978-79 (Fed. Cir.

   1986) (affirming finding of willful infringement and rejecting infringers argument that “the

   allegedly improper copying took place before the patent was issued and therefore cannot be

   considered”) (emphasis in original); Milgo Elec. Corp. v. United Bus. Commc’s, Inc., 623 F.2d

   645, 665-66 (10th Cir. 1980) (affirming finding of willful infringement and rejecting infringers

   argument “that any copying endeavors that occurred prior to the date of issuance of the patents

   cannot support a finding of willful infringement”) (emphasis added); Idenix Pharm. LLC v.

   Gilead Sciences, Inc., Nos. 13-1987-LPS, 14-109-LPS, 14-846-LPS, 2016 WL 7380530, *1 (D.

   Del. Dec. 4, 2016) (overruling accused infringers objection to evidence of pre-issuance copying

   and stating that “[n]or is the Court persuaded that the law absolutely precludes pre-patent


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     Notably, D&M incorrectly suggests that the ‘949 Patent issued after this lawsuit was filed.
   Defs.’ Mot. Lim. No. 2 at p. 5. However, the ‘949 Patent issued on November 19, 2013, almost
   a year before Sonos filed this action, and Sonos is asserting willful infringement for any
   infringement after that date.


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   conduct from being probative of willfulness”) (emphasis added); Chimie v. PPG Indus., Inc., 218

   F.R.D. 416, 422 (D. Del. 2003) (“Where there is particularly egregious behavior showing a party

   intent on misappropriating a competitor’s proprietary technology, courts have been willing to

   consider that behavior as evidence of willfulness, even if some of the offending acts occurred

   before a patent issued.”) (emphasis added).6

          With respect to (2), Sonos is not claiming that D&M is liable for willful infringement of

   the asserted patents before they issued. Instead, and contrary to D&M’s assertion, Sonos

   properly contends that evidence of pre-issuance copying is relevant to the issue of post-issuance

   willful infringement. Defs.’ Mot. Lim. No. 2 at pp. 5-6. In fact, in Gustafson, cited by D&M,

   the Federal Circuit clearly stated that “[w]hether an act is ‘willful’ is by definition a question of

   the actor’s intent, the answer to which must be inferred from all the circumstances.” Gustafson,

   Inc. v. Intersystems Indus. Prods., Inc., 897 F.2d 508, 510-11 (Fed. Cir. 1990) (emphasis added).

   The Gustafson court also pointed to numerous Federal Circuit decisions sustaining findings of

   willful infringement where the infringer began manufacturing infringing products “before

   issuance” of the asserted patent. Id. at 10 (citing Shiley, Inc. v. Bentley Laboratories, Inc., 794



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     See also Power Lift, Inc. v. Lang Tools, Inc., 774 F.2d 478, 481-82 (Fed. Cir. 1985) (affirming
   finding of willful infringement based in part on pre-issuance evidence that infringer copied/based
   its design on patentee’s system); Apple Inc. v. Samsung Elecs. Co., Ltd., No. 12-00630, 2017 WL
   2720220, *9, 12 (N.D. Cal. June 23, 2017) (affirming finding of willful infringement and noting
   that while “[t]he initial copying of the slide-to-unlock feature before the instant suit was filed
   [and before the issuance of the asserted patent] . . . cannot alone support a willfulness finding[,] .
   . . [t]he continued sale of a copied product supports an inference that Samsung’s infringement
   was willful.”); Philippi-Hagenbuch, Inc. v. Western Tech. Servs. Int’l, Inc., No. 12-1099, 2013
   WL 2419934, *2-3 (C.D. Ill. June 3, 2012) (agreeing with patentee “that copying and using the
   inventions before the Patents in Suit were issued” is relevant to willful infringement); X-Tra
   Light MFG Inc. v. Acuity Brands, Inc., No. 04-1413, 2007 WL 7117888, * (S. D. Tex. Feb. 13,
   2007) (denying “motion to exclude evidence of copying prior to patent issuance” because
   “[c]opying is relevant to the willfulness determination, and thus X–Tra Light will not be
   precluded from presenting evidence at trial that Acuity allegedly copied its design prior to patent
   issuance.”) (emphasis added).


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   F.2d 1561, 1568 (Fed. Cir. 1986); Pac. Furniture Mfg. Co. v. Preview Furniture Corp., 800 F.2d

   1111, 1114-15 n. 9 (Fed. Cir. 1986); Kaufman, 807 F.2d at 979).

          D&M’s reliance on W.S. Molnar Co. v. IKG Indus., a Div. of Harsco Corp., Nos. Civ. A.

   95-1352, 95-1364, 1996 WL 128262, *1 (Fed.Cir. Mar. 21, 1996) (unpublished) is also

   misplaced. Indeed, contrary to D&M’s suggestion, in Molnar, the Federal Circuit did not

   address the jury’s finding of willful infringement where “most of the evidence of copying

   involved pre-issuance activity.” 82 F.3d at *1 (emphasis added). Instead, the issue on cross-

   appeal in Molnar was merely whether the district court abused its discretion in denying the

   patentee enhanced damages and attorney fees. Id. at *1-2.7

          Accordingly, to the extent that D&M is asking the Court to exclude pre-issuance

   evidence of copying (or argument related thereto) as “irrelevant” to the issue of willful

   infringement, Sonos respectfully requests that the Court deny D&M’s Motion in Limine # 2.




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    D&M also cites Am. Original Corp. v. Jenkins Food Corp., 774 F.2d 459 (Fed. Circ. 1985) and
   Emory Univ. v. Glaxo Wellcome Inc., No. 1:96-CV-1868-GET, 1997 WL 854942 (N.D. Ga. Dec.
   16, 1997). However, D&M fails to recognize that the statements it relies on from these cases are
   based on State Indus., Inc. v. A.O. Smith Corp., 751 F.2d 1226, 1236 (Fed. Cir. 1985) (see Am.
   Original, 774 F.2d at 465; Emory, 1997 WL 854942 at *3), and the Federal Circuit in Gustafson
   explained that “State Industries did not lay down a per se rule that willful infringement could
   never be found when manufacture began before issuance of a patent” (see Gustafson, 897 F.2d at
   510 (emphasis added)).


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   III.   SONOS’S OPPOSITION TO D&M’S MOTION IN LIMINE #3
          As an initial matter, D&M’s motion in limine #3 is clearly a dispositive motion on

   D&M’s affirmative defense of absolute intervening rights in disguise, which is improper. Courts

   have consistently found that a motion in limine is not the proper vehicle to resolve a dispositive

   issue, particularly in a situation like this where Sonos would be deprived of a full opportunity to

   present evidence showing that the claims of the ‘949 Patent were not substantively changed. See

   Meyer Intellectual Properties Ltd. v. Bodum, Inc., 690 F.3d 1354, 1378 (Fed. Cir. 2012).8

          Nevertheless, to briefly address the merits of D&M’s defense, it is well-established that

   reexamination amendments “do not necessarily compel a conclusion that the scope of the claims

   has been substantively changed.” Convolve, Inc. v. Compaq Computer Corp., 812 F.3d 1313,

   1322-25 (Fed. Cir. 2016) (cited in D.I. 427). Rather, to determine whether a substantive change

   has been made, the intrinsic evidence must be analyzed and the claims must be interpreted under

   the Philips standard, not the broadest reasonable interpretation standard as in reexamination. Id.

          Here, the added claim language did not substantively change the claims – a proper

   Philips analysis shows that the language “for synchronized playback of a multimedia output

   from the same multimedia source” only makes express what the term “player group” in the ‘949

   Patent already meant. The ‘949 Patent is directed to a networked audio system of “independent

   playback devices” or “players” (i.e., audio speakers). To play the same audio in synchrony, a

   number of players can be dynamically “linked” or “grouped” together. See, e.g., ‘949 Patent, at

   3:40-45, 6:56-60, 7:46-49, 8:1-8, 9:55-64, 10:17-29. The ‘949 Patent also teaches that the


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     D&M argues that the issue is “ripe for the Court’s decision” and was “previously briefed in the
   context of Sonos’s Motions for Summary Judgment.” Infra at p. 7. Sonos’s Motion, however,
   was directed to whether D&M forfeited its right to present its intervening rights defense – not
   whether D&M had met its burden of proof on this defense. Thus, the merits of D&M’s
   intervening rights defense were only tangential and certainly not fully briefed. Further, given
   that intervening rights only impacts damages, it need not be resolved as part of pretrial motions.


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   volume of the players in the group can be controlled individually or collectively, but each of the

   players in the group necessarily plays back the same audio content in synchrony. Id.

          The ‘949 Patent repeatedly and consistently discloses that the very purpose of grouped

   players is “for synchronized playback of a multimedia output from the same multimedia source”:

          • “[P]laying and controlling the audio source synchronously if the players are
             grouped together . . .” ‘949 Patent, at 3:40-45 (emphasis added).
          • “[G]rouping a number of selected zone players into a zone group and synchronizing
             the zone players for one audio source.” ‘949 Patent, at 7:46-49 (emphasis added).
          • “[A] zone group including at least two zone players,” which “can cause other zone
             players in the group to be synchronized so that all the zone players in the group
             playback an identical audio source or a list of identical audio sources in a timely
             synchronized manner.” Id. at 8:1-8 (emphasis added).
          • “[L]ink players in some rooms together to form a group so that players in these
             rooms are playing the same media in a synchronized fashion, the user may activate
             the grouping function by activating ‘link zones’ 332 that leads to a user interface 340
             as shown in FIG. 3D.” Id. at 9:55-59 (emphasis added).
          • “[A]s soon as a second zone player joins the group, the second zone player starts to
             be synchronized with the one already in the group and thus to play ‘the Beatles’ in
             this case. . . . [T]he user now can switch the group of players to any other type of
             media or a different piece of music and all of the zone players in the group will play
             the selected media at the same time.” Id. at 10:17-29 (emphasis added).

          This repeated and consistent disclosure in the ‘949 Patent definitively establishes that

   “player group” in the original claims was already limited to a group of players configured “for

   synchronized playback of a multimedia output from the same multimedia source.” See, e.g.,

   UltimatePointer, L.L.C. v. Nintendo Co., Ltd., 816 F.3d 816, 823-24 (Fed. Cir. 2016); In re

   Abbott Diabetes Care Inc., 696 F.3d 1142, 1149-50 (Fed. Cir. 2012); ICU Med., Inc. v. Alaris

   Med. Sys., Inc., 558 F.3d 1368, 1374-75 (Fed. Cir. 2009).9

          In fact, a “player group” in the context of the ‘949 Patent cannot mean anything else – it



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    In addition, D&M’s argument that the amended claims now require players to actually be
   “playing back . . . multimedia” is not correct. As with the original claims, the amended claims
   only require that the players in the “player group” be configured “for synchronized playback,”
   not that the players actually (i.e., presently) be playing back audio in synchrony.


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   is a group of players configured for synchronized playback of the same audio source.

          Thus, Sonos’s addition of this language during reexamination merely made express what

   was already inherent in the claims, which is not a “substantive change” to the scope of the

   claims. See, e.g., Convolve, 812 F.3d 1322-25; Tennant Co. v. Hako Minuteman, Inc., 878 F.2d

   1413, 1417 (Fed. Cir. 1989); Henrob Ltd. v. Bollhoff Systemtechnick GMBH & Co., No. 05-

   73214, 2009 WL 3188572, at *13 (E.D. Mich. Sept. 29, 2009).

          Lastly, even if there had been a substantive change to the ‘949 Patent claims, D&M’s

   absolute intervening rights defense does not apply to asserted claim 16 of the ‘949 Patent, which

   is a method claim. Indeed, as this Court recently confirmed, there is a “distinction between

   process claims and product claims with regarding to absolute intervening rights.” D.I. 427 at p.

   6. This Court went on to find that absolute intervening rights “must extend not only to products

   that are asserted to infringe a modified product claim, but also to processes that were used to

   make those specific products,” because otherwise “the statutory protection for particular

   products made prior to . . . reexamination” would be undermined. Id. at p. 7 (emphasis added).

          However, asserted method claim 16 of the ‘949 patent does not recite a process used to

   make products. To the contrary, asserted method claim 16 of ‘949 patent recites a method for

   controlling audio playback devices, which falls outside of both the statutory language of 35

   U.S.C. § 252 governing absolute intervening rights and the Court’s recent ruling. See NetAirus

   Techs., LLC v. Apple, Inc., No. 10-3257, 2013 WL 3089061, at *2, 4, 6 (C.D. Cal. May 23,

   2013) (absolute intervening rights did not apply to claims reciting method for handset

   communication). Only equitable intervening rights could apply to this process claim, and D&M

   has explicitly chosen not to assert such rights. D.I. 427.

          For at least these reasons, Sonos requests that D&M’s motion in limine #3 be denied.




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          D&M’s Replies in Support of its
            Motions in Limine Nos. 1-3
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   LQIULQJHG VLPSO\ FDQQRW EH LQIHUUHG IURP PHUH NQRZOHGJH RI RWKHU SDWHQWV HYHQ LI VRPHZKDW
   VLPLODU´  c.f. Power Lift, Inc. v. Lang Tools, Inc  )G   )HG &LU  
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              7KLVLVVXHLVFULWLFDOWR6RQRV¶VGDPDJHVDQGULSHIRUDSUHWULDOUXOLQJDVDPDWWHURIODZ

   6RQRV¶V DUJXPHQW WKDW WKH WHUP ³SOD\HU JURXSV´ LQ WKH RULJLQDO FODLPV  LQKHUHQWO\ UHTXLUHG

   ³V\QFKURQL]DWLRQ´DQG³SOD\EDFNIURPWKHVDPHPXOWLPHGLDVRXUFH´ LQWKHUHH[DPLQHGFODLPV 

   FRPPLWVD³FDUGLQDOVLQ´E\UHWURVSHFWLYHO\UHDGLQJQDUURZLQJOLPLWDWLRQVIURPWKHVSHFLILFDWLRQ

   LQWR WKH RULJLQDO FODLPV  Phillips v. AWH Corp.  )G   )HG &LU  

   )XUWKHUWKH&RXUWUHMHFWHGWKLVDUJXPHQWH[SODLQLQJWKDW³DFKDQJHZKLFKLVPDGH>@LQUHVSRQVH

   WRDSULRUDUWUHMHFWLRQLVYHU\VWURQJHYLGHQFHRIDVXEVWDQWLYHFKDQJH´2FW7UDQVDW

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   ³V\QFKURQRXVO\´DOVRIDLOVWRDGGUHVV' 0¶VFLWDWLRQVVKRZLQJWKDWJURXSVFDQEHIRUPHGDQG

   SUHVHUYHGLQGHSHQGHQWRIV\QFKURQRXVRUDQ\SOD\EDFNµ3DWHQWDW

              ,JQRULQJ WKLV &RXUW¶V UXOLQJ ',  DW   DQG MonoSol Rx 6RQRV DJDLQ FODLPV WKDW

   LQWHUYHQLQJULJKWVGRQRWDSSO\WRPHWKRGFODLPV6RQRVDOVRLJQRUHVBIC Leisure Prod., Inc. v.

   Windsurfing Int’l, Inc. ZKLFK H[SODLQV WKDW DEVROXWH LQWHUYHQLQJ ULJKWV ³SURYLGH>@ DQ DFFXVHG

   LQIULQJHUZLWKWKHDEVROXWHULJKWWRXVHRUVHOODSURGXFWWKDWZDVPDGHXVHGRUSXUFKDVHGEHIRUH

   WKH JUDQW RI WKH UHLVVXH SDWHQW DV ORQJ DV WKLV DFWLYLW\ GRHV QRW LQIULQJH D FODLP RI WKH UHLVVXH

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   UHLVVXH SDWHQW ,Q RWKHU ZRUGV LW FRYHUV SURGXFWV DOUHDG\ PDGH DW WKH WLPH RI UHLVVXH´ Id. DW

    HPSKDVLVDGGHG 'HIHQGDQWV¶PRWLRQVKRXOGEHJUDQWHG

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   LPSURYHPHQWRYHULWVSUHYLRXVZDWHUKHDWHUZLWKFODLPVGUDIWHGWRFRYHUWKH6PLWKGHYLFH´ 
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      MonoSol Rx, LLC v. Biodelivery Scis. Int'l, Inc 1R   :/  DW 
     '1-6HSW  KROGLQJWKDWPHWKRGFODLPVZHUHVXEMHFWWRLQWHUYHQLQJULJKWV  See also
   R+L Carriers, Inc. v. Qualcomm, Inc  )G   )HG &LU   Univ. of
   Virginia Patent Found. v. Gen. Elec. Co.,)6XSSG :'9D 
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   2)&2816(/                       Attorneys for D&M Holdings Inc. d/b/a The D+M
                                     Group,D&M Holdings U.S. Inc. and Denon
   -RKQ0-DFNVRQ                   Electronics (USA), LLC
   0DWWKHZ&$FRVWD
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         , FHUWLI\ WKDW , FDXVHG FRSLHV RIWKHIRUHJRLQJGRFXPHQWWR EHVHUYHGRQ1RYHPEHU 

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